Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 1 of 283 PageID# 100




                        Exhibit B
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 2 of 283 PageID# 101

                                       PUBLIC VERSION




              UNITED STATES INTERNATIONAL TRADE COMMISSION
                          WASHINGTON, D.C. 20436




      In the Matter of

      CERTAIN BOTULINUM TOXIN PRODUCTS,
      PROCESSES FOR MANUFACTURING OR                                  Inv. No. 337-TA-1145
      RELATING TO SAME AND CERTAIN
      PRODUCTS CONTAINING SAME



                             FINAL INITIAL DETERMINATION
                           Administrative Law Judge David P. Shaw

           Pursuant to the notice of investigation, 84 Fed. Reg. 8112 (Mar. 6, 2019), this is

    the final initial determination on violation in Certain Botulinum Toxin Products,

    Processes for Manufacturing or Relating to Same and Certain Products Containing

    Same, United States International Trade Commission Investigation No. 337-TA-1145.

           It is held that a violation of section 337 (19 U.S.C. § 1337) has occurred by reason

    of misappropriation of trade secrets.
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 3 of 283 PageID# 102

                                                  PUBLIC VERSION


                                              TABLE OF CONTENTS

    I.     Background ..................................................................................................1
           A.         Institution of the Investigation; Procedural History.........................1
           B.         Reopening the Record ......................................................................4
           C.         The Parties .......................................................................................6
           D.         The Accused Products......................................................................7
                      1. DWP-450 ...................................................................................8
                      2. Jeuveau®....................................................................................8
                      3. Nabota ........................................................................................9
           E.         Technological Background ..............................................................9
                      1. Botulinum Neurotoxin (BTX or BoNT) ....................................9
                      2. DNA Sequencing .....................................................................12
                      3. Laboratory Bacterial Culturing Versus Bacteria in Nature......15
           F.         Asserted Trade Secrets ...................................................................18
                      1. Medytox’s C. botulinum Hall A-hyper Strain..........................19
                      2. Medytox’s Manufacturing Processes for 900 kDa botulinum
                         toxin .........................................................................................20
    II.    Jurisdiction .................................................................................................22
           A.         In Rem Jurisdiction ........................................................................22
           B.         Personal Jurisdiction ......................................................................22
           C.         Subject Matter Jurisdiction ............................................................22
    III.   Standing .....................................................................................................28
           A.         Medytox Standing ..........................................................................28
           B.         Allergan Standing ..........................................................................29
    IV.    Legal Standards ..........................................................................................38
           A.         Trade Secrets ..................................................................................38
           B.         Unfair Acts .....................................................................................44
           C.         Domestic Industry ..........................................................................46
                      1. Existence of a Domestic Industry ............................................46
                      2. Substantial Injury to the Domestic Industry ............................49
    V.     Factual Background and Allegations .........................................................50
           A.         Daewoong-Allergan BOTOX® Distribution Agreement ..............50

                                                                 ii
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 4 of 283 PageID# 103

                                                  PUBLIC VERSION


           B.        Dr. Suh’s Collection of Korean Soil Samples ...............................51
           C.        Daewoong’s Efforts to License a BTX Product or Obtain a
                     Commercially Viable C. botulinum Type A Strain .......................53
           D.        Daewoong’s Efforts to Isolate Its C. botulinum Type A1 Strain ...55
           E.        Daewoong’s Hiring of Former Medytox Employee Byung Kook
                     Lee..................................................................................................57
    VI.    Unfair Acts Regarding the Asserted C. botulinum Strain ..........................59
           A.        Whether a Strain of C. botulinum Can Be a Protectable Trade
                     Secret..............................................................................................59
           B.        Whether Medytox’s C. botulinum Strain Is a Protectable Trade
                     Secret..............................................................................................65
                     1. Sausage Casings Factors 1 and 2: The Extent to Which the
                        Information Is Known Outside of Complainant’s Business; and
                        the Extent to Which It Is Known By Employees and Others
                        Involved in Complainant’s Business .......................................65
                     2. Sausage Casings Factor 3: The Extent of Measures Taken by
                        Complainant to Guard the Secrecy of the Information ............69
                     3. Sausage Casings Factor 4: The Value of the Information to
                        Complainant and to Its Competitors ........................................70
                     4. Sausage Casings Factor 5: The Amount of Effort or Money
                        Expended by Complainant in Developing the Information .....77
                     5. Sausage Casings Factor 6: The Ease or Difficulty with Which
                        the Information Could Be Properly Acquired or Duplicated by
                        Others .......................................................................................81
           C.        Ownership of the Medytox Strain ..................................................87
           D.        Whether Daewoong Misappropriated the Asserted C. Botulinum
                     Strain ..............................................................................................92
                     1. DNA Fingerprinting Evidence .................................................94
                     2. The Phylogenetic Analysis ....................................................100
    VII.   Unfair Acts Regarding the Asserted Manufacturing and R&D Related
           Information ..............................................................................................110
           A.        Overview of the Medytox Manufacturing Process ......................111
           B.        Whether the Asserted Manufacturing and R&D Related
                     Information Constitute Protectable Trade Secrets .......................113
                     1. Sausage Casings Factors 1 and 2: The Extent to Which the
                        Information Is Known Outside of Complainant’s Business; and
                        the Extent to Which It Is Known By Employees and Others
                        Involved in Complainant’s Business .....................................113

                                                                 iii
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 5 of 283 PageID# 104

                                                   PUBLIC VERSION


                      2. Sausage Casings Factor 3: The Extent of Measures Taken By
                         Complainant to Guard the Secrecy of the Information ..........120
                      3. Sausage Casings Factor 4: The Value of the Information to
                         Complainant and to Its Competitors ......................................121
                      4. Sausage Casings Factor 5: The Amount of Effort or Money
                         Expended by Complainant in Developing the Information ...123
                      5. Sausage Casings Factor 6: The Ease or Difficulty with Which
                         the Information Could Be Properly Acquired or Duplicated by
                         Others .....................................................................................127
            C.        Ownership of the Asserted Manufacturing and R&D Trade Secrets
                      ......................................................................................................127
            D.        Whether Daewoong Misappropriated the Asserted Manufacturing
                      and R&D Trade Secrets ...............................................................130
                      1. Daewoong’s Manufacturing Process Shares Similarities with
                         Medytox’s Proprietary Process ..............................................134
                      2. Daewoong’s Lack of Contemporaneous Documentation to
                         Corroborate Independent Development .................................141
                      3. Development Period of the Daewoong Manufacturing Process
                         ................................................................................................148
    VIII.   Domestic Industry ....................................................................................152
            A.        Whether Allergan’s Investments in BOTOX® Can Satisfy the
                      Domestic Industry ........................................................................152
            B.        Allergan’s Domestic Industry ......................................................159
                      1. Allergan’s Investments Relating to BOTOX® ......................161
                      2. Allergan’s Investments Relating to MT10109L ....................185
            C.        Whether Complainants’ Domestic Industry Is Being Substantially
                      Injured ..........................................................................................190
                      1. Lost sales of and profits from BOTOX® ..............................191
                      2. Price Erosion of BOTOX® ....................................................201
                      3. Threat of Future Injury to BOTOX®.....................................208
                      4. Threat of Future Injury to MT10109L ...................................220
    IX.     Respondents’ Affirmative Defenses ........................................................225
            A.        Statute of Limitations ...................................................................225
            B.        Laches ..........................................................................................235
            C.        Unclean Hands .............................................................................243
    X.      Recommended Determination .................................................................250

                                                                   iv
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 6 of 283 PageID# 105

                                                 PUBLIC VERSION


           A.        Limited Exclusion Order..............................................................250
           B.        Cease and Desist Order ................................................................258
           C.        Bonding ........................................................................................265
    XI.    Conclusions of Law .................................................................................272
    XII.   Initial Determination and Order ...............................................................273




                                                                v
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 7 of 283 PageID# 106

                                    PUBLIC VERSION


          The following abbreviations may be used in this Initial Determination:

                        ALJ     -      Administrative Law Judge

                        CDX -          Complainants’ Demonstrative Exhibit

                        CPX     -      Complainants’ Physical Exhibit

                        CX      -      Complainants’ Exhibit

                        Dep.    -      Deposition

                        EDIS -         Electronic Document Imaging System

                        JPX     -      Joint Physical Exhibit

                        JX      -      Joint Exhibit

                        P.H.    -      Prehearing

                        RDX -          Respondents’ Demonstrative Exhibit

                        RPX     -      Respondents’ Physical Exhibit

                        RWS -          Rebuttal Witness Statement

                        RX      -      Respondents’ Exhibit

                        Tr.     -      Transcript

                        WS      -      Witness Statement




                                              vi
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 8 of 283 PageID# 107

                                        PUBLIC VERSION



    I.     Background

           A.      Institution of the Investigation; Procedural History

           By publication of a notice in the Federal Register on March 6, 2019, pursuant to

    section 337 of the Tariff Act of 1930, as amended, the Commission instituted this

    investigation to determine:

                   [W]hether there is a violation of subsection (a)(1)(A) of
                   section 337 in the importation into the United States, the sale
                   for importation, or the sale within the United States after
                   importation of certain products identified in paragraph (2) by
                   reason of misappropriation of trade secrets, the threat or
                   effect of which is to destroy or substantially injure a
                   domestic industry in the United States.

    84 Fed. Reg. 8112 (Mar. 6, 2019).

           Pursuant to section 210.10(b)(1) of the Commission’s Rules of Practice and

    Procedure, 19 C.F.R. § 210.10(b)(1):

                   [T]he plain language description of the accused products or
                   category of accused products, which defines the scope of the
                   investigation,     is botulinum      neurotoxin    products
                   manufactured by Daewoong Pharmaceuticals Co., Ltd.,
                   specifically: (1) DWP–450 (prabotulinumtoxinA), variously
                   marketed under the brand names Nabota®, JeuveauTM and
                   other brand names; (2) products containing or derived from
                   DWP–450; and (3) products containing or derived from the
                   BTX strain assigned the high-risk pathogen control number
                   4–029–CBB–IS–001 by the Korean Centers for Disease
                   Control and Prevention or the manufacturing process used to
                   manufacture DWP–450.

    Id.

           The complainants are Medytox Inc. of Seoul, South Korea; Allergan plc of

    Dublin, Ireland; and Allergan, Inc. of Irvine, California. The named respondents are

    Daewoong Pharmaceuticals Co., Ltd. of Seoul, South Korea; and Evolus, Inc. of Irvine,

    California.
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 9 of 283 PageID# 108

                                       PUBLIC VERSION


           The Office of Unfair Import Investigations (“OUII” or “Staff”) is a party to this

    investigation. Id.

           The target date for completion of this investigation was initially set at

    approximately fourteen months and three weeks, i.e., May 29, 2020. See Order No. 3

    (Mar. 12, 2019). Accordingly, the original due date for the final initial determination on

    violation was January 29, 2020. See id. at 2.

           On March 22, 2019, respondent Daewoong Pharmaceuticals Co., Ltd.

    (“Daewoong”) filed a motion seeking summary determination that “all allegations in the

    Complaint as to the alleged theft of a bacterium be terminated from the Investigation,

    because the allegations cannot support a claim of trade secret misappropriation as a

    matter of law.” The administrative law judge denied Daewoong’s motion on May 7,

    2019. See Order No. 7 (May 7, 2019).

           On July 16, 2019, complainants and respondents jointly filed an unopposed

    motion requesting that the date for the hearing be extended by approximately two months

    because of ongoing expert discovery. On July 24, 2019, the administrative law judge

    issued an order that extended the deadline for the exchange of initial expert reports, and

    tentatively scheduled the evidentiary hearing to occur on February 4–7, 2020. See Order

    No. 19 (July 24, 2019). In accordance with the rescheduled evidentiary hearing, the

    administrative law judge issued an initial determination extending the target date to

    October 6, 2020, which is 19 months after institution of the investigation, (Order No. 23

    (Aug. 16, 2019)), and the Commission determined not to review the initial determination,

    see Commission Decision Not to Review an Initial Determination Extending the Target

    Date (EDIS Doc. ID No. 688194) (Sept. 13, 2019).



                                                 2
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 10 of 283 PageID# 109

                                        PUBLIC VERSION


               On November 15, 2019, respondents Daewoong and Evolus, Inc. (“Evolus”) filed

     a motion for summary determination that “Allergan has no standing to pursue a claim that

     Daewoong misappropriated trade secrets belonging to Medytox.” The administrative law

     judge denied respondents’ motion on January 21, 2020. See Order No. 32 (Jan. 21,

     2020).

               On November 15, 2019, respondents Daewoong and Evolus filed a filed a motion

     for summary determination of “No Injury with Respect to Alleged Domestic Industry

     Product MT10109L.” The administrative law judge denied respondents’ motion on

     January 23, 2020. See Order No. 34 (Jan. 23, 2020).

               On November 15, 2019, complainants Allergan plc and Allergan, Inc.

     (collectively, “Allergan”), and Medytox Inc. (“Medytox”) filed a motion “for a partial

     summary determination that ‘an industry in the United States’ exists within the meaning

     of 19 U.S.C. § 1337(a)(1)(A) for botulinum neurotoxin products comprised of, separately

     and collectively, BOTOX® Cosmetic, BOTOX® therapeutic, and MT10109L

     (‘Domestic Industry Products’).” The administrative law judge denied complainants’

     motion on January 23, 2020. See Order No. 35 (Jan. 23, 2020).

               A prehearing conference was held on February 4, 2020, with the evidentiary

     hearing in this investigation commencing immediately thereafter. Complainants Allergan

     and Medytox, respondents Daewoong and Evolus, and the Staff participated in the

     hearing. The hearing concluded on February 7, 2020. See Order No. 20 (Aug. 2, 2019);

     P.H. Tr. 1–35; Tr. 1–1006. The parties were requested to file post-hearing briefs not to

     exceed 300 pages in length, and to file reply briefs not to exceed 50 pages in length. P.H.

     Tr. 11.



                                                  3
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 11 of 283 PageID# 110

                                        PUBLIC VERSION


            On February 21, 2020, the parties filed a joint outline of the issues to be decided

     in the Final Initial Determination. See Parties’ Joint Outline of the Issues to Be Decided

     (“Joint Outline”) (EDIS Doc. ID No. 703193). On February 28, 2020, the parties filed a

     joint outline of the post-hearing briefs. See Parties’ Joint Outline of Post-Hearing Briefs

     (“Joint Reply Outline”) (EDIS Doc. ID No. 703716).

            On July 1, 2020, the administrative law judge issued Order No. 42, an initial

     determination granting Motion Docket No. 1145-61 to amend the complaint and notice of

     investigation to reflect a corporate name change from Allergan plc to Allergan Limited.

     At this time, the initial determination is pending before the Commission.

            B.      Reopening the Record

            Since the evidentiary hearing, the administrative law judge has ruled on five

     requests to reopen the record in this investigation,1 with two additional requests pending.2




     1
       In Order No. 37, the administrative law judge granted a motion by complainants and
     respondents to admit certain exhibits and to permit the withdrawal of certain exhibits. In
     Order No. 38, the administrative law judge granted respondents’ motion to reopen the
     record to receive RX-3564, containing certain financial information pertaining to
     Allergan plc and Allergan, Inc. In Order No. 39, the administrative law judge ruled on
     complainants’ motion to reopen the record to admit certain deposition testimony and in
     the alternative to overrule respondents’ objections to certain 30(b)(6)-style designations.
     The administrative law judge granted the motion by overruling the objections.
     2
       On June 25, 2020, respondents filed another motion to reopen the record (Motion
     Docket No. 1145-62). On June 26, 2020, complainants filed a motion to reopen the
     record (Motion Docket No. 1145-63), which appears at least in part to relate to Motion
     No. 1145-62. Motion No. 1145-62 (to which complainants have responded) may ripen as
     late as the date on which this Final Initial Determination is filed, and Motion No. 1145-63
     may ripen thereafter. Based on the content of the motions, complainants’ response to
     Motion No. 1145-62, and the standards discussed in Order No. 40, the administrative law
     judge is not inclined to grant either motion. The administrative law judge will consider
     any response or responses to the motions that are filed and come to his attention before
     issuance of this Final Initial Determination. Unless granted, any ripe, pending motion is
     denied. See Section XII (Initial Determination and Order).


                                                  4
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 12 of 283 PageID# 111

                                       PUBLIC VERSION


            The fourth request to reopen the record was in the form of a motion (Motion

     Docket No. 1145-59) filed on April 29, 2020, by respondents Daewoong and Evolus to

     reopen the record to admit official Korean government documents reflecting criminal

     indictments and revocations of approval for certain products, and for judicial notice of

     such facts. The motion was opposed by complainants, and not opposed by the Staff. The

     administrative law judge granted the motion, admitted four documents, and provided the

     parties with the opportunity to file short briefs concerning the documents by June 3,

     2020. See Order No. 40 at 3–4. Complainants, respondents and the Staff filed briefs.

            On June 1, 2020, in view of the anticipated receipt of supplemental briefing on

     June 3, 2020, and exigencies related to the pandemic, the administrative law judge issued

     Order No. 41, an unreviewed initial determination extending the target date for

     completion of this investigation to November 6, 2020, i.e., 20 months after institution of

     the investigation, thereby making the Final Initial Determination on violation due on July

     6, 2020. See Order No. 41 at 3; Commission Decision Not to Review an Initial

     Determination Extending the Target Date (EDIS Doc. ID No. 713051) (June 19, 2020).

            The fifth request to reopen the record was in the form of a motion (Motion Docket

     No. 1145-60) filed on June 3, 2020, by complainants. It was an unopposed motion to

     admit a Korean court ruling, and to take judicial notice of the same. The motion was

     granted. See Order No. 42 (June 22, 2020).

            The four documents received through Order No. 40 were a press release by the

     office of a Korean prosecutor, and three statements (one press release and two documents

     pertaining to an alert) from the Korean Ministry of Food and Drug Safety. The document

     received through Order No. 42, as indicated above, is a court decision.



                                                  5
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 13 of 283 PageID# 112

                                        PUBLIC VERSION


               The documents received through Order No. 40 are not accorded any weight in this

     investigation. The actions recounted in the press release from the prosecutor’s office, as

     expressly indicated in the press release, pertain to facts that have not been confirmed

     through trial. In addition, it is not clear that the action taken by the Ministry of Food and

     Drug Safety pertains to a product at issue in this investigation. Nor, especially in view of

     the court decision received through Order No. 42, is it clear that the action remains in

     effect.

               C.     The Parties

               The complainants are Medytox Inc. of Seoul, South Korea; Allergan plc of

     Dublin, Ireland; and Allergan, Inc. of Irvine, California. Medytox is a limited liability

     corporation organized and existing under the laws of the Republic of Korea. See

     Complaint, ¶ 18. Medytox was founded in 2000 for the purpose of researching,

     developing, and manufacturing BTX3 products. See id., ¶ 19. In 2006, Medytox

     obtained approval from the Korean Ministry of Food and Drug Safety to sell the first

     BTX product developed in Korea, Meditoxin®. See id. Medytox later developed a

     liquid-form, animal-protein-free alternative BTX product called Innotox®, which is

     currently being sold in Korea. See id., ¶ 20. In September 2013, pursuant to a supply and

     licensing agreement, Medytox licensed a formulation of Innotox® to Allergan for

     commercialization in the United States. See id. This formulation is known as

     MT10109L. See id.


     3
       The terms “botulinum toxin (BTX)” and “botulinum neurotoxin (BoNT)” can be used
     interchangeably. Botulinum toxins are toxins expressed by the C. botulinum species of
     bacteria. The toxin has its lethal effect by preventing the release of a neurotransmitter to
     the muscle, thus causing paralysis. Inasmuch as the toxin acts on the nervous system, it
     is termed a neurotoxin. CX-0016C (Neervannan WS) at Q/A 9.


                                                   6
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 14 of 283 PageID# 113

                                           PUBLIC VERSION


            Complainant Allergan plc is a public limited company established under the laws

     of the Republic of Ireland.4 See id., ¶ 21. Allergan, Inc., a subsidiary of Allergan plc, is

     a corporation organized under the laws of the State of Delaware. See id. Allergan’s

     products include BOTOX®, which is a product derived from the botulinum neurotoxin

     type A, which, in turn, is produced by processing the bacterium Clostridium botulinum

     (“C. botulinum”). See id., ¶ 23. BOTOX® is used to treat a range of muscular conditions

     and for aesthetic purposes, such as treating glabellar lines, crow’s feet, and forehead

     lines. See id. Allergan was the first company to launch a BTX product in the United

     States, achieving approval from the FDA for BOTOX® for therapeutic uses in 1989 and

     for aesthetic uses in 2002. See id.

            Respondent Daewoong Pharmaceuticals Co., Ltd. is a limited liability company

     established under the laws of Korea. See id., ¶ 25. Daewoong’s business includes the

     manufacture and sale of pharmaceutical products and medical devices. See id., ¶ 26.

            Evolus is a public corporation organized under the laws of Delaware. See id., ¶

     29. Evolus is a medical aesthetics company focused on delivering advanced aesthetic

     procedures and treatments to physicians and consumers. See id., ¶ 30. Evolus has an

     exclusive licensing agreement with Daewoong regarding the accused products.

            The Staff also remains a party to this investigation.

            D.      The Accused Products

            The notice of investigation defined the accused products as “botulinum

     neurotoxin products manufactured by Daewoong Pharmaceuticals Co., Ltd., specifically:


     4
       As indicated in Order No. 43 (which, as discussed in Section I.A (Background), is an
     initial determination pending before the Commission), following the acquisition of
     Allergan plc by AbbVie Inc., Allergan plc was changed to Allergan Limited.


                                                   7
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 15 of 283 PageID# 114

                                        PUBLIC VERSION


     (1) DWP-450 (prabotulinumtoxinA), variously marketed under the brand names Nabota,

     Jeuveau®, and other brand names; (2) products containing or derived from DWP-450;

     and (3) products containing or derived from the BTX strain assigned the high-risk

     pathogen control number 4-029-CBB-IS-001 by the Korean Centers for Disease Control

     and Prevention or the manufacturing process used to manufacture DWP-450.” Notice of

     Institution of Investigation at 2 (Feb. 28, 2019).

                    1.      DWP-450

            DWP-450 is Daewoong’s internal designation used to refer generally to

     Daewoong’s BTX product, which is manufactured using the BTX strain assigned the

     Korean control number 4-029-CBB-IS-001 that is identified in the notice of investigation.

     See RX-3167C (KY Kim WS) at Q/A 15; CX-0972C.22-24 (DW Rog. Resp. No. 15);

     CX-0973C.21-23 (DW Rog. Resp. No. 14). DWP-450-derived products are sold in

     South Korea under the brand name Nabota, in the United States under the brand name

     Jeuveau®, and in Canada and Europe under the brand name Nuceiva. Nabota and

     Jeuveau® contain the same drug substance, i.e., active pharmaceutical ingredient. RX-

     3167C (KY Kim WS) at Q/A 20.

                    2.       Jeuveau®

            Jeuveau® is the brand name for the formulation of DWP-450 that has received

     U.S. FDA approval and is on sale in the United States. See RX-3167C (KY Kim WS) at

     Q/A 15-20; RX-3162C (Moatazedi WS) at Q/A 15–16. Jeuveau® is a 900 kilodalton

     product that is indicated for the treatment of glabellar lines. Mulhern Tr. 928. It is

     manufactured by Daewoong and sold in the United States by Evolus. RX-3162C

     (Moatazedi WS) at Q/A 75; Moatazedi Tr. 899. Jeuveau® has been approved for




                                                   8
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 16 of 283 PageID# 115

                                        PUBLIC VERSION


     aesthetic use. RX-3162C (Moatazedi WS) at Q/A 27, 30. A company called Alphaeon

     Corporation (a company within the same corporate family as Evolus and the former

     owner of Evolus) owns the rights to introduce the same product for therapeutic use in the

     United States. Id. at Q/A 29; RX-3160C (Marmo WS) at Q/A 63–65.

                    3.      Nabota

            Nabota is the brand name for the formulation of DWP-450 that is sold by

     Daewoong in several countries, including South Korea, Thailand, Philippines, Mexico,

     and India. RX-3167C (KY Kim WS) at Q/A 16.

            E.      Technological Background

                    1.      Botulinum Neurotoxin (BTX or BoNT)

            BTX products have both therapeutic applications, including the treatment of

     chronic migraine headaches, cervical dystonia, hyperhidrosis, spasticity, and urinary

     incontinence, and aesthetic applications, including the temporary improvement to the

     appearance of glabellar lines (sometimes called frown lines), lateral canthal lines

     (sometimes called crow’s feet), and forehead lines. See Joint Technology Stipulation at 2

     (July 26, 2019) (EDIS Doc. ID No. 683401). BTX products are made from C. botulinum,

     which produces a highly potent neurotoxin that can cause muscle paralysis and death and

     must be carefully handled. Id. C. botulinum is the bacteria that causes botulism. See

     CX-0010C (Pickett WS) at Q/A 66-67. In a typical cosmetic procedure, a 50-unit or 100-

     unit vial of a BTX product is injected via syringe into the muscle of the target area. CX-

     0016C (Neervannan WS) at Q/A 11. The BTX product operates as a neuromuscular

     blocking agent, which functions by temporarily interfering with nerve signals and

     temporarily relaxing targeted muscles through localized injections. Id. at Q/A 9.




                                                  9
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 17 of 283 PageID# 116

                                       PUBLIC VERSION


            All BTX products require use of a commercially viable C. botulinum strain.

     Different strains of C. botulinum produce different serotypes of neurotoxin. See CX-

     0010C (Pickett WS) at Q/A 67. The serotypes have been labeled alphabetically from

     serotype A to serotype G, and there are subtypes within each serotype (e.g., A1, A2, etc.).

     Id. Type A1 BTX products are the most commercially viable. Id. at Q/A 68. However,

     not every Type A1-producing strain can be used to make a commercial product; the

     properties of the strain are exceptionally important when considering whether it can be

     used for a commercial product. Id. at Q/A 70.

            In addition to requiring a strain, producing a BTX product requires a carefully

     calibrated manufacturing process. The manufacturing process for BTX products includes

     the manufacturing of the drug substance (also called the API or the “bulk”) and the drug

     product (the finished dosage form sold to consumers). See Joint Technology Stipulation

     at 3 (July 26, 2019). Manufacture of the BTX drug substance involves culturing the C.

     botulinum bacteria, and then separating, isolating, and purifying the neurotoxin complex.

     Id.

            When cultured (i.e., grown), the C. botulinum bacteria secrete the neurotoxin

     protein molecule along with several other neurotoxin associated proteins. See CX-0010C

     (Pickett WS) at Q/A 187. These collectively, together with the neurotoxin protein

     molecule, form the whole protein complex, which is called the neurotoxin complex. See

     id. The molecular weight of this whole neurotoxin complex can vary, but the largest size

     is 900 kDa. See id. The whole neurotoxin complex can be used for a BTX product. See

     id. The neurotoxin complex can also be further purified, if desired, to varying degrees

     until all the proteins, with the exception of the neurotoxin protein molecule, are removed.



                                                 10
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 18 of 283 PageID# 117

                                         PUBLIC VERSION


     See id. The pure neurotoxin protein molecule can also be used for a BTX product. See

     id. The BTX products of Medytox, Allergan, and Daewoong all use the neurotoxin

     complex, with a molecular weight of 900kDa. See id.

               After the drug substance is obtained, it must be formulated and packaged into the

     final drug product (i.e., a form that can be used by and sold to clinicians). Production of

     the drug product involves combining the drug substance with additional ingredients

     known as excipients, which are used to stabilize the neurotoxin molecules and provide a

     sterile preparation of the product for injection. See Joint Technology Stipulation at 4

     (July 26, 2019). BTX products can be sold in either a solid or liquid form using a variety

     of excipients. See id. The solid forms can be a powder that is either freeze-dried (or

     “lyophilized”) or vacuum-dried, which must be diluted with a suitable liquid prior to

     injection. See id. The liquid forms do not require this step and can be injected directly.

     See id.

               The Hall A-hyper strain, a strain of C. botulinum, was developed by U.S. army

     researchers in the 1940s and has been prized ever since for its characteristics that cannot

     be found in other C. botulinum strains. Researchers at the U.S. Army Medical Research

     Institute of Infectious Diseases (“USAMRIID”) developed the Hall A-hyper strain by

     screening colonies of the bacteria for high toxin producers over several iterations. See

     JX-0124.3 (Schantz & Johnson (1992)); Keim Tr. 203–205. As an exceptionally

     productive strain, the Hall A-hyper strain makes the separation and purification process

     easier and the manufacturing process safer. It is also stable, which means it does not

     degenerate over time to a strain that produces less neurotoxin. Finally, it only sporulates




                                                   11
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 19 of 283 PageID# 118

                                        PUBLIC VERSION


     poorly and does not form spores5 during the manufacturing process, which streamlines

     downstream processing and helps manufacturers meet the high standards required for

     making botulinum toxin. See CX-0010C (Pickett WS) at Q/A 71–83; CX-0013C (Jung

     WS) at Q/A 37.

                    2.      DNA Sequencing

            The genome of any organism is the sum total of the DNA that encodes all of the

     cellular machinery necessary for the organism to carry out life. See CX-0015C (Keim

     WS) at Q/A 14. DNA is composed of four nucleotides: adenine (A), cytosine (C),

     guanine (G), and thymine (T). See id. at Q/A 60. The sequence arrangement of these

     four nucleotides provides the information that controls the biological activity of the

     organism. In C. botulinum type A1 bacteria, the genome is roughly 3.5 to 4 million

     nucleotides in length, depending on the particular strain of the bacteria. The Hall A-

     hyper strain (from Fort Detrick) has been sequenced to 3,760,560 nucleotides in length.

     See CX-1939; CX-0015C (Keim WS) at Q/A 159–61 (discussing CX-1939 and GenBank

     submission for CP000727.1). Portions of the genome sequence encode discrete genes

     (coding regions), which encode a specific protein or enzyme that is used by the cell to

     carry out a biological function. Other portions of the genome sequence do not encode

     any genes at all (non-coding regions) and can either serve as a spacer between genes or

     may serve a functional role that aids in the proper expression of a gene into a protein or

     enzyme. See Keim Tr. 218–219.



     5
       Spores, also called endospores, are employed by some bacteria when they encounter
     adverse conditions. Certain bacterial cells may convert into dormant spores, which are
     robust bodies that can withstand extreme conditions. See RX-3164C (Wilson WS) at
     Q/A 179.


                                                  12
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 20 of 283 PageID# 119

                                        PUBLIC VERSION


            Before the early 2010s, scientists employed a sequencing technique first

     developed by Dr. Frederick Sanger in the early 1970s. RX-3165C (David Sherman WS)

     at Q/A 15. The Sanger sequencing method can be used to obtain continuous sequences of

     up to 1,000 nucleotides or more. It is considered the “gold standard” by most scientists in

     terms of the quality and accuracy of the sequences obtained. See CX-0015C (Keim WS)

     at Q/A 156–58. The Sanger sequencing method is not without drawbacks, however, as it

     can be a laborious, time-consuming, and expensive process to use for sequencing whole

     genomes; however, its accuracy is rarely questioned. CX-0015C at Q/A 158. In the case

     of the Hall A-hyper strain, which has a total length of 3.76 million nucleotides, thousands

     of reads (“reads” are continuous fragments of DNA) are required to assemble the full-

     length genome, because each read has a length of roughly 1,000 nucleotides.

            In the early 2010s, new technologies such as next generation sequencing (NGS)

     (developed by companies like Illumina) and single-molecule, real-time (SMRT)

     sequencing (developed by companies like Pacific Biosciences (“PacBio”)) came into use

     by the scientific community to sequence longer DNA sequences, including whole

     genome sequences (WGS). See RX-3165C (Sherman WS) at Q/A 18–26. The main

     advantage of the NGS and SMRT technologies is that the cost of sequencing DNA is, on

     a per-nucleotide basis, less than 1% the cost of sequencing using the Sanger method. It is

     also less time-consuming to obtain the data, as it is largely reliant on computer algorithms

     and software to generate the nucleotide sequences and assemble longer, continuous

     fragments of nucleotide sequences. Id.

            NGS techniques developed by Illumina shears the DNA desired to be sequenced

     into fragments that are read by the Illumina machine. See CX-0015C (Keim WS) at Q/A



                                                 13
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 21 of 283 PageID# 120

                                       PUBLIC VERSION


     60. Illumina techniques generate “reads” of approximately 250 nucleotides in length. Id.

     at Q/A 62. The accuracy of the nucleotide sequence for each Illumina read is believed to

     be in the 99 to 99.9% range. See generally CX-0015C at Q/A 58–67; RX-3165C at Q/A

     18–26. Even with a 99.9% accuracy rate, however, on a 250-nucleotide read, that means

     on average there are 0.25 errors per read. Id. This low accuracy rate is overcome by

     reading between 50 to 200 different DNA fragments that cover each nucleotide position.

     Id. However, the number of fragments covering each nucleotide position (i.e., the depth

     of coverage) is not uniform across the entire length of the genome due to the random

     shearing.6 Id. With enough reads, algorithms can calculate the most likely or

     “consensus” nucleotide for each given nucleotide position on the DNA sequence. Id.

     Computer algorithms also process the millions of DNA fragments in order to “assemble”

     the 250 nucleotide fragments into longer assemblies of longer continuous lengths by

     determining overlaps of sequences. Id. Ideally, the fragments can be assembled into a

     single genomic sequence without any breaks. See generally CX-0015C (Keim WS) at

     Q/A 58–67; RX-3165C (Sherman WS) at Q/A 18–26.

            Real-time sequencing developed by PacBio also divides the DNA desired to be

     sequenced into fragments longer than those used by Illumina NGS technology. RX-

     3165C (Sherman WS) at Q/A 18–26. PacBio reads are between 10,000 to 15,000 in

     length, and each fragment is read multiple times. Id. The accuracy of the nucleotide

     sequence for each PacBio read is believed to be in the 85% range. Id. This low accuracy

     rate is overcome by the multiple reads per nucleotide position and having the computer


     6
       It is possible that some nucleotide positions have less than 20 fragments covering that
     particular nucleotide position while other positions have over 250 fragments covering
     that particular position. See, e.g., CX-0015C (Keim WS) at Q/A 66, 90, 194.


                                                 14
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 22 of 283 PageID# 121

                                          PUBLIC VERSION


     algorithm determine the “consensus” nucleotide for each position. Id. While PacBio

     sequencing provides longer continuous DNA sequence fragments, the high error rate

     limits the usefulness of sequences determined by PacBio technology. Id.

                    3.      Laboratory Bacterial Culturing Versus Bacteria in Nature

            The most common method of growing up large numbers of bacteria is liquid

     culturing, in which a small amount of the desired bacteria is suspended in a liquid

     medium comprised of nutrients that are desired by the bacteria. See, e.g., CX-0010C

     (Pickett WS) at Q/A 118. Scientists may refer to “growing” or “expanding” bacteria as

     synonyms for bacterial culturing to increase the number of bacteria. This does not refer

     to making the bacterial cells larger in size, but merely in number. Depending on the

     density of cells in the liquid medium, the temperature, concentration of oxygen and

     carbon dioxide, the concentration of nutrients remaining in the liquid medium, the

     particular strain of bacteria, the presence of any selective factors, whether they are

     expending their energy producing botulinum toxin, and a variety of other factors, the

     population of bacteria can double every 20 to 60 minutes.

            When a bacterium (or any other living organism) reproduces, the cell must

     replicate its genomic DNA so that each cell has a copy of genome. For bacteria, the

     enzyme that replicates the DNA is roughly estimated to have an error rate of about 1 error

     per 100 million (108) to 1 error per 1 billion (109) nucleotides that it copies. CX-1939

     (Smith TJ, et al. (2007)). The genome of the C. botulinum strains at issue is roughly 3.7

     million nucleotides in length. Id.

            The mixture of cells having slightly different genomes that can arise by culturing

     in a laboratory can be maintained by using a method called direct culturing or mass



                                                  15
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 23 of 283 PageID# 122

                                         PUBLIC VERSION


     propagation. See generally CX-0015C (Keim WS) at Q/A 120–21; RX-3165C (Sherman

     WS) at Q/A 119. This is typically done by taking a small volume of the bacterial culture

     that has been cultured for some period of time.

            For example, a single bacterium may be placed into a flask containing 10 mL of

     culture media. After a day or two, the single bacterium has expanded into hundreds of

     trillions of cells. One might refer to this 10 mL culture of bacteria as “Culture A.” The

     scientist can take a small aliquot (e.g., 100 µL) of Culture A and inoculate a new tube or

     flask containing fresh culture media. Even this small aliquot (1% of the total volume of

     Culture A) will contain trillions of cells. Depending on the random mixture of cells

     contained in that 100 µL aliquot, the second culture tube or flask (which we refer to as

     “Culture D”) would likely have a similar mix of cells comprising the different genomes

     as those cells in the first tube. This method of culturing that results in Culture D is

     referred to as direct culturing or mass cell propagation. See CX-0015C (Keim WS) at

     Q/A 120–21.

            Scientists can take advantage of the natural mutation rate to select and isolate

     single cells and start new cultures that allow the mutants to multiply further without

     competition. See generally id.; RX-3165C (Sherman WS) at Q/A 119. One can take the

     10 µL aliquot (or perhaps even less) from Culture A and place them onto a plate that has

     a gelatin-like media (e.g., agar or egg yolk agar (EYA)) on which the bacteria can grow.

     By using the “streaking” method, one can isolate a single cell from which an isolated

     colony that will form over the next couple of days. That single isolated colony can be

     used to inoculate another tube or flask containing fresh culture media and, after a day or

     two, we have another culture of bacteria we will refer to as “Culture A1.” This method



                                                  16
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 24 of 283 PageID# 123

                                         PUBLIC VERSION


     of culturing that results in Culture A1 is referred to as single colony isolation. See RX-

     3165C (Sherman WS) at Q/A 119. If the single isolated colony from the streak has a

     mutation in its genome that did not exist in the original bacterium that started Culture A,

     then Culture A1 is almost certainly not going to contain any bacteria that have a genome

     identical to the original bacterium that started Culture A, as the rate and occurrence of

     mutations in the DNA replication process appear random and haphazard. Given the rapid

     growth of bacteria, this process of repeating the single cell isolation and inoculation in

     serial fashion (i.e., streaking a isolate a single colony from Culture A1 to inoculate

     Culture A2, then isolating a single colony from Culture A2 to inoculate Culture A3, etc.)

     can easily result in creating and isolating a bacterial culture having several mutations

     from the original bacterium in a matter of weeks. Id.

            While mutations can be readily isolated and cultured in a laboratory setting in a

     matter of days, mutations do not arise that quickly in nature. See generally id. at Q/A

     127. C. botulinum are anaerobic bacteria and, as such, must be cultured under conditions

     having minimal or no oxygen. If the concentration of oxygen exceeds a certain low

     threshold or other unfavorable conditions exist (e.g., insufficient nutrients remaining in

     the liquid media, overcrowding of bacteria, etc.), the bacteria will either die off or

     sporulate (i.e., form endospores). See RX-3164C (Wilson WS) at Q/A 179. It takes

     several hours for a bacterium to form an endospore, so sudden changes to the

     environment to make it hostile for the bacterium will result in death rather than survival

     in spore form. C. botulinum spores can survive extreme conditions for some time,

     depending on the severity of the conditions. C. botulinum spores are known to survive

     temperatures below -200°C, or even bursts of radiation. Id.



                                                  17
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 25 of 283 PageID# 124

                                        PUBLIC VERSION


            Growing bacteria in culture media under favorable conditions for their

     exponential expansion and/or cultivation for toxin production is a highly artificial

     condition that simply does not exist in the natural world. In nature, if the C. botulinum is

     not inside a host organism or an inaccessible, anaerobic environment that somehow has

     abundant nutrients for the C. botulinum to flourish and to multiply, the bacteria will exist

     as spores. On the soil surface, for example, the bacteria are exposed to high levels of

     oxygen (i.e., the normal concentration of oxygen in the atmosphere at sea level is about

     21%). They would also face an environment lacking nutrients, extreme temperatures, etc.

     Thus, C. botulinum bacteria that exist in nature are mostly going to exist as spores, unless

     they are deep in the soil or under other conditions where they are not exposed to oxygen,

     such as inside another living organism or carcass. Thus, new mutations in C. botulinum

     may take years, even thousands of years, to occur, if in the meantime conditions are never

     ripe for the C. botulinum to attempt to multiply. Sherman Tr. 833–834 (in the

     environment, the bacteria exist in a spore state until some point in time “when nutrients

     become available”). Yet, it is also possible the C. botulinum is exposed once every few

     months to anaerobic conditions favorable with nutrients (e.g., when ingested by an

     animal host, wind sweeps the spore into a favorable location, rain temporarily causes a

     deluge that places the spore in an anaerobic, favorable environment, etc.) and mutations

     have the opportunity to arise as DNA replication occurs when the bacteria replicate. Id.

     Given the many variabilities of conditions in nature, it is impossible to estimate the

     amount of time it takes for mutations to arise in nature. See Keim Tr. 173–174.

            F.      Asserted Trade Secrets




                                                  18
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 26 of 283 PageID# 125

                                        PUBLIC VERSION


            Complainants allege that Daewoong misappropriated (i) Medytox’s Clostridium

     botulinum bacterial strain used to manufacture its BTX products, and (ii) Medytox’s

     manufacturing process for Meditoxin. See, e.g., Complaint, ¶ 52; Compls. Br. at 37–43,

     132–34.

                    1.      Medytox’s C. botulinum Hall A-hyper Strain

            Medytox uses a strain of C. botulinum that originated from a subculture of the

     Hall A-hyper strain. Medytox’s C. botulinum strain (“Medytox BTX strain” or “Medytox

     strain”) is used to produce botulinum type A drug substance that is formulated into

     pharmaceutical products that are commercialized as, inter alia, Meditoxin and Innotox.

     See CX-0013C (Jung WS) at Q/A 17–19. The botulinum type A drug substance from the

     Medytox strain is also used in the formulation for MT10109L, a liquid BTX product that

     Medytox licensed to Allergan for commercialization in the United States. See id. at Q/A

     20. Medytox alleges that the Medytox BTX strain was misappropriated by Daewoong for

     the latter’s use in the manufacturing of the accused products.

            While the Medytox strain is known to be a Hall A-hyper strain, it is genetically

     distinct from other “Hall A-hyper” strains, including the one that was first reported in

     1943 by Drs. Elizabeth McCoy and William Sarles of the University of Wisconsin –

     Madison as a strain that produced more toxin per unit of culture than any other strain they

     tested. See CX-0005.3 (Smith TJ declaration). The high level of toxin production by the

     Hall A-hyper strain and strains derived from subcultures of the original Hall A-hyper

     strain is one characteristic that makes these strains unique and commercially valuable, as

     compared to the thousands of “Hall” strains and other non-Hall strains of C. botulinum.




                                                  19
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 27 of 283 PageID# 126

                                       PUBLIC VERSION


            Another characteristic associated with the Hall A-hyper strains is that they

     sporulate poorly, if at all. See CX-0010C (Pickett WS) at Q/A 71–72. This is a desirable

     quality for commercial processes, especially in pharmaceutical BTX manufacturing, as

     contamination of manufacturing equipment and/or the drug product with spores require

     additional processing to eliminate the spores. See id.

            Complainants allege that Daewoong misappropriated Medytox’s strain of C.

     botulinum, and uses it to produce DWP-450. It is further alleged that Daewoong obtained

     Medytox’s strain through former Medytox employee Dr. Byung Kook Lee (also referred

     to as “BK Lee”). See, e.g., Compls. Br. at 37. Respondents deny misappropriating the

     strain, as does Dr. BK Lee. See, e.g., Resps. Br. at 161–63.

                    2.    Medytox’s Manufacturing Processes for 900 kDa botulinum
                    toxin

            Medytox also alleges that Daewoong misappropriated Medytox’s secret

     manufacturing processes and related testing information for its 900 kDa botulinum toxin

     products, including Meditoxin, Innotox, and MT10109L. For example, there are

     allegations that former Medytox employee BK Lee took without authorization at least the

     following documents that memorialize some or all of the manufacturing processes, and

     related testing information:

           Batch record for Meditoxin: It is alleged that BK Lee printed 17 critical pages
            from the batch record detailing the step-by-step manufacturing process (including
            directions for [



                                                                                      ] for the
            drug substance. See CX-0011C (Rhee WS) at Q/A 47; CX-0017C (Chang WS) at
            Q/A 167; CX-2068C (SecuPrint image of Batch Record version no. 05, version
            date Sept. 11, 2006). These pages contain the specifications for the equipment
            and ingredients used in the GMP-approved manufacturing process and allegedly


                                                 20
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 28 of 283 PageID# 127

                                       PUBLIC VERSION


            reflect years of Medytox’s research and development work. See CX-0011C (Rhee
            WS) at Q/A 46–49.

           Experimental batch record: It is alleged that BK Lee emailed to his personal
            account an 18-page experimental batch record reflecting an experimental
            manufacturing process and certain innovations being studied by Medytox,
            including [
                                                  ]. See CX-0017C (Chang WS) at Q/A 173;
            CX-0011C (Rhee WS) at Q/A 50, 56–59; CX-2063C (attachment to email titled
            Experimental Batch Record Version No. 04).

           Characterization report and related test results and methods: It is alleged that BK
            Lee printed portions of two different characterization reports, along with various
            underlying biochemical analysis reports. See CX-0017C (Chang WS) at Q/A 165;
            CX-0011C (Rhee WS) at Q/A 63–91; CX-2067C (SecuPrint image of
            Characterization Report of Botulinum Toxin Type A); CX-2069C – CX-2084C
            (SecuPrint images of various analyses of the drug substance). A characterization
            report records the physiochemical properties, structural characterization and
            conformation, biological activities, immunological properties, and purity, as well
            as the specific tests performed to determine the characteristics of a drug
            substance. See CX-0011C (Rhee WS) at Q/A 60.

           Project and quality plan and attachments: It is alleged that BK Lee emailed to his
            personal account Medytox’s project and quality plan, and certain attachments to
            the same. See CX-0017C (Chang WS) at Q/A 170–72, 175–76; CX-2064C
            (attachment to email titled Project and Quality Plan for Botulinum Toxin Type A
            Complex Facility); CX-2059C – CX-2062C (attachments to email containing CX-
            2064C); CX-0436C, CX-0437C – CX-0444C (additional attachments to Project
            and Quality Plan). These documents detail building a manufacturing facility and
            manufacturing a drug substance in compliance with GMP standards. See CX-
            0011C (Rhee WS) at Q/A 92–101.

           Meditoxin common technical document: It is alleged that BK Lee emailed to his
            personal email account portions of Medytox’s common technical document,
            which describes the approved manufacturing process for Meditoxin and contains
            much of the same information reflected in the other documents listed above. See
            CX-1526C (Sep. 7, 2007 email to/from BK Lee), CX-1527C (portion of common
            technical document attached to CX-1526C).

     See, e.g., Staff Br. at 20–22; Compls. Br. at 176–80; Compls. Reply Br. at 2.

            Respondents argue, and Dr. BK Lee testified, that his emails and printings were

     authorized or in line with the practices in place at Medytox when he was there. Resps.

     Br. at 187–94.



                                                 21
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 29 of 283 PageID# 128

                                        PUBLIC VERSION


     II.    Jurisdiction

            A.      In Rem Jurisdiction

            Evolus does not contest in rem jurisdiction as to Jeuveau®, as it does not contest

     that it imports and sells Jeuveau® after importation. Respondents argue that

     complainants have not shown that there is in rem jurisdiction as to Nabota® or DWP-

     450, because respondents do not import or sell them after importation into the United

     States. However, respondents admit that both Nabota® and DWP-450 have previously

     been imported into the United States. Due to the importation of Jeuveau®, Nabota, and

     DWP-450, the Commission has in rem jurisdiction over the accused products. See, e.g.,

     Sealed Air Corp. v. Int’l Trade Comm’n, 645 F.2d 976, 985–86 (C.C.P.A. 1981) (noting

     that the Commission has jurisdiction over imported goods).

            B.      Personal Jurisdiction

            No party has contested the Commission’s personal jurisdiction over it. Moreover,

     both Daewoong and Evolus have appeared and participated in this investigation. It is

     therefore found that the Commission has personal jurisdiction over all parties.

            C.      Subject Matter Jurisdiction

            Complainants argue that section 337 provides that the Commission shall

     investigate alleged unfair acts, such as those alleged in the complaint. See 19 U.S.C.

     § 1337(a)(1)(A). In complainants’ view, section 337 serves a broad “protective function,

     in that it protects the domestic market from those products sold in the United States,

     which are the fruits of unfair competition.” Compls. Reply at 29; Certain Welded

     Stainless Steel Pipe and Tube, Inv. No. 337-TA-29, Comm’n Op. at 12, 1978 WL 50692,

     at *8 (Feb. 22, 1978).

            Respondents argue, in part:


                                                 22
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 30 of 283 PageID# 129

                                     PUBLIC VERSION


                         The ITC . . . does not have jurisdiction over wholly
                 foreign disputes. Section 337 does not extend the ITC’s
                 jurisdiction extraterritorially to reach alleged infringement
                 of purely foreign intellectual property rights based on
                 entirely foreign activity. Much like how the ITC’s
                 jurisdiction does not reach infringement of a foreign patent
                 even if the resulting product made by such infringement is
                 imported into the U.S., the ITC’s jurisdiction does not reach
                 alleged misappropriation of a Korean company’s Korean
                 trade secrets based on activity solely in Korea by another
                 Korean company.

                         In general, U.S. law does not provide a cause of
                 action to foreign parties for misconduct that allegedly
                 occurred in foreign jurisdictions — there is a presumption
                 against extraterritoriality when interpreting U.S. statutes.
                 See Kiobel v. Royal, 569 U.S. 108 (2013); Morrison v.
                 National Australia Bank Ltd., 561 U.S. 247 (2010). Thus,
                 “[w]hen a statute gives no clear indication of an
                 extraterritorial application, it has none.” Morrison, 561 U.S.
                 at 255. Moreover, even when a statute provides for some
                 extraterritorial application, “the presumption against
                 extraterritoriality operates to limit that provision to its
                 terms.” Id. at 265.

                         There is no statutory language that expresses clear
                 intent for Section 337 to apply to extraterritorial intellectual
                 property rights. For example, the statutory provisions of
                 Section 337 are limited to infringement of U.S. patents, U.S.
                 trademarks, U.S. mask works, and U.S. designs. There is no
                 express language extending the provisions of Section 337 to
                 infringement of foreign patents, foreign trademarks, foreign
                 mask works, and foreign designs. Similarly, there is no
                 statutory language that supports that the unfair acts under
                 Section 337 can be based on misappropriation of foreign
                 intellectual property.

                         The legislative history also does not support
                 extraterritoriality. Rather, the original purpose of Section
                 337 was to protect U.S. manufacturers and U.S. intellectual
                 property rights. See Kinter 1978 Legislative History of
                 Antitrust Laws at 6014, 6127. During the Senate debate for
                 the Tariff Act of 1930, senators explained that Section 337
                 was “drafted in response to the appeals and demands of
                 American manufacturers. . .” Id. The passage of the 1988
                 amendment to Section 337 further emphasized that the



                                               23
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 31 of 283 PageID# 130

                                     PUBLIC VERSION


                 purpose of the statute is to protect U.S. intellectual property
                 rights against imports that cause financial losses to American
                 companies.

                         Moreover, the Federal Circuit has held that the
                 extraterritorial reach of Section 337 is limited to foreign
                 conduct that relates to importation. “[T]he Commission’s
                 investigations, findings, and remedies affect foreign conduct
                 only insofar as that conduct relates to the importation of
                 articles into the United States.” TianRui Group Co. Ltd. v.
                 Int’l Trade Comm’n, 661 F.3d 1322, 1322 (Fed. Cir. 2011).
                 Although the dissent in TianRui read Section 337 to preclude
                 entirely acts of misappropriation that occurred outside of the
                 U.S., id. at 1338-42, the majority interpreted Section 337 to
                 include misappropriation of U.S.-developed and U.S.-owned
                 trade secrets in China where the asserted U.S. trade secrets
                 were licensed by the U.S. manufacturer and thus were of
                 value to the U.S. manufacturer. The Federal Circuit has
                 never interpreted Section 337 to extend to foreign
                 intellectual property rights.

                         Complainants seemingly allege that Section 337 has
                 extraterritorial reach because it governs “unfair methods of
                 competition and unfair acts in the importation of articles”
                 that are manufactured outside of the United States. CPB at
                 23-24. That is inapposite. The “unfair methods of
                 competition and unfair acts” under Section 337 are limited
                 to violations of domestic rights. Indeed, the parties and Staff
                 agree that Complainants’ claims are governed by U.S. trade
                 secret law. CPB at 24-25 (stating that the Commission
                 applies “a single federal standard,” and citing the
                 Restatement of the Law of Torts § 757, 18 U.S.C. § 1839(3),
                 and the Uniform Trade Secrets Act § 1(4)); SPB at 28
                 (same).

                         Here, however, there are no U.S. trade secrets at
                 issue. Rather, the undisputed facts make clear that the
                 asserted trade secrets were allegedly created in Korea by a
                 Korean company (with no U.S. subsidiaries), used solely in
                 Korea, and kept exclusively in Korea. This stands in stark
                 contrast to TianRui, in which the trade secrets had been
                 developed and practiced in the United States by their owner,
                 a U.S. company, which was the complainant. TianRui, 661
                 F.3d at 1324. Here, the asserted trade secrets are so closely
                 tied to Korea that they are considered Korean national core
                 technology under Korean law and a civil lawsuit between the



                                               24
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 32 of 283 PageID# 131

                                         PUBLIC VERSION


                      parties involving identical allegations has been pending in
                      Korea for the last two years. Both California and Indiana
                      state courts have also independently concluded that
                      Medytox’s misappropriation allegations against Daewoong
                      should be adjudicated in Korea. See supra II.A.

                              Moreover, the evidence makes clear that no U.S.
                      company has rights to the foreign-developed and foreign-
                      owned alleged trade secrets. Complainant Medytox, the
                      alleged developer and owner of the asserted trade secrets, is
                      indisputably a Korean company with no U.S. presence. And
                      co-Complainant Allergan indisputably did not develop the
                      alleged trade secrets and does not own, license, have access
                      to, possess them, or use them, as explained in much greater
                      detail below at III.D.2.b.i.

                               The asserted trade secrets at issue here are purely
                      Korean trade secrets — there are no U.S. trade secret rights
                      at issue in this case. Given the facts of this case and the
                      extraterritorial nature of the dispute, the ITC does not have
                      subject matter jurisdiction over Complainants’ allegations
                      regarding the misappropriation of the alleged Korean trade
                      secrets.

     Resps. Br. at 47–50 (footnotes omitted).7

               Complainants argue that the Commission has subject matter jurisdiction over this

     investigation because the complainants allege that respondents have committed an unfair

     act, and section 337 provides that the Commission shall investigate such alleged unfair

     acts. See Compls. Br. at 28. Complainants argue it is irrelevant whether the asserted

     trade secrets are U.S.-based intellectual property rights or not because subsection

     (a)(1)(A) of section 337 is not so limited, but rather protects U.S. industry against any

     “[u]nfair methods of competition and unfair acts in the importation of articles . . . into the

     United States.” Id. The complainants cite TianRui Grp. Co. Ltd. v. Int’l Trade Comm’n,

     661 F.3d 1322, 1332 (Fed. Cir. 2011), see id., as explaining that any concerns about the


     7
         Emphasis in original unless noted otherwise.


                                                   25
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 33 of 283 PageID# 132

                                         PUBLIC VERSION


     extraterritorial application of subsection (a)(1)(A) are balanced by the fact that “[t]he

     Commission’s investigations, findings, and remedies affect foreign conduct only insofar

     as that conduct relates to the importation of articles into the United States.”

            The Staff agrees with the complainants, arguing that the Commission has subject

     matter jurisdiction because Medytox and Allergan properly filed a complaint alleging a

     violation of 19 U.S.C. § 337(a)(1)(A). See Staff Br. at 26–27.

            The Commission has subject matter jurisdiction in this investigation because

     complainants filed a complaint alleging a violation of section 337. Furthermore, the

     administrative law judge finds that respondents’ extraterritoriality argument was rejected

     by the Federal Circuit in TianRui, which held that section 337 “does not purport to

     regulate purely foreign conduct” because “of the statute’s focus on the act of importation

     and the resulting domestic injury.” 661 F.3d at 1329. The determination in TianRui did

     not turn on whether the trade secrets at issue had been developed and practiced in the

     United States.8 The salient point was that the imported goods at issue were imported and

     injured, or could injure, a domestic industry.

            Contrary to respondents’ interpretation of the TianRui decision, the majority

     opinion imposed no limitations regarding U.S. development and U.S. ownership of the

     trade secrets in the majority opinion:

                    [E]ven if we were to conclude that section 337 is ambiguous
                    with respect to its application to trade secret
                    misappropriation occurring abroad, we would uphold the
                    Commission’s interpretation of the scope of the statute. As
                    it is, we conclude that the Commission’s longstanding

     8
       The TianRui decision did not look to the laws of the state in which the intellectual
     property was alleged to have been created. Rather, the Federal Circuit looked to a single
     federal standard to determine whether there was trade secret misappropriation under
     section 337. TianRui, 661 F.3d at 1327.


                                                  26
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 34 of 283 PageID# 133

                                          PUBLIC VERSION


                      interpretation is consistent with the purpose and the
                      legislative background of the statute, and we therefore hold
                      that it was proper for the Commission to find a section 337
                      violation based in part on acts of trade secret
                      misappropriation occurring overseas.

     TianRui, 661 F.3d at 1332. Relevant to the Commission’s subject matter jurisdiction is

     the following:

                      [T]he foreign ‘unfair’ activity at issue in this case is relevant
                      only to the extent that it results in the importation of goods
                      into this country causing domestic injury. In light of the
                      statute’s [i.e., Section 337] focus on the act of importation
                      and the resulting domestic injury, the Commission’s order
                      does not purport to regulate purely foreign conduct. Because
                      foreign conduct is used only to establish an element of a
                      claim alleging a domestic injury and seeking a wholly
                      domestic remedy, the presumption against extraterritorial
                      application does not apply.

     Id. at 1329 (internal citation omitted). Section 337 sets conditions under which products

     may be imported into the United States. Id. at 1330.

            Subsection (a)(1)(A) of section 337 protects U.S. industry against any “[u]nfair

     methods of competition and unfair acts in the importation of articles . . . into the United

     States.” As the Federal Circuit explained in TianRui, concerns about the extraterritorial

     application of subsection (a)(1)(A) are obviated by the fact that “[t]he Commission’s

     investigations, findings, and remedies affect foreign conduct only insofar as that conduct

     relates to the importation of articles into the United States.” 661 F.3d at 1332.

            Inasmuch as the statutory language requires that a complainant demonstrate that

     the imported articles at issue have the threat or effect of destroying or substantially

     injuring an industry in the United States, respondents’ concerns regarding

     extraterritoriality are not persuasive. The administrative law judge finds that the

     Commission has subject matter jurisdiction based on the alleged (and in this case proven)


                                                     27
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 35 of 283 PageID# 134

                                           PUBLIC VERSION


     importation of products made by misappropriated trade secrets, which has resulted in

     harm to the domestic industry. See Certain Rubber Resins and Processes for

     Manufacturing Same, Inv. No. 337-TA-849, Initial Determination, at 16–18 (June 17,

     2013) (unreviewed in relevant part) (Comm’n Op. (EDIS Doc. ID No. 525763) (Jan. 15,

     2014)).

     III.      Standing

               A.     Medytox Standing

               Respondents argue, in part:

                      [B]y its own recitation of the facts Medytox came into
                      possession of its copy of the Hall A strain through a series
                      of free transfers among researchers. It has therefore failed
                      to establish that it owns or exclusively licenses the strain, to
                      the extent the strain can be considered a trade secret at all
                      (which it cannot). Medytox’s asserted process-based
                      information also mirrors the public literature sources
                      Medytox concedes it relied upon in developing its process,
                      meaning that Medytox does not own or exclusively license
                      any process-based trade secrets either. For these reasons,
                      Medytox does not have standing to bring a claim of trade
                      secret misappropriation here. See, e.g., Rubber Resins, ID,
                      at 47.

     Resps. Br. at 53.

               In their prehearing brief, respondents stated: “In this case, it is Medytox, if

     anyone, that has a colorable basis to assert standing, as it claims to be the exclusive

     owner of the asserted trade secrets.” Resps. Prehearing Br. at 46. Respondents included

     a footnote with a vague statement that “[i]t is unclear whether even Medytox can

     establish standing, given evidence that it does not own the asserted trade secrets, among

     other issues.” The administrative law judge finds this insufficient under Ground Rule 7c

     (pertaining to prehearing briefs), which states that “[a]ny contentions not set forth in



                                                     28
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 36 of 283 PageID# 135

                                        PUBLIC VERSION


     detail as required therein shall be deemed abandoned or withdrawn[.]” Order No. 26

     (Oct. 24, 2019).

            Furthermore, as discussed herein (Sections VI and VII), Medytox has established

     ownership of its trade secret strain and manufacturing process.

            B.      Allergan Standing

            Complainants first argue that Commission precedent requires only one

     complainant to demonstrate standing. See Compls. Br. at 29–31. Complainants cite

     Commission Rule 210.12, which states that, for intellectual-property-based

     investigations, the complaint must “include a showing that at least one complainant is the

     owner or exclusive licensee of the subject intellectual property.” 19 C.F.R. §

     210.12(a)(7). Complainants cite Certain Diltiazem Hydrochloride and Diltiazem

     Preparations (“Diltiazem Preparations”), Inv. No. 337-TA-349, Order No. 35, 1994 WL

     930265 (Sept. 2, 1994), where a party that purchased a patented compound from the

     patent owner and manufactured and sold products produced therefrom had “sufficient

     commercial and legal interest to appear as a joint complainant with . . . the patent owner.”

     Diltiazem Preparations, Order No. 35 at *2. Complainants contend the same principle

     applies for Allergan.

            Complainants thus argue that the demonstration of the ownership by Medytox,

     combined with the additional showing that Allergan has suffered a concrete “injury in

     fact” (i.e., injury to the domestic industry for BTX products) evidences that both parties

     have direct interests at stake in the investigation’s outcome: the owner of the asserted

     trade secrets (Medytox) and the domestic industry participant most likely to be directly

     injured by respondents’ unfair acts (Allergan). See Compls. Br. at 29–31; Lujan v.



                                                  29
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 37 of 283 PageID# 136

                                        PUBLIC VERSION


     Defenders of Wildlife, 504 U.S. 555, 560 (1992); Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

     1547-48 (2016) (“The plaintiff must have (1) suffered an injury in fact, (2) that is fairly

     traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

     by a favorable judicial decision.”).

            Respondents argue, in part:

                            “[T]he same standing requirements apply before the
                    [International Trade] Commission and before Article III
                    courts.” Certain Wireless Devices, Including Mobile Phones
                    & Tablets II, Inv. No. 337-TA-905, Order No. 12 at 7 (May
                    1, 2014) (“Certain Wireless Devices”). In both, the question
                    of standing is jurisdictional, and it is the complainant’s
                    burden to prove that it has cleared this critical threshold. See,
                    e.g., SiRF Technology, Inc. v. International Trade
                    Commission, 601 F.3d 1319, 1327-28 (Fed. Cir. 2010);
                    Certain Semiconductor Chips with Minimized Chip Package
                    Size and Products Containing Same, Inv. No. 337-TA-605,
                    ID at 14 (December 1, 2008) (unreviewed in relevant part).
                    The standing requirement dictates that “the plaintiff
                    generally must assert his own legal rights and interests, and
                    cannot rest his claim to relief on the legal rights or interests
                    of third parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975).
                    At the ITC, “[t]he unique nature of section 337 gives rise to
                    a host of additional practical reasons . . . as to why the
                    standing rule should be read into Commission practice at
                    least as strictly as elsewhere,” including the need for
                    certainty as to which entities can assert private intellectual
                    property rights, and which entities can be bound by any
                    consequences of those assertions.             Certain Catalyst
                    Components and Catalysts for the Polymerization of Olefins,
                    Inv. No. 337-TA-307, Order No. 12, 1990 WL 710699, at
                    *5-7 (Mar. 22, 1990) (“Catalyst Components”).

                           In a trade secret case at the ITC, it is the party that
                    owns or exclusively licenses the alleged trade secrets that
                    has standing to assert their misappropriation. See, e.g.,
                    Rubber Resins, ID, at 44 (aff’d in relevant part) (in order to
                    have standing to assert a trade secret misappropriation claim
                    at the Commission, “the Commission Rules require the
                    complainant [to] own the trade secrets at issue or be the
                    exclusive licensee”); Certain Cast Steel Ry. Wheels, Certain
                    Processes for Mfg. or Relating to Same & Certain Products


                                                   30
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 38 of 283 PageID# 137

                                         PUBLIC VERSION


                    Containing Same, Inv. No. 337-TA-655, ID, at 17 (Oct. 16,
                    2009) (“Cast Steel Wheels”) (complainant “has established
                    that it owns the trade secrets asserted in this investigation,
                    and that it has standing”); Activity Tracking Devices, Order
                    No. 55, at 4 (Apr. 27, 2016) (complainants had standing
                    where “there is no dispute that Complainants have
                    possession and title to the asserted trade secrets”) (emphasis
                    added). In the above and all other Section 337 trade secret
                    investigations of which Respondents are aware, the party
                    found to have standing by virtue of its legal interest in the
                    trade secrets also alleged its own domestic industry. In other
                    words, the legal strategy adopted here by Complainants —
                    where one party claims to hold legal interest in foreign trade
                    secrets, and another unrelated entity claims to have the
                    domestic industry/injury, with neither having both —
                    appears to be completely unprecedented.

     Resps. Br. at 54–55.

            Complainants also argue that Allergan demonstrated that it has standing because

     it is the exclusive licensee of MT10109L in the United States, and Allergan is therefore

     entitled to both the benefit of the intellectual property that inheres in the license for which

     it paid valuable consideration, and to seek redress against respondents’ unfair competition

     in misappropriating those same intellectual property rights. See Compls. Br. at 31–34.

            In 2013, Allergan and Medytox entered into a license agreement granting

     Allergan an exclusive worldwide license (excluding only Korea and Japan) [




                                                                                           ]. See

     Compls. Br. at 32; JX-0050C.20 (License Agreement); Neervannan Tr. 445‒448. The

     license includes “[




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Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 39 of 283 PageID# 138

                                        PUBLIC VERSION


                                                                              ].” JX-0050C.20.9

     Complainants argue that MT10109L is manufactured using the same BTX strain that

     complainants allege Daewoong misappropriated and that is the subject of this

     Investigation. See Compls. Br. at 32; CX-0011C (Rhee WS) at Q/A 7, 10; CX-0013C

     (Jung WS) at Q/A 19‒20.

            Additionally, complainants argue that Allergan’s exclusive license to MT10109L

     [                                                                                        ].

     See Compls. Br. at 32–33. Complainants contend the evidence established that the

     manufacturing trade secrets at issue and the R&D work that generated those trade secrets

     served as the foundation for the development of the manufacturing process for

     MT10109L. See id. at 33; CX-0017C (Chang WS) at Q/A 70; CX-0012C (HW Kim WS)

     at Q/A 90; CX-0013C (Jung WS) at Q/A 68; CX-0011C (Rhee WS) at Q/A 54–55.

     Complainants argue that Allergan has more than a “sufficient commercial and legal

     interest to appear as a joint complainant” with respect to that intellectual property,

     because it is the exclusive licensee for MT10109L. See Compls. Br. at 33 (quoting

     Diltiazem Preparations, Order No. 35 at *2).

            Complainants argue that the Commission has expressly sanctioned standing in

     similar circumstances. See Compls. Reply Br. at 33–34. In Diltiazem Preparations,

     Tanabe, a Japanese corporation, owned the asserted patent but did not engage in any

     operations in the United States. Diltiazem Preparations, ID at 6 (Feb. 1, 1995). The

     other complainant (MMD) was a U.S. company that was “not licensed . . . to practice the



     9
       The agreement defines “[             ]” to include, among other things, “[             ].”
     Id. at JX-0050C.14.


                                                  32
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 40 of 283 PageID# 139

                                        PUBLIC VERSION


     [asserted] patent in the United States.” Id. at 321. Instead, MMD had a supply

     agreement with Tanabe under which it purchased bulk diltiazem (which Tanabe

     manufactured in Japan) that it would further process into pharmaceuticals to sell in the

     United States. Id. at 134, 321. It is argued that during the investigation, respondents

     challenged whether Tanabe and MMD had a “community of interest” with respect to

     allegedly privileged documents, and the judge held:

                    The Commission has not precluded those who have no
                    legally recognizable rights in the patent from appearing as a
                    coparty complainant. MMD as a purchaser of Tanabe
                    produced diltiazem, and a manufacturer and seller of
                    pharmaceutical products produced from such diltiazem has
                    sufficient commercial and legal interest to appear as a joint
                    complainant with Tanabe, the patent owner.

     Diltiazem Preparations, Order No. 35 at *2. It is argued that the same principle applies

     here for Allergan. See Compls. Reply Br. at 33–34.

            Respondents argue, in part:

                            The basic contours of the 2013 Agreement are
                    simple. Medytox is to manufacture MT10109L, exclusively
                    in Korea. If the product is ultimately approved for sale in
                    the United States, Allergan will market and distribute it in
                    the U.S. (and elsewhere). Allergan also has a role in clinical
                    trials and seeking FDA approval for the product. CX-
                    0011C.49 (Chang Hoon RHEE WS) at Q/A 117; Hearing Tr.
                    445:23-446:12.

                            The 2013 Agreement grants Allergan an exclusive
                    license to [

                                                                           ].
                    JX-0050C.20 (§ 2.1). This exclusive license is exclusive
                    “[                                     ].” Id. [


                               ]. Id. at 14-15, 20 (§§ 1.51, 1.60, and 2.1). In
                    other words, [




                                                 33
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 41 of 283 PageID# 140

                                    PUBLIC VERSION



                                                             ].

                       Allergan is granted exclusive rights to MT10109L
                 [                                                ]. JX-
                 0050C.20 (§ 2.1). [


                           ]. Id. at 15 (§§ 1.56, 1.59). The 2013 Agreement
                 memorializes Allergan’s agreement that [


                            ]. Id. at 21 (§ 2.3(b)).

                        Allergan itself has never claimed [
                                  ]. Such a reading of the 2013 Agreement is
                 inconsistent with the performance of the parties under the
                 Agreement. Since the grant of an exclusive license to
                 Allergan is exclusive “[
                           ],” an interpretation that [




                                             ]. CX-0013C.42 (Hyun Ho
                 JUNG WS) at Q/A 18. That simply is not the case. At the
                 evidentiary hearing, Allergan Senior Vice President of
                 Pharmaceutical Development Dr. Sesha Neervannan, the
                 sole witness on the Agreement, confirmed that the grant of
                 rights to Allergan [




                                                       ].

                 Hearing Tr. 448:4-8. An interpretation that Allergan has an
                 exclusive license [                  ] is also impossible to
                 square with the fact that the 2013 Agreement [

                                       ].



                                               34
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 42 of 283 PageID# 141

                                       PUBLIC VERSION


                           As further proof that Medytox never intended to
                   grant these kinds of rights to Allergan, one need look no
                   further than Medytox’s reaction when Allergan publicly
                   announced, to Medytox’s apparent surprise, that Allergan
                   would be [




                                               ] to begin with. As Allergan’s
                   Dr. Neervannan confirmed at the evidentiary hearing, [




                              ].

                   Hearing Tr. 452:19-23.

                          The same logic holds with respect to the claimed
                   process-based trade secrets, all of which relate to Medytox’s
                   product Meditoxin®. If Staff were correct that Allergan has
                   an exclusive license [


                                        ]. That interpretation of the 2013
                   Agreement makes no sense — it is contrary to [

                                    ] and is inconsistent with performance of the
                   parties under the Agreement.

     Resps. Br. at 59–61 (footnotes omitted).

            The Staff argues that Allergan has standing as a complainant in this investigation

     because the terms of the September 2013 Medytox-Allergan License Agreement make



                                                35
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 43 of 283 PageID# 142

                                          PUBLIC VERSION


     clear that Allergan is the exclusive licensee to the asserted trade secrets. See Staff Br. at

     28–29 (citing JX-0050C).

            The terms of the September 2013 Medytox-Allergan License Agreement grant to

     Allergan “[




                                                                                               ].”

     JX-0050C.020. The product licensed to Allergan is MT10109L, which is manufactured

     with the Medytox BTX strain—i.e., one of the asserted trade secrets. This is clear

     evidence that Allergan is the exclusive licensee (outside of Korea) [

                   ] (which includes the asserted trade secrets). The plain language of the

     license agreement states that Allergan is the exclusive licensee [

                   ], which includes the asserted trade secrets in this investigation. JX-

     0050C.015. These facts support Allergan’s standing.

            Indeed, Allergan has an exclusive license as to MT10109L and [

                                                                     ]. JX-0050C.14 (Allergan-

     Medytox License Agreement). Inasmuch as Medytox is not currently selling any

     [                                                                                           ],

     Allergan is therefore the exclusive licensee of the trade secrets in the United States.

            Moreover, significant aspects of the asserted trade secrets are incorporated in the

     manufacturing of MT10109L, and it uses the misappropriated BTX strain. Allergan is

     the exclusive licensee of these trade secrets in the U.S. with regard to MT10109L, and

     therefore has independent standing. See CX-0011C (Rhee WS) at Q/A 52, 55, 57, 120;



                                                    36
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 44 of 283 PageID# 143

                                       PUBLIC VERSION


     CX-0012C (Kim WS) at Q/A 90; CX-0017C (Chang WS) at Q/A 70; 19 C.F.R. §

     210.12(a)(7); Certain Static Random Access Memories, Inv. No 337-TA-341, Order No.

     5, 1992 WL 811807, at *2 (Dec. 30, 1992) (“The owner of a patent is not the only

     possible complainant. A licensed domestic producer of an article that is protected by a

     U.S. patent may be the complainant.”); Faiveley Transp. USA, Inc. v. Wabtec Corp., 758

     F. Supp. 2d 211, 220–21 (S.D.N.Y. 2010) (party with “the exclusive rights to

     manufacture, use, assemble, sell, and market the Products” has “a sufficient interest to

     confer their holder with standing”).

            Allergan’s exclusive license for MT10109L expressly includes the rights to the

     asserted trade secrets that are used to make MT10109L. Furthermore, [




          ]. See, e.g., JX-0050C.30 (License Agreement) [




                                                                                     ]; id. at JX-

     0050C.26 (4.2 – Development Responsibilities); CX-2230C.1 (Allergan IND

     submission).

            The administrative law judge finds that Allergan has standing based on its license

     to sell imported products, which are produced using the allegedly misappropriated trade



                                                 37
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 45 of 283 PageID# 144

                                        PUBLIC VERSION


     secrets, and its claimed injury from the imported accused products to its domestic

     industry.

             At issue for the purposes of the standing question are imported products produced

     using the allegedly misappropriated trade secrets, not the know-how or the strain in and

     of themselves. Thus, Allergan is in a position similar to many manufacturers that

     purchase underlying parts, such as semiconductors, which are produced using trade

     secrets unknown to the manufacturers. Allergan is a licensee to the underlying trade

     secrets, [

            ].

     IV.     Legal Standards

             A.     Trade Secrets

             The Restatement of the Law of Torts defines a trade secret as:

                    [A]ny formula, pattern, device or compilation of information
                    which is used in one’s business, and which gives him an
                    opportunity to obtain an advantage over competitors who do
                    not know or use it. It may be a formula for a chemical
                    compound, a process of manufacturing, a treating or
                    preserving materials, a pattern for a machine or other device,
                    or a list of customers. It differs from other secret information
                    in a business … in that it is not simply information as to
                    single or ephemeral events in the conduct of the business …
                    A trade secret is a process or device for continuous use in the
                    operation of the business … .

     RESTATEMENT OF LAW OF TORTS § 757, Comment b. Similarly, the Uniform Trade

     Secret Act (“U.T.S.A.”) defines a Trade Secret as “information, including a formula,

     pattern, compilation, program, device, method, technique, or process, that: (i) derives

     independent economic value, actual or potential, from not being generally known to, and

     not being readily ascertainable by proper means by, other persons who can obtain,




                                                  38
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 46 of 283 PageID# 145

                                         PUBLIC VERSION


     economic value from its disclosure or use, and (ii) is the subject of efforts that are

     reasonable under the circumstances to maintain its secrecy.” TianRui Group, 661 F.3d at

     1327–28, citing U.T.S.A., § 1(4) (as amended, 1985).

            The Commission has identified six relevant factors to assist in determining

     whether or not a trade secret exists:

            (1) the extent to which the information is known outside of complainant’s
                business;
            (2) the extent to which it is known by employees and others involved in
                complainant’s business;
            (3) the extent of measures taken by complainant to guard the secrecy of
                the information;
            (4) the value of the information to complainant and to his competitors;
            (5) the amount of effort or money expended by complainant in developing
                the information;
            (6) the ease or difficulty with which the information could be properly
                acquired or duplicated by others.

     Certain Processes for the Manufacture of Skinless Sausage Casings and Resulting

     Prods., Inv. No. 337-TA-148/169 (“Sausage Casings”), USITC Publ. No. 1624 (Dec.

     1984), ID at 245 (July 31, 1984) (citing RESTATEMENT OF LAW OF TORTS § 757,

     Comment b (1939) and MILGRIM, TRADE SECRETS, § 2.01 (1980)). These factors are not

     a six-part test which must be met to find a trade secret. Rather, they are “instructive

     guidelines for ascertaining whether a trade secret exists.” See, e.g., Learning Curve Toys,

     Inc. v. PlayWood Toys, Inc., 342 F.3d 714, 722 (7th Cir. 2003); Certain Cast Steel

     Railway Wheels, Certain Process for Mfg. or Relating to Same and Certain Prods.

     Containing Same, Inv. No. 337-TA-655 (“Railway Wheels”), Unreviewed ID at 20 (Oct.

     16, 2009) (EDIS Doc. ID No. 414899), see Notice of Commission Determination Not to

     Review a Final Initial Determination Finding a Violation of Section 337; Request for



                                                   39
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 47 of 283 PageID# 146

                                         PUBLIC VERSION


     Written Submissions Regarding Remedy, Bonding, and the Public Interest (EDIS Doc.

     ID No. 416143) (Dec. 17, 2009).

            “Matters of general knowledge in the industry, or those that can be readily

     discerned are not eligible for trade secret protection.” Sausage Casings, ID (July 31,

     1984) (citing Motorola, Inc. v. Fairchild Camera & Instrument Corp., 177 U.S.P.Q. 614,

     620–21 (D. Ariz. 1973)). Information that may be eligible for protection as a trade secret

     may lose that protection if adequate steps are not taken to maintain secrecy. Sausage

     Casings, ID at 246. The burden on complainant is to establish that reasonable

     precautions were taken to preserve secrecy to ensure that it would be difficult for others

     to discover the secret without the use of improper means. Id. (citing Henry Hope X-Ray

     Prods., Inc. v. Marron Carrel, Inc., 216 U.S.P.Q. 762, 764, 674 F.2d 1336, 1341 (9th Cir.

     1982)). Once a prima facie showing is made concerning appropriate safeguarding of

     trade secrets, the burden shifts to the accused to prove that a trade secret is generally

     known or readily ascertainable. Surgidev Corp. v. Eye Tech., Inc., 648 F. Supp. 661, 688

     n.9 (D. Minn. 1986). Similarly, the respondent bears “a heavy burden” in proving

     independent development. Sausage Casings, ID at 247; Bolt Assocs., Inc. v. Alpine

     Geophysical Assocs., Inc., 365 F.2d 742, 749–50 (3d Cir. 1966) (“Such a burden cannot

     rest on mere self-serving assertions, but rather, a heavy burden of persuasion rests upon

     one so charged to show that the production was the result of independent development

     and not from the use of information confidentially reposed.”); Pioneer Hi-Bred Int’l v.

     Holden Found. Seeds, Inc., 35 F.3d 1226, 1241 (8th Cir. 1994) (“once [plaintiff]

     produced convincing evidence of misappropriation, [defendant] was obligated to provide

     persuasive evidence of lawful derivation”). “Matters disclosed in patents also will destroy



                                                   40
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 48 of 283 PageID# 147

                                          PUBLIC VERSION


     any claims of trade secret.” Sausage Casings, ID at 246 (citing Henry Hope X-Ray, 674

     F.2d at 1342). Nevertheless, a party may still be liable for trade secret misappropriation

     if it used trade secret information prior to its disclosure. See On-Line Techs., Inc. v.

     Bodenseewerk Perkin-Elmer GmbH, 386 F.3d 1133, 1141 (Fed. Cir. 2004) (no liability

     for using trade secret after its publication).

             A specific embodiment of general concepts or a combination of elements, some or

     all of which may be known in the industry, may be protectable as a trade secret. Id.

     (citing Cybertex Computer Prods., Inc. v. Whitfield, 203 U.S.P.Q. 1020, 1024 (Cal.

     1977)); Railway Wheels, Unreviewed ID at 20 (“While matters of general knowledge in

     an industry are not eligible for trade secret protection, a specific embodiment of general

     concepts or a combination of elements, some or all of which may be known in the

     industry may be protectable as a trade secret.”); Certain Apparatus for the Continuous

     Production of Copper Rod, Inv. No. 337-TA-52 (“Copper Rod”), Publ. No. 1017,

     Comm’n Op. at 43 (Nov. 23, 1979) (“It is an established principle . . . that a trade secret

     can exist in a combination of characteristics and components, each of which, by itself, is

     in the public domain, provided, however, that the unique combination of these elements

     is not published and affords the complainant a competitive advantage.”); Minn. Mining &

     Mfg. Co. v. Pribyl, 259 F.3d 587, 595–96 (7th Cir. 2001) (“A trade secret can exist in a

     combination of characteristics and components, each of which, by itself, is in the public

     domain, but the unified process, design and operation of which, in unique combination,

     affords a competitive advantage and is a protectable secret.”).

             Whether something qualifies for trade secret protection is an issue of fact to be

     assessed under flexible considerations. Restatement (Third) of Unfair Competition § 39



                                                      41
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 49 of 283 PageID# 148

                                        PUBLIC VERSION


     cmt. d. (“The existence of a trade secret is properly considered a question of fact to be

     decided by the judge or jury as fact-finder”); 1 Roger M. Milgrim & Eric E. Bensen,

     Milgrim on Trade Secrets, § 1.03 (“Fundamentally, existence of a trade secret is a

     question of fact for determination of the trier of fact”). Precedent confirms this

     blackletter principle. Furmanite Am., Inc. v. T.D. Williamson, Inc., 506 F. Supp. 2d

     1134, 1141 (M.D. Fla. 2007) (“Courts are extremely hesitant to grant summary judgment

     regarding the fact-intensive questions of the existence of a trade secret or whether a

     plaintiff took reasonable steps to protect its trade secrets.”); Learning Curve Toys, Inc. v.

     PlayWood Toys, Inc., 342 F.3d 714, 723 (7th Cir. 2003) (whether a trade secret exists

     “requires an ad hoc evaluation of all the surrounding circumstances”); Del Monte Fresh

     Produce Co. v. Dole Food Co., 136 F. Supp. 2d 1271, 1292–93 (S.D. Fla. 2001)

     (affirming trade secret status was a factual question, and could not be resolved without a

     factual record).

            The value of a trade secret process lies not only in the discrete components of the

     process but also in the fact that those components – even if otherwise publicly available –

     have been selected and brought together as part of a commercially viable process. The

     Federal Circuit explained:

                    [Defendant] argues, nonetheless, that the Polycon process is
                    not a trade secret. He asserts that the “batch sheets . . . are
                    nothing more than a compilation of reactions, each of which
                    is well-known to the art and documented in the literature.”
                    [Defendant] fails to acknowledge that it is this very
                    “compilation of reactions”—along with information about
                    the ingredients and procedures used in them—that is the
                    trade secret. Even if [Defendant] were correct in his
                    assertion that all the reactions used in the Polycon process
                    were individually well-known in the art, that would not
                    preclude the existence of a trade secret in the compilation of
                    processes:


                                                  42
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 50 of 283 PageID# 149

                                         PUBLIC VERSION


                    “A trade secret can exist in a combination of characteristics
                    and components, each of which, by itself, is in the public
                    domain, but the unified process, design and operation of
                    which, in unique combination, affords a competitive
                    advantage and is a protectable secret.”

     Syntex Ophthalmics, Inc. v. Novicky, 745 F.2d 1423, 1434 (Fed. Cir. 1984), vacated on

     other grounds, 470 U.S. 1047 (1985) (brackets omitted) (quoting Imperial Chem. Indus.

     Ltd. v. Nat’l Distillers & Chem. Corp., 342 F.2d 737, 742 (2d Cir. 1965)); see, e.g.,

     Copper Rod, Comm’n Op. at 43; Pribyl, 259 F.3d at 596; Norbrook Labs, 297 F. Supp.

     2d at 484-85 (discounting defendant’s expert’s analysis, where it “focused not on whether

     [the ex-employee] had contributed to [defendant’s] development of the [manufacturing]

     method, but rather on whether there was anything secret about [plaintiff’s manufacturing]

     method”); Salsbury Labs., Inc. v. Merieux Labs., Inc., 735 F. Supp. 1555, 1569 (M.D. Ga.

     1989) (holding that the production process as a whole constituted a trade secret and

     explaining that “[a]t each individual step of the process, there are a variety of alternatives

     that could be selected for use. [Plaintiff], through much research and experimentation,

     chose specific ingredients, specific amounts of each ingredient, specific methods, and

     specific ways in which to employ each method, at each individual step in the . . .

     production process.”), aff’d in relevant part, 908 F.2d 706 (11th Cir. 1990).

            Trade secret protection is not eviscerated even when the defendant “‘could’ have

     divined” the information from a public patent. Monovis, Inc. v. Aquino, 905 F. Supp.

     1205, 1228 (W.D.N.Y. 1994). Even though “[i]tems such as [a patent] were publicly

     available,” such items “were by no means obvious; they were not accompanied by

     instructions explaining where they were useful and where they were not, or what

     particular elements they described were relevant and helpful and which were not, or



                                                   43
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 51 of 283 PageID# 150

                                        PUBLIC VERSION


     indeed why they should be selected over some other publicly available information.” Id.

     Reconstruction by hindsight is irrelevant to defining what is and is not a trade secret and

     to the question of misappropriation. Merck & Co. v. SmithKline Beecham Pharm. Co.,,

     No. C.A. 15443-NC, 1999 WL 669354 (Del. Ch. Aug. 5, 1999), aff’d, 746 A.2d 277

     (Del. 2000) (“Because a process consisting entirely of generally known elements is

     protectable as a trade secret, the value of trade secrets would be lost if a defendant could

     obtain the process, learn thereby the important choices made by the trade secret owner at

     various process steps, use the information gained for its benefit, and avoid liability by

     then saying that the particular information used is ‘published.’”) (citation omitted).

            B.      Unfair Acts

            As applied at the Commission, misappropriation of trade secrets “is a method of

     unfair competition defined by the common law.” Rubber Resins, Comm’n Op. at 9 (Jan.

     15, 2014) (EDIS Doc. ID No. 528759). Paragraph (a)(1)(A) of section 337 governs the

     importation of articles derived from common law forms of unfair competition:

                    Unfair methods of competition and unfair acts in the
                    importation of articles (other than articles provided for in
                    subparagraphs (B), (C), (D), and (E), into the United States,
                    or in the sale of such articles by the owner, importer, or
                    consignee, the threat or effect of which is —

                            to destroy or substantially injure and industry in the
                            United States;
                            to prevent the establishment of such an industry; or
                            to restrain or monopolize trade and commerce in the
                            United States.

     19 U.S.C. § 1337(a)(1)(A). Therefore, there is a requirement that the complainant

     demonstrate the existence of a domestic industry and an actual substantial injury or the

     threat of substantial injury to said domestic industry. Rubber Resins, Comm’n Op. at 10.




                                                  44
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 52 of 283 PageID# 151

                                         PUBLIC VERSION


             A “single federal standard,” rather than the law of a particular state, applies to

     investigations into trade secret misappropriation under section 337. TianRui, 661 F.3d at

     1327. Sources of applicable guidance include the Restatement of Unfair Competition, the

     Uniform Trade Secrets Act, and federal common law, as set forth in Commission

     decisions. See id. at 1327–28 (“Fortunately, trade secret law varies little from state to

     state and is generally governed by widely recognized authorities such as the Restatement

     of Unfair Competition and the Uniform Trade Secrets Act.”); id. at 1328 (referring to the

     “generally understood law of trade secrets, as reflected in the Restatement, the Uniform

     Trade Secrets Act, and previous Commission decisions under section 337”). The Federal

     Circuit noted that the Commission has long interpreted section 337 to apply to trade

     secret misappropriation. Id. at 1326, citing, inter alia, Sausage Casings, USITC Publ.

     No. 1624 (Dec. 1984).

             The elements of trade secret misappropriation are: “(1) the existence of a process

     that is protectable as a trade secret (e.g., that is (a) of economic value, (b) not generally

     known or readily ascertainable, and (c) that the complainant has taken reasonable

     precautions to maintain its secrecy); (2) that the complainant is the owner of the trade

     secret; (3) that the complainant disclosed the trade secret to respondent while in a

     confidential relationship or that the respondent wrongfully took the trade secret by unfair

     means; and (4) that the respondent has used or disclosed the trade secret causing injury to

     the complainant.” Rubber Resins, Comm’n Op. at 10 (citing Sausage Casings, ID at

     361). Misappropriation must be proven by a preponderance of the evidence. See Certain

     Crawler Cranes and Components Thereof, Inv. No. 337-TA-887, ID at 132 (July 11,

     2014) (EDIS Doc. ID No. 539295).



                                                   45
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 53 of 283 PageID# 152

                                         PUBLIC VERSION


             “Use” of a trade secret can occur when goods that embody a trade secret are

     marketed, the trade secret is employed in manufacturing or production, or is relied on to

     assist or accelerate research or development. RESTATEMENT (THIRD) OF UNFAIR

     COMPETITION § 40, Comment c (1995). “The unauthorized use need not extend to every

     aspect or feature of the trade secret; use of any substantial portion of the secret is

     sufficient to subject the actor to liability.” Id. Such use “need not use the trade secret in

     its original form.” Id. “[A]n actor is liable for using the trade secret with independently

     created improvements or modifications if the result is substantially derived from the trade

     secret.” Id.; Mangren Research & Dev. Corp. v. Nat’l Chem. Co., Inc., 87 F.3d 937, 944

     (7th Cir. 1996) (“[I]f trade secret law were not flexible enough to encompass modified or

     even new products that are substantially derived from the trade secret of another, the

     protections that law provides would be hollow indeed.”).

            C.      Domestic Industry

                    1.      Existence of a Domestic Industry

            To obtain relief in a section 337 investigation asserting unfair acts such as trade

     secret misappropriation, a complainant must show that there is “an industry” in the

     United States subject to the threat or effect of substantial injury or destruction from

     “[u]nfair methods of competition and unfair acts in the importation of articles.” 19

     U.S.C. § 1337(a)(1)(A).

            In a non-statutory IP case, the Commission may consider a broad range of

     elements in evaluating whether a domestic industry exists beyond those set forth in

     subsection 337(a)(3). TianRui, 661 F.3d at 1335–37; Certain Hand Dryers and Housings

     for Hand Dryers (“Hand Dryers”), Inv. No. 337-TA-1015, Comm’n Op. at 4 (“[T]here is




                                                   46
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 54 of 283 PageID# 153

                                        PUBLIC VERSION


     no requirement to show investments in the section 337(a)(3) categories to establish a

     violation of section 337(a)(1)(A).”). For example, the Commission has not limited its

     analysis to investments in manufacturing but has credited investments in R&D as well,

     including for facilities where R&D is conducted and R&D personnel. See Rubber Resins

     ID at 623‒24 (crediting investments “in domestic research and development” in a trade

     secret case). In Railway Wheels, a domestic industry was found to exist based in part on

     investments in three facilities where research and development was conducted, as well as

     employment of personnel working on research and development. Railway Wheels,

     Unreviewed ID at 80–81. In that case, the R&D expenditures were not related to the

     trade secrets that were allegedly misappropriated. Id. at 75–81.

            The statutory language and legislative history of section 337 further confirm that

     investments in R&D should be credited towards the establishment of the domestic

     industry in non-statutory IP cases. The 1988 amendments removed the injury

     requirement for statutory IP cases, but required that complainants establish the existence

     of a domestic industry through specified types of investments relating to the intellectual

     property (i.e., the economic prong). TianRui, 661 F.3d at 1335–36. For non-statutory IP

     cases, the amendments still required that injury be shown, but did not alter the definition

     of existing industry, which did not specify factors like “plant and equipment” that needed

     to be shown for the domestic industry to be considered in existence. Id.; Hand Dryers,

     Comm’n Op. at 4. Indeed, as the Federal Circuit noted in TianRui, “Congress recognized

     that prior to the 1988 Act section 337 did not define ‘industry.’” TianRui, 661 F.3d at

     1336 (citing H.R. Rep. No. 100–576, at 634 (1988) (Conf. Rep.), reprinted in 1988

     U.S.C.C.A.N. 1547, 1667)). Both before and after the 1988 amendments, investments in



                                                  47
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 55 of 283 PageID# 154

                                        PUBLIC VERSION


     research and development have been considered in assessing the presence of a domestic

     industry. See Railway Wheels, Unreviewed ID at 80–81; Certain Plastic Food Storage

     Containers, Inv. No. 337-TA-152, Initial Determination at 76 (Apr. 13, 1984)

     (considering “the design, manufacture, distribution and sale” of products in assessing

     domestic industry); Certain Doxycycline, Inv. No. 337-TA-3, Initial Determination, 1978

     WL 50686, at *6 (Oct. 31, 1978) (“Research is an essential element of the domestic

     industry.”). Accordingly, broader categories of investments may be considered in

     assessing the domestic industry in non-statutory IP cases compared to statutory IP cases.

     The statutory language reflects this history. Compare 19 U.S.C. § 1337(a)(1)(A)(i) with

     19 U.S.C. § 1337(a)(3).

            “The Commission has a long history . . . of looking to ‘the realities of the

     marketplace,’ when determining the [existence of a] domestic industry in a trade secrets

     investigation or other investigation based on unfair acts other than traditional forms of

     intellectual property (such as patents).” Railway Wheels, Unreviewed ID at 77 (citing

     Certain Apparatus for the Continuous Prod. of Copper Rod, Inv. No. 337-TA-52,

     Comm’n Op. at 58–59, 1979 WL 445781, at *26 (Nov. 23, 1979)). There is no minimum

     monetary expenditure that a complainant must demonstrate, and there is no need to define

     or quantify an industry in absolute mathematical terms. Certain Stringed Musical

     Instruments and Components Thereof, Inv. No. 337-TA-586, Comm’n Op. at 25–26

     (May 16, 2008); Certain Male Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op.

     at 39 (Aug. 1, 2007) (“[T]here is no mathematical threshold test.”). When a complainant

     conducts operations abroad, a comparative analysis of a complainant’s domestic

     expenditures versus its foreign expenditures, or an analysis of the value added by the



                                                  48
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 56 of 283 PageID# 155

                                        PUBLIC VERSION


     domestic activities, is conducted to determine the significance of the domestic activities.

     See, e.g., Certain Carburetors and Prod. Containing Such Carburetors, Inv. No. 337-

     TA-1123, Comm’n Op. at 8–9, 19 (Oct. 28, 2019).

                    2.      Substantial Injury to the Domestic Industry

            In determining whether substantial injury exists, the Commission considers “a

     broad range of indicia, including: the volume of imports and their degree of penetration,

     complainant’s lost sales, underselling by respondents, reductions in complainants’

     declining production, profitability and sales, and harm to complainant’s good will or

     reputation.” Rubber Resins, Comm’n Op. at 60–61. There must be a “causal nexus”

     between “the unfair acts of the respondents and the injury.” Id. at 61.

            In determining whether a “threat” to substantially injure exists, the “record must

     establish the existence of relevant conditions or circumstances from which probable

     future substantial injury can reasonably be inferred.” Corning Glass Works v. U.S. Int’l

     Trade Comm’n, 799 F.2d 1559, 1567-68 (Fed. Cir. 1986). The Commission will

     consider, inter alia, the following factors: “(1) substantial foreign manufacturing

     capacity; (2) ability of imported product to undersell the domestic product; (3) explicit

     intention to enter into the U.S. market; (4) the inability of the domestic industry to

     compete with the foreign products because of vastly lower foreign costs of production

     and lower prices; and (5) the significant negative impact this would have on the domestic

     industry.” Rubber Resins, Comm’n Op. at 64. The threatened injury must be

     “substantive and clearly foreseen,” and there must be “a causal connection between the

     action of the respondents and the threatened injury.” Id.




                                                  49
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 57 of 283 PageID# 156

                                         PUBLIC VERSION


     V.        Factual Background and Allegations

               A.     Daewoong-Allergan BOTOX® Distribution Agreement

               In 1995, Daewoong entered into a distribution agreement with Allergan for

     BOTOX® in Korea. CX-2210C (Allergan-Daewoong 1995 Agreement). A decade later,

     [

                                     ]. CX-0002C (Feb. 1, 2006 letter to Daewoong).

     Daewoong continued to distribute BOTOX® in Korea, per the terms of a new February

     2008 distribution agreement. CX-2212C (Allergan-Daewoong Distribution Agreement

     (Feb. 27, 2008)). [                     ], the parties reached an agreement whereby

     [

                       ]. CX-2213C (Allergan-Daewoong Settlement Agreement [

              ].

               Chang Woo Suh, a member of Daewoong’s research and development planning

     team [

                                                 ]. RX-3159C (Suh WS) at Q/A 15–16. [

          ], Dr. Suh started collecting soil samples from various locations throughout Korea,

     seeking to isolate C. botulinum bacteria from soil samples. CX-2523C (Suh Dep. Tr.

     (June 28, 2019)) at 197–98.

               Dr. Suh acknowledged that at least according to his understanding of the terms of

     the agreements that Daewoong entered into with Allergan, [

                                                                 ]. CX-2523C (Suh Dep. Tr.

     (June 28, 2019)) at 184–86; CX-2210C (1995 Allergan-Daewoong Distributorship

     Agreement); CX-2213C [                       ] Settlement Agreement between Allergan and




                                                   50
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 58 of 283 PageID# 157

                                        PUBLIC VERSION


     Daewoong). [



                              ]. RX-3159C (Suh WS) at Q/A 19–20.

            B.       Dr. Suh’s Collection of Korean Soil Samples

            Dr. Suh testified that [

                                                                                  ]. CX-2522C

     (Suh Dep. Tr. (June 27, 2019)) at 14–15, 93; CX-2523C (Suh Dep. Tr. (June 28, 2019))

     at 191. Dr. Suh testified that [

                                                   ]. Suh Tr. 866–867.

            According to Daewoong, the Daewoong BTX strain was isolated from soil sample

     [           ], which was collected by Dr. Suh [                                          ]

     near the town of Yongin, Korea. [



                                                                   ]. CX-2522C (Suh Dep.

     Tr. (June 27, 2019)) at 36–38, 71–76 (discussing CX-1719 (Apr. 21, 2006 news report of

     Marek’s disease outbreak)). However, Marek’s disease is caused by a virus (Gallid

     alphaherpesvirus 2 (GaHV-2)), whereas botulism is caused by Clostridium botulinum

     bacteria. See CX-0010C (Pickett WS) at Q/A 124. Although the symptoms of Marek’s

     disease in poultry can mimic many of the symptoms of botulism, Marek’s disease is

     confirmed postmortem by various tests, including tissue histology or identification of the

     virus by PCR. Id. By the time the media report of the mass slaughter was made public

     on April 21, 2006, scientists had already confirmed the disease outbreak as viral—

     Marek’s disease—not bacterial (e.g., botulism) in origin. See CX-1719.



                                                  51
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 59 of 283 PageID# 158

                                       PUBLIC VERSION


            [



                                            ]. CX-2523C (Suh Dep. Tr. (June 28, 2019)) at

     192–94. [



                                     ]. Suh Tr. 867–68 [



                                                           ]. As discussed above, C. botulinum

     bacteria are anaerobic. [

                                                                                      ]. See JX-

     0024C.73 (DWP450-REP-171, Daewoong’s Botulinum Identification and

     Characterization Analysis Report) [

                                                   ].

            According to a report prepared by Daewoong in April 2015, “[




                                                                                           ]. Id.

     [



                                                            ]. CX-2522C (Suh Dep. Tr. (June

     27, 2019)) at 36–38, 71–76; CX-1719 (Marek’s Disease article (April 2006)).

            Dr. Ivan C. Hall collected, identified, and isolated tens of thousands of C.

     botulinum bacteria, most of which were not type A, much less even high toxin producers.



                                                 52
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 60 of 283 PageID# 159

                                        PUBLIC VERSION


     CX-0005 (Complaint Ex. X (Smith TJ declaration)). It was from these tens of thousands

     of isolated strains collected sometime in the 1920s or 1930s that researchers noted that

     one strain produced high levels of toxin. Id. It was from a subculture of this strain that

     Army scientists at Fort Detrick screened and developed the even higher toxin producing

     strain that is known as the Hall A hyper strain. Id.; JX-0124.3 (Schantz E & Johnson E

     (1992)). [




                                                                     ].

            C.      Daewoong’s Efforts to License a BTX Product or Obtain a
                    Commercially Viable C. botulinum Type A Strain

            By late 2008, when Daewoong realized that its BOTOX® distribution agreement

     would soon come to an end, it became a priority for Daewoong to find an alternative.

     RX-3159 (Suh WS) at Q/A 18. [

                           ]. Id. at Q/A 19. [



                                ]. Id. at Q/A 20–22. [



                                      ]. Id. at Q/A 23–25. [



                                                                     ]. CX-2180C.15

     (Comprehensive Report on BTA Development Project). [




                                                  53
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 61 of 283 PageID# 160

                                          PUBLIC VERSION


                                        ]. Id. [

                                                                                ].

            [



                ]. RX-3159 (Suh WS) at Q/A 26. [



                   ].” Id. at Q/A 28.

            [

                                                                                     ]. Id. at Q/A 30.

     [

                                                   ]. Id. [



                                                              ]. Id. [

                                ]. CX-2180C.10 (Comprehensive Report on BTA Development

     Project). [

                                            ]. Id. at 14. [

                                                                   ]. CX-2523C (Suh Dep. Tr. (June

     28, 2019)) at 59–61 [



                                                        ]. RX-3159 (Suh WS) at Q/A 34.

            [



                                                          ]. Id. at Q/A 35. [



                                                     54
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 62 of 283 PageID# 161

                                       PUBLIC VERSION




                ]. Id. at Q/A 36; CX-2523C at 59–61.

            [




                                         ].” RX-3159C (Suh WS) at Q/A 38. [



                                            ]. Id. at Q/A 40. [

                                          ] when Daewoong purportedly isolated its own C.

     botulinum strain from a soil/fecal sample collected by Dr. Suh.

            According to Dr. Suh, [



                 ].” RX-3159C (Suh WS) at Q/A 37. However, given that [



                                                                          ]. In fact, as Dr.

     Suh acknowledged, ATCC was no longer selling botulinum bacterial strains sometime

     prior to November 2009. CX-2523C (Suh Dep. Tr. (June 28, 2019)) at 116. [



                                                       ]. Id. at 59–61.

            D.       Daewoong’s Efforts to Isolate Its C. botulinum Type A1 Strain

            [




                                                55
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 63 of 283 PageID# 162

                                         PUBLIC VERSION


                   ], when Allergan notified Daewoong of its desire to terminate the

     BOTOX® distribution agreement. [



                                                              ]. CX-2522C at 17–18, 58–59.

             The evidence shows that [

                             ]. See RX-3159C (Suh WS) at Q/A 43–45. According to Dr. Suh,

     [

                                                            ].” RX-3159C (Suh WS) at Q/A

     49. [



                                             ]. CX-2523C (Suh Dep. Tr. (June 28, 2019)) at

     59–61. [

                                                                                         ].

     JX-0028C.356 (Yeon Tae Jung lab notebook); CX-0869C.9 (excerpt from Yeon Tae Jung

     lab notebook). [




                             ].

             [




                        ]. JX-0028C.356; CX-0869C.9. [




                                               56
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 64 of 283 PageID# 163

                                      PUBLIC VERSION


                                      ]. CX-2522C (Suh Dep. Tr. (June 27, 2019)) at 54–56.

     [

                                                                           ]. Id. at 58–59.

              [




         ].

              [



                                                    ].

              E.     Daewoong’s Hiring of Former Medytox Employee Byung Kook Lee

              Three months before [

                                                         ], Byung Kook Lee entered into a

     consulting agreement with Daewoong. CX-2203C (Mar. 1, 2010 Daewoong-BK Lee

     consulting agreement). The agreement specified that the [




                                                                   ]



                                               57
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 65 of 283 PageID# 164

                                         PUBLIC VERSION


     CX-2203C.6 (§ 2(1)). According to BK Lee, Daewoong engaged him to [



               ]. RX-3157C (BK Lee WS) at Q/A 175–76. [




                                                       ]. CX-2203C at §§ 3, 5. [



                                                                                    ]. Id. at §

     4(1). [

                                  ]. CX-2088C.35 (Medytox 2008 employee salary/benefits).

               According to Dr. Suh, in 2010, he was facing near constant reprimands from the

     CEO of Daewoong at the time, Jong Wook Lee, each time they came face to face. CX-

     2523C (Suh Dep. Tr. (June 28, 2019)) at 204–07. Daewoong had no replacement

     candidate for BOTOX®, and it did not have a C. botulinum strain it could work with. It

     was during this period that Dr. Suh offered BK Lee a [

                                 ].

               Three months after BK Lee signed on as a consultant to Daewoong, during this

     period of “extreme” “pressure and stress” that Dr. Suh endured from the CEO,

     [

                                                   ]. As Dr. Suh himself testified, “in 2010, the

     atmosphere was that because the termination [of the Allergan-Daewoong distribution

     agreement] was in 2008, atmosphere-wise, ‘do anything’ was the atmosphere.” CX-

     2523C at 196.



                                                  58
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 66 of 283 PageID# 165

                                       PUBLIC VERSION


     VI.    Unfair Acts Regarding the Asserted C. botulinum Strain

            A.     Whether a Strain of C. botulinum Can Be a Protectable Trade Secret

            Complainants argue, in part:

                           Multiple decisions support the proposition that a
                   bacterial strain can qualify as a trade secret. In Coamoxiclav
                   Products, the Commission itself permitted a trade secret
                   claim based on the theft of a bacterial strain. Coamoxiclav
                   Prod. Comm’n Op. at 1, 17. While the ALJ had ruled against
                   the claim based on the premise that a settlement agreement
                   (and actions taken pursuant to it) barred the claim, the
                   Commission reversed that ruling and allowed the trade secret
                   claim based on theft of the bacterial strain to proceed.
                   Coamoxiclav Prod. ID at 6; Coamoxiclav Prod. Comm’n
                   Op. at 10-17.

                           In Pioneer Hi-Bred Int’l v. Holden Found. Seeds,
                   Inc., 35 F.3d 1226 (8th Cir. 1994), the court sustained a trade
                   secret misappropriation claim against a competitor who
                   allegedly had improperly acquired and used the plaintiff’s
                   corn seed. Id. at 1235-41. As the court recognized, the corn
                   seed could be valuable and entitled to trade secret protection
                   based on the “genetic messages” that were responsible for its
                   characteristics. Id. at 1235-40. Here, as discussed, the
                   valuable characteristics of Medytox’s Hall A-hyper strain
                   are the product of such “genetic messages” – that is,
                   information that is encoded in the strain’s genetic makeup,
                   which provides a complete blueprint for how the organism
                   responds to the environment, grows, produces toxin,
                   reproduces, and survives. CX-0010C (Pickett WS) at Q/A
                   113.

                           Further, while this principle would be true of the
                   strain regardless of whether it was the product of
                   modification or selection, as noted, the Hall A-hyper strain
                   was specially “developed” and “screen[ed]” by US Army
                   researchers in the 1940s. See CX-0010C (Pickett WS) at
                   Q/A 73-75 (discussing JX-0124 (Johnson (1992)) and JX-
                   0126 (Duff (1957))); Hr’g Tr. (Keim) at 203-05 (explaining
                   that the Hall A-hyper development process would involve
                   multiple iterations of screening, and would select for genetic
                   mutations tied to higher toxin production).

     Compls. Br. at 121–22.



                                                 59
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 67 of 283 PageID# 166

                                      PUBLIC VERSION


           Respondents argue, in part:

                          All relevant legal sources governing trade secret
                  misappropriation define a “trade secret” in the same way:
                  “information.” See, e.g., Uniform Trade Secrets Act § 1(4)
                  (as amended, 1985) (“information, including a formula,
                  pattern, compilation, program, device, method, technique, or
                  process[.]”); Restatement (Third) of Unfair Competition §
                  39 (1995) (“information that can be used in the operation of
                  a business or other enterprise”); Restatement of the Law of
                  Torts § 757 cmt. b (1939) (“formula, pattern, device or
                  compilation of information”); U.S. Patent and Trademark
                  Office, Trade Secret Policy (last visited Feb. 19, 2020),
                  available at https://www.uspto.gov/ip-policy/trade-secret-
                  policy (“information [that] can include a formula, pattern,
                  compilation, program, device, method, technique or
                  process.”); 18 USC § 1839(3) (as amended 2016) (“all forms
                  and types of financial, business, scientific, technical,
                  economic, or engineering information[.]”). To be sure, some
                  definitions state that “information” can include a “device”,
                  but this does not mean that all valuable devices (or, indeed,
                  all valuable organisms) are trade secrets. All of the cases on
                  this subject make plain that even where a trade secret is
                  embodied in a physical thing, it still must satisfy the
                  requirements for trade secret protection, i.e., the information
                  must not be known outside of the owner’s company; the
                  information must have value due to not being known outside
                  of the company; the information must have been developed
                  by the investment of effort or money; and the information
                  cannot be properly acquired or duplicated by others. Activity
                  Tracking Devices, ID, at *12. These requirements cannot be
                  circumvented merely by the plaintiff pointing to the fact that
                  all living organisms have DNA and therefore can be
                  characterized as being “informational.” If that were true,
                  then any valuable living thing—valuable livestock, a prize
                  winning squash—would receive trade secret protection.

                                         .       .       .

                          That Medytox’s strain contentions preclude trade
                  secret protection is underscored by some of the very law
                  cited by Complainants, DTM Research, L.L.C. v. AT&T
                  Corp., 245 F.3d 327, 330 (4th Cir. 2001). In DTM Research,
                  the Fourth Circuit observed that the “inherent nature of a
                  trade secret limits the usefulness of an analogy to property,”
                  because “[i]t is the secret aspect of the knowledge that


                                                60
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 68 of 283 PageID# 167

                                       PUBLIC VERSION


                   provides value to the person having the knowledge” and, as
                   a result, the law “defines a trade secret as information that
                   has value because it is not ‘generally known’ nor ‘readily
                   ascertainable.’” DTM Research, 245 F.3d at 332 (citation
                   omitted). Here, Medytox’s bacterial strain simply is not
                   “information” that is “secret.” Indeed, it is not information
                   at all, and even if it were, it is not a secret held uniquely by
                   Medytox to the exclusion of others, as Medytox concedes
                   that the strain was obtained by other pharmaceutical
                   companies and universities, for free and without restrictions,
                   and concedes the genome of the strain is publicly available.
                   See CPB at 58-61, 66-70.

                            Complainants and Staff cite a litany of cases they say
                   stand for the proposition that an organism or device can be a
                   trade secret so long as it is valuable. See, e.g., CPB at 25;
                   SPB at 50-51. That is a misstatement of the law. The case
                   law, including the case law relied on by both Complainants
                   and Staff, makes clear that trade secret information includes
                   information embodied in a device, but that does not make the
                   device itself a trade secret. Indeed, not a single one of the
                   cases cited actually decides that a living organism can be a
                   trade secret. In several of the cases, the courts expressly
                   stated that they were not deciding that the organisms in
                   question were trade secrets and instead expressed substantial
                   doubt as to whether the organisms could be. See, e.g., United
                   States v. Weiqiang Zhang, No. 13-20134-01-CM, 2017 WL
                   3168955, at *2 (D. Kan. July 26, 2017) (explaining that
                   “[t]he government was not required to prove that the stolen
                   seeds actually contained trade secrets”); Pioneer Hi-Bred
                   Int’l v. Holden Found. Seeds, Inc., 35 F.3d 1226, 1235 (8th
                   Cir. 1994) (“Holden does not argue on appeal that genetic
                   messages cannot qualify as trade secrets. . . . Thus, we
                   assume without deciding that genetic messages can qualify
                   for trade secret status.”); Certain Coamoxiclav Prod.,
                   Potassium Clavulanate Prod., & Other Prod. Derived from
                   Clavulanic Acid, Inv. No. 337-TA-479, 2003 WL 1793272,
                   at *1, Initial Determination (Mar. 6, 2003) (“Certain
                   Coamoxiclav Products”) (explaining that “Respondents for
                   purposes of Motion No. 479-3, arguendo, conceded that: . . .
                   SC7 was, when stolen, a trade secret owned by
                   complainants”).

     Resps. Br. at 72–75.




                                                 61
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 69 of 283 PageID# 168

                                          PUBLIC VERSION


             The Staff agrees with complainants that a strain of C. botulinum can be a trade

     secret, and argues that the Medytox BTX strain is genetically distinguishable from other

     Hall A-hyper strains, and commercially valuable. See Staff Br. at 84–85.

             As an initial matter, it is well established that a physical object can be considered

     a trade secret. Trade secret protection can extend to tangible objects such as a “formula,

     pattern, device or compilation of information” that is used in one’s business and provides

     “an advantage over competitors.” Restatement of the Law of Torts § 757, cmt. b; see,

     e.g., United States v. Martin, 228 F.3d 1, 11 & n.7 (1st Cir. 2000) (noting § 1839(3)

     “defines a ‘trade secret’ broadly,” to include “all forms and types of . . . information . . .

     whether tangible or intangible”) (quoting 18 U.S.C. § 1839)); Reingold v. Swiftships, Inc.,

     126 F.3d 645, 650 (5th Cir. 1997) (fiberglass boat mold could qualify as a trade secret

     because it “was a ‘device’ that incorporated a ‘pattern, . . . method, technique, or process’

     for the construction of ship hulls”); Sikes v. McGraw-Edison Co., 665 F.2d 731, 732-34

     (5th Cir. 1982) (trade secret at issue was a light-weight weed trimmer); Unif. Trade

     Secrets Act § 1(4) (defining trade secret to include, among other things, “device[s]”). As

     noted in the Restatement (First) of Torts, a characteristic of a trade secret is that it is

     available “for continuous use in the operation of the business.” § 757 cmt. b. That is true

     of the Medytox Hall A-hyper strain, as it is able to be continuously used in making BTX

     products and provides business value as a result.

             In this case, the valuable characteristics of the strain are embodied and stored in

     the information contained in the strain’s genetic makeup, which provides a complete

     blueprint for how the organism responds to the environment, grows, produces toxin,

     reproduces and survives. See CX-0010C (Pickett WS) at Q/A 113. The information



                                                    62
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 70 of 283 PageID# 169

                                        PUBLIC VERSION


     encoded in the genetic material that comprises the strain, that is, its DNA, is thus the

     source of its commercial value as a suitable and productive part of a successful BTX

     manufacturing process. See id. at Q/A 113–14.

            In Coamoxiclav Products, the Commission allowed a trade secret claim based on

     theft of a bacterial strain to proceed. Certain Coamoxiclav Prod., Inv. No. 337-TA-479,

     Comm’n Op. at 10–17 (May 5, 2003) (EDIS Doc. ID No. 184347). In Pioneer Hi-Bred

     Int’l v. Holden Found. Seeds, Inc., 35 F.3d 1226 (8th Cir. 1994), the court sustained a

     trade secret misappropriation claim against a competitor who allegedly had improperly

     acquired and used the plaintiff’s corn seed. Id. at 1235–41. As the court recognized, the

     corn seed could be valuable and entitled to trade secret protection based on the “genetic

     messages” that were responsible for its characteristics. Id. at 1235–40; Midwest Oilseeds,

     Inc. v. Limagrain Genetics Corp., 231 F. Supp. 2d 942, 953–54 (S.D. Iowa 2002)

     (defendant’s improper use of the plaintiff’s soybean seeds could support a trade secret

     misappropriation claim, as well as a conversion claim); United States v. Weiqiang Zhang,

     No. 13-20134-01-CM, 2017 WL 3168955, at *1–2 (D. Kan. July 26, 2017) (government

     provided sufficient evidence to show that the defendant had conspired to steal a trade

     secret, in violation of 18 U.S.C. § 1832(a), where the defendant improperly acquired rice

     seeds belonging to his employer); American Cyanamid Co. v. Fox, No. 5545-1962, 1964

     WL 8121, at *2 (N.Y. Sup. Ct. Jan. 9, 1964) (plaintiff successfully brought trade secret

     misappropriation claim based in part on assertion that defendant used stolen samples of

     microorganisms to develop antibiotics). Here, the valuable characteristics of Medytox’s

     Hall A-hyper strain are the product of such “genetic messages” – that is, information that

     is encoded in the strain’s genetic makeup, which provides a complete blueprint for how



                                                  63
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 71 of 283 PageID# 170

                                         PUBLIC VERSION


     the organism responds to the environment, grows, produces toxin, reproduces, and

     survives. See CX-0010C (Pickett WS) at Q/A 113.

            In addition, the Hall A-hyper strain was specially “developed” and “screen[ed]”

     by U.S. Army researchers in the 1940s. See id. at Q/A 73–75 (discussing JX-0124

     (Johnson (1992)) and JX-0126 (Duff (1957))); Keim Tr. 203–205 (explaining that the

     Hall A-hyper development process would involve multiple iterations of screening, and

     would select for genetic mutations tied to higher toxin production).

            The evidence establishes that the Medytox BTX strain has a unique genomic

     sequence, which differs from that of a publicly-known Hall A-hyper strain sequence (i.e.,

     the CP000727.1 sequence). Whether the unique sequence of the Medytox BTX strain

     came about from mutations that occurred naturally or whether they were “engineered” is

     not dispositive to the question of whether the Medytox BTX strain qualifies for trade

     secret status. The Medytox BTX strain has come to possess a unique genetic sequence

     through a selection process that occurred over decades. Between 1979, when Dr. Yang

     brought a vial of a Hall A-hyper strain from the University of Wisconsin – Madison, to

     2003, when Medytox created its first cell bank of the Medytox BTX strain, the sum total

     of the various activities and exposures to different environmental conditions caused

     several SNPs to accumulate by selective pressure (whether or not it was inadvertent) in

     what is now the Medytox BTX strain. The culmination was the Medytox BTX strain,

     which is genetically unique from other strains, distinguishable from other Hall A-hyper

     strains, and is commercially valuable. It does not matter whether the Medytox BTX

     strain has qualities that are better than other strains or even other Hall A-hyper strains.

     Dow Corning Corp. v. Jie Xiao, 283 F.R.D. 353, 361 (E.D. Mich. 2012). The Medytox



                                                   64
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 72 of 283 PageID# 171

                                         PUBLIC VERSION


     BTX strain has commercial value, as demonstrated by its use to manufacture, inter alia,

     Meditoxin, Innotox, and MT10109L.

             B.      Whether Medytox’s C. botulinum Strain Is a Protectable Trade Secret

             Complainants argue that Medytox’s strain is a trade secret because it is a

     “formula, pattern, device or compilation of information which is used in one’s business,

     and which gives him an opportunity to obtain an advantage over competitors who do not

     know or use it.” Restatement of the Law of Torts § 757, cmt. b.

             Respondents argue that Medytox’s strain is not a trade secret because it is a

     naturally-occurring, genetically-unmodified living organism, and as such cannot, in and

     of itself, be trade secret information.

                     1.     Sausage Casings Factors 1 and 2: The Extent to Which the
                     Information Is Known Outside of Complainant’s Business; and the
                     Extent to Which It Is Known By Employees and Others Involved in
                     Complainant’s Business

             The first two factors of the six factors from the Restatement of Torts, cited in

     Sausage Casings, are not particularly instructive on the issue of whether a bacterial strain

     used to manufacture a pharmaceutical product is a trade secret. The six factors are not a

     six-part test, but merely “instructive guidelines for ascertaining whether a trade secret

     exists.” Learning Curve Toys, 342 F.3d at 722. It is known both outside of and within

     Medytox that a C. botulinum Hall A-hyper strain is used in manufacturing Medytox’s

     BTX products. Yet, a more relevant inquiry is whether the genetic sequence of the

     Medytox BTX strain is known either outside of Medytox or how many people within

     Medytox have knowledge of it. Until the genetic sequencing of the Medytox strain was

     performed by the experts for the purposes of this Investigation, it does not appear that

     anyone outside of Medytox knew the full sequence of the strain.


                                                  65
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 73 of 283 PageID# 172

                                       PUBLIC VERSION


            Complainants argue, in part:

                            Daewoong has also suggested that the publication of
                   the Hall A-hyper’s genetic sequence operates to destroy any
                   protection as a trade secret. Resps. Prehr’g Br. at 60. But
                   that publication constitutes a series of nucleotides written on
                   paper and is a mere representation of the strain’s genetic
                   code. Rather, what is needed is possession of the living
                   organism that contains the genetic information and performs
                   according to that information, and the ability to use that
                   living organism to generate the neurotoxin. De novo
                   creation of bacterial strains, such as a C. botulinum strain,
                   using only a published DNA sequence is not possible using
                   current technology, as Daewoong’s expert witness
                   effectively conceded. CX-0010C (Pickett WS) at Q/A 113-
                   15; RX-3164C (Wilson WS) at Q/A 169 (“While in theory
                   possible, I believe it would be extremely challenging to
                   reproduce the bacterium itself from the published
                   genome.”). Even if doing so were theoretically possible, it
                   certainly would not be so readily available as to render
                   Medytox’s strain without value and therefore not entitled to
                   trade secret protection. Publication of the whole genome
                   sequence of the Hall A-hyper strain (and one that is six SNPs
                   different from Medytox’s) accordingly does not render the
                   strain itself with the genetic information it embodies and the
                   ability to productively use that genetic information
                   reasonably available to those in the trade.

     Compls. Br. at 118.

            Respondents argue, in part:

                           Under the correct legal test, whether Medytox’s
                   strain is a trade secret turns on whether there is secret,
                   valuable, proprietary information, created by Medytox, that
                   is embodied within it. See, e.g., Activity Tracking Devices,
                   ID, at *12 (identifying six non-exhaustive factors for
                   determining whether information qualifies as a trade secret:
                   (1) the extent to which the information is known outside of
                   complainant’s business; (2) the extent to which it is known
                   by employees and others involved in complainant’s
                   business; (3) the extent of measures taken by complainant to
                   guard the secrecy of the information; (4) the value of the
                   information to complainant and to its competitors; (5) the
                   amount of effort or money expended by complainant in
                   developing the information; and (6) the ease or difficulty


                                                 66
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 74 of 283 PageID# 173

                                         PUBLIC VERSION


                    with which the information could be properly acquired or
                    duplicated by others.) When that test is applied to the
                    undisputed facts of this case, the answer is plainly no.

                            First, the entire genetic sequence of the Hall A-
                    Hyper strain is public — accessible via the internet, on a
                    website called GenBank. This alone defeats any claim that
                    the DNA of Medytox’s strain is valuable information, or that
                    its value derives from its secrecy. According to Medytox’s
                    own expert, the Medytox subculture of the Hall A-Hyper
                    Strain is virtually identical in its genetics to the Hall A-
                    Hyper Strain subculture held by the U.S. government and
                    whose genetic sequence is published in its entirety on the
                    internet. CX-0015C.14 (Keim WS) at Q/A 45.

     Resps. Br. at 78–79.

            The Staff argues, in part:

                            Respondents argue that the genomic sequence of the
                    Hall A-hyper strain has been publicly available since 2007
                    on GenBank under accession number CP000727.1 and, thus,
                    the Medytox BTX strain cannot be a trade secret. See RPB
                    at 60. But according to Dr. Sherman, the Sanger sequencing
                    method employed to assemble the Hall A-hyper sequence
                    deposited as CP000727.1 is unreliable and is likely to be rife
                    with errors. If Dr. Sherman is to be believed, then the public
                    availability of CP000727.1 would be meaningless because
                    no one would be able to rely on it. Of course, the Hall A-
                    hyper strain’s sequence available as CP000727.1 is reliable.

     Staff Br. at 73–74 (footnote omitted).

            As an initial matter, the administrative law judge notes that the genetic sequence

     of the Medytox BTX strain is different from the CP000727.1 sequence and different from

     all other strains, including those published on GenBank. Thus, the similarity of the

     genomic sequence of the Hall A-hyper strain to the sequence of the Medytox strain has

     not been established.

            In addition, even if the Medytox BTX strain’s genomic sequence itself were to be

     made public, it is unclear how a person could have exploited such information to create a



                                                 67
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 75 of 283 PageID# 174

                                        PUBLIC VERSION


     viable bacterial cell capable of reproduction, having the same genetic sequence as the

     Medytox BTX strain. See CX-0010C (Pickett WS) at Q/A 114–15. If knowledge of the

     Hall A-hyper strain sequence were enough to create a commercially viable strain,

     Daewoong would not have needed to collect random soil samples in Korea in search of

     C. botulinum type A.

            Respondents further argue, in part:

                            Second, the only allegedly secret information—the
                    six “golden” SNPs that separate Medytox’s version of the
                    Hall A-Hyper Strain from those known to be held by
                    others—does not have any value to Medytox or its
                    competitors. Medytox concedes that the only genetic
                    difference between Medytox’s strain and the AMRIID Hall
                    A-Hyper Strain published on Genbank is found in six SNPs.
                    CX-0015C.29 (Keim WS) at Q/A 112. As such, the genetic
                    information in those six SNPs is the only information that
                    Medytox can claim to have “kept secret.” For this
                    information to imbue Medytox’s strain with trade secret
                    status, it must at a minimum have value to Medytox or its
                    competitors. Yet it is undisputed that those six SNPs have
                    no value and do not contribute to any functional difference
                    between Medytox’s strain and the AMRIID strain.
                    Medytox’s expert Dr. Pickett only provided an opinion on
                    the value of the genetic characteristics of the entire
                    organism. CX-0010C.22-23 (Pickett WS) at Q/A 112. Yet
                    Dr. Pickett testified at the hearing that he had not “conducted
                    any value analysis” on these six SNPs, separate and apart
                    from the characteristics of the organism shared by many
                    others who possess it. Hearing Tr. 414:9-415: 4.

     Resps. Br. at 79–80.

            This argument is not persuasive inasmuch as, as noted above, it is not the literal

     DNA sequence so much as the embodiment of the DNA in the bacteria that gives the

     strain its value. In any event, respondents do not dispute that the Medytox strain, and its

     particular six SNPs, was not publicly known.




                                                  68
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 76 of 283 PageID# 175

                                        PUBLIC VERSION


                    2.   Sausage Casings Factor 3: The Extent of Measures Taken by
                    Complainant to Guard the Secrecy of the Information

            Medytox took adequate precautions to protect its Hall A-hyper strain from

     disclosure. The owner of a trade secret is only required to take “reasonable measures” to

     safeguard its trade secrets. See 18 U.S.C. § 1839(3); Unif. Trade Secrets Act § 1(4);

     Sausage Casings, ID at 246–47; Certain Rubber Resins and Processes for Manufacturing

     Same, Inv. No. 337-TA-849, ID at 78, 163 (June 17, 2013) (confidentiality agreements,

     non-compete clauses, and document/information control policies qualify as reasonable

     measures) (unreviewed in relevant part).

            Medytox’s security with respect to its strain was extensive. During the period

     when the strain was held by Medytox in Dr. Jung’s laboratory at Sun Moon University, it

     was securely kept in Medytox’s separate half of the laboratory in locked storage to which

     only Medytox employees had keys. See CX-0013C (Jung WS) at Q/A 25, 53, 55; CX-

     0017C (Chang WS) at Q/A 29–30. Medytox facilities contained security systems

     including measures such as security guards, CCTV monitoring, ID scanners, manual

     locks, alarm systems, and steel movable walls. See CX-0017C (Chang WS) at Q/A 28,

     31–36. Medytox heavily restricts the number of employees authorized to access and

     remove samples of the strain, and requires employees to state their reasons for accessing

     the strain in access logs maintained at each facility. Id. at Q/A 36.

            Medytox also uses mandatory confidentiality agreements and employee

     onboarding trainings to explain the confidentiality obligations of every Medytox

     employee. See id. at Q/A 19–27 (explaining employee confidentiality obligations); CX-

     0661C (BK Lee Employment Contract); CX-2137C (BK Lee 2005 Conf. Agreement);

     CX-2582C (BK Lee 2007 Conf. Agreement); CX-2124C (Chang Email, 10/10/07); CX-


                                                  69
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 77 of 283 PageID# 176

                                      PUBLIC VERSION


     0699C (Medytox Sec. Pledge Agreement). Based on these agreements, trainings, and

     physical security measures, Medytox employees are well aware of their obligations. CX-

     0017C (Chang WS) at Q/A 12–15. Medytox has never transferred the strain to any third

     parties. CX-0013C (Jung WS) at Q/A 35.

                   3.   Sausage Casings Factor 4: The Value of the Information to
                   Complainant and to Its Competitors

            Complainants argue, in part:

                           Medytox’s strain is commercially valuable and
                   would be commercially valuable to Medytox’s competitors.
                   The strain is an essential element of Medytox’s
                   manufacturing process for BTX. CX-0011C (Rhee WS) at
                   Q/A 10; CX-0013C (HH Jung WS) at Q/A 37. As
                   Daewoong has itself recognized, obtaining a suitable strain
                   of botulinum is one of the two “barriers to entry” into the
                   BTX industry (the other being a manufacturing process).
                   See CX-2179C.46-47 (2010 Presentation). Commercial
                   manufacture of a BTX product requires a bacterial strain that
                   expresses the botulinum neurotoxin and that is otherwise
                   suitable for commercial manufacture. Not all C. botulinum
                   strains are suitable for commercial manufacture. CX-0010C
                   (Pickett WS) at Q/A 70.

                          As Dr. Pickett testified:

                          Medytox’s strain is valuable because it has
                          been shown to be suitable and effective for
                          use in the commercial manufacture of a
                          regulatory approved and licensed botulinum
                          neurotoxin product and is the key element of
                          a detailed and extensive botulinum
                          neurotoxin manufacturing process.

                   Id. at Q/A 61. A strong confirmation of the commercial
                   value of the Medytox strain is the fact that Daewoong
                   misappropriated it – particularly if, as Daewoong now
                   asserts, it could have instead accessed other strains without
                   resorting to theft. See, e.g., Hr’g Tr. (Resps. Opening
                   Statement) at 99 [




                                                70
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 78 of 283 PageID# 177

                                      PUBLIC VERSION



                                 ].

     Compls. Br. at 108–09.

            Respondents argue, in part:

                           Fourth, even putting aside that there is nothing
                   commercially unique or valuable about Medytox’s strain, it
                   is also the case that the Hall A-Hyper strain generally does
                   not have unique commercial value that might be necessary
                   (though not sufficient) to claim trade secret protection.
                   Complainants’ expert Dr. Pickett claimed at trial that there
                   are supposed commercially beneficial qualities that are
                   unique to the Hall A-Hyper strain: high levels of toxin
                   production, poor sporulation, and stability. CX-0010C.15
                   (Pickett WS) at Q/A 71. However, the record evidence does
                   not support the claim that these are somehow unique to
                   Medytox’s strain or that they carry any special commercial
                   value. Dr. Pickett himself conceded at the hearing that the
                   supposedly “high levels of toxin production” in the Hall A-
                   Hyper Strain are not necessary to make a commercially
                   viable product, since numerous other companies market
                   viable products using other strains. Hearing Tr. 404:23-
                   406:12. Dr. Theresa Smith, the expert who drafted a
                   declaration accompanying the Complaint in this case, stated
                   that “demonstration of toxin production differences may be
                   somewhat difficult” as between strains. CX-0005.7 (Smith
                   Decl.). There is also no record support for Dr. Pickett’s
                   claim that Medytox’s strain is a poor sporulator, since Dr.
                   Pickett’s own lab notes, when testing Medytox’s strain for
                   spores, said that he found “Many spores!” (RX-1886C.9
                   (Medytox Korea Litigation Spore Testing Notes)). Nor did
                   Daewoong gain any supposed advantage from poor
                   sporulation properties, since the FDA found that
                   Daewoong’s strain was likely not a poor sporulator and as
                   such required Daewoong to implement process controls to
                   ensure no spores were included in its drug substance. RX-
                   1569C.2 (February 9, 2019 Response to IR Letter). Finally,
                   Medytox’s strain also does not come with the benefit of clear
                   documentation of ownership, as Dr. Pickett has suggested is
                   required. CX-0010.28-29 (Pickett WS) at Q/A 137. To the
                   contrary, it is uncontested that Medytox did not have any
                   documented ownership of the strain until 2017, nearly
                   twenty years after it purportedly received the strain and a
                   decade after it first went to market with a botulinum


                                                71
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 79 of 283 PageID# 178

                                         PUBLIC VERSION


                   neurotoxin product. RX-2966C.7 (Medytox’s Responses to
                   Daewoong’s Fourth Set of RFAs) (“Medytox admits that to
                   the best of its knowledge and belief the first document
                   reflecting the transfer of the Hall A-Hyper Strain from Kyu
                   Hwan YANG to Hyun Ho JUNG is dated 2017”).

                           Underscoring the lack of any unique value to the Hall
                   A-Hyper Strain, Complainants’ expert, Dr. Pickett,
                   conceded that other botulinum strains besides the Hall A-
                   Hyper strain can be and are used by commercially viable
                   companies to produce botulinum toxin products. See
                   Hearing Tr. 405:11-407:1. This includes Merz, a highly
                   successful company that Dr. Pickett himself previously
                   worked for. Id. Indeed, Respondents have supplied
                   evidence of at least 30 parties on three continents who now
                   possess, or have previously possessed, a commercially
                   viable Hall-A Strain. See supra RDX-0013C.4 (Keim Cross
                   Demonstrative) and underlying exhibits specific at Section
                   II.E.1.d. Commercially viable Type A Strains were also
                   available to Daewoong for purchase or license around 2010
                   when it first isolated its own strain. At that time, Daewoong
                   was at an advanced stage of licensing discussion with
                   MedExGen—a company affiliated with Hanyang
                   University—that would have resulted in Daewoong’s
                   purchase of a commercially viable botulinum bacteria strain.
                   RX-3159C.29 (Chang Woo SUH WS) at Q/A 29-30; RX-
                   1863C.2 (MedExGen Discussions). There is no dispute that
                   had Daewoong done so, it would have been able to produce
                   an equivalent commercial product to what it is producing
                   today. Daewoong had also been given a Type A strain by
                   Seoul National University, so that Daewoong could perform
                   research on that strain in its lab. RX-3159C.30 (Chang Woo
                   SUH WS) at Q/A 34-37. Neither Complainants nor Staff
                   have claimed that this strain could not have been
                   commercially viable either.

     Resps. Br. at 82–83.

            The Staff argues, in part:

                          The Medytox BTX strain is valuable for several
                   reasons, including the fact that it is the essential ingredient
                   in Medytox’s manufacturing process for botulinum
                   neurotoxin. CX-0011C (Rhee WS) at ¶ 10; CX-0013C (Jung
                   WS) at ¶ 37. The Medytox strain has at least three qualities
                   that make it particularly valuable for use in the commercial


                                                 72
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 80 of 283 PageID# 179

                                       PUBLIC VERSION


                    manufacture of a BoNT product. As Dr. Pickett explains,
                    the Hall A-hyper strains is: (1) a particularly high toxin
                    producer; (2) known to be stable over long periods of time;
                    and (3) a poor sporulator that does not produce spores during
                    the drug substance manufacturing process. CX-0010C at ¶¶
                    71–72. Each of these qualities makes the Hall A-hyper strain
                    particularly valuable in commercial settings. Id.

                            Possessing a strain that produces particularly
                    significant amounts of toxin is commercially advantageous
                    because a high level of toxin production makes the
                    separation and purification process of producing a BoNT
                    product easier and safer. Id. at ¶ 71. Equally important is
                    that the strain being used for commercial production be
                    stable, i.e., that it does not degenerate and become less
                    productive over time. Id. If the BoNT manufacturer cannot
                    prove the bacterial strain is stable over time, it will pose
                    regulatory challenges, as new strains to replace the
                    degenerated strains would have to be approved through the
                    lengthy and expensive regulatory approval processes for the
                    use of the new strain. Id. During this time, the manufacturer
                    may not have an approved strain and, therefore, may not
                    have a BoNT product to sell. Id. Thus, it is of great
                    commercial value for a strain producing a BoNT product
                    (and any pharmaceutical product, for that matter) to have
                    long-term stability. Medytox has been using its strain for the
                    commercial manufacture of BoNT products since 2006; the
                    long term stability of the strain has been demonstrated as a
                    practical matter.

                           Finally, the formation of spores interferes with the
                    manufacturing process by contaminating the manufacturing
                    equipment and/or the pharmaceutical product. Id. Thus,
                    using a strain that sporulates poorly is advantageous for the
                    manufacturing process. Id. Since at least the 1980s, the Hall
                    A-hyper strain has been reported to “rarely form[] spores,”
                    CX-1829.5 (Kihm (1988)) or to “sporulate[] very poorly.”
                    JX-0124.8 (Johnson (1992)).          The poor sporulation
                    properties of the Medytox BTX strain was also observed and
                    confirmed by Dr. Pickett. Id. at ¶¶ 327–343.

     Staff Br. at 76–77.

            The evidence shows that Medytox’s strain is commercially valuable. The strain is

     an essential element of Medytox’s manufacturing process for BTX. CX-0011C (Rhee



                                                 73
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 81 of 283 PageID# 180

                                        PUBLIC VERSION


     WS) at Q/A 10; CX-0013C (Jung WS) at Q/A 37. Obtaining a suitable strain of

     botulinum is one of the two “barriers to entry” into the BTX industry (the other being a

     manufacturing process). See CX-2179C.46-47 (2010 Presentation). Commercial

     manufacture of a BTX product requires a bacterial strain that expresses the botulinum

     neurotoxin and that is otherwise suitable for commercial manufacture. Not all C.

     botulinum strains are suitable for commercial manufacture. CX-0010C (Pickett WS) at

     Q/A 70.

            In addition, Medytox’s strain has at least three qualities that make it particularly

     valuable for commercial manufacture. The Medytox strain is derived from the Hall A-

     hyper strain. CX-0013C (Jung WS) at Q/A 21, 35; CX-0015C (Keim WS) at Q/A 4. The

     Hall A-hyper is: (1) a particularly high toxin producer; (2) known to be stable over long

     periods of time; and (3) a poor sporulator that does not produce spores during the drug

     substance manufacturing process. Each of these qualities makes Medytox’s strain

     especially valuable in commercial settings. See CX-0010C (Pickett WS) at Q/A 71–72;

     RX-3164C (Wilson WS) at Q/A 165[

                                                                             ].

            Possessing a strain that produces especially large amounts of toxin is

     commercially advantageous because a high level of toxin production makes the

     separation and purification process of producing a drug substance easier and safer. See

     CX-0010C (Pickett WS) at Q/A 71. The Hall A-hyper strain (and thus Medytox’s strain)

     was specifically developed to have high levels of toxin production. In the mid-1940s,

     researchers at the United States Army Medical Research Institute of Infectious Disease

     (USAMRIID) developed the Hall A-hyper strain by screening samples for high toxin



                                                  74
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 82 of 283 PageID# 181

                                         PUBLIC VERSION


     production. Id. at Q/A 73–75 (discussing JX-0124 (Johnson (1992)) and JX-0126 (Duff

     (1957)); Keim Tr. 203–205. That the Hall A-hyper strain produces an especially large

     amount of toxin has been repeatedly confirmed. See, e.g., JX-0124.3 (Johnson (1992));

     JX-0126.2 (Duff (1957)); RX-3551.1 (Lewis & Hill (1947)) (noting that the strain “was

     selected for this investigation because unpublished work by McCoy and Sarles (1943)

     indicated that it produced more toxin per unit of culture than any other strain tested by

     them”). The Hall A-hyper strain has been maintained and valued over the decades on

     account of its special qualities.

             It is also important to be sure that the strain used for commercial production is

     stable, i.e., that it does not degenerate and become less productive over time. See CX-

     0010C (Pickett WS) at Q/A 71. BTX strains are known to be vulnerable to degeneration,

     a fact that is especially problematic in the commercial space. BTX products generally

     receive regulatory approval based on the specific strain being used. If the producer of a

     BTX product were required to switch to a different strain as a result of the degeneration

     of its approved strain, they would likely be required to go through the lengthy and

     expensive regulatory approval process for use of each new strain, during which time they

     may not be able to produce and distribute their product. Id. As a result, manufacturers of

     BTX products have a strong incentive to ensure at the outset that the strain they receive

     approval for has long-term stability.

             Perhaps more than any other BTX strain, the Hall A-hyper strain (from which

     Medytox’s strain is derived) has been shown to be stable. Despite having been developed

     in the 1940s, the Hall A-hyper strain has continued to consistently produce high levels of

     toxin. The literature also indicates that the Hall A-hyper has been valued and used



                                                  75
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 83 of 283 PageID# 182

                                        PUBLIC VERSION


     specifically because it consistently produced high levels of toxin. Id. at Q/A 76–78

     (discussing CX-1846 (Johnson (2018)). Further, there is evidence that Medytox’s Hall

     A-hyper strain in particular has long-term stability: Medytox has been using its strain for

     the commercial manufacture of a BTX product for well over a decade.

            The sporulation properties of a BTX strain are also an important consideration in

     the commercial production of a BTX product. It is advantageous to use a strain that

     sporulates poorly, because sporulation interferes with the manufacturing process.

     Regulatory requirements generally mandate that spores, which are a dormant, seed-like

     form of a bacteria, be removed during the manufacturing process. This requires certain

     specific steps in the process to ensure that spores are fully removed. Possession of a

     strain that does not sporulate under normal manufacture conditions obviates the need for

     these steps. Further, using a poorly sporulating strain could reduce the level of general

     environmental monitoring that might be required during the manufacturing process (due

     to the inherent risks posed by the spores). See CX-0010C (Pickett WS) at Q/A 71.

            The Hall A-hyper strain is known to be poorly sporulating and not to produce

     spores in manufacturing conditions. Since at least the 1990s, the Hall A-hyper strain has

     been reported to “sporulate[] very poorly.” JX-0124.8 (Johnson (1992)). Some authors

     have reported that they had not seen the strain form spores in their decades of working

     with it, CX-1885.2 (Bradshaw (2014)), while other experts, including Dr. Pickett, have

     opined that spores had not been observed in the Hall A-hyper strain potentially because

     of the specific fermentation conditions, including the medium, used. CX-1805.5 (Pickett

     (2014)); CX-0010C (Pickett WS) at Q/A 80–85.




                                                 76
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 84 of 283 PageID# 183

                                      PUBLIC VERSION


                  4.   Sausage Casings Factor 5: The Amount of Effort or Money
                  Expended by Complainant in Developing the Information

           Complainants argue, in part:

                          Respondents contend that because Medytox itself did
                  not genetically modify or pay for its strain, it cannot be
                  entitled to trade secret protection and the strain is free for
                  others to steal. RIB at 85-86. No law supports their
                  argument that “the very act of transferring a trade secret for
                  free destroys any claim to intellectual property protection.”
                  RIB at 86. While one cannot claim another’s ideas or
                  secrets as one’s own trade secret, see Bowser, Inc. v. Filters,
                  Inc., 398 F.2d 7, 10 (9th Cir. 1968); Callaway Golf Co. v.
                  Dunlop Slazenger Grp. Ams., Inc., 318 F. Supp. 2d 205, 211
                  (D. Del. 2004), a trade secret plaintiff need not have created
                  the trade secret, as opposed to obtaining it legitimately from
                  another.     Compare RIB at 85-86 with Centrifugal
                  Acquisition Corp. v. Moon, 849 F. Supp. 2d 814, 834-85
                  (E.D. Wis. 2012) (ruling plaintiff could enforce trade secret
                  acquired from original developer); Skinner v. DVL Holdings,
                  LLC, No. 05-03-00785-CV, 2004 WL 113095, at *1-2 (Tex.
                  App. Jan. 26, 2004) (same, explaining that “[i]f appellee
                  could not protect its trade secrets, then it would have
                  obtained nothing by virtue of the [acquisition]”).

                           Respondents selectively quote from Bison Advisors
                  LLC v. Kessler, No. 14-3121 (DSD/SER), 2016 WL
                  4361517 (D. Minn. Aug. 12, 2016), but the lack of trade
                  secret protection there turned on the fact that the two parties
                  to the case had “freely traded the [allegedly trade secret] data
                  without restriction,” and without a “confidentiality
                  agreement with respect to that data.” Id. at *4-5. Neither
                  Bison Advisors nor any other case cited by Respondents
                  imposes a monetary-payment condition on the existence of
                  a trade secret. There is no such requirement. See, e.g.,
                  Chadwick v. Covell, 23 N.E. 1068, 1068-69 (Mass. 1890)
                  (Holmes, J.) (trade secret defendant cannot escape liability
                  by arguing that the plaintiff received the trade secret as a
                  gift); 1 Milgrim on Trade Secrets § 1.02[2] (observing that
                  it would be inconsistent with the law “to consider expense of
                  development of a trade secret as an operative substantive
                  element”); CIB at 111-13. The value element of trade secret
                  status derives from its commercial value, not the cost of its
                  development; indeed, it is black letter law that “a trade secret
                  can be discovered fortuitously.” 1 Milgrim on Trade Secrets


                                                77
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 85 of 283 PageID# 184

                                       PUBLIC VERSION


                   § 1.02[2]; see also Restatement (Third) of Unfair
                   Competition § 39 cmt. e (1995) (“A trade secret must be of
                   sufficient value in the operation of a business or other
                   enterprise to provide an actual or potential economic
                   advantage over others who do not possess the information.
                   The advantage, however, need not be great.”); CIB at 111-
                   13 (citing cases).

     Compls. Reply Br. at 15–17 (footnote omitted).

            Respondents argue, in part:

                            Fifth, by its own admission, Medytox has not
                   expended time, money, or effort to create its Hall A-Hyper
                   Strain, or the six SNPs that purportedly distinguish
                   Medytox’s strain from others like it. Activity Tracking
                   Devices, ID, at *12 (explaining that trade secret status
                   depends upon the complainant’s investment in “effort or
                   money . . . in developing the information”). Medytox admits
                   it did not produce its strain or genetically modify it in any
                   way. RX-2962C.2 (Medytox’s Responses to Daewoong’s
                   Second RFAs) at No. 8 (admitting that Medytox “has not
                   intentionally genetically changed the Hall A-Hyper Strain
                   that it uses to produce Meditoxin or MT10109L”). Medytox
                   also acquired the strain for free. As discussed above, to even
                   be arguably entitled to trade secret protection, an organism
                   must have been produced through substantial investments of
                   time, effort and money, to produce a commercially valuable
                   and unique resource. Pioneer Hi-Bred Int’l, 1987 WL
                   341211, at *31, compare with SinoMab Bioscience Ltd. v.
                   Immunomedics, Inc., No. 2471-VCS, 2009 WL 1707891, at
                   *1 (Del. Ch. Ct. June 16, 2009) (finding that the DNA
                   sequence at issue did not qualify as a trade secret where “[i]t
                   was a slight variation on publicly known information which
                   Leung created in a few hours using publicly known
                   methods.”). Medytox’s lack of such an investment of
                   intellectual or monetary capital is fatal to its claim of trade
                   secret status here.

                           As a fallback, Complainants appear to assert that
                   even though Medytox did not endow its Hall A strain with
                   any informational value, someone must have. As an initial
                   matter, this claim conflicts with the opinion of
                   Complainants’ own prior expert, Dr. Smith, who stated in
                   her declaration that the “hyper” strain was not intentionally
                   cultivated but instead was merely identified by two


                                                 78
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 86 of 283 PageID# 185

                                         PUBLIC VERSION


                   researchers as having greater toxin production than others.
                   CX-0005.3 (Smith Decl.). In any event, even if it were true
                   that someone other than Medytox bred the strain for high
                   toxin production, development efforts by a third party cannot
                   create trade secret protection if the plaintiff acquired the
                   alleged trade secret for free. See Bowser, Inc. v. Filters, Inc.,
                   398 F.2d 7, 10 (9th Cir. 1968) (“[T]he ideas, formulae,
                   designs, knowledge or skill asserted as constituting
                   plaintiffs’ trade secrets must have originated with the
                   plaintiffs”); Callaway Golf Co. v. Dunlop Slazenger Grp.
                   Americas, Inc., 318 F. Supp. 2d 205, 211 (D. Del. 2004)
                   (granting summary judgment to a defendant because the
                   evidence demonstrated that the supposed trade secret at issue
                   was not developed by plaintiff, but by a third party). Instead,
                   the very act of transferring a trade secret for free destroys
                   any claim to intellectual property protection. Bison
                   Advisors, 2016 WL 4361517, at *4 (holding that once
                   something has been “freely traded . . . without restriction” it
                   cannot be a trade secret).

                           The lack of value in Medytox’s bacterial strain is
                   confirmed by a case cited by both Complainants and Staff:
                   Dow Corning Corp. v. Jie Xiao, 283 F.R.D. 353, 361 (E.D.
                   Mich. 2012). CPB at 86; SPB at 52. In Dow Corning the
                   court explicitly observed that “[t]he value of the information
                   contained in the trade secrets . . . depends on ‘how much
                   someone is willing to pay for it.’” Id. (quoting Richard
                   Posner, Economic Analysis of Law 10 (6th ed. 2003)). Thus,
                   one of the best indicators of the value that Medytox places
                   on the Hall A-Hyper Strain would be the price it paid to
                   acquire it in the first place. Yet Medytox paid nothing.
                   Likewise, Staff’s argument that the strain had value because
                   Dr. Yang “had paid his dues with Dr. Sugiyama” and that
                   Dr. Sugiyama’s gift of the Hall A Strain “expressed his
                   gratitude” does not endow the strain with commercial value,
                   and would find value in virtually object. See SPB at 49. And
                   in any event, Staff’s argument conflicts with Dr. Yang’s own
                   adamant testimony that he did not provide any consideration
                   to acquire the strain from Wisconsin and did not receive any
                   consideration whatsoever to transfer the strain to Medytox.
                   RX-3024C.8, 21 (Kyu Hwan YANG Dep. Desg.) at 38:11-
                   13, 83:1-3.

     Resps. Br. at 84–86.

            The Staff argues, in part:


                                                  79
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 87 of 283 PageID# 186

                                         PUBLIC VERSION


                             The evidence demonstrates that Medytox has
                     expended years of effort and considerable funds to develop
                     commercial BoNT products using the Medytox BTX strain.
                     CX-0013C (Jung WS) at ¶¶ 44–72. It took Medytox almost
                     six years to both develop its manufacturing process for
                     Meditoxin and obtain approval for the product from the
                     relevant Korean authority, the Ministry of Food and Drug
                     Safety (or the MFDS), from May 2000 to March 2006. Id.
                     at ¶ 63. Medytox spent approximately [                  ] to
                     conduct research and development to cultivate the Medytox
                     BTX strain and optimize a manufacturing process for the
                     final purified toxin that is packaged as Meditoxin. Id. at ¶
                     72. While the research and development is tied to the
                     product manufactured from the Medytox BTX strain and not
                     necessarily towards the creation of the strain itself, these
                     efforts and money were expended in exploiting the Medytox
                     BTX strain. Thus, the Staff respectfully submits they should
                     be weighed in the consideration of whether the Medytox
                     BTX strain has trade secret status.

     Staff Br. at 79–80.

             As an initial matter, there is no requirement that a trade secret be the product of

     any particular amount of investment. See, e.g., Learning Curve Toys, Inc. v. PlayWood

     Toys, Inc., 342 F.3d 714, 728 (7th Cir. 2003) (holding toy design to be a trade secret,

     notwithstanding that the cost to develop the concept was “less than one dollar and the

     time spent was less than one-half hour,” finding that while “[a] significant expenditure of

     time and/or money in the production of information may provide evidence of value . . .

     we do not understand Illinois law to require such an expenditure in all cases”); Chadwick

     v. Covell, 23 N.E. 1068, 1068–69 (Mass. 1890) (Holmes, J.) (explaining that a trade

     secret defendant cannot escape liability by arguing that the plaintiff received the trade

     secret as a gift from a third party, even if the third party allegedly had no legal right to

     gift it); 1 Milgrim on Trade Secrets § 1.02[2] (“[S]ince it is established that a trade secret

     can be discovered fortuitously (ergo, without costly development), or result purely from



                                                   80
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 88 of 283 PageID# 187

                                         PUBLIC VERSION


     the exercise of creative faculties, it would appear inconsistent to consider expense of

     development of a trade secret as an operative substantive element.”).

             In this case, Dr. Kyu Hwan Yang obtained the strain from his academic mentor,

     Dr. Hiroshi Sugiyama, and then he passed the strain to his mentee, the founder of

     Medytox, Dr. Hyun Ho Jung. The strain passed without monetary compensation (at least

     at the time of transfer) between people connected by close relationships. Jung Tr. 332–

     333 (“That’s the relationship, he is the master and I the pupil.”). The value of a gift is

     not, however, diminished by the fact that it is given without monetary payment. See, e.g.,

     Liautaud v. Liautaud, 221 F.3d 981, 986 (7th Cir. 2000) (“The donor in a gift

     relationship, when the gift is trade secrets, is providing the donee with valuable advice for

     free.”).10

                    5.     Sausage Casings Factor 6: The Ease or Difficulty with Which
                    the Information Could Be Properly Acquired or Duplicated by Others

             Complainants argue, in part:

                            Respondents next repeat their debunked argument
                    that a Hall A-hyper strain like Medytox’s was so readily
                    available as to forfeit trade secret protection and make it
                    open to steal without consequence. RIB at 80. Respondents
                    are simply wrong. Trade secret protection does not require
                    absolute secrecy or unavailability: “The requirement of
                    secrecy is satisfied if it would be difficult or costly for others
                    who could exploit the information to acquire it without resort
                    to the wrongful conduct.” Restatement (Third) of Unfair
                    Competition § 39 cmt. f (1995); see also id. (“The theoretical
                    ability of others to ascertain the information through proper

     10
        Dow Corning Corp. v. Jie Xiao, 283 F.R.D. 353, 361 (E.D. Mich. 2012), which
     respondents cite for the proposition that “the value that Medytox places on the Hall A-
     Hyper Strain would be the price it paid to acquire it in the first place,” Resps. Br. at 86,
     recites in its entirety: “The economic value of something is how much someone is willing
     to pay for it or, if he has it already, how much money he demands for parting with it.”
     283 F.R.D. at 361 (quoting Richard Posner, Economic Analysis of Law 10 (6th ed.
     2003)).


                                                   81
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 89 of 283 PageID# 188

                                     PUBLIC VERSION


                 means does not necessarily preclude protection as a trade
                 secret. Trade secret protection remains available unless the
                 information is readily ascertainable by such means.”). A
                 strain like Medytox’s would have been difficult and costly
                 to obtain, if it could be obtained at all. And indeed, that point
                 is established by the fact that Daewoong did “resort to
                 wrongful conduct” to obtain it.

                          There is no evidence that at the time Daewoong
                 sought a strain for commercial BTX production, it could
                 have obtained Medytox’s strain or the Hall A-hyper strain at
                 all – let alone without difficulty or cost so as to negate trade
                 secret protection. CIB 114-16. Respondents pretend that it
                 is “undisputed” that the strain was available from “hundreds
                 of entities,” RIB at 70-71, when in fact they have no
                 evidence to support that contention. In fact, only five
                 commercial companies are known to have a variation of the
                 Hall A-hyper strain (including Medytox), CIB at 115-16, and
                 each is commercially developing that strain and deriving
                 value from it – none would have sold it to Daewoong, let
                 alone given it to Daewoong without cost. For most of the
                 entities on the long list cited by Respondents, RIB at 26-28,
                 when the cited support is examined, there is in fact no
                 evidence they have the Hall A-hyper strain at all. CIB at
                 115-16. And even if the strain were held by certain
                 government agencies and universities, there is no evidence
                 in the record they would or could have provided such a strain
                 to Daewoong without cost. Further, Daewoong’s own report
                 states [
                                             ]. JX-0024C.72.

                        In this context, that non-commercial researchers may
                 have exchanged the Hall A-hyper strain decades ago is of no
                 moment. In 2010, Medytox’s strain was not available in the
                 industry. “[E]xcept by the use of improper means, there
                 would [have been] difficulty in acquiring the information.”
                 Certain Processes for the Manufacture of Skinless Sausage
                 Casings and Resulting Prod., Inv. No. 337-TA-148, 337-
                 TA-169, Initial Determination, 1984 WL 273789, at *94
                 (July 31, 1984) (“Sausage Casings ID”) (quoting
                 Restatement of the Law of Torts § 757 cmt. B (1939)).
                 Against that, Respondents’ citation of cases standing for the
                 proposition that widely distributed and freely available
                 information cannot be claimed as a trade secret is irrelevant.
                 Cf. RIB at 80.




                                                82
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 90 of 283 PageID# 189

                                       PUBLIC VERSION


     Compls. Reply Br. at 13–15.

            Respondents argue, in part:

                            Third, the Hall A-Hyper strain is not uniquely held
                   by Medytox and does not bestow Medytox with any
                   advantage over competitors. Instead, the strain is held by
                   numerous commercial, academic, governmental and other
                   entities and is available for sale on the free market. See, e.g.,
                   CX-0005.3 (Smith Decl.) (stating that (1) “researchers
                   regularly traded BoNT-producing bacterial strains [during
                   the first part of the 20th century];” (2) “it is known that Dr.
                   Hall sent Hall strains to various researchers during that
                   time;” and (3) “the Hall strain was forwarded over time to
                   multiple commercial laboratories [from the University of
                   Wisconsin-Madison]”).              Correspondence      between
                   Medytox’s own lawyers and the University of Wisconsin
                   evidences that the university “commonly traded [its
                   bacterial] strains with other researchers outside of the
                   University.” RX-3166C.20 (Sullivan WS) at Q/A 111.

                            The decades of unrestricted sharing of the strain, for
                   free, defeats any claim to trade secret protection as a matter
                   of law. “[A]s a plurality of independent use begins . . . the
                   secret erodes. At some point there will be a sufficient
                   number of independent users to correspond to trade use. At
                   such time the matter is no longer secret.” Roger M. Milgrim,
                   Milgrim on Trade Secrets § 1.07[2], at 1-468.71-72 (2019);
                   see also Big Vision Private Ltd. v. E.I. DuPont De Nemours
                   & Co., 1 F. Supp. 3d 224, 270 (S.D.N.Y. 2014)
                   (“information that is public knowledge or that is generally
                   known in an industry cannot be a trade secret”). As
                   explained by the Supreme Court, “[o]nce the data that
                   constitute a trade secret are disclosed to others, or others are
                   allowed to use those data, the holder of the trade secret has
                   lost his property interest in the data” and therefore trade
                   secret protection. Ruckelshaus v. Monsanto Co., 467 U.S.
                   986, 1011–12 (1984); see also Bison Advisors LLC v.
                   Kessler, No. CV 14-3121 (DSD/SER), 2016 WL 4361517,
                   at *3 (D. Minn. Aug. 12, 2016) (once something has been
                   “freely traded . . . without restriction” it cannot be a trade
                   secret).

                          Medytox’s Hall A-Hyper strain is not a trade secret
                   because it is commercially and functionally identical to other
                   copies of the Hall A-Hyper strain held by commercial


                                                  83
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 91 of 283 PageID# 190

                                         PUBLIC VERSION


                   competitors now or previously in the market, including
                   Allergan, Wako Laboratories, Mentor, Lanzhou Biological
                   Products, Revance and Johnson & Johnson. CX-0005.4
                   (Smith Decl.); CX-2614C.1 (Decl. of Metabiologics, Inc.);
                   CX-0010.18 (Pickett WS) at Q/A 87; RX-3166C.12, 18, 20-
                   21 (Sullivan WS) at Q/A 69, 104-105, 116. Medytox’s strain
                   may also be genetically identical to the strains held by its
                   competitors. Complainants do not even know if the
                   Medytox strain is different by a single SNP from the
                   Allergan strain or other Hall A-Hyper strains in circulation.
                   Hearing Tr. 158:3-17.

     Resps. Br. at 80–81.

            The Staff argues, in part:

                            Respondents, citing various documents, argue that
                   “dozens if not hundreds of entities around the world hold
                   substantially and commercially identical copies of the same
                   Hall A botulinum strain.” RIB at 71; see RDX-0012C.006
                   (listing about two dozen different documents). Respondents
                   appear to have listed any reference to a “Hall” strain or even
                   the possession of a botulinum neurotoxin as having the
                   possession of “the Hall-A Strain in question.” RDX-
                   0012.006. But reference to a “Hall” strain does not
                   necessarily refer to a Hall A-hyper strain; it could be a
                   reference to any one of tens of thousands of C. botulinum
                   strains that were collected and isolated by Dr. Ivan C. Hall
                   from the 1920s through 1940s. CX-0005. For most of the
                   institutions identified by Respondents as possessing “the
                   Hall-A Strain in question,” it turns out that there is actually
                   no evidence at all of such possession. See CIB at 115–16.
                   At most there are reports of possible possession of some
                   strains (but not the Hall A-hyper strain). Id. Some of the
                   institutions identified by Respondents no longer possess the
                   Hall A-hyper strain, or the institution possessed or possesses
                   a strain genetically distinct from Medytox’s strain. Id.

                           Thus, the Hall A-hyper strain is not as widespread as
                   Respondents’ unsupported allegations might suggest.
                   Additionally, there is no evidence that Daewoong (or any
                   other commercial entity) could legitimately obtain a Hall A-
                   hyper strain for commercial purposes from any institution
                   that has a confirmed Hall A-hyper C. botulinum strain that
                   can trace its origins to USAMRIID. Even assuming,
                   arguendo, that [


                                                 84
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 92 of 283 PageID# 191

                                        PUBLIC VERSION




                             ]. There is no evidence that Daewoong would have
                     been permitted [                                       ].

     Staff Reply Br. at 12–13 (footnote omitted).

            There is no evidence that any company currently offers the Hall A-hyper strain

     for sale for commercial use. As Dr. Pickett testified at the hearing, Daewoong’s own

     documents show it was [

          ]. Pickett Tr. 433–437.

            Respondents contend Daewoong could have purchased the Hall A-hyper strain

     from someone. Yet, the ability to acquire the Hall A-hyper strain in exchange for

     payment could serve to confirm rather than vitiate its trade secret status. Further,

     Daewoong’s internal documents stated that [



                ]. JX-0024C.72 (2015 Strain Report Addendum); Pickett Tr. at 433–437.

     Daewoong’s internal contemporaneous records further reflect that [




          ]. CX-2180C.9-11 (2009 BTA Memo).

            [



                                                                                   ]. See

     Compls. Br. at 116–17. [




                                                  85
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 93 of 283 PageID# 192

                                        PUBLIC VERSION


           ]. See id. at 117. [




                                                      ]. See id.; CX-0010C (Pickett WS) at Q/A

     92–95. [



                                                   ]. CX-0010C (Pickett WS) at Q/A 92-95. [




                                              ].

            [                                                         ]. See Compls. Br. at 117.

     [




                      ]. See id.; CX-0010C (Pickett WS) at Q/A 96–98; [




            ]. CX-0010C (Pickett WS) at Q/A 96–98.

            Although [                      ], Allergan, and Medytox have versions of the Hall

     A-hyper strain, there is no requirement of exclusivity to a trade secret. See, e.g., Faiveley

     Transp. USA, Inc. v. Wabtec Corp., 511 F. App’x 54, 55 (2d Cir. 2013). Each of these

     companies derives substantial commercial value from the strain and the fact that it is not

     otherwise available, and there is no evidence that any of these companies would have



                                                    86
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 94 of 283 PageID# 193

                                        PUBLIC VERSION


     made the strain available to Daewoong in 2010 when it was developing DWP-450 or at

     any other time. See CX-0010C (Pickett WS) at Q/A 95–101.

            Moreover, Medytox has not willingly made available its BTX strain to anyone

     outside of Medytox. There is no evidence that Medytox ever made its strain available for

     sale or available to others outside of Medytox for any purpose.

            It has thus been shown that the Medytox strain is protectable as a trade secret,

     because: (a) the strain has economic value, (b) it is not generally known or readily

     ascertainable, and (c) Medytox has taken reasonable precautions to maintain its secrecy.

     Rubber Resins, Comm’n Op. at 10 (citing Sausage Casings, ID at 361).

            C.      Ownership of the Medytox Strain

            Complainants argue, in part:

                            The origin of Medytox’s strain is no mystery.
                    Uncontroverted testimony establishes that the strain was
                    provided to the founder of Medytox, Dr. Hyun Ho Jung, by
                    his academic mentor Dr. Kyu Hwan Yang. Hr’g Tr. (Jung)
                    at 331; CX-0013C (HH Jung WS) at Q/A 21-22; CX-
                    2606C.3 (HH Jung WS Errata); CX-0014C (KH Yang RWS)
                    at Q/A 6-7; CX-1551C.6 (The Origin of Medytox’s
                    Botulinum Strain). As noted, Dr. Jung and Dr. Yang had a
                    close father-son-like relationship. Hr’g Tr. (Jung) at 332.
                    Dr. Yang expressly authorized Dr. Jung to use the strain to
                    found Medytox in 1999. CX-0014C (KH Yang RWS) at
                    Q/A 8. Dr. Yang had brought the strain with him to Korea
                    when he returned from studying at the University of
                    Wisconsin with Dr. Hiroshi Sugiyama. Dr. Sugiyama had
                    placed no conditions on Dr. Yang’s use of the strain. Id. at
                    Q/A 9-11; RX-3024C (KH Yang Dep.) at 31:25-32:17; CX-
                    2127C.18 (Docs. Re: KH Yang’s Research) CX-0276C.10-
                    11 (Medytox Strain History Report). Dr. Sugiyama is part
                    of the first generation of researchers who worked with C.
                    botulinum in the United States following World War II. RX-
                    3024C (KH Yang Dep.) at 25:15-26:4. When Dr. Sugiyama
                    gave the strain to Dr. Yang, in the late 1970s – over 40 years
                    ago – there was no known commercial application for
                    botulinum toxin; and it is therefore unsurprising that Dr.


                                                 87
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 95 of 283 PageID# 194

                                      PUBLIC VERSION


                   Yang and Dr. Sugiyama did not discuss potential
                   commercial applications of the strain. Id. at 40:13-41:14.

                          The origin of Medytox’s strain is also reflected in
                   records that span the company’s history, and Respondents’
                   argument otherwise is belied by the uncontroverted
                   evidence. See Hr’g Tr. (Resps. Opening Statement) at 57
                   (erroneously claiming Medytox has only “oral testimony
                   approximately 20 years after the fact”). For example,
                   Medytox’s June 14, 2001 Standards and Testing Methods
                   submission to the Korean FDA – submitted nearly a decade
                   before Daewoong even began developing a BTX product –
                   recounts how Medytox obtained its strain. CX-0604C.31-32
                   (Origin and Development Details). The same history is
                   recounted in Medytox’s standard operating procedure dated
                   November 5, 2008. CX-0013C (HH Jung WS) at Q/A 39-
                   40; CX-0276C.10-11 (Medytox Strain History Report). And
                   Dr. Yang himself said the same in a Korean television news
                   broadcast in March 2010. CX-0013C (HH Jung WS) at Q/A
                   41-42; CX-2590.7 (KBS1 television broadcast interview).
                   Throughout the company’s history there was never any
                   question as to the origin of the strain or Medytox’s rights to
                   it.

     Compls. Br. at 125–26 (footnote omitted).

            Respondents argue, in part:

                           To establish a claim under Section 337 based on
                   misappropriation of the strain, Medytox must prove that it is
                   the owner or exclusive licensee of that strain. See, e.g.,
                   Certain Rubber Resins and Processes for Manufacturing
                   Same, Inv. No. 337-TA-849, 2013 WL 4495127, Initial
                   Determination (June 17, 2013); Copper Rod, Comm’n Op.,
                   at *19; 19 C.F.R. § 210.12(a)(7) (requiring a showing that
                   “complainant is the owner or exclusive licensee of the
                   subject intellectual property”). It has not met that burden.

                                          .      .       .

                          Medytox claims that it obtained the strain it uses to
                   make its botulinum toxin products through a series of free,
                   undocumented transfers among researchers going all the
                   way back to the late 1970s. At that time, Dr. Hiroshi
                   Sugiyama was studying C. Botulinum at the University of
                   Wisconsin, alongside a student of his named Dr. Kyu Hwan
                   YANG. According to Dr. YANG, around 1978, he


                                                 88
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 96 of 283 PageID# 195

                                       PUBLIC VERSION


                   discussed with Dr. Sugiyama his intent to continue research
                   on C. Botulinum in Korea, at the Korea Advanced Institute
                   of Science and Technology (“KAIST”). CX-0014C.12 (Kyu
                   Hwan YANG Contingent Rebuttal WS) at Q/A 9. Dr.
                   Sugiyama, according to Dr. YANG, allowed Dr. YANG to
                   take multiple strains with him to Korea, which Dr. YANG
                   did. Id. (emphasis added). No compensation was asked for
                   or given. Id. at 12, 13 (Q/A 11, 16); RX-3019C.9 (Hyun Ho
                   Jung Deposition Desg. Vol. 1 at 34:7-11) Dr. YANG began
                   his research with the strains, at KAIST, in 1979. Id.

                           Years later, starting in the late 1980s, Dr. Hyun Ho
                   JUNG was a student of Dr. YANG’s at KAIST, and worked
                   with him researching C. Botulinum. Id. at 38 (Q/A 4). Dr.
                   JUNG became a professor of Sun Moon University in 1995.
                   Id. at 37 (Q/A 3). By 1996 or 1997, according to Dr. JUNG,
                   he began “gradually transferring botulinum strains to Sun
                   Moon University’s laboratories.” Id. A few years later, in
                   1999, Dr. YANG took on a new position with the KFDA;
                   according to Dr. JUNG, it was then that Dr. YANG
                   “entrusted” him with “all the botulinum studies in his
                   laboratory at KAIST,” including the strain at issue. Id.
                   There was no compensation asked for or given. Id. at 44
                   (Q/A 28); RX-3019C.9 (Hyun Ho JUNG Dep. Desg. Vol. 1
                   at 34:7-11). It was not until the next year (2000) that JUNG
                   founded Medytox. Id. at 37 (Q/A 1).

                            Medytox’s claim of ownership to the strain breaks
                   down at the first link in the chain — from Sugiyama to
                   YANG in the 1970s. There is no record whatsoever of a
                   transfer of any proprietary interest in the strain, and
                   Medytox’s own recitation of events concedes that Dr.
                   YANG did not pay any consideration for it. See CX-
                   0014C.12 (Kyu Hwan YANG Contingent Rebuttal WS) at
                   Q/A 9. Indeed, Dr. Yang emphasizes in his testimony that
                   his taking of the strains was part of the “unrestricted sharing
                   of research and resources” that occurred among researchers
                   at the time — which contradicts any notion that he alone was
                   the owner of the strain at that point. Id. at Q/A 10.

     Resps. Br. at 86–89.

            The Staff agrees with complainants that Medytox’s strain was provided to the

     founder of Medytox, Dr. Jung, by his academic mentor Dr. Yang. See Staff Br. at 68–69.




                                                 89
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 97 of 283 PageID# 196

                                       PUBLIC VERSION


            The origin of the Medytox strain can be traced back at least to the University of

     Wisconsin – Madison. Dr. Kyu Hwan Yang, who served as the Commissioner of the

     Korea Food and Drug Administration from August 2000 through March 2002, obtained

     masters and doctoral degrees in bacteriology from the University of Wisconsin –

     Madison in 1972 and 1975, respectively. See CX-1551C.5 (The Origin of Medytox’s

     Botulinum Strain); CX-0014C (Yang WS) at Q/A 2. Dr. Yang conducted research on C.

     botulinum, including the Hall A-hyper strain, throughout his graduate and post-doctoral

     studies at the FRI, University of Wisconsin under the mentorship of Professor Hiroshi

     Sugiyama. CX-0014C (Yang WS) at Q/A 2, 4–5. When Dr. Yang returned to Korea in

     1979 to begin his professorship at the Korea Advanced Institute for Science and

     Technology (“KAIST”), Dr. Sugiyama gave Dr. Yang materials, including the Hall A-

     hyper strain, to allow Dr. Yang to continue botulinum-related research at KAIST. Id. at

     Q/A 9; CX-0013C (Jung WS) at Q/A 7.

            From 1986 to 1992, Dr. Hyun Ho Jung attended KAIST to obtain masters and

     doctorate degrees in microbiology, which he earned in 1988 and 1992, respectively. See

     CX-0013C (Jung WS) at Q/A 2. Dr. Jung’s Ph.D. work at KAIST, which culminated in a

     dissertation titled “Molecular Studies on Clostridium Botulinum Type B Neurotoxin,”

     was under the mentorship of Dr. Yang. Id. at Q/A 2, 4. In March 1995, Dr. Jung became

     a professor of microbiology at Sun Moon University. Id. at Q/A 3. Dr. Jung did not

     acquire a laboratory at Sun Moon until 1996; thus, Dr. Jung conducted his botulinum

     research mainly at KAIST, in the laboratory of his former mentor, Dr. Kyu Hwan Yang.

     Id. at Q/A 22. Gradually, as Sun Moon’s microbiology graduate program matured and




                                                90
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 98 of 283 PageID# 197

                                          PUBLIC VERSION


     Dr. Jung’s laboratory became more established at the university, Dr. Jung began

     transferring botulinum strains from Dr. Yang’s laboratory to his own at Sun Moon. Id.

             In 1999, Dr. Yang was appointed the director of the National Institute of

     Toxicology Research, which was a branch of the KFDA. Id. at Q/A 22; CX-0014C

     (Yang WS) at Q/A 6. Thus, Dr. Yang needed to close his laboratory at KAIST, which

     included transferring his botulinum strains to Dr. Jung. CX-0013C (Jung WS) at Q/A 22,

     CX-0014C (Yang WS) at Q/A 6. Dr. Yang did not place any conditions on the use of the

     C. botulinum strains and consented to their transfer to and use for commercial purposes at

     Medytox. See CX-0013C (Jung WS) at Q/A 22, CX-0014C (Yang WS) at Q/A 7–8. Dr.

     Yang was in possession of and the owner of the C. botulinum strains that were transferred

     to Dr. Jung, and Dr. Jung took ownership of the strains, including the strain that was

     developed into the Medytox BTX strain. Jung Tr. 331.

             Medytox has satisfied the requirements of 19 C.F.R. § 210.12(a)(7), by

     establishing that it is the owner of the strain or, at the very least, has a valid, legal

     possessory interest in the strain. Crawler Cranes, Comm’n Op. at 51–52 (the

     complainant need only show that it is the “owner of, or possesses a proprietary interest in,

     the trade secret”).

             Furthermore, Dr. Yang testified that he signed the Transfer of Strain and Research

     Agreement as a mere formality, inasmuch as he “had already given [his] strains to Dr.

     Jung in 1999, but [he] understand[s] Medytox wanted to memorialize that prior

     agreement.” CX-0014C (Yang WS) at Q/A 18. This was done “to push back against

     Daewoong’s attacks that [Dr. Yang] and therefore Medytox, had illegally obtained the

     Hall A-hyper strain.” Id. Dr. Jung compensated Dr. Yang at a time when Medytox was



                                                    91
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 99 of 283 PageID# 198

                                        PUBLIC VERSION


     doing well financially, as Dr. Jung wanted to compensate his mentor for helping to start

     Medytox when it was having trouble securing funding to start the business. Jung Tr.

     331–332. This was not the first time that Dr. Jung attempted to express his gratitude to

     his mentor. In 2004, Medytox granted Dr. Yang stock options for 2,000 shares, although

     at the time, the value per share was but a tiny fraction of the value in 2017, as Medytox’s

     business became more successful over time. CX-0013C (Jung WS) at Q/A 29–31; JX-

     0005C (Kyu Hwan Yang Stock Option Agreement (2004)). Dr. Jung wanted to “thank

     [his] professor for providing Medytox with the botulinum strain it uses for production

     and making Medytox’s success possible.” CX-0013C (Jung WS) at Q/A 30.

            Dr. Jung never had the impression that Dr. Yang expected to be compensated for

     the C. botulinum strains. Jung Tr. 331–332. Dr. Jung analogized his relationship with

     Dr. Yang “as though they were father and son.” Id. at 332. Dr. Yang also similarly

     described his “relationship with Dr. Jung to be similar to a father-son relationship.” CX-

     0014C (Yang WS) at Q/A 16. Dr. Yang further testified that “[a]sking for a written

     agreement, or even payment, from Dr. Jung for the transfer of the ownership of my

     Clostridium botulinum strains would have been contrary to the nature of our

     relationship.” Id.

            It has thus been shown that Medytox is the owner of the Medytox strain. Rubber

     Resins, Comm’n Op. at 10 (citing Sausage Casings, ID at 361).

            D.      Whether Daewoong Misappropriated the Asserted C. Botulinum
                    Strain

            As indicated above, complainants allege that Daewoong wrongfully obtained

     Medytox’s strain from Dr. BK Lee. As detailed in this subsection, complainants and the

     Staff have shown by more than a preponderance of the evidence that Daewoong has


                                                 92
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 100 of 283 PageID# 199

                                        PUBLIC VERSION


     indeed wrongfully taken the trade secret strain by unfair means.11 Yet, while evidence

     has been presented to explain complainants’ suspicion and belief in his involvement in

     the misappropriation, it has not been established that Dr. BK Lee took the strain from

     Medytox and, for consideration or otherwise, gave it to Daewoong.

              Incontrovertible evidence shows that Dr. BK Lee worked for Medytox, had access

     to Medytox’s C. botulinum strain on many occasions,12 and further that he left Medytox

     and eventually worked for Daewoong. Dr. BK Lee was not, however, the only individual

     to have access to the strain. It is unclear that in this case subsequent employment at

     Daewoong is a strong indicator of who effected the misappropriation. In fact, much is

     still unknown about how the misappropriation was accomplished.

              A surprising amount of hearing time, and briefing allowance, was used by more

     than one party in an attempt to establish various habits or activities of Dr. BK Lee, some

     of which could have at best a tangential relationship to the question of misappropriation,

     including whether or not he wore a lab coat at Medytox that had pockets, and whether he

     was truthful about it. See, e.g., BK Lee Tr. 625–31, 650–51; Compls. Br. at 6, 43 n.20;

     Compls. Reply at 18; Resps. Br. at 162–63 (subsection of brief entitled “Dr. LEE’s Lab

     Coat Did Not Have Pockets, Further Demonstrating The Implausibility Of Medytox’s

     Allegations”). Yet, his lab coat was not, for example, some sort of a protective suit. So,

     as confirmed by photographs shown to the administrative law judge during the hearing,




     11
          See Rubber Resins, Comm’n Op. at 10 (citing Sausage Casings, ID at 361).
     12
       See, e.g., CX-2066C (CBAM0301 Log); CX-0170C (CBAW0301 Log);
     CX-2052C.224 (BK Lee lab notebook); CX-2053C.201 (BK Lee lab notebook);
     CX-2054C.227, 241-242 (BK Lee lab notebook); CX-2086C.29 (CBAM0802 access
     log).


                                                 93
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 101 of 283 PageID# 200

                                        PUBLIC VERSION


     regardless of whether or not Dr. BK Lee’s lab coat had pockets, a wearer of such a coat

     could access a pocket in the street clothes worn underneath. In any event, while it is clear

     that Dr. BK Lee had access to Medytox’s strain, no evidence was presented to show

     when and how a specific quantity of Medytox’s strain went missing. See, e.g., Compls.

     Br. at 43.

             Rather, misappropriation has been shown through the genetic evidence discussed

     herein. The evidence shows that the strain used by Daewoong is remarkably similar to

     that maintained by Medytox as a trade secret. Furthermore, complainants and the Staff

     through, among other things, expert testimony, have established that the similarities

     between the strains used at Medytox and Daewoong did not occur by coincidence. The

     burden of establishing trade secret misappropriation falls on complainants. The evidence

     presented by complainants, and the other parties, reasonably points only to a finding of

     misappropriation.

                    1.      DNA Fingerprinting Evidence

             Complainants argue, in part:

                    [T]he DNA evidence establishes that the Medytox and
                    Daewoong strains share six distinctive mutations – unique
                    DNA fingerprints – that are not found in any of the other
                    publicly-known strains of C. botulinum. The possibility of
                    this occurring by chance is infinitesimally small – less than
                    one in the number of stars in the universe. Id. at Q/A 50.
                    The DNA data thus proves conclusively that the Medytox
                    and Daewoong strains are a match.

                           Still further, in contrast to distantly-related strains of
                    C. botulinum that can be separated by tens of thousands of
                    mutations, Medytox and Daewoong strains are separated by
                    only a handful of mutations that arose after the Daewoong
                    strain was separated from the Medytox strain – further
                    confirming their close relationship. Id. at Q/A 51-52.




                                                   94
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 102 of 283 PageID# 201

                                     PUBLIC VERSION


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                         Dr. Keim used DNA fingerprinting to analyze
                 whether the Daewoong strain was obtained from the
                 Medytox strain. This method entails examining the
                 complete composition of DNA in an organism, referred to as
                 its “genome.” Because the technique looks at the entire
                 genome, it is commonly referred to as whole genome
                 sequencing or “WGS” for short. The details of the technique
                 are set out in Dr. Keim’s witness statement and summarized
                 below. See CX-0015C (Keim WS) at Q/A 21-34, 58-81.

                                        .       .       .

                         Dr. Keim found that out of more than 200 strains of
                 C. botulinum that are represented in GenBank, the Hall A-
                 hyper strain, Medytox strain, and Daewoong strain all
                 inherited a shared pattern of mutations, which confirm that
                 the Medytox strain came from the Hall A-hyper, and the
                 Daewoong strain came from the Medytox strain. In other
                 words, Daewoong obtained its strain from Medytox. CX-
                 0015C (Keim WS) at Q/A 47.

                         In terms of the simplified phylogenetic tree shown
                 above, the Hall A-hyper would be analogous to Strain 1, the
                 Medytox strain would be analogous to Strain 2, and the
                 Daewoong strain would be analogous to Strain 3. Id. Just
                 as Strain 2 and Strain 3 in the simplified phylogenetic
                 analysis were connected by a shared “informative” SNP, the
                 Medytox and Daewoong strains are linked by six shared
                 informative SNPs, which are not found in any publicly
                 available C. botulinum genome. Id. at Q/A 47, 112. As
                 noted, the chances of this six-SNP pattern occurring by
                 chance in both the Daewoong and Medytox strains is
                 infinitesimal, so low as to be effectively impossible. Id. at
                 Q/A 48-53, 117.

                         In addition to a unique pattern of six shared SNPs
                 when compared to other strains, the Daewoong and Medytox
                 strains are practically identical to one another. This is
                 fundamentally inconsistent with Daewoong’s claim that it
                 found its strain in the soil, given that the Medytox strain and
                 Hall A-hyper were both developed in the laboratory. Hr’g
                 Tr. (Keim) at 203-4 (describing development of Hall A-
                 hyper in the laboratory), 307 (describing development of six
                 shared SNPs in the Medytox strain during lab passage).
                 Depending on which sample from the Medytox cell banks is


                                               95
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 103 of 283 PageID# 202

                                      PUBLIC VERSION


                   compared to the Daewoong strain, the number of SNPs
                   separating the Medytox strain and the Daewoong strain
                   ranges from six to thirteen SNPs out of approximately 3.7
                   million bases. CX-0015C (Keim WS) at Q/A 52. When one
                   compares unrelated strains of C. botulinum, they can easily
                   be separated by tens of thousands of SNPs. Id. To have only
                   six to thirteen SNPs, out of a genome of approximately 3.7
                   million nucleotide positions, shows that the two strains are
                   extremely closely related. Id.

     Compls. Br. at 59–70 (footnote omitted).

            Respondents argue, in part:

                           Dr. Keim’s data and analysis do not support his
                   conclusion that the Daewoong strain is derived from the
                   Medytox strain. First, contrary to his witness statement, Dr.
                   Keim reluctantly admitted on cross examination that the “six
                   shared SNPs” he identified do not show that Daewoong
                   obtained its strain from Medytox. Second, in concluding
                   that the Daewoong strain came from Medytox, Dr. Keim fell
                   victim to the exact same problem that plagued the anthrax
                   investigation he testified about at length in his witness
                   statement: the “reference population” he used to compare the
                   Medytox and Daewoong strains was woefully incomplete
                   and does not permit the extreme conclusion he drew about
                   the source of Daewoong’s strain. Third, Dr. Keim’s reliance
                   on two additional shared SNPs (which he claims derive from
                   “variants” in Medytox’s CB19 and potentially CBAM0301
                   cell banks) suffers from the same fundamental problem, and
                   is likewise inconclusive and unreliable. Finally, key and
                   undisputed differences between the Daewoong and Medytox
                   strains confirm that the Daewoong strain does not come from
                   Medytox.

                                          .      .      .

                           The “six golden SNPs” did not withstand cross
                   examination. The gravamen of Complainants’ strain
                   misappropriation theory is a phylogenetic analysis
                   performed by its DNA expert, Dr. Paul Keim, who purports
                   to show that the Daewoong and Medytox strains “share six
                   distinctive mutations, unique DNA fingerprints that are not
                   found in any other known C. botulinum strain,” which “does
                   not leave any doubt that the Daewoong strain came from
                   Medytox.” Hearing Tr. 11:15-21. In his witness statement,



                                                96
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 104 of 283 PageID# 203

                                     PUBLIC VERSION


                 Dr. Keim took the extreme position that these six shared
                 SNPs, “standing alone,” are “distinctive DNA fingerprints”
                 whose “presence…conclusively demonstrates that the
                 Daewoong strain was derived from the Medytox strain.”
                 CX-0015C.16, 37, 42-43 (Keim WS) at Q/A 56, Q/A 142,
                 Q/A 166 (emphasis added). In reaching this opinion, Dr.
                 Keim compared the six SNPs “against the 222 published
                 genomes of C. botulinum” and determined that they were not
                 found in any other published genome. Id. at 15 (Q/A 49). In
                 its opening statement, Complainants counsel doubled down
                 on these opinions, arguing that the “six golden SNPs…show
                 the match between Medytox and Daewoong” (Hearing Tr.
                 29:10-14) and that they “are not found in any other known
                 C. botulinum strain.” Hearing Tr. 11:15-21. According to
                 Complainants, these “six golden SNPs” do “not leave any
                 doubt that the Daewoong strain came from Medytox.”
                 Hearing Tr. 11:15-21.

                          Medytox’s reliance on the “six golden SNPs” fell
                 apart during cross examination. On cross examination, Dr.
                 Keim reluctantly admitted that these six SNPs do not mean
                 that Daewoong’s strain came from Medytox because they
                 could also be found in any of the dozens of other known Hall
                 A-Hyper strains, including any number of strains held by or
                 derived from the University of Wisconsin (“UW”). At the
                 hearing, Dr. Keim admitted that if the six shared SNPs were
                 also found in the Wisconsin strain, “it would be impossible
                 for [him] to distinguish which one [the Daewoong strain]
                 came from.” Hearing Tr. 159:8-14. Thus, Dr. Keim’s
                 analysis does not establish that the six shared SNPs are found
                 only in Daewoong and Medytox, as opposed to every other
                 Hall A-Hyper strain derived from the University of
                 Wisconsin. The six shared SNPs do nothing to set the
                 Medytox and Daewoong strains apart from the dozens (and
                 potentially hundreds) of other Hall A-Hyper strains that are
                 held in collections around the world, and they do not show
                 that Daewoong obtained its strain from Medytox as opposed
                 to some other source. See Hearing Tr. 400:20-24 (“Q. You
                 [Dr. Pickett] -- it's impossible to know every single holder of
                 the Hall A-hyper strain? A. Yes. Q. You would agree with
                 that; right? A. Yes.”); CX-0005.6 (Smith Decl.).

                       In his own words, Dr. Keim acknowledged on cross
                 examination that the six shared SNPs were “like bread
                 crumbs back to the University of Wisconsin.” Id. at 307:14-
                 20. That is all his analysis purports to show: that the six


                                               97
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 105 of 283 PageID# 204

                                         PUBLIC VERSION


                   shared SNPs arose sometime after the Hall A-hyper strain
                   arrived at the University of Wisconsin by at least the early
                   1970s. That is not enough to show that Daewoong obtained
                   its strain from Medytox.

                           Indeed, Dr. Keim’s reluctant admission at the
                   hearing is consistent with a declaration he submitted in
                   support of Medytox’s Supplement to the Citizen Petition
                   requesting that “any BLA application for botulinum toxin
                   product, including the Evolus BLA, include a single
                   nucleotide polymorphism (‘SNP’) analysis of the whole
                   genome sequence (‘WGS’) of the C. botulinum strain to
                   establish its source and identity.” FDA-2017-P-6745-0008,
                   at      *1      (May       7,     2018),    available     at
                   https://www.regulations.gov/ document?D= FDA-2017-P-
                   6745-0008, exhibitized as RX-1969.1. (Medytox
                   Supplement to the US FDA Citizen Petition). In his
                   supporting declaration—which Medytox also submitted in
                   support of its filings to compel DNA testing in this
                   Investigation—Dr. Keim admitted that “[t]o perform the
                   analysis, the WGS [whole genome sequence] of the
                   Medytox Hall strain, its ancestor strain from the University
                   of Wisconsin-Madison, one or more subcultures of the
                   University of Wisconsin-Madison strain or the archival
                   Medytox strain stocks, and the Daewoong strain stocks
                   should be performed and SNPs compared.” Keim Decl. (Ex.
                   8 to Complainants’ Mot. for Leave to File Reply (Mot. No.
                   1145-006)) at 3; RX-1969.9 (Medytox Supplement to the US
                   FDA Citizen Petition). As explained in detail below, that is
                   exactly what Dr. Keim failed to do here.

     Resps. Br. at 92–95 (footnote omitted).

            The Staff argues, in part:

                          Respondents do not challenge the fact that the
                   Medytox and Daewoong BTX strains share six SNPs in
                   common that are not present in the whole genome sequence
                   deposited as accession number CP000727.1 in GenBank of
                   the Hall A-hyper strain held at USAMRIID. See generally
                   RIB. And they cannot challenge this because their expert,
                   Dr. Sherman, simply refused to accept that the Sanger
                   method derived whole genome sequence for CP000727.1
                   assembled by a team from, inter alia, USAMRIID and Los
                   Alamos National Laboratories as an accurate sequence, and
                   never performed any comparisons of the Medytox and


                                               98
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 106 of 283 PageID# 205

                                        PUBLIC VERSION


                    Daewoong BTX genomic sequences to the Hall A-hyper
                    sequence. RX-3165C (Sherman WS) at ¶ 196; CX-2516C
                    (Sherman rebuttal report) at ¶ 38. Respondents were unable
                    to overcome the overwhelming evidence that the Medytox
                    and Daewoong both share the same SNPs that distinguish
                    them from the Hall A-hyper strain from which the Medytox
                    BTX strain is derived (and all other known C. botulinum
                    type A strains), and the fact that there are as few as four,
                    perhaps as many as six, SNPs between the Medytox and
                    Daewoong BTX strains.

     Staff Reply Br. at 9–10.

            The administrative law judge finds that the Medytox and Daewoong strains share

     distinctive DNA fingerprints, six SNPs, that confirm they are a match. CX-0015C (Keim

     WS) at Q/A 16, 50, 117-18; CX-2603.1 (Keim WS errata).

            Dr. Keim identified six SNPs shared by the Medytox and Daewoong BTX strains

     that are unique to those two strains and distinguishes them from all other known

     sequenced C. botulinum strains. Moreover, these six SNPs do not exist in the Hall A-

     hyper strain from which the Medytox BTX strain is derived. The possibility of two

     unrelated strains sharing the same six identical SNPs at the exact same nucleotide

     positions along a DNA sequence of nearly 3.7 million nucleotides is effectively

     impossible. CX-0015C (Keim WS) at Q/A 117 (“If instead one were to consider instead

     the hypothesis that six shared SNPs could arise by chance and coincidence, the

     probability is so low as to be effectively impossible. The possibility of a single mutation

     arising by chance in two genomes, in exactly the same position in a strand of 3.7 million

     positions, is extraordinarily low – less than one in a few million. For two genomes to

     share six instances of such a shared unique mutation at precisely the same positions is

     even more unlikely to occur by chance.”); see Section I.E (Technological Background).




                                                 99
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 107 of 283 PageID# 206

                                        PUBLIC VERSION


            Respondents’ expert, Dr. Sherman, initially asserted that Dr. Keim’s analysis of

     the Daewoong and Medytox sequences was erroneous, because Dr. Keim only found 21

     SNPs between the Daewoong and Medytox genomes. See CX-2516C (Sherman Rebuttal

     Expert Report) at Q/A 84. The real number, Dr. Sherman asserted, was 145 SNPs and 21

     insertions and deletions (“indels,” for insertions and deletions)—for a total of 166—

     between the Medytox and Daewoong genomes. Id. However, after Dr. Keim served his

     review of Dr. Sherman’s analysis, Dr. Sherman had to agree with Dr. Keim at least in

     part regarding the identification of false positive SNPs in Dr. Sherman’s earlier analysis.

     See RX-3165C (Sherman WS) at Q/A 87. Dr. Sherman now states there are a total of

     only 28 SNPs and indels between the Medytox and Daewoong genomes, not his original

     identification of 166 SNPs and indels. Id. at Q/A 89. Dr. Sherman essentially admits that

     138 out of 166 SNPs and indels that he initially identified were erroneous.13

            The evidence demonstrates Dr. Keim’s analysis to be more reliable. The evidence

     relating to six particular single nucleotide polymorphisms or SNPs establishes that the

     Daewoong strain is derived from the Medytox strain.

                    2.      The Phylogenetic Analysis

            Complainants argue, in part:



     13
        Dr. Sherman does not explicitly disagree with Dr. Keim’s conclusion that the Medytox
     and Daewoong strains share six identical SNPs when compared to the Hall A-hyper
     strain. Dr. Sherman dismisses the six SNPs as being “hardly dispositive of anything.”
     RX-3165C (Sherman WS) at Q/A 130. Dr. Sherman consistently asserted that no
     comparison of any genome sequence to the Hall A-hyper strain could be made because
     the whole genome sequence done by Sanger methods by USAMRIID and the Los
     Alamos National Laboratory could not be trusted. Dr. Sherman criticizes the more than
     200 genomes of C. botulinum in the GenBank database that Dr. Keim analyzed and
     considered for his phylogenetic analysis as “incomplete,” because “[t]here is nothing
     representative or comprehensive about these genomes.” Id.


                                                 100
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 108 of 283 PageID# 207

                                       PUBLIC VERSION


                           Dr. Keim’s phylogenetic analysis is shown in
                   Figures 6, 7, 8, and 13 of his Report. CX-0015C (Keim WS)
                   at Q/A 99-116; CX-2603.2 (Keim WS errata); CX-2592C
                   (Exhibit 15 to Keim Report, containing phylogenetic trees).
                   Figure 6 starts with the largest number of strains to illustrate
                   the overall diversity of C. botulinum, and the successive
                   trees focus more narrowly on the strains that are most closely
                   related to the Medytox and Daewoong strains. Figures 8 and
                   13 show the relationship between the Hall A-hyper,
                   Medytox, and Daewoong strains.
                                          .       .       .

                            To recap, the phylogenetic tree traces the history of
                   the Daewoong strain. The Medytox and Daewoong strains
                   share 33 distinctive SNPs with the Hall A-hyper strain. The
                   Medytox and Daewoong strains also share the six distinctive
                   SNPs that accumulated in the Medytox strain after it
                   separated from the Hall A-hyper strain. And finally, the
                   Daewoong genome has an additional six SNPs that arose
                   after it separated from the Medytox strain. Id. at Q/A 112.

                                          .       .       .

                          In sum, phylogenetic analysis provides the answer to
                   the question presented: the Daewoong strain was obtained
                   from the Medytox strain. And the Medytox strain in turn
                   came from the Hall A-hyper strain.

     Compls. Br. at 70–74 (footnote omitted).

            Respondents argue, in part:

                           Dr. Keim’s phylogenetic analysis is flawed and, by
                   his own admission, the six golden SNPs are inconclusive.
                   As demonstrated above, the minor variant data is no more
                   conclusive and does not provide a reliable basis for Dr.
                   Keim’s conclusions. But the problem for Dr. Keim is not
                   only that his analysis is incomplete and unreliable, but that
                   his conclusion of theft stands in direct contradiction with the
                   numerous quantitative and qualitative differences between
                   Daewoong’s and Medytox’s strains. It is largely if not
                   entirely undisputed that there are at least 30 genetic
                   differences—SNPs,        insertions    and     deletions—that
                   differentiate the Daewoong strain from the closest Medytox
                   strain. RX-3165C.23 (Sherman WS) at Q/A 89 (identifying
                   at least 28 SNPs and indels); Hearing Tr. 222:13-19


                                                101
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 109 of 283 PageID# 208

                                         PUBLIC VERSION


                    (identifying two additional 16s rRNA SNPs not found by Dr.
                    Sherman). These differences are powerful evidence that the
                    Daewoong strain cannot be derived from the Medytox strain,
                    because the number and type of mutations is simply too great
                    to have plausibly occurred in a regular lab environment, in
                    which mutations are extremely uncommon. Dr. Keim has
                    not explained how the mutations at issue here—several of
                    which occurred in highly conserved regions that mutate only
                    over a very long time frame outside of the lab environment—
                    can be explained by his hypothesis that the Daewoong strain
                    was derived from Medytox’s strain just ten years ago. The
                    now discredited six golden SNPs and the indeterminate
                    minor variant data is simply insufficient to overcome the
                    strong evidence of genetic difference.

     Resps. Br. at 128.

            The Staff argues, in part:

                            Daewoong has represented that its strain was isolated
                    from the soil; the genetic analysis performed by Drs. Keim
                    and Sherman disproves that. The question to be answered in
                    this Investigation is not whether we can definitively rule out
                    whether the Daewoong strain could be derived from the
                    Allergan strain, [                                        ], or
                    any other strain. Daewoong cannot be allowed to represent
                    to the Korea and U.S. FDAs that its bacteria comes from the
                    soil, but then argue that Medytox can not prove its case
                    because Medytox has not disproven that the Daewoong
                    strain was not misappropriated from someone else. The
                    genetic analysis confirms that the Daewoong strain is
                    derived from the Medytox strain. The only relevant
                    argument that Daewoong might be able to raise would be if
                    the Allergan strain or any of the other laboratory strains has
                    the same or very similar genetic sequence as the Medytox or
                    Daewoong strains. However, as Dr. Keim testified, such
                    similarities would not put more distance in the relative
                    positions of the Daewoong and Medytox strains in the
                    phylogenetic tree; the fact that other strains could have
                    identical or very similar genetic sequences to the Medytox
                    or Daewoong strains does not alter the fact that the
                    Daewoong strain is derived from the Medytox strain. Keim
                    Tr. at 167:18–169:23 (“Q. Let me ask it a different way. If
                    you had more data, is it possible you’d have much greater
                    distance between the Daewoong strain and the Medytox
                    strain, putting aside the major/minor allele issue? A. No,


                                                 102
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 110 of 283 PageID# 209

                                        PUBLIC VERSION


                    absolutely not.”) (emphasis added). The DNA sequencing
                    analysis is virtually indisputable; the Daewoong strain is
                    derived from the Medytox strain and all circumstantial
                    evidence points to Daewoong having misappropriated
                    Medytox’s BTX strain and other Medytox trade secrets. The
                    scientific and genetic evidence establishes to a virtual
                    certainty that Daewoong’s strain could not have been
                    isolated from the wild in a soil sample.

     Staff Reply Br. at 65–66.

            The administrative law judge finds that the Medytox strain and the Daewoong

     strain have a shared pattern of mutations, which confirms that the Medytox strain came

     from the Hall A-hyper strain, and that the Daewoong strain came from the Medytox

     strain. See CX-0015C (Keim WS) at Q/A 47.

            In addition to a unique pattern of six shared SNPs when compared to other strains,

     the Daewoong and Medytox strains are otherwise largely identical to one another. These

     facts undercut Daewoong’s claim that it found its strain in the soil, especially in view of

     the fact that the Medytox strain and the Hall A-hyper strain were both developed in the

     laboratory. Keim Tr. 203–204 (describing development of the Hall A-hyper strain in the

     laboratory), 307 (describing development of six shared SNPs in the Medytox strain

     during lab passage).

            Samples from the Medytox cell banks and samples from the Daewoong cell banks

     may differ by a number of SNPs ranging from a minimum of six SNPs to a maximum of

     thirteen SNPs, out of approximately 3.7 million bases. See CX-0015C (Keim WS) at

     Q/A 52.14 Unrelated strains of C. botulinum, in contrast, can be separated by tens of


     14
       There are some genetic differences among samples taken from the four different
     Medytox cell banks, due to factors including mutation over time and even mutation that
     could have occurred during the process of growing the strain to harvest the DNA for
     sequencing. CX-0015C (Keim WS) at Q/A 112, 120.


                                                 103
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 111 of 283 PageID# 210

                                        PUBLIC VERSION


     thousands of SNPs. Id. To have only six to thirteen SNPs, out of a genome of

     approximately 3.7 million nucleotide positions, shows that the two strains are extremely

     closely related. Id.

            Dr. Keim narrowed the analysis from 202 genomes to 32 type A1 C. botulinum

     genomes, as well as three genomes recovered in Asia (Kyoto, Adk2012, and Food20).

     Id. at Q/A 106. This allows a more focused look at strains in branches neighboring the

     Hall A-hyper branch, as well as a sense of scale to the kinds of strains that have been

     isolated in Asia. This analysis uses the Hall A-hyper as a reference. Id. at Q/A 107.

            Figure 8 of Dr. Keim’s Report, which was used for demonstrative purposes during

     the hearing, shows the relationship between the Medytox, Daewoong, and Hall A-hyper

     strains. CX-0015C (Keim WS) at Q/A 112. CDX-0004C.15 (Keim WS Demonstrative

     Ex.) (CX-2592C) is excerpted to highlight the branch leading to the Hall A-hyper,

     Medytox, and Daewoong strains.




            Starting from the left-hand side, a horizontal line leads to the Hall A-hyper,

     Medytox, and Daewoong strains. As explained in Dr. Keim’s witness statement, samples

     were taken from multiple cell banks of Medytox and Daewoong. The Medytox cell


                                                 104
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 112 of 283 PageID# 211

                                        PUBLIC VERSION


     banks are designated with the initials for “C. botulinum,” such as “CB19” and

     “CBAM0301.”15 The Daewoong cell banks are designated with “MCB” and “WCB,”

     such as “MCB1” and “WCB1.” CX-0015C (Keim WS) at Q/A 82–85.

            At the top of the vertical line, there is a horizontal line branching to the right with

     the number “6” above it. This depicts the six shared SNPs that make up a branch leading

     to the Medytox and Daewoong strains. These six SNPs would have accumulated after

     the Medytox strain was separated from the Hall A-hyper strain because one does not see

     them in the published Hall A-hyper genome. No publicly-known C. botulinum strain has

     these SNPs. Id. at Q/A 112–16.

            Moving to the right from that branch, the next vertical line reflects the Medytox

     cell banks. The Medytox cell banks have accumulated small differences of zero to seven

     SNPs among themselves, reflected as small sub-branches. Many of these apparent SNPs

     result from the sampling methods applied to these cell banks. For example, CBAM0301

     has a single SNP not shared by any other cell bank, and which did not pass on to any of

     its progeny. This single SNP would have resulted from the sampling process for

     CBAM0301, and could be the fixation of diversity in the full master cell bank or the

     result of a mutation during DNA harvesting. As a result, it does not serve to differentiate



     15
       Dr. Keim’s original report contained an error with respect to the way the creation of
     CBAM0301 was created, which Dr. Keim later corrected in his witness statement. Dr.
     Keim opined in his initial report that the CBAM0301 cell bank contains a mixture of
     major and minor variants, but a supporting declaration stated that the CBAM0301 cell
     bank was created by [                         ]. CX-2503C.3 (Ex. 17 to Keim Report,
     Chang Hoon Rhee declaration (Sep. 11, 2019)). Yet, if CBAM0301 had been created by
     [                       ], a mixture of major and minor variants should not exist.
     However, the actual contemporaneous document reflecting the manufacture of
     CBAM0301 shows that it was actually made by [
             ]. See CX-0011C (Rhee WS) at Q/A 23; Keim Tr. 239–240.


                                                 105
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 113 of 283 PageID# 212

                                       PUBLIC VERSION


     CBAM0301 from the CB19 bank. Id. at Q/A 128. As Dr. Keim explained, the

     CBAM0301 sample is distinct because it was sampled in 2016 using single colony

     isolation, showing one apparent SNP that did not pass on to CB19 or any of its other

     progeny. Keim Tr. 181–183, 306–307.

            At the bottom right are the Daewoong cell banks. The line leading to them, with a

     “6” on it, reflects that these cell banks have accumulated a set of SNPs after having been

     separated from Medytox. CX-0015C (Keim WS) at Q/A 112.

            The Medytox and Daewoong strains share 33 distinctive SNPs with the Hall A-

     hyper strain. The Medytox and Daewoong strains also share the six distinctive SNPs that

     accumulated in the Medytox strain after it separated from the Hall A-hyper strain.

     Finally, the Daewoong genome has an additional six SNPs that arose after it separated

     from the Medytox strain. Id. at Q/A 112.

            Figure 13, also used for demonstrative purposes during the hearing, is a

     phylogenetic tree generated using a technique called “outgroup rooting,” which is an

     additional level of rigorous analysis that Dr. Keim conducted. Id. at Q/A 114–15. Figure

     13 shows the same relationship among the Hall A-hyper, Medytox, and Daewoong strains

     as does Figure 8:




                                                106
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 114 of 283 PageID# 213

                                        PUBLIC VERSION




     CDX-0004C.16 (Keim WS Demonstrative Ex.) (CX-2592C).

            In addition to the six shared SNPs found in both the Medytox and Daewoong

     strains, Dr. Keim also found shared SNPs between two Medytox “minor variants” and the

     six SNPs that otherwise distinguish the Daewoong strain from the Medytox strain. Dr.

     Keim testified that the methodology employed for his work for the Department of

     Homeland Security to study rare variants in B. anthracis (anthrax) cultures to develop

     methods for identifying the source of evidence in criminal investigations is directly

     applicable to his analysis of the Medytox strain and the minor variants contained in at

     least one cell bank population. CX-0015C (Keim WS) at Q/A 122.

            “Minor variants” refers to a subpopulation of cells within the same cell bank

     having mutations in the DNA that do not exist in the other cells within the same cell

     bank. Cell banks can develop mixtures of variants. For example, if 90% of the

     population of cells in a vial have a “G” in the third position of a particular gene, while the

     remaining 10% of the cells have an “A,” the 10% with the “A” is called a minor variant

     and the remaining 90% with the “G” the major variant. Id. at Q/A 124.



                                                  107
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 115 of 283 PageID# 214

                                       PUBLIC VERSION


            What happens with these mixtures and whether they are passed along to progeny

     can depend on the method used to create a new cell bank from an existing cell bank, as

     well as the method used to grow cells for the purpose of harvesting DNA. A method

     called single colony isolation tends to reduce and possibly eliminate diversity and

     mixtures because just one colony is preserved or collected. Another method, called direct

     culturing or mass cell propagation, preserves the diversity and mixtures by replicating a

     cross-section of the original cell bank. Id. at Q/A 124–27.

            These minor variants are present in the DNA sequencing data from one of the

     Medytox cell banks (CB19), which means they also exist in the cell bank from which

     CB19 was created. This means that the Daewoong strain has fewer differences when

     compared to the Medytox strain, and shares an even larger number of unique mutations,

     than the phylogenetic trees in Figures 8 and 13 show. Id. at Q/A 134–35. These are not

     reflected in Figures 8 or 13 because they do not show minor variants. Dr. Keim

     illustrated what Figure 13 would look like if the shared Medytox minor variants were

     included:




                                                108
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 116 of 283 PageID# 215

                                       PUBLIC VERSION




     CDX-0004C.19. As shown here, the inclusion of the two minor variants creates an even

     shorter branch between the Medytox and Daewoong strains. Two of the six SNPs that

     separate the Daewoong sample from CB19 in the original Figure 13 are actually the same

     two SNPs that separate the minor and major variants in CB19. The CB19 minor variant

     and the Daewoong strains are identical at two base positions (position numbers 544,469

     and 1,525,924), and no other known sample of C. botulinum has the same nucleotide at

     these positions. This is in addition to the six SNPs already shared by all Medytox and

     Daewoong strain samples. The CB19 minor variant clearly became “fixed” in the

     Daewoong cell banks as a major variant. CX-0015C (Keim WS) at Q/A 134.

            While CB19 was created in 2019, CB19 was created via [                   ] from

     CBAM0301, and therefore would reflect the major and minor variants contained in that

     vial of the CBAM0301 cell bank. Id. at Q/A 135. The most logical conclusion is that the

     Daewoong strain was obtained from a sample of CBAM0301 or one of the several other

     Medytox cell banks that were created from CBAM0301, and the material that Daewoong



                                                109
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 117 of 283 PageID# 216

                                        PUBLIC VERSION


     used to create their cell banks contained this minor variant we see present in CB19. Id.

     Daewoong created their cell banks via [                         ], which explains how these

     minor variants have been fixed and preserved. RX-3167C (KY Kim WS) at Q/A 91, 96.

            The depictions of phylogenetic trees prepared by complainants’ expert provide a

     way to organize the genetic data obtained from the strains at issue, and the relationships

     of the strains to each other. The phylogenetic analysis shows the close relationship

     between the strains used by Medytox and Daewoong, and supports the conclusion that

     Daewoong got its strain from that used by Medytox.

     VII.   Unfair Acts Regarding the Asserted Manufacturing and R&D Related
            Information

            Complainants argue, in part:

                           The information about Medytox’s manufacturing
                    process that BK Lee provided to Daewoong and which
                    Daewoong used in developing the manufacturing process for
                    DWP-450 is a quintessential trade secret – that is, a
                    “formula, pattern, device or compilation of information
                    which is used in one’s business, and which gives him an
                    opportunity to obtain an advantage over competitors who do
                    not know or use it.” Crawler Cranes ID at 128 (quoting
                    Restatement of the Law of Torts § 757 cmt. b); see Syntex
                    Ophthalmics, Inc. v. Novicky, 745 F.2d 1423, 1433-34 (Fed.
                    Cir. 1984) (“The set of processes and ingredients used in the
                    manufacture of Polycon, as disclosed in the batch sheets and
                    the FDA file, fit th[e] definition [of a trade secret].”),
                    vacated on other grounds, 470 U.S. 1047 (1985); see also
                    supra Section V.A.1.

     Compls. Br. at 185.

            Respondents argue, in part:

                            None of the supposedly misappropriated steps in
                    these three processes is a trade secret. “The subject of a trade
                    secret must be secret, and must not be of public knowledge
                    or of a general knowledge in the trade or business.”
                    Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 476 (1974).


                                                 110
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 118 of 283 PageID# 217

                                         PUBLIC VERSION


                    Therefore, “‘[m]atters of general knowledge in the industry,
                    or those that can be readily discerned are not eligible for
                    trade secret protection.’” Rubber Resins, ID at 22. An
                    important corollary to this principle is that, “‘[m]atters
                    disclosed in patents also will destroy an[y] claims of trade
                    secret.’” Rubber Resins, ID at 22; see, also, Broker Genius,
                    Inc. v. Zalta, 280 F. Supp. 3d 495, 518 (S.D.N.Y. 2017)
                    (same as to patent applications).

                            As described below, none of Medytox’s claimed
                    trade secrets is worthy of that label, because each and every
                    one of Medytox’s supposed trade secrets was disclosed in
                    one or more of a series of publications dating which provide
                    variants of the same fundamental protein purification
                    process that has been studied, used and published since the
                    1940s: Abrams 1946 (JX-0116); Duff 1957 (JX-0126);
                    Siegel 1979 (JX-0129); Tse 1982 (JX0120); DasGupta 1984
                    (JX-0118); Johnson 1996 U.S. Patent 5,512,547 (CX-1869);
                    Malizio 2000 (JX-0119); Allergan 2008 U.S. Patent
                    7,354,740 (JX-0117); Allergan 2008 Canadian Patent
                    Application 2,556,796 (RX-3277); Medytox 2009 PCT
                    Application PCT/KR2008/0003897 (RX-1892)

     Resps. Br. at 171.

            The Staff argues, in part:

                            Medytox alleges that Daewoong misappropriated
                    Medytox’s manufacturing processes for 900 kDa botulinum
                    toxin products that is now used by Daewoong to
                    manufacture, inter alia, DWP-450, Nabota, and Jeuveau.
                    The evidence demonstrates that Daewoong’s manufacturing
                    processes mirrors Medytox’s.        Given that the only
                    reasonably plausible conclusion is that Daewoong
                    misappropriated the Medytox BTX strain as the starting
                    point to isolate the Daewoong BTX strain, the Staff
                    respectfully submits that the preponderance of the evidence
                    also indicates that Daewoong inappropriately benefited from
                    the misappropriation of information pertaining to aspects of
                    Medytox’s manufacturing processes as well.

     Staff Br. at 102.

            A.      Overview of the Medytox Manufacturing Process

            Medytox described its manufacturing process trade secrets as follows:



                                                111
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 119 of 283 PageID# 218

                                          PUBLIC VERSION


            Trade Secrets 1 and 2: The use of [



                                                        ] of the manufacturing process.

            Trade Secret 3: The [

                                                                                          ]

     of the manufacturing process.

            Trade Secret 4: The use of [



                                ].

            Trade Secret 5: [



                                ].

            Trade Secret 6: The use of a [



                                                           ].

            Trade Secret 7: The use of [



                                                                ].

            Trade Secret 8: The use of a [

                                     ].

            Trade Secret 9: The [

                        ].




                                                  112
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 120 of 283 PageID# 219

                                      PUBLIC VERSION


           Trade Secret 10: The use of [

                                                              ].

           Trade Secret 11: The use of [



           ].

           Trade Secret 12: The use of a [

                                                                     ].

           Trade Secret 13: [                ].

           See CX-2572C (Complainant Medytox’s Disclosure Pursuant to Order No. 17) at

     2–3; CX-0010 (Pickett WS) at Q/A 194–203.

           B.     Whether the Asserted Manufacturing and R&D Related Information
                  Constitute Protectable Trade Secrets

                  1.     Sausage Casings Factors 1 and 2: The Extent to Which the
                  Information Is Known Outside of Complainant’s Business; and the
                  Extent to Which It Is Known By Employees and Others Involved in
                  Complainant’s Business

           Complainants argue, in part:

                          Respondents seek to defeat Medytox’s trade secrets
                  by deconstructing them to their constituent parts, arguing
                  that each element can be found in literature. Even if this
                  were true – and it is demonstrably not – this is a well-trodden
                  path that courts have long ago rejected. The process itself is
                  a trade secret, even if the elements of the process can be
                  found in various publications. See, e.g., Copper Rod
                  Comm’n Op. at 43 (“[A] trade secret can exist in a
                  combination of characteristics and components, each of
                  which, by itself, is in the public domain, provided, however,
                  that the unique combination of these elements is not
                  published and affords the complainant a competitive
                  advantage . . . .”); Crawler Cranes ID at 25 (“A specific
                  embodiment of general concepts or a combination of
                  elements, some or all of which may be known in the
                  industry, may be protectable as a trade secret.”); 3M v.


                                                  113
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 121 of 283 PageID# 220

                                     PUBLIC VERSION


                 Pribyl, 259 F.3d 587, 596 (7th Cir. 2001) (holding that when
                 all materials and processes at issue “are collected and set out
                 as a unified process, that compilation, if it meets the other
                 qualifications, may be considered a trade secret”). Indeed, it
                 is not only the compilation, but also Medytox’s selection of
                 particular elements to use in its manufacturing process that
                 is itself a trade secret. See, e.g., Par Pharm., Inc. v. QuVa
                 Pharma, Inc., 764 F. App’x 273, 279 (3d Cir. 2019) (holding
                 that a single ingredient (a specific diluent) in a
                 pharmaceutical product was a trade secret even though usage
                 of the specific diluent was common and “was one of the two
                 diluents hospital commonly used to dilute existing
                 concentrated vasopressin products”); Merck & Co. v.
                 SmithKline Beecham Pharm. Co., No. C.A. 15443-NC, 1999
                 WL 669354, at *15 (Del. Ch. Aug. 5, 1999) (“Where at
                 individual steps of a process there are a variety of
                 alternatives, the choice made through much effort of specific
                 ingredients, materials, conditions, and steps in an actual,
                 working process constitutes a trade secret.”), aff’d, 746 A.2d
                 277 (Del. 2000), and aff’d, 766 A.2d 442 (Del. 2000).

                                        .       .       .

                         Importantly, nothing that was available in the public
                 domain in 2010 provides the sort of valuable commercial
                 information reflected in the documents BK Lee took from
                 Medytox. No one publicly available piece of literature or
                 patent discloses the manufacturing or characterization
                 information contained in these documents. See CX-0011C
                 (Rhee WS) at Q/A 103-11. Moreover, while the academic
                 literature that existed in 2010 discussed pieces of
                 information that are part of Medytox’s integrated
                 manufacturing processes, it does nothing to disclose that
                 Medytox was using elements of it in a particular way and in
                 a particular order to make a commercially viable clinical
                 product. In particular, the manufacture of BTX for research
                 purposes, which is described in academic literature, is
                 different and less intensive than the manufacture of BTX for
                 therapeutic (i.e., commercial) purposes, which is what is
                 described in Medytox’s trade secrets. The academic
                 literature relating to the manufacture of BTX only provides
                 basic, textbook-like explanations of the various steps used in
                 the relevant process. CX-0012C (HW Kim WS) at Q/A 24.
                 In the case of commercial manufacture, ensuring consistent,
                 documented, and reproducible results is critical. See, e.g.,
                 CX-0010C (Pickett WS) at Q/A 21, 206-10, 361. This focus


                                              114
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 122 of 283 PageID# 221

                                       PUBLIC VERSION


                   on quality and reproducibility is reflected in the documents
                   used to manufacture these products—including, for
                   example, the batch records taken by BK Lee.

     Compls. Br. at 185–98.

            Respondents argue, in part:

                           None of the supposedly misappropriated steps in
                   these three processes is a trade secret. “The subject of a trade
                   secret must be secret, and must not be of public knowledge
                   or of a general knowledge in the trade or business.”
                   Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 476 (1974).
                   Therefore, “‘[m]atters of general knowledge in the industry,
                   or those that can be readily discerned are not eligible for
                   trade secret protection.’” Rubber Resins, ID at 22. An
                   important corollary to this principle is that, “‘[m]atters
                   disclosed in patents also will destroy an[y] claims of trade
                   secret.’” Rubber Resins, ID at 22; see, also, Broker Genius,
                   Inc. v. Zalta, 280 F. Supp. 3d 495, 518 (S.D.N.Y. 2017)
                   (same as to patent applications).

                           As described below, none of Medytox’s claimed
                   trade secrets is worthy of that label, because each and every
                   one of Medytox’s supposed trade secrets was disclosed in
                   one or more of a series of publications dating which provide
                   variants of the same fundamental protein purification
                   process that has been studied, used and published since the
                   1940s: Abrams 1946 (JX-0116); Duff 1957 (JX-0126);
                   Siegel 1979 (JX-0129); Tse 1982 (JX0120); DasGupta 1984
                   (JX-0118); Johnson 1996 U.S. Patent 5,512,547 (CX-1869);
                   Malizio 2000 (JX-0119); Allergan 2008 U.S. Patent
                   7,354,740 (JX-0117); Allergan 2008 Canadian Patent
                   Application 2,556,796 (RX-3277); Medytox 2009 PCT
                   Application PCT/KR2008/0003897 (RX-1892).

                          A comparison of these public sources with
                   Medytox’s claimed trade secrets places beyond serious
                   dispute that both the overall process and each of the
                   individual supposed secrets were fully disclosed before
                   2010. Each alleged secret is discussed in detail and in order
                   below. The three “key” steps are alleged trade secret
                   numbers 7 [                     ], 9 [
                                ] and 12 [                                ].

     Resps. Br. at 171–72.



                                                115
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 123 of 283 PageID# 222

                                          PUBLIC VERSION


            The Staff argues, in part:

                            Respondents base their defense to the
                    misappropriation of the Medytox manufacturing processes
                    to arguing each and every separate element could be found
                    disclosed in published scientific literature. However, this is
                    not the standard by which a trade secret is analyzed. “A trade
                    secret can exist in a combination of characteristics and
                    components, each of which, by itself, is in the public domain,
                    but the unified process, design and operation of which, in
                    unique combination, affords a competitive advantage and is
                    a protectable secret.” 3M, 259 F.3d at 595–96. Respondents
                    did not proffer any admissible evidence at the hearing of a
                    publication or other disclosure in the public domain that
                    combines each of the constituent elements of the Medytox
                    manufacturing processes in the specific combination as used
                    and asserted by Medytox. As discussed below in section
                    V.B.4, infra, the Medytox manufacturing processes afford a
                    competitive advantage to Medytox. Thus, the Medytox
                    manufacturing processes are protectable as trade secrets.

     Staff Br. at 110–11.

            The trade secrets at issue are the product of Medytox’s research and development

     efforts that included selecting each of the various elements of its manufacturing process

     (from among all of those that it might have selected), declining to use others (for

     example, [                          ], and demonstrating that the selected procedures are

     potentially commercially viable. See CX-0010C (Pickett WS) at Q/A 361. Dr. Pickett

     explained the substantial work involved in reviewing the available literature, identifying

     potentially valuable information, studying and testing that information, and deciding what

     to incorporate (and not incorporate) into one’s process. Id. Dr. Pickett has explained:

                    [I]f a competitor were improperly given access to the results
                    of your R&D process, that would provide substantial value
                    to the competitor which had not been earned. To allow the
                    competitor to escape consequences for their actions, simply
                    because the various features of your own process were
                    subsequently identified in the literature after the fact (and
                    also with the benefit of having learned your own process),


                                                   116
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 124 of 283 PageID# 223

                                        PUBLIC VERSION


                    would completely disregard the efforts you had expended in
                    the R&D process and deprive you of the protection to which
                    you should be entitled. If this were the case, it is difficult to
                    see how trade secrets could ever be protected in this field.

     Id.; 1 Melvin F. Jager, Trade Secrets Law § 1:3 (“The encouragement of increasingly

     higher standards of fairness and commercial morality . . . continues to be the touchstone

     of trade secret law in the courts.”); Agilent Techs., Inc. v. Kirkland, No. CIV.A. 3512-

     VCS, 2010 WL 610725, at *22 (Del. Ch. Feb. 18, 2010) (Strine, J.) (ruling that

     defendants misappropriated plaintiff’s “bonding, slurry solvent, and multilayering

     techniques,” even though they were not identical, where the evidence indicated that

     defendants – former employees of plaintiff – “could avoid testing things that would not

     work because they had been tried and had failed at Agilent”).

            Medytox has identified information and processes that have significant

     commercial value, reflecting years of Medytox R&D that are not publicly available and

     have never been publicly disclosed. CX-0011C (Rhee WS) at Q/A 47–100; CX-0010C

     (Pickett WS) at Q/A 231–33. That companies jealously guard and protect information

     relating to their manufacturing process as a valuable asset is well-accepted. See CX-

     0010C (Pickett WS) at Q/A 209; Ferroline Corp. v. Gen. Aniline & Film Corp., 207 F.2d

     912, 921 (7th Cir. 1953); CX-2525C (CS Kim Dep.) at 117; CX-2686C (CS Kim Dep.) at

     117–19; CX-2524C (CS Kim Dep.) at 181; CX-2533C (SK Kim Dep.) at 35–37.

     Obtaining a competitor’s R&D information, such as its batch records or characterization

     data, is the classic example of trade secret misappropriation, and it would provide

     substantial value in accelerating a company’s R&D timeline. CX-0010C (Pickett WS) at

     Q/A 229–33, 358–62. The commercial value of a company’s manufacturing process is

     illustrated by the fact that no company has ever published or made available its process


                                                  117
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 125 of 283 PageID# 224

                                            PUBLIC VERSION


     for manufacturing BTX products, as detailed in a batch record. CX-0010C (Pickett WS)

     at Q/A 229–33.16

              Respondents did not offer any admissible evidence at the hearing of a publication

     or other disclosure in the public domain that combines each of the constituent elements of

     the Medytox manufacturing processes in the specific combination as utilized and asserted

     by Medytox. Respondents point to disparate literature as allegedly disclosing the specific

     elements of the Medytox manufacturing processes:

                  [
                                                                                ] (JX-0120); [
                        ] (JX-0119); [                   ] (JX-0128); and [                ] (JX-0129).
                  [
                                                               ] (JX-0118); [                    ] (JX-
                  0119); [                ] (JX-0126).
                  [
                                          ] (JX-0120); [            ] (JX-0119); [                  ]
                  (JX-0126); and [                     ] (JX-0116).
                  [
                                                                                ] (JX-0120); [
                         ] (JX-0119).
                  [
                                 ] (JX-0126); and [                    ] (JX-0116).17
                  [
                                  ] (JX-0119); [                                      ] (JX-0117).
                  [
                                                                                     ] (JX-0120);


     16
        Several Daewoong witnesses have described its manufacturing process in terms of a
     trade secret. See, e.g., CX-2532C (JW Lee Dep.) at 121–22 (Daewoong’s CEO
     describing the Nabota manufacturing process as “trade secret”); CX-2524C (CS Kim
     Dep.) at 181 (describing Daewoong’s R&D as “extremely confidential information of
     Daewoong pertaining to its production technology, its know-how”); CX-2533C (SK Kim
     Dep.) at 35–37 (describing Daewoong’s R&D as “trade secrets” which, “if leaked . . .
     would necessarily cause impact to the company”).
     17
          [
                                     ].


                                                     118
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 126 of 283 PageID# 225

                                         PUBLIC VERSION


                 [                 ] (JX-0119); and [                     ] (JX-0118) [
                                                                                          ].
                 [
                                                          ] (JX-0119) [
                                                                           ].
                 [
                                                                                     ] (CX-1869);
                 [                 ] (JX-0119); [                                 ] (JX-0117).
                 [                                                              ] (JX-0119).

            No single reference cited by respondents discloses each of the specific elements

     of the Medytox manufacturing processes. Furthermore, respondents have not asserted

     that any of the references disclose the specific element in the specific stage of the

     manufacturing process as used by Medytox.

            Respondents deconstruct Medytox’s trade secrets to their constituent parts,

     arguing that each element can be found in literature. However, it is the process as a

     whole that is the trade secret, even if the elements of the process can be found in various

     publications. See, e.g., Certain Apparatus for the Continuous Production of Copper Rod,

     Inv. No. 337-TA-52 (“Copper Rod”), Publ. No. 1017, Comm’n Op. at 43 (Nov. 23, 1979)

     (“[A] trade secret can exist in a combination of characteristics and components, each of

     which, by itself, is in the public domain, provided, however, that the unique combination

     of these elements is not published and affords the complainant a competitive advantage . .

     . .”); On-Line Techs, Inc. v. Bodenseewerk Perkin-Elmer GmbH, 386 F.3d 1133, 1141

     (Fed. Cir. 2004); 3M v. Pribyl, 259 F.3d 587, 596 (7th Cir. 2001) (holding that when all

     materials and processes at issue “are collected and set out as a unified process, that

     compilation, if it meets the other qualifications, may be considered a trade secret”).

     Indeed, it is not only the compilation, but also Medytox’s selection of particular elements

     to use in its manufacturing process that is itself a trade secret. See, e.g., Par Pharm., Inc.


                                                    119
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 127 of 283 PageID# 226

                                         PUBLIC VERSION


     v. QuVa Pharma, Inc., 764 F. App’x 273, 279 (3d Cir. 2019) (holding that a single

     ingredient (a specific diluent) in a pharmaceutical product was a trade secret even though

     usage of the specific diluent was common and “was one of the two diluents hospitals

     commonly used to dilute existing concentrated vasopressin products”).

                     2.   Sausage Casings Factor 3: The Extent of Measures Taken By
                     Complainant to Guard the Secrecy of the Information

              Medytox has always closely guarded its proprietary, confidential manufacturing

     process information. The relevant analysis is whether “reasonable measures to keep such

     information secret” were taken. 18 U.S.C. § 1839(3)(A); Unif. Trade Secrets Act §

     1(4)(ii) (Unif. Law Comm’n 1985); Sausage Casings, ID at 246–47 (citing Restatement

     of Law of Torts § 757 cmt. b). The steps Medytox took to protect its trade secrets

     included:

             Physical security measures at its facilities. See CX-0013C (Jung WS) at Q/A 52–
              56; CX-0017C (Chang WS) at Q/A 28–36.

             Confidentiality agreements and training, including requiring BK Lee to sign
              confidentiality agreements preventing the disclosure of “[t]echnical secrets such
              as manufacturing processes” and “[s]ecrets related to research, development,
              education, or training.” CX-2137C.4 (BK Lee Confi. Agreement, 2005); CX-
              0661C.6 (BK Lee Employment Contract) (prohibiting employees from giving
              Medytox’s “technical secrets including manufacturing method of a product” to
              “competing companies”).18




     18
       See CX-2582C.2 (BK Lee 2007 Conf. Agreement) (prohibiting unauthorized disclosure
     of Medytox’s trade secrets to third parties); CX-0699C.4 (Medytox Sec. Pledge
     Agreement); CX-0017C (Chang WS) at Q/A 9-27; CX-2016C.26 (Medytox Orientation
     Material) (prohibiting working from home without “permission from the leader of your
     division”); CX-2017C.13 (Medytox PC Security Mgmt. Rules) (“Company related work
     shall be performed only inside the company. Any activity related to work cannot be
     performed outside of the workplace”). Though CX-2016C and CX-2017C, the copies of
     these policies available to Medytox when this litigation began, are dated after BK Lee’s
     departure, they are substantially similar to the versions in place during BK Lee’s
     employment. CX-0017C (Chang WS) at Q/A 17.


                                                  120
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 128 of 283 PageID# 227

                                        PUBLIC VERSION


           IT security systems. See CX-0017C (Chang WS) at Q/A 10.

            These measures are sufficient to support the conclusion that Medytox took

     adequate precautions to protect its trade secrets.

            Medytox has employed robust physical security measures at its facilities and even

     maintained physical separation and security with respect to its strain and manufacturing

     processes during the early days of R&D conducted by Dr. Jung at Sun Moon University.

     See CX-0013C (Jung WS) at Q/A 52–56; CX-0017C (Chang WS) at Q/A 28–30.

            Medytox required its employees to sign confidentiality agreements preventing the

     disclosure of “[t]echnical secrets such as manufacturing processes” and “[s]ecrets related

     to research, development, education, or training.” CX-2137C.4 (BK Lee confidentiality

     agreement, 2005); CX-0661C.6 (BK Lee Employment Contract) (prohibiting employees

     from giving Medytox’s “technical secrets including manufacturing method of a products”

     to “competing companies”); CX-2582C.2 (BK Lee 2007 Confidentiality Agreement)

     (prohibiting unauthorized disclosure of Medytox’s trade secrets to third parties); CX-

     0699C.4 (Medytox Sec. Pledge Agreement).

            Since 2007, Medytox has had in place robust IT security, including the Cautus-

     CM system that tracks employee email, and the SecuPrint system that logs employee

     printing. Medytox has also maintained controls that prevent employees from saving to

     physical storage like USB thumb drives and web-based storage like Dropbox. CX-0017C

     (Chang WS) at Q/A 10.

                    3.   Sausage Casings Factor 4: The Value of the Information to
                    Complainant and to Its Competitors

            Medytox’s manufacturing process information reflects Medytox’s R&D and its

     decisions, following years of extensive experimentation on the optimal method for


                                                  121
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 129 of 283 PageID# 228

                                        PUBLIC VERSION


     manufacturing a commercial BTX product, about what to include in a proprietary,

     commercially viable manufacturing process. See, e.g., Norbrook Labs. Ltd. v. G.C.

     Hanford Mfg. Co., 297 F. Supp. 2d 463, 484-87 (N.D.N.Y. 2003) (holding that specific

     steps in plaintiff’s method of manufacturing veterinary penicillin constituted trade secrets

     and explaining that “[t]he trial and error work in which [plaintiff] engaged to develop its

     [manufacturing] method is both evidence that the method is a trade secret, and that it is

     entitled to trade secret protection”), aff’d, 126 F. App’x 507 (2d Cir. 2005).

            Medytox’s manufacturing process for producing toxin from its Hall A-hyper

     strain and purifying it into a drug substance is valuable to Medytox, and would be

     valuable to its competitors. See CX-0012C (HW Kim WS) at Q/A 4–138; CX-0013C

     (Jung WS) at Q/A 44–72; CX-0017C (Chang WS) at Q/A 37–79. Medytox undertook a

     research and development program from August 2000 to October 2004 to develop a

     manufacturing process for BTX type A complex. See CX-0012C (HW Kim WS) at Q/A

     26–47; CX-0017C (Chang WS) at Q/A 45–47, 57; CX-0013C (Jung WS) at Q/A 59–64.

     As a result of this effort, Medytox was allegedly able to independently develop a BTX

     product fit for commercial use and sale. In total, it took Medytox almost six years to

     develop the manufacturing process for Meditoxin and obtain regulatory approval to sell

     the product in Korea. See CX-0013C at Q/A 63. Thus, the investment in the research

     and development for the manufacturing processes is valuable in terms of time and effort

     invested by Medytox. By virtue of using Medytox’s proprietary manufacturing process

     information and innovations, respondents gained a head start of at least 21 months in the

     commercial manufacture of their Accused Products. See CX-0010C (Pickett WS) at Q/A

     325.



                                                 122
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 130 of 283 PageID# 229

                                        PUBLIC VERSION


                    4.   Sausage Casings Factor 5: The Amount of Effort or Money
                    Expended by Complainant in Developing the Information

            In addition to the almost six years to develop the manufacturing process for

     Meditoxin and obtain regulatory approval to sell the product in Korea (CX-0013C (Jung

     WS) at Q/A 63), Medytox further estimates it spent approximately [             ] to conduct

     research and development to cultivate the Hall A-hyper strain and optimize a

     manufacturing process for the final purified toxin that is packaged into the final

     botulinum product of Meditoxin. Id. at Q/A 72.

            The development of the BTX separation and purification process reflected in the

     Medytox Batch Record illustrates the substantial investment and effort that went into

     developing Medytox’s manufacturing process as a whole. See CX-2068C (Meditoxin

     Batch Record); CX-2091C (Batch Record, Version No. 04); CX-2092C (Batch Record,

     Version No. 05). The separation and purification process, which involves separating the

     cultured neurotoxin complex from the undesirable substances contained in the culture

     medium and using a variety of chemical compounds and techniques to remove finer

     pollutants from the drug substance, is the most difficult portion of the drug substance

     manufacturing process to develop, and therefore is the most instructive (though certainly

     not the only) example of Medytox’s extensive efforts to independently develop a BTX

     product fit for commercial use:

                   Medytox first designed two potential methods to separate and purify the
                    neurotoxin complex that was cultured from its C. botulinum strain:
                    Method 1 and Method 2. CX-0012C (HW Kim WS) at Q/A 26; CX-
                    2143C, CX-0164C, CX-0330C-CX-0332C, CX-2091C, CX-2102C, CX-
                    2092C.

                   Between approximately August 2000 and October 2004, Medytox ran
                    these processes (and iterations thereof) numerous times to identify areas
                    for improvement, including whether a different order of steps or a


                                                 123
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 131 of 283 PageID# 230

                                       PUBLIC VERSION


                    different purification method altogether would produce a higher quality
                    drug substance. CX-0012C (HW Kim WS) at Q/A 26–47; CX-0017C
                    (Chang WS) at Q/A 45–47, 57; CX-0013C (HH Jung WS) at Q/A 59–64;
                    CX-0136C, CX-0131C-CX-0133C, CX-0164C, CX-2143C.

                   [



                                                                                   ]. CX-
                    0136C; CX-0136C.143-44 (Purification of BoNT/A).

                   [



                       ]. CX-0012C (HW Kim WS) at Q/A 41, 50; CX-0136C; CX-
                    0136C.202-03 (Purification of BoNT/A).

                   [




                                                           ]. CX-0012C (HW Kim WS) at
                    Q/A 41, 51, 58; CX-0136C.202-03 (Purification of BoNT-A); CX-0164C.
            Dr. Seong Hun Chang and Hack Woo Kim testified that these changes were the

     direct result of hands-on R&D efforts by Medytox.

            During this time, Medytox also conducted focused experiments to optimize the

     process and parameters at each point in the manufacturing process, which consisted of

     altering the process parameters (like [                             ]) of various steps in

     the process to determine whether the change had a positive or negative effect on the

     quality of the drug substance produced. See CX-0012C (HW Kim WS) at Q/A 26–47;

     CX-0136C, CX-0131C-CX-0133C, CX-0164C, CX-2143C; CX-0136C (Purification of

     BoNT-A); CX-0130C (Hand-written notes); CX-0131C (SDS Page); CX-0132C (Hand-

     written notes); CX-0133C (Hand-written notes).



                                                124
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 132 of 283 PageID# 231

                                       PUBLIC VERSION


            This iterative process was extremely complicated for many reasons, including the

     fact that a change in any step of the manufacturing process could have unexpected

     interactions with other steps in the process. CX-0010C (Pickett WS) at Q/A 197; CX-

     0012C (HW Kim WS) at Q/A 35; CX-0017C (Chang WS) at Q/A 46. Several rounds of

     testing of the entire process were therefore required whenever any part of any individual

     step was changed. CX-0012C (HW Kim WS) at Q/A 35; CX-0017C (Chang WS) at Q/A

     46. The resultant drug substance also had to be tested at various points in the process

     after every change to ensure that that change improved the overall quality of the drug

     substance. CX-0012C (HW Kim WS) at Q/A 35; CX-0017C (Chang WS) at Q/A 46. In

     total, it took Medytox almost six years to develop the manufacturing process for

     Meditoxin and get regulatory approval to sell this product in Korea. CX-0013C (Jung

     WS) at Q/A 63. This development process alone cost Medytox approximately [




                        ]. Id. at Q/A 72.

            Medytox recorded the various versions of its processes in batch records. CX-

     0012C (HW Kim WS) at Q/A 48; CX-0017C (Chang WS) at Q/A 42. The batch record

     reflects not only information concerning each individual step in the manufacturing

     process but also how those steps fit together. CX-0010C (Pickett WS) at Q/A 206–10. In

     view of the years of independent development that went into creating these processes,

     batch records contain several elements that Medytox claims as trade secrets, such as [

                                                                                          ]



                                                125
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 133 of 283 PageID# 232

                                       PUBLIC VERSION


     stage. CX-0331C.54-59 (Aug. 2004 Master Batch Record). Given the value of the

     information contained in these documents, Medytox has never publicly disclosed these

     documents or the information they contain. CX-0011C (Rhee WS) at Q/A 43–45, 62–65;

     CX-0010C (Pickett WS) at Q/A 209.

            Moreover, Medytox used the Meditoxin manufacturing process as the starting

     point for extensive experimentation to improve its manufacturing process, which resulted

     in several innovations. For example, Medytox experimented with simplifying the

     purification process, including by [                                      ]. Medytox

     found that this improved toxin yields. CX-0012C (HW Kim WS) at Q/A 125–29; CX-

     0017C (Chang WS) at 76–78; CX-0525C.6-7 (Meeting Minutes); CX-2099C.12-17

     (Manuf. & Research Schedule) (comparing the June/July 2005 manufacturing process

     with the August 2005 manufacturing process).

            These innovations also included experiments on the [                           ] to

     optimize the potency of the neurotoxin. CX-0012C (HW Kim WS) at Q/A 115, 132.

     This involved, for example, [

                                                                   ]. Id. at Q/A 132–36.

     Ultimately, Medytox determined that [

          ] was an improvement. Id. at Q/A 132; CX-0017C (Chang WS) at 96–97.

            Medytox also experimented with different ingredients for the culture medium,

     which consists of a liquid broth composed of nutrients for the C. botulinum to grow and

     replicate, including the [

                     ]. CX-0012C (HW Kim WS) at Q/A 90–114; CX-0017C (Chang WS) at

     Q/A 70-79; CX-0141C.13-23 (Presentation for Process Improvement Action Plan); CX-



                                               126
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 134 of 283 PageID# 233

                                        PUBLIC VERSION


     0566C.5 (Validity Confirmation Test Relating to Plant-Derived Medium); CX-2063C.21,

     23 (Experimental Batch Record); CX-0042C.5 (PD Work Report).

                    5.     Sausage Casings Factor 6: The Ease or Difficulty with Which
                    the Information Could Be Properly Acquired or Duplicated by Others

            No producer of commercial BTX products has made its manufacturing process

     publicly available, as the manufacturing process is “amongst the most closely guarded

     secrets of any commercial [BTX] company.” See CX-0010C (Pickett WS) at Q/A 209.

     Medytox spent over four years developing its manufacturing processes for BoNT type A

     complex and almost six years developing the manufacturing process for Meditoxin and

     obtaining regulatory approval to sell the product in Korea. This weighs heavily in favor

     of a finding that the Medytox manufacturing processes cannot be easily acquired or

     duplicated by others.

            The evidence thus shows that no single reference cited by respondents discloses

     each of the specific elements of the Medytox manufacturing processes, or the specific

     elements in the specific stages of Medytox’s manufacturing process.

            The administrative law judge finds that the Medytox process is protectable as a

     trade secret, because: (a) it is of economic value, (b) it is not generally known or readily

     ascertainable, and (c) Medytox has taken reasonable precautions to maintain its secrecy.

     See Rubber Resins, Comm’n Op. at 10 (citing Sausage Casings, ID at 361).

            C.      Ownership of the Asserted Manufacturing and R&D Trade Secrets

            Medytox owns its method for producing neurotoxin complex from its Hall A-

     hyper strain and purifying it into a commercially viable drug substance. See CX-0012C

     (HW Kim WS) at Q/A 4–138; CX-0013C (Jung WS) at Q/A 44–72; CX-0017C (Chang

     WS) at Q/A 37–79. Medytox’s development process began with an extensive and


                                                  127
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 135 of 283 PageID# 234

                                       PUBLIC VERSION


     documented review of available academic literature regarding isolation and purification

     of BTX. See CX-0012C (HW Kim WS) at Q/A 18. That literature review revealed that

     the available academic literature did not disclose a usable commercial-scale

     manufacturing process for BTX. CX-0012C (HW Kim WS) at Q/A 24–25. As Dr.

     Pickett has explained, this is because no producer of commercial BTX products has made

     its manufacturing process publicly available, as the manufacturing process is “amongst

     the most closely guarded secrets of any commercial [BTX] company.” CX-0010C

     (Pickett WS) at Q/A 209. Accordingly, Medytox took what was available from the

     academic literature and began its own R&D program. That process, which is

     documented in contemporaneous documents produced by Medytox in this investigation,

     was intensive and lasted from August 2000 to October 2004. See CX-0012C (HW Kim

     WS) at Q/A 26–47; CX-0017C (Chang WS) at Q/A 45–47, 57; CX-0013C (Jung WS) at

     Q/A 59–64; CX-2143C, CX-0164C, CX-0330C-CX-0332C, CX-2091C, CX-2102C, CX-

     2092C, CX-0136C, CX-0129C-CX-0133C, CX-2138C.

            Development of the BTX separation and purification process reflected in the

     Medytox Batch Record illustrates the substantial investment and effort that went into

     developing Medytox’s manufacturing process as a whole. See CX-2068C (Meditoxin

     Batch Record); CX-2091C (Batch Record, Version No. 04); CX-2092C (Batch Record,

     Version No. 05).

            Medytox recorded the various versions of its processes in batch records. CX-

     0012C (HW Kim WS) at Q/A 48; CX-0017C (Chang WS) at Q/A 42. The batch record

     reflects not only information concerning each individual step in the manufacturing

     process but also how those steps fit together. CX-0010C (Pickett WS) at Q/A 206–10.



                                                128
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 136 of 283 PageID# 235

                                       PUBLIC VERSION


     These batch records contain several elements that Medytox claims as trade secrets, such

     as the use of [

                       ]. CX-0331C.54-59 (Aug. 2004 Master Batch Record). Given the

     value of the information contained in these documents, Medytox has never publicly

     disclosed these documents or the information they contain. CX-0011C (Rhee WS) at

     Q/A 43–45, 62–65; CX-0010C (Pickett WS) at Q/A 209.

            Medytox used the Meditoxin manufacturing process as the starting point for

     extensive experimentation to further improve its manufacturing process, which resulted

     in several innovations. For example, Medytox experimented with simplifying the

     purification process, including by [                                      ]. Medytox

     found that this improved toxin yields. See CX-0012C (HW Kim WS) at Q/A 125–29;

     CX-0017C (Chang WS) at 76–78; CX-0525C.6-7 (Meeting Minutes); CX-2099C.12-17

     (Manuf. & Research Schedule) (comparing the June/July 2005 manufacturing process

     with the August 2005 manufacturing process).

            Medytox’s innovations were recorded in documents such as the EBR, the PQP,

     and the attachments to the PQP. CX-0011C (Rhee WS) at Q/A 50, 92–102; CX-0017C

     (Chang WS) at Q/A 96. Medytox has not publicly disclosed these documents or the

     processes described therein. CX-0011C (Rhee WS) at Q/A 59, 100. The information

     contained in these documents would provide a distinct advantage to a competitor by

     allowing it to shortcut the usual R&D process and revealing unique details of Medytox’s

     innovative manufacturing process. CX-0010C (Pickett WS) at Q/A 217–18, 227–28.

     Due to the value of such information, companies would not disclose it to competitors or




                                               129
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 137 of 283 PageID# 236

                                       PUBLIC VERSION


     publish the results anywhere in any circumstance other than a patent application. Id. at

     Q/A 229.

            The administrative law judge finds that Medytox is the owner of the trade secrets.

     See Rubber Resins, Comm’n Op. at 10 (citing Sausage Casings, ID at 361).

            D.      Whether Daewoong Misappropriated the Asserted Manufacturing
                    and R&D Trade Secrets

            Complainants argue, in part:

                           The evidence regarding the origin of Daewoong’s
                    manufacturing process for DWP-450 coalesces around one
                    conclusion: Daewoong received and relied on confidential,
                    proprietary information concerning Medytox’s drug
                    substance manufacturing process, providing it with a
                    substantial advantage in bringing DWP-450 to market. This
                    follows from, among other evidence, the facts that:

                           (1)   Daewoong urgently sought out a BTX
                           manufacturing process;

                           (2)   BK Lee had a thorough knowledge of
                           Medytox’s manufacturing trade secrets;

                           (3)     With awareness of BK Lee’s knowledge of
                           Medytox’s manufacturing trade secrets, Daewoong
                           engaged BK Lee with a contract that paid him an
                           exceptional amount of money and required him to
                           provide a manufacturing process to Daewoong, and
                           the only manufacturing process information he knew
                           came from Medytox’s trade secrets;

                           (4)   Daewoong’s laboratory notebooks confirm
                           BK Lee’s involvement in the development of its
                           manufacturing process, including its first
                           manufacturing runs;

                           (5)    Daewoong’s initial manufacturing process
                           mirrors Medytox’s process for Meditoxin, and
                           Daewoong’s subsequent claimed innovations mirror
                           Medytox’s own innovations;

                           (6)   Daewoong has no contemporaneous
                           documentation to support its claim of its supposed


                                                130
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 138 of 283 PageID# 237

                                      PUBLIC VERSION


                          independent R&D or its purported reliance on
                          academic articles;

                          (7)    Daewoong’s claim that it relied on published
                          academic articles to develop its manufacturing
                          process is contradicted and precluded by its
                          successful patent application, in which it identified
                          none of these articles and instead claimed that its
                          manufacturing process was novel and could not be
                          found in the prior art; and

                          (8)     Daewoong’s development team lacked any
                          BTX-related experience or relevant expertise, and
                          yet claims to have developed its drug product in an
                          implausibly short period of time.

     Compls. Br. at 132–33.

            Respondents argue, in part:

                           Even if Complainants or Staff had demonstrated that
                   the manufacturing process documents constitute protectable
                   trade secrets, they have failed to carry their burden that
                   Daewoong misappropriated them.              To demonstrate
                   misappropriation, Complainants and Staff must show that
                   Daewoong actually used the claimed trade secrets. See, e.g.,
                   Certain Activity Tracking Devices, Sys., & Components
                   Thereof, Inv. No. 337-TA-963, ID, 2016 WL 11596099, at
                   *11 (Aug. 23, 2016) (noting that a complainant must show
                   “‘that the respondent has used or disclosed the trade secret
                   causing injury to the complainant’”); see also Certain
                   Crawler Cranes and Components Thereof, Inv. No. 337-TA-
                   887, Comm’n Op., 2015 WL 13817116, at *22 (May 6,
                   2015). To carry this burden, a complainant cannot rely on
                   “speculation and innuendo without substantial support in the
                   record.” Activity Tracking Devices at *17 (citing Lucent
                   Techs, Inc. v. Gateway, Inc., 543 F.3d 710, 723-24 (Fed. Cir.
                   2008)). Where, as here, a trade secret claim is premised on
                   a complainant’s employee later working for a competitor,
                   the ITC has held that the mere fact that a former employee
                   “retained [a complainant’s] information is not sufficient to
                   prove that [the former employee] used it or intended to do
                   so.” Id. at *23. To the contrary, where a complainant claims
                   that a former employee conveyed trade secrets to a new
                   employer, the complainant must show that the former
                   employee “was the conduit for such misappropriation.” Id.



                                               131
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 139 of 283 PageID# 238

                                       PUBLIC VERSION


                   at *17. Applying these principles to this Investigation –
                   where Complainants have piled speculation on top of
                   conjecture – Complainants and Staff have not met their
                   burden to show that BK LEE actually took, and Daewoong
                   actually used, Medytox’s trade secrets.

     Resps. Br. at 186–87.

            The Staff agrees with complainants, arguing that the evidence demonstrates that

     Daewoong’s manufacturing processes mirrors Medytox’s. Staff Br. at 102.

            At least a preponderance of the evidence shows that Daewoong inappropriately

     benefited from the misappropriation of Medytox’s strain and information pertaining to

     aspects of Medytox’s manufacturing process.

            As discussed above, complainants allege that Dr. BK Lee played a role in the

     misappropriation. The evidence establishes that Dr. BK Lee had access to, and

     knowledge of, numerous details of Medytox’s manufacturing process, and also worked

     with Daewoong when it was trying to develop its own process. Thus, Dr. BK Lee could

     have divulged trade secret information to Daewoong, although the record is not clear that

     he actually did so. Yet, an abundance of evidence establishes that the Daewoong process

     is derived from, and in many ways identical to, Medytox’s trade secret process.

            Indeed, three factors demonstrate that Daewoong misappropriated the

     manufacturing process from Medytox: (1) the similarity of Daewoong’s process to

     Medytox’s; (2) the lack of evidence of Daewoong’s independent development; and (3)

     the implausibly fast timeline by which Daewoong achieved BTX production at

     commercial scale.

            [

                             ]. See RX-3161C (CS Kim WS) at Q/A 59–60 (citing JX-0119



                                               132
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 140 of 283 PageID# 239

                                       PUBLIC VERSION


     (Malizio (2000)). [




                ]. JX-0031C (DWP450-REP-009). [



                                                                         ]. JX-0031C.29

     (DWP450-REP-009). [

                                  ]. RX-3161C (CS Kim WS) at Q/A 59. [




                                                                                 ]. See JX-

     0012C (DWP450-REP-033); Wilson Tr. 551–563.

            Siegel deals exclusively with the culturing (i.e., fermentation) stage of the

     production process, and does not disclose a purification process. CX-0010C (Pickett

     WS) at Q/A 294 (discussing JX-0129 (Siegel (1979))). [




                                          ]. CX-0010C (Pickett WS) at Q/A 294; Wilson Tr.

     554–556.




                                                 133
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 141 of 283 PageID# 240

                                        PUBLIC VERSION


            [                                                                              ], but

     Malizio does not mention the [                                               ], and the

     extraction and purification process described by Malizio does not [



                                                                                               ].

     CX-0010C (Pickett WS) at Q/A 294 (discussing JX-0119 (Malizio (2000))); Wilson Tr.

     576–77.

            Daewoong’s first run of a manufacturing process in August 2010 copies the

     Meditoxin process, [




                  ]. JX-0119C.6 (Malizio (2000)); see CX-0010C (Pickett WS) at Q/A 294;

     Wilson Tr. 535, 576–77.

                    1.   Daewoong’s Manufacturing Process Shares Similarities with
                    Medytox’s Proprietary Process

            Daewoong’s manufacturing process [                                                 ]

     substantially overlaps with Medytox’s manufacturing process. The Drug Substance

     Manufacturing Process Development document from Daewoong’s Biologics License

     Application is cited as an illustration of this overlap, even highlighting the [

                                                ]. JX-0007C.7 (BLA section 3.2.S.2.6). This is

     illustrated in a side-by-side comparison of the two processes:




                                                  134
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 142 of 283 PageID# 241

                                     PUBLIC VERSION


     [




                                                                                   ]



     CDX-0010C.2. According to Dr. Pickett, the two processes share the following ten

     commonalities:

            1)   [

                                                ]. CX-0010C (Pickett WS) at Q/A 243–44.
            2)   [
                                                           ]. Id. at Q/A 245.
            3)   [
                                                ]. Id. at Q/A 246.
            4)   [




                                                                                   ]. Id. at
                 Q/A 247.
            5)   [
                                                          ]. Id. at Q/A 248.
            6)   [
                                                                                  ]. Id. at
                 Q/A 249.


                                              135
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 143 of 283 PageID# 242

                                          PUBLIC VERSION


            7)     [


                                                                             ]. Id. at Q/A 250.
            8)     [

                                    ]. Id. at Q/A 251, 253.
            9)     [
                                                                                       ]. Id. at
                   Q/A 252.
            10) [
                            ]. Id. at Q/A 254.

            The similarities between the Daewoong and Medytox processes cannot be

     coincidence. Three key similarities are discussed below.

                                  a) [                                ]

     [

                                                                          ]. Compare

     CX-2068C.9 (Medytox Batch Record Version No. 5) with JX-0022.19 (Daewoong

     450DC-010 Batch Record). [

                       ].

     [



                                                 ]. See JX-0029C.216 (Min

     Notebook); CX-0010C (Pickett WS) at Q/A 313; CX-2068C.27 (Meditoxin Batch

     Record). [



                  ]. RDX.0002C.6 (Wilson WS Demonstrative Ex.). [

                                                                                   ]. See RX-



                                                   136
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 144 of 283 PageID# 243

                                   PUBLIC VERSION


     3164C (Wilson WS) at Q/A 138; RX-3161C (CS Kim WS) at Q/A 94. [



                                              ]. JX-0116.4, 10 (Abrams (1946)).

     [



                                   ].” Compare JX-0030C (DWP450-REP-076), with JX-

     0031C (DWP450-REP-009), JX-0012C (DWP450-REP-033), JX-0016C (DWP450-REP-

     066E), and CX-1287C (Kang Email, 02/27/14). [



                                                             ].

                            b) [                             ]

           [



                             ]. Compare CX-2064C.10 (BK Lee Email Attach., 11/02/07),

     with JX-0022.64-67 (450DS-010 Batch Record); CX-0010C (Pickett WS) at Q/A 251,

     253, 257; JX-0022C, JX-0017C, JX-0023C, CX-2068C, CX-2063C, CX-2064C. [



                                                     ].

           [




                                           137
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 145 of 283 PageID# 244

                                       PUBLIC VERSION




                                                                                                 ].

     See Wilson Tr. 543–544; CX-0010C (Pickett WS) at Q/A 301.

             [




                                                                             ].” RX-3164C

     (Wilson WS) at Q/A 148. Yet, Daewoong was producing neurotoxin complex, not pure

     neurotoxin. CX-1826.465 (Daewoong Patent File Wrapper) (distinguishing Daewoong’s

     claimed invention, where the “target molecule to be purified . . . is ‘complexed botulinum

     toxin’” from prior art, which produces “non-complexed botulinum toxin (neurotoxin)”

     because “[o]ne skilled in the art would not have been motivated to use [methods for

     producing the purified toxin] when the target molecules are different”). Indeed, Dr.

     Wilson’s assertion is irreconcilable with Daewoong’s own assertion, in its patent and [



                                                                                            ].

     See CX-1727C.12 (DW U.S. Patent 9,512,418); JX-0007C.6 (BLA Section 3.2.S.2.6).

             [                                                     ] relied on the Malizio and

     Tse [



                                   ], RX-3164C (Wilson WS) at Q/A 148. [



                                                                                  ]. Wilson



                                                138
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 146 of 283 PageID# 245

                                     PUBLIC VERSION


     Tr. 543–544; CX-0010C (Pickett WS) at Q/A 301. [

                                                                                        ],

     Wilson Tr. 543–544, [



                       ]. RX-3164C (Wilson WS) at Q/A 95; Wilson Tr. 543–44. [




                   ]. JX-0120.1 (Tse (1982)). [



                                        ]. CX-0010C (Pickett WS) at Q/A 297 [




                                                                 ].

            [




                                                                                        ].

     JX-0031C.28-29 (DWP450-REP-009); JX-0012C.30-31 (DWP450-REP-033).

                             c) [                                     ]

            [

                                                                                ]. See JX-



                                             139
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 147 of 283 PageID# 246

                                       PUBLIC VERSION


     0007C.6 (Daewoong BLA section 3.2.S.2.6) [



                        ]. Daewoong claims it decided to [



                    ] (JX-0126). [

                                         ]. The evidence illustrates other inconsistencies in

     Daewoong’s statements regarding how it developed its manufacturing process and the

     scientific literature that purportedly provided Daewoong the motivation to [

                                                                    ].”

             There is no evidence that Daewoong independently discovered that [

                                                             ]. See JX-0007C.6 (BLA Section

     3.2.S.2.6) [

                                                                                    ]. Daewoong

     claims to have come up with this innovation not based on Medytox’s R&D documents,

     but by deciding that [                 ] was optimal because Daewoong [

                                                                                      ]. Id. at

     18. [

                          ]. JX-0126.4 (Duff (1957)). [



                                                                          ]. CX-0010C (Pickett

     WS) at Q/A 260–63; RX-3164C (Wilson WS) at Q/A 151; CX-2524C (CS Kim Dep.) at

     179. This is implausible. [

                                     ], RX-3161C (CS Kim WS) at Q/A 118, [



                                                140
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 148 of 283 PageID# 247

                                        PUBLIC VERSION


                                                                                   ]. CX-0010C

     (Pickett WS) at Q/A 260–63.

                    2.    Daewoong’s Lack of Contemporaneous Documentation to
                    Corroborate Independent Development

            Respondents argue that they have been “substantially prejudiced” by the passage

     of time, in part because “documents have become unavailable.” Resps. Br. at 279. Yet,

     it is unlikely that a major pharmaceutical company with international sales of drug

     products that require regulatory approval in most, if not all, of the jurisdictions in which

     its products are sold would not maintain its development records, including laboratory

     notebooks, that provide a contemporaneous record of its work. Furthermore, a long

     passage of time is not at issue. Daewoong claims that its isolation of a C. botulinum type

     A strain and the initiation of research to develop a commercial manufacturing process for

     a BoNT type A product from that strain occurred in late [             ], and disputes

     concerning its products are not recent.

            Only a handful of lab notebooks have been produced in the course of this

     investigation that pertain to the development work for DWP-450. The allegations against

     Daewoong pertaining to its BTX strain and the manufacturing process for, inter alia,

     DWP-450 have been known to Daewoong since at least June 2017, when Medytox sued

     “Dr. [Byung Kook] Lee, Daewoong, Evolus, and numerous current and former

     Daewoong employees in the Superior Court of California.” Resps. Br. at 12. The lack of

     contemporaneous research and development records, especially in the [                     ]

     period, is highly unusual for a pharmaceutical company, especially when the drug is

     successfully brought to market. See Wilson Tr. at 584–585 (lack of contemporaneous

     records would be a “red flag” and a pharmaceutical company “would not get their


                                                  141
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 149 of 283 PageID# 248

                                        PUBLIC VERSION


     contract”). [




                                          ]. CX-0010C (Pickett WS) at Q/A 310. [




                                                        ]. Id. [



                         ]. RX-3161C (CS Kim WS) at Q/A 129. [



                                                                                    ]. Id. It does

     not appear that Daewoong produced laboratory notebooks reflecting contemporaneous

     memorialization of this important development work.

            Furthermore, there is a lack of any contemporaneous documentation of citations

     to the disparate published scientific literature dating back to as early as the 1940s on

     which Daewoong purportedly relied to piece together the steps of the manufacturing

     process for the DWP-450 drug substance. Rather, Daewoong relies on reports assembled

     [

                                                                     ].” Id. at Q/A 120–28.

     However, it does not appear that Daewoong produced laboratory notebooks reflecting

     contemporaneous memorialization of the work done to be summarized into such reports.




                                                  142
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 150 of 283 PageID# 249

                                       PUBLIC VERSION


            Daewoong has not provided sufficient evidence demonstrating its own

     independent development of its manufacturing process in order to support its arguments,

     and to respond to discovery requests. This should have been an easy task for Daewoong.

     See Railway Wheels, Unreviewed ID at 40 (“[A]s Amsted’s expert Dr. Conley testified,

     TianRui should have been able to produce numerous examples of testing or development

     data produced if TianRui it had independently developed its cast steel railway wheel

     manufacturing process.”).

            Daewoong argues that it produced the lab notebooks of the DWP-450 team in this

     investigation. [

                                                      ]. CX-0010C (Pickett WS) at Q/A 269.

     These lab notebooks do not demonstrate independent development of the drug substance.

     Daewoong cannot argue the deficiency in its records should be attributed to the passage

     of time. Daewoong’s document retention policy requires documents on [

                                                                   ]. See CX-1996C.29 (DW

     Terms of Document Management); CX-2533C (SK Kim Dep.) at 52–53.19 In any event,

     Daewoong ultimately produced the lab notebooks of the DWP-450 team. Those lab

     notebooks do not support a claim of independent development.

            The core documentation that would support any R&D process of the type

     Daewoong claims to have completed would be laboratory notebooks recording the R&D




     19
        After Medytox initiated its suit in California in June 2017, Daewoong imposed a
     litigation hold. However, Daewoong lifted this hold in [                    ], despite not
     being dismissed from the case until April 2018. CX-2533C (SK Kim Dep.) at 65–66, 73.
     [                                                               ]. Id. at 68–69.


                                                143
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 151 of 283 PageID# 250

                                       PUBLIC VERSION


     work. See CX-0010C.28 (Pickett WS) at Q/A 137, 141, 277, 310; Wilson Tr. 582–85.20

     In response, Daewoong produced a few laboratory notebooks, from which only [           ]

     reflect experiments relating to the development of Daewoong’s manufacturing process

     before Daewoong manufactured its first drug substance batch at commercial scale—and

     two of those pages are hardly evidence of “independent development,” as they discuss

     [                                ]. CX-0010C (Pickett WS) at Q/A 310; JX-0029C.215-

     16 (Min Notebook). Those lab notebooks disclose just [




                                                                          ]. Id.21

              Daewoong’s laboratory notebooks do not support Daewoong’s present claim that

     [

                                                                                ]. CX-0010C

     (Pickett WS) at Q/A 272. [




     20
       All of the technical experts who accessed Medytox’s or Daewoong’s laboratories to
     perform experiments in this case produced detailed laboratory notebooks describing their
     work. See, e.g., RX-3276C (Singh Notebook); SX-0001C (Sherman Notebook); RX-
     3033C (Pickett Notebook). Medytox produced 5,343 pages of laboratory notebooks
     describing its own R&D process. CX-1886C (Summary of Medytox R&D Docs.
     Produced).
     21
          [


                                         ]. RX-3161C (CS Kim WS) at Q/A 83–84; RX-
     3164C (Wilson WS) at Q/A 139. These examples are irrelevant to the question of
     misappropriation, and do not explain how Daewoong developed its initial steps in the
     first instance.


                                               144
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 152 of 283 PageID# 251

                                      PUBLIC VERSION




                                                                                        ].

     Id. at Q/A 295; JX-0031C (DWP450-REP-009); JX-0012C (DWP450-REP-033); JX-

     0016C (DWP450-REP-066E); JX-0030C (DWP450-REP-076); JX-0013C (DWP450-

     REP-080). However, these reports do not actually explain Daewoong’s process of

     development.

            [




                                      ]. See JX-0031C (DWP450-REP-009) (the interim

     report, drafted in September 2011); JX-0012C (DWP450-REP-033) (the final report,

     drafted in July 2012); Wilson Tr. 551–553. [



                                                                 ]. CX-0010C (Pickett

     WS) at Q/A 282. [




                                                         ]. JX-0016C (DWP450-REP-



                                               145
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 153 of 283 PageID# 252

                                        PUBLIC VERSION


     066E); CX-0990C.2-4 (DW Rog. Resp. No. 90) (stating creation date for DWP450-REP-

     066). [

                                                                              ], CX-0010C

     (Pickett WS) at Q/A 288, 295 – and Tse (1982). [




                                                                        ]. CX-1286C (Marmo

     Email, 02/23/14). [                                                        ]. CX-1287C

     (Kang Email, 02/27/14). [




                           ]. JX-0030C (DWP450-REP-076) [



                     ]. JX-0030C.44 (DWP450-REP-076). [




                                        ].

               Daewoong also has provided different, inconsistent accounts about which

     academic articles it relied on as the basis for its own R&D efforts. [




                                                 146
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 154 of 283 PageID# 253

                                       PUBLIC VERSION




                          ]. JX-0007C.13 (BLA Section 3.2.S.2.6). [



                                               ].

            In contrast to Daewoong, Medytox has produced voluminous documents

     demonstrating its R&D. See CX-1886C (Summary of Medytox R&D Docs. Produced).

     Moreover, the documents produced by Medytox clearly support Medytox’s use of

     academic literature to develop its manufacturing processes. Medytox’s academic

     literature review began with CEO Hyun Ho Jung and his near decade of work researching

     botulinum and reviewing (and publishing) literature related to research-scale

     manufacturing methods. CX-0013C (Jung WS) at Q/A 5, 12, 47–49 (citing CX-0709C

     (BTX purification method), CX-0710C (Culture Medium Ingredients), CX-0711C

     (Purification Plan), CX-0712C (Purification Procedures)). The review continued through

     Medytox’s early R&D efforts as it devised its plans to develop a commercially viable

     manufacturing process. CX-0013C (Jung WS) at Q/A 58; CX-0012C (HW Kim WS) at

     Q/A 18-23; CX-0017C (Chang WS) at Q/A 44; CX-2138C.1 (Studies on Immunity to

     Toxins of Clostridium Botulinum); CX-0129C.7 (Handwritten Notes). Daewoong has not

     challenged the sufficiency of Medytox’s R&D records, or disputed the fact that Medytox

     produced far more voluminous contemporaneous records than Daewoong despite the fact

     that the relevant work occurred a decade earlier.




                                                147
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 155 of 283 PageID# 254

                                       PUBLIC VERSION


                       3.   Development Period of the Daewoong Manufacturing Process

            Daewoong began work on developing a manufacturing process in [                     ]

     and produced its first batch of DWP-450 drug substance at commercial scale in [




                                            ]. See JX-0026C-JX-0029C, CX-2598C, JX-

     0017C. The administrative law judge finds that it is not credible to reach the milestone of

     a commercial scale batch in such a short period of time. See CX-0010C (Pickett WS) at

     Q/A 303–16. Based on his over 40 years of experience in the industry, Dr. Pickett has

     estimated it would take at least three months for an inexperienced team seeking to

     develop a manufacturing process from scratch to review the academic literature and an

     additional 18 months to conduct small scale process research experimentation before

     proceeding to a commercial-scale batch. Id. at Q/A 320–25.

            Chung Sei Kim, the leader of the DWP-450 project, [

                                                      ]. See CX-2524C (CS Kim Dep.) at 128.

     He was a new hire at Daewoong in [                   ], and joined the DWP-450 project as

     team lead [                                   ]. See CX-2525C (CS Kim Dep.) at 19–20.

     [                                                                                        ],

     RX-3161C (CS Kim WS) at Q/A 63, [




                                ].” CX-2525C (CS Kim Dep.) at 121–22; CX-2524C (CS Kim

     Dep.) at 177. [



                                                148
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 156 of 283 PageID# 255

                                     PUBLIC VERSION


                                                                                 ]. See JX-

     0026C.43-47 (CS Kim Notebook). This work does not appear to be process development

     work, but rather simply [                                                            ].

            The next member of the DWP-450 team was Kwan Young Song, [

                                                 ]. CX-1794C.44 (DW Rog. Resp. No. 26).

     [




                                         ]. See JX-0027C.213-25 (Song Notebook); CX-

     0010C (Pickett WS) at Q/A 309–13. [

                                                                           ].

            The final member of the DWP-450 team was Kyung Min Min, an intern who

     joined Daewoong on [              ], CX-2205C.5 (Min Personnel Card), and was

     regularly tied up on other projects. See CX-2524C (CS Kim Dep.) at 176. His lab

     notebook reflects [

                                                                                              ].

     See JX-0026C-JX-0029C, CX-2598C, JX-0017C; JX-0029C (Min Notebook). [



                     ]. JX-0029C.204-210 (Min Notebook). [




                                                                                ]. JX-




                                              149
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 157 of 283 PageID# 256

                                      PUBLIC VERSION


            0029C.215-16 (Min Notebook). [

                                                       ]. JX-0029C.220-23 (Min Notebook).

            [



           ]. JX-0029C.227 (Min Notebook). [



                                               ]. JX-0029C.230-231 (Min Notebook).

            [




                                                                           ] does not detract

     from the obvious head start Daewoong exploited to reach this milestone so rapidly.

            [




                    ]. RX-3163C (Singh WS) as Q/A 21.

            [




                                                                    ]. CX-2524C (CS Kim



                                               150
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 158 of 283 PageID# 257

                                       PUBLIC VERSION


     Dep.) at 234. [

                                                     ]. CX-1832.60 (Decision in Korean

     Criminal Case); CS Kim Tr. 683–685. [




                                                          ]. See JX-0017C (Culture Records

     for DWP450 DS-001-006); JX-0018C (Culture Records for DWP450DS-011-015); JX-

     0023C (Culture Records for DWP450 DS-002, -007-010).

            [




                                                                          ]. See JX-

     0012C.31 (DWP450-REP-033); JX-0031C (DWP450-REP-009); Wilson Tr. 551

     [



                                                                              ]. CX-0818C.3

     (DWP450-REP-037); CX-0010C (Pickett WS) at Q/A 283.

            The record establishes that Daewoong achieved the operation of its manufacturing

     process at commercial scale by early [

                              ]. From a practical standpoint, such a schedule could not be

     achieved through independent development from scratch. This is particularly the case in



                                               151
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 159 of 283 PageID# 258

                                        PUBLIC VERSION


     view of team’s lack of BTX experience, the purported development work was done by an

     intern, and the minimal amount of actual development activity recorded in that time span.

            The administrative law judge finds that Daewoong wrongfully took the trade

     secrets by unfair means. See Rubber Resins, Comm’n Op. at 10 (citing Sausage Casings,

     ID at 361).

     VIII. Domestic Industry

            A.     Whether Allergan’s Investments in BOTOX® Can Satisfy the
                   Domestic Industry

            Complainants argue, in part:

                   Respondents argue—as they did with regard to Allergan’s
                   standing—that Allergan’s domestic industry investments
                   should not be credited because Allergan does not “own” the
                   trade secrets at issue. This argument is meritless. In a non-
                   statutory IP case such as this, the domestic industry need not
                   relate to the trade secrets, provided that the misappropriation
                   of the relevant trade secrets threatens injury to
                   Complainants’ domestic industry. In TianRui, the Federal
                   Circuit rejected the argument “that in trade secret cases, the
                   domestic industry must practice the misappropriated trade
                   secret in order for the Commission to be authorized to grant
                   relief.” TianRui, 661 F.3d at 1335-37. The court held that it
                   was appropriate to consider an industry in domestically
                   produced products that “directly compete” with the imported
                   products—as is the case here. Id. at 1337; see also Rubber
                   Resins ID at 648–51.

                            Likewise, and as the statute makes clear,
                   Complainants need to show only that there is “an industry in
                   the United States,” not an industry of the trade secret owner.
                   19 U.S.C. § 1337(a)(1)(A)(i). Indeed, the Commission has
                   repeatedly held that the activities of complainants who lack
                   legal title in the intellectual property at issue can be “relevant
                   in establishing a domestic industry” because Section 337
                   “does not specify which corporate entity must demonstrate
                   investments in that domestic industry.” Certain Prod.
                   Containing Interactive Program Guide & Parental Control
                   Tech., Inv. No. 337-TA-845, Initial Determination at 275–
                   79, 2013 WL 3463385, at *171‒73 (June 7, 2013) (finding


                                                 152
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 160 of 283 PageID# 259

                                     PUBLIC VERSION


                 that entities who did not own the intellectual property at
                 issue had standing to be complainants and crediting their
                 investments to find that a domestic industry existed); see
                 also Certain Optical Disc Drives, Inv. No. 337-TA-897,
                 Corrected Comm’n Remand Order at 4 (Sept. 29, 2014)
                 (holding that Section 337 requires only that an industry in
                 the United States shall be considered to exist, “but does not
                 specify that such industry must be comprised of one
                 particular entity”).

                         Further, the Commission’s rules expressly provide
                 that entities that do not own the intellectual property at issue
                 may join as co-complainants and that a complainant IP
                 owner may satisfy the domestic industry requirement
                 through the domestic operations of its licensees. See 19
                 C.F.R. § 210.12(a)(7) (“For every intellectual property
                 based complaint (regardless of the type of intellectual
                 property right involved), include a showing that at least one
                 complainant is the owner or exclusive licensee of the subject
                 intellectual property”) (emphasis added); 19 C.F.R.
                 § 210.12(a)(6)(ii) (“include a detailed description of the
                 domestic industry affected, including the relevant
                 operations of any licensees”) (emphasis added).

                         Here, Allergan is both a co-complainant and an
                 exclusive licensee of Medytox, the owner of the trade secrets
                 asserted in this case. See supra Section I.C.2. Accordingly,
                 a domestic industry may be established through the domestic
                 operations of Allergan, even though it is not the IP owner.
                 See also Certain Male Prophylactic Devices, Inv. No. 337-
                 TA-546, Order No. 22 at 7, 2006 WL 855798, at *4 (Mar.
                 15, 2006) (“[T]he economic prong of the domestic industry
                 requirement can be established where a complainant bases
                 its claim exclusively on the activities of a
                 contractor/licensee.”). To date, Respondents have cited no
                 authority to the contrary—and Complainants are aware of
                 none. Respondents’ argument that counting Allergan’s
                 investments in the domestic industry would enable “mere
                 importers” to rely on the investments of “unrelated parties”
                 and “circumvent” the domestic industry requirement is not
                 credible. Resps. Prehr’g Br. at 159 (citing Corning Glass
                 Works v. ITC, 799 F.2d 1559, 1569–70 (Fed. Cir. 1986)). It
                 cannot be squared with the undisputed facts of this
                 Investigation. Indeed, it is undisputed that Allergan has
                 spent billions of dollars in domestic manufacturing, quality
                 control, research and development, and testing related to


                                              153
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 161 of 283 PageID# 260

                                       PUBLIC VERSION


                   BOTOX®. See infra Section VI.B.2. Moreover, in light of
                   its 2013 license agreement with Medytox making it the
                   exclusive licensee of MT10109L and its significant up-front
                   and on-going investments associated with that project,
                   Allergan is plainly not an “unrelated” party.

     Compls. Br. at 209–11 (footnote omitted).

            Respondents argue, in part:

                   [W]hen assessing what ought to be included within the scope
                   of a cognizable domestic industry in an ITC trade secret
                   case, the Commission looks to the domestic industry of the
                   owner or exclusive licensee of the trade secrets. Indeed, in
                   every single trade secret case resolved through
                   determination, the alleged domestic industry has belonged to
                   the owner or exclusive licensee of the asserted trade secrets.
                   See, e.g., Activity Tracking Devices, Inv. No. 337-TA-963
                   (Oct. 20, 2016); Stainless Steel Products, Certain Processes
                   for Manufacturing or Relating to Same, and Certain
                   Products Containing Same, Inv. No. 337-TA-933 (Mar. 26,
                   2018); Crawler Cranes, Inv. No. 337-TA-887 (Apr. 16,
                   2015); Certain Opaque Polymers, Inv. No. 337-TA-883
                   (Apr. 17, 2015); Rubber Resins, Inv. No. 337-TA-849 (Feb.
                   26, 2014); DC-DC Controllers, Inv. No. 337-TA-698 (Aug.
                   13, 2010); TianRui, 661 F.3d at 1337; Certain Processes for
                   the Manufacture of Skinless Sausage Casings and Resulting
                   Product, Inv. No. 337-TA-148/169, ID at 341-42 (July 31,
                   1984) (unreviewed, 49 Fed. Reg. 39925 (Oct. 11, 1984))
                   (“Sausage Casings”). To Respondents’ knowledge, there
                   has never been a case at the Commission like this, where the
                   sole claimed holder of the alleged domestic industry
                   (Allergan) does not own or license the asserted trade secrets
                   at all. See supra at III.D.

                           Complainants and Staff do not attempt to address this
                   long line of precedent, which places Complainants’ legal
                   maneuver distinctly outside the bounds of what the
                   Commission has permitted in its 100-year history. But to
                   ignore these cases and consider Allergan’s BOTOX®
                   activities would effectively eliminate the domestic industry
                   requirement as a substantial limitation on the Commission’s
                   jurisdiction. Because Medytox and Allergan share no
                   corporate affiliation, and because their licensing relationship
                   does not include a license to the asserted trade secrets (let
                   alone an exclusive license), a ruling in their favor would


                                                 154
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 162 of 283 PageID# 261

                                     PUBLIC VERSION


                 mean that any foreign company lacking a domestic industry
                 could circumvent the requirement merely by entering into a
                 straw license with an unrelated company with a domestic
                 industry and joining that company as a Complainant.
                 Complainants and Staff suggest that this circumvention
                 strategy was already endorsed by the Federal Circuit in
                 TianRui, because that case holds that domestic industry not
                 “relate” in any way to the asserted trade secrets. See, e.g.,
                 CPB at 144 (“TianRui also confirms that in a non-statutory
                 IP case such as this, the domestic industry need not relate to
                 the trade secrets.”). This is a glaring misreading of TianRui
                 and the legislative history of the 1988 Amendments.

                         In TianRui, Complainant Amsted Industries, a U.S.
                 manufacturer of cast steel railway wheels, developed and
                 owned two trade secret manufacturing processes. See Cast
                 Steel Wheels, ID at 17 (finding that the complainant “has
                 established that it owns the trade secrets asserted in this
                 investigation, and that it has standing as the
                 complainant.”) The first, known as the “ABC process,”
                 Amsted developed in the United States and had used
                 domestically in the past. Eventually, however, Amsted came
                 to use a different process (known as the “Griffin process”)
                 for its U.S. facilities, and licensed out the ABC process for
                 use by certain foreign manufacturers. See TianRui, 661 F.3d
                 at 1324. It was this ABC process that Amsted claimed
                 TianRui, a foreign manufacturer, had misappropriated.

                         The ALJ and Commission found that TianRui had
                 violated Section 337 because it had misappropriated the
                 ABC process, even though, by that point, Amsted had
                 discontinued its use of the ABC process domestically. The
                 Federal Circuit agreed with the Commission that Amsted’s
                 ability to secure relief was not contingent upon it actually
                 using the misappropriated trade secrets domestically during
                 the investigation. See TianRui, 661 F.3d at 1335-37. In
                 other words, the central holding of TianRui was that a
                 complainant’s domestic industry need not currently practice
                 the asserted trade secrets. Id. at 1337.

                         It was never in doubt, however, that Amsted was
                 both the party whose domestic industry was injured and the
                 party that owned that misappropriated ABC process. The
                 Federal Circuit expressly relied upon this fact in its holding:
                 “The parties submitted evidence indicating that the imported
                 TianRui wheels could directly compete with wheels



                                              155
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 163 of 283 PageID# 262

                                    PUBLIC VERSION


                 domestically produced by the trade secret owner.” Id. at
                 1337 (emphasis added). In the Court’s view, even if the
                 domestic industry holder were no longer practicing the trade
                 secrets, the Commission should be able to remedy foreign
                 misappropriation of those trade secrets that worked “to the
                 detriment of the trade secret owner.” Id. at 1330 (emphasis
                 added).

                         In other words, TianRui is in keeping with the
                 traditional notion that a U.S. company’s development of
                 trade secrets can and should be protected. Nothing in
                 TianRui permits Allergan to assert the misappropriation of
                 another company’s trade secrets that it does not own, have
                 an exclusive license to, or even have access to. That would
                 reward Allergan with the prospect of an exclusion order to
                 protect asserted trade secrets that it did not develop, has no
                 rights to, has never seen and never used; and to remedy
                 alleged wrongful conduct that it never experienced. It would
                 also allow Medytox, a company that lacks any domestic
                 industry of its own, to litigate the alleged misappropriation
                 of foreign trade secrets that have never been owned or
                 licensed to any U.S. entity. This cannot be the rule.

                         The only investigation Respondents have identified
                 with even remotely similar facts to those presented here is
                 Sausage Casings, which held that an alleged licensee’s
                 domestic activities and investments were not relevant to the
                 domestic industry inquiry. In Sausage Casings, co-
                 complainants Union Carbide and Teepak brought
                 consolidated patent- and trade secret-based investigations
                 relating to the manufacturing processes for sausages.
                 Complainants sought to establish a domestic industry
                 through the manufacturing investments of the trade secret
                 owner, Union Carbide, as well as its alleged licensee,
                 Teepak. The ALJ refused to consider Teepak’s alleged
                 domestic industry, holding:

                                The record reveals that although the
                        1967 Agreement between Teepak and Union
                        Carbide included provision for exchange of
                        know-how, that the know-how exchange was
                        never fully carried out, and that Teepak
                        essentially did not use the know-how
                        received from Union Carbide. (Findings of
                        Fact 533-538, 549). There is nothing on the
                        record to indicate that any other domestic



                                              156
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 164 of 283 PageID# 263

                                         PUBLIC VERSION


                              company is making use of the trade secrets at
                              issue. Thus, for purposes of the trade secret
                              phase of this investigation, the domestic
                              industry is defined to include only the
                              domestic operations of Union Carbide's
                              Films-Packaging Division utilizing the trade
                              secrets at issue.

                    Sausage Casings, ID at 341-42. The Commission adopted
                    the ALJ’s findings.

                    For the same reasons and more, the ALJ should reject
                    Allergan’s alleged domestic industry activities and
                    investments. Here, although the 2013 Agreement between
                    Medytox and Allergan governing MT10109L includes a
                    provision for the exchange of “[          ],” that [       ]
                    relates to alleged trade secrets that are unasserted here —
                    i.e., trade secrets related to MT10109L, not Meditoxin®.
                    JX-0050C.14-15,        20     (Allergan-Medytox      License
                    Agreement); RX-3014C.12, 17 (Neervannan Dep. Desg.
                    46:5-9, 66:24-25). Thus, unlike Teepak, Allergan is not
                    even a licensee to the asserted trade secrets. Moreover,
                    although there is no “technical prong” element required
                    under Section 337(a)(1)(A), it was important in Sausage
                    Casings that Teepak, like Allergan here, never received or
                    used the alleged trade secrets. Accordingly, as in Sausage
                    Casings and TianRui, the domestic industry is — and can
                    only be — the alleged domestic industry of the trade secret
                    owner or exclusive licensee.

     Resps. Br. at 228–31 (footnote omitted).

            The Staff argues, in part:

                            Respondents argue that Complainants cannot
                    establish a domestic industry based on the flawed premise
                    that Allergan lacks standing as a complainant in this
                    Investigation. For at least the reasons discussed in section
                    II.D of the Staff’s initial posthearing brief and section II.B,
                    supra, Respondents’ argument that Allergan lacks standing
                    and, thus, Allergan’s investments relating to BOTOX and
                    MT10109L should not be considered, is flawed.

     Staff Reply Br. at 31.




                                                  157
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 165 of 283 PageID# 264

                                       PUBLIC VERSION


            In TianRui, the Federal Circuit rejected the argument that in trade secret cases, the

     domestic industry must practice the misappropriated trade secret in order for the

     Commission to be authorized to grant relief. TianRui, 661 F.3d at 1335–37. The court

     held that it was appropriate to consider an industry in domestically produced products

     that “directly compete” with the imported products. Id. at 1337; Rubber Resins, ID at

     648–51.

            Under Commission precedent, a complainant may rely upon investments by

     unrelated licensees to prove the existence of a domestic industry requirement. See, e.g.,

     Certain Electronic Imaging Devices, Inv. No. 337-TA-726, Order No. 18, at 8–19 (Feb.

     7, 2011) (granting summary determination that complainant satisfied the domestic

     industry requirement based on licensees’ investments), aff’d, Notice of Commission

     Determination Not to Review an Initial Determination Granting Complainant’s Motion

     for Summary Determination That It Satisfies the Economic Prong of the Domestic

     Industry (Mar. 8, 2011).22

            In the case at hand, Allergan is both a co-complainant and an exclusive licensee

     of Medytox, the owner of the trade secrets asserted in this case. Accordingly, a domestic

     industry may be established through the domestic operations of Allergan, even though it

     is not the IP owner. See Certain Methods of Making Carbonated Candy Products, Inv.

     No. 337-TA-292, ID at 142, (U.S.I.T.C. December 8, 1989) (unreviewed in relevant part)



     22
        In TianRui, the Federal Circuit affirmed the Commission’s domestic industry analysis
     in Railway Wheels. 661 F.3d at 1337. Notably, in Railway Wheels, the complainant
     Amsted was the sole owner of the trade secrets at issue in the case. Railway Wheels,
     Unreviewed ID at 12–17. The domestic industry requirement was satisfied based on the
     investments of Amsted’s subsidiary Griffin Wheels, which neither practiced nor owned
     the misappropriated trade secrets at issue. See id. at 80–81.


                                                158
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 166 of 283 PageID# 265

                                       PUBLIC VERSION


     (finding existence of a domestic industry based on long-term, completely domestic

     production of candy by a contractor/licensee utilizing the patented process).

            B.      Allergan’s Domestic Industry

            Complainants argue, in part:

                             The proper scope of the domestic industry includes
                    all of the Domestic Industry Products—BOTOX®
                    Cosmetic, BOTOX® therapeutic, and MT10109L. “It is
                    well settled that the scope of a section 337 investigation is
                    determined by the Notice of Investigation issued and
                    published by the Commission.” Rubber Resins ID at 619.
                    In this case, the Notice of Investigation defines the scope of
                    the investigation in terms of “botulinum neurotoxin
                    products.” Certain Botulinum Toxin Prod., Inv. No. 337-
                    TA-1145, Notice of Institution of Investigation at 2 (Feb. 28,
                    2019). Accordingly, the relevant domestic industry here
                    includes Complainants’ domestic activities relating to
                    “botulinum neurotoxin products,” i.e., BOTOX® Cosmetic,
                    BOTOX® therapeutic, and MT10109L.

     Compls. Br. at 208.

            Respondents argue, in part:

                            But should the Commission consider BOTOX®
                    investments as part of the domestic industry analysis,
                    notwithstanding these defects, Complainants still have not
                    met their burden to prove a relevant domestic industry.
                    Complainants’ various allocations of purported U.S-based
                    investments in BOTOX®, even if credited, do not establish
                    a domestic industry that is substantial when compared to
                    Allergan’s worldwide BOTOX® operation. See, e.g.,
                    Carburetors, Comm’n Op. at 18-26 (conducting a contextual
                    analysis of domestic industry to conclude that complainant’s
                    investments were insubstantial in context). Indeed, as a
                    threshold issue, every unit of BOTOX® sold in the United
                    States is first imported from Allergan’s Westport, Ireland
                    manufacturing facility. RX-3158C.22 (Mulhern WS) at Q/A
                    114; JX-0037.27 (Allergan, Form 10-K, 2018). Mr.
                    Malackowski’s failure to sufficiently compare Allergan’s
                    alleged U.S. investments to Allergan’s substantial
                    investments at its Ireland location — where, according to
                    Allergan’s own securities filings, BOTOX® manufacturing


                                                 159
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 167 of 283 PageID# 266

                                         PUBLIC VERSION


                    “is exclusively performed,” JX-0037.27 (Allergan, Form 10-
                    K, 2018) (emphasis added) — dooms his analysis.
                    Moreover, Complainants have relied on transparently
                    hollow “evidence” to show substantiality in context, such as
                    an Allergan executive’s back-of-the-envelope estimate of
                    where BOTOX® derives its value, divorced from any
                    quantitative analysis or documentary support.           RX-
                    3158C.22 (Mulhern WS) at Q/A 111-112; CX-0016C.7
                    (Neervannan WS) at Q/A 22. With respect to the claimed
                    U.S. investments themselves, Mr. Malackowski’s analysis
                    suffers from numerous shortcomings, including double
                    counting, including unquantified domestic activity from
                    decades ago, and the comingling of activities aimed at non-
                    domestic industry products. RX-3158C.23, 25 (Mulhern
                    WS) at Q/A 123, 130-134. For all these reasons,
                    Complainants have failed to prove a relevant domestic
                    industry even if BOTOX® investments are deemed legally
                    relevant.

     Resps. Br. at 236–37.

            The Staff argues, in part:

                            Complainants assert that Allergan has a domestic
                    industry in 900 kDa botulinum toxin products, including
                    BOTOX® Cosmetic, BOTOX therapeutic, and MT10109L
                    (collectively, “the DI Products”). “It is black letter law that
                    the scope of a Section 337 investigation is determined by the
                    Commission’s Notice of Investigation (‘NOI’).” Certain
                    Consumer Electronics & Display Devices with Graphics
                    Processing & Graphics Processing Units Therein, Inv. No.
                    337-TA-932 (“GPUs”), ID at 4 (Oct. 9, 2015) (EDIS Doc.
                    No. 568758).

     Staff Br. at 121.

            In this case, the notice of investigation defines the scope of the investigation in

     terms of “botulinum neurotoxin products.” 84 Fed. Reg. 8112 (Mar. 6, 2019).

     Accordingly, the relevant domestic industry includes BOTOX® Cosmetic, BOTOX®

     therapeutic, and MT10109L.




                                                 160
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 168 of 283 PageID# 267

                                      PUBLIC VERSION


                   1.     Allergan’s Investments Relating to BOTOX®

            Complainants argue, in part:

                            Over the past 30 years since BOTOX® was first
                   approved by FDA, Allergan has continuously invested
                   billions of dollars in domestic manufacturing, R&D, labor
                   and capital, and sales and marketing activities essential for
                   the commercialization of BOTOX®.                Complainants’
                   economic expert Mr. Malackowski opined that Allergan
                   created the U.S. market for BTX products and expanded the
                   potential uses of such BTX products, which has benefitted
                   follow-on market entrants like Respondents. CX-0018C at
                   Q/A 44-51. As a result of its substantial investments,
                   Allergan today sells millions of vials of BOTOX® in the
                   United States yearly—with approximately [             ] of the
                   vials being BOTOX® Cosmetic—resulting in over
                   [           ] in U.S. sales revenue each year. CX-0018C at
                   Q/A 46-47; CX-0008C (Marzouk WS) at Q/A 10, 12-17;
                   CX-2323C (tab “Botox C P&L from BPC”); CX-2322C (tab
                   “Botox Tx P&L from BPC”); CX-2251C (Units of
                   BOTOX® Manufactured for 2014 to 2018); CX-2254C
                   (Allergan gross and net sales for BOTOX®); CX-2253C
                   (Allergan revenue model for BOTOX®); JX-0072, JX-
                   0035, JX-0036, and JX-0037 (Allergan SEC 10-Ks for 2014
                   to 2018, respectively). The units of BOTOX® sold every
                   year and the revenue they generate “provide[] evidence that
                   the domestic industry is substantial.” Rubber Resins ID at
                   623; Railway Wheels ID at 81 (considering annual sales to
                   find that the domestic industry is substantial.

     Compls. Br. at 211–12.

            Respondents argue, in part:

                           Creating a market for a product has never formed the
                   basis of a domestic industry and it should not now. Even if
                   it could, a large portion of the proffered investments (which
                   Complainants have not quantified) are too old to warrant
                   consideration. The claimed investments in this category
                   relate to research and development for BOTOX® products
                   made as early as 1989 – i.e., over two decades ago. CX-
                   0018C.13 (Malackowski WS) at Q/A 44. As much as [           ]
                   these investments were made during a time period (1989
                   through 2000) in which Medytox and its alleged trade secrets
                   did not even exist. Compl. ¶ 18. At a minimum,


                                                161
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 169 of 283 PageID# 268

                                       PUBLIC VERSION


                   Complainants should not be permitted to rely upon
                   Allergan’s investments made prior to its 2013 License
                   Agreement with Medytox.

                           In addition, Mr. Malackowski does not delineate the
                   type of investments that purportedly make up this category,
                   instead branding the investments considered as “investments
                   related to [Allergan’s] efforts to secure FDA approval” for
                   BOTOX®. CX-0018C.13 (Malackowski WS) at Q/A 45.
                   But he does not actually quantify the “FDA approval”
                   investments upon which he purportedly relies. CX-
                   0018C.13-17 (Malackowski WS) at Q/A 45.

                           Complainants’ calculation is further laden with
                   improper double-counting. For instance, Complainants
                   attempt to claim investments in R&D for BOTOX®
                   Therapeutic and Cosmetic as evidence of “investments in
                   creating the market for BTX products,” and then re-count
                   those same investments again when describing a purportedly
                   separate category of spending entitled “investment in
                   research and development of BOTOX®.” RX-3158C.20-21
                   (Mulhern WS) at Q/A 104-05.

     Resps. Br. at 240–41.

            The administrative law judge finds that Allergan has invested billions of dollars in

     the United States for manufacturing, R&D, commercialization, and sales and marketing

     activities to create and expand the U.S. BTX market. CX-0018C (Malackowski WS) at

     Q/A 21. As a result of these efforts and investments, Allergan has received FDA

     approval for more indications than all of the other BTX products in the U.S. market

     combined. Id. at Q/A 44, 45, 49; CX-2343C (Allergan Corporate Overview); CX-2335C

     (Pediatric Spasticity Advisory Board Presentation); CX-2343C; CX-1197, CX-1198; CX-

     1200, CX-1201, CX-1202, CX-1203, CX-1204, CX-1205, CX-1206, CX-1209.

     Allergan’s research continues in planning for a number of new indications across unique

     specialties. CX-0018C at Q/A 45, 49; CX-2342C (Neurotoxin Strategy).




                                                162
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 170 of 283 PageID# 269

                                        PUBLIC VERSION


            The manufacturing process of [              ] of BOTOX® sold worldwide begins

     with the production of the active pharmaceutical ingredient (“API”) (also called the “drug

     substance”) at a secure manufacturing facility located in [

             ]. See CX-0016C (Neervannan WS) at Q/A 20; CX-0008C (Marzouk WS) at

     Q/A 9; CX-0018C at Q/A 52. Dr. Neervannan testified that the production of the API

     entails a series of complex and sophisticated processes, including the cultivation of C.

     Botulinum bacteria from a proprietary cell bank and isolation and purification of the

     botulinum neurotoxin. CX-0016C at Q/A 21.

            The API is the most valuable and most important component to the BOTOX®

     product. CX-0018C at Q/A 54; CX-0016C at Q/A 22. The API causes the

     pharmacological and clinical action that BOTOX® delivers. CX-0016C at Q/A 22. Dr.

     Neervannan estimated the value of the API constitutes at least [

                       ]. Id. at Q/A 22. Once the BOTOX® API has been manufactured, it is

     delivered to Allergan’s “finish and fill” facility in Westport, Ireland, which [



                                            ]. See CX-0016C at Q/A 20; CX-0008C at Q/A 73;

     CX-0018C at Q/A 53. The finished vials of BOTOX® are then [

                                                   ]. Id.

            Furthermore, Allergan continues to invest [                   ] in R&D in the United

     States to improve its manufacturing process, develop additional therapeutic and cosmetic

     indications for BOTOX®, and comply with FDA regulatory requirements, including

     conducting clinical testing necessary to secure additional approvals from the FDA. Id.

     Allergan makes substantial investments in domestic sales and marketing activities, CX-



                                                  163
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 171 of 283 PageID# 270

                                       PUBLIC VERSION


     0008C at Q/A 9, 65, including in extensive physician education activities, CX-0009C

     (McKenna WS) at Q/A 44.

            Respondents argue, in part:

                           Complainants do not identify, explain, or quantify
                   Allergan’s manufacturing-related investments in the United
                   States, much less prove that such investments are substantial
                   or significant compared to its foreign BOTOX®
                   manufacturing investments. RX-3158C.21-22 (Mulhern
                   WS) at Q/A 107, 111; CX-0016C.7 (Neervannan WS) at
                   Q/A 22. This is a fatal flaw. See, e.g., Interdigital
                   Commc’ns, 707 F.3d at 1300; Certain Ultra-Microtome
                   Freezing Attachments, 337-TA-10, Comm’n Op. at 8-9
                   (Apr. 2, 1976). Mr. Malackowski relies exclusively on
                   Allergan’s investment in a domestic facility allegedly used
                   to produce the API for both BOTOX® Therapeutic and
                   Cosmetic. CX-0018C.18 (Malackowski WS) at Q/A 55.
                   But Complainants refused to produce relevant documents
                   relating to such manufacture and so cannot rely upon it now.
                   Order No. 24 at 2-3. Mr. Malackowski also does not account
                   for the fact that [
                                   ], and that is for manufacturing only a portion
                   of the ultimate BOTOX® product.                    CX-18C.18
                   (Malackowski WS) at Q/A 55; RX-3158C.21 (Mulhern WS)
                   at Q/A 108; CX-0016.7 (Neervannan WS) at Q/A 24.

                           Additionally, Complainants fail to allocate out
                   activities and investments relating to the manufacturing of
                   BOTOX® API for BOTOX® sold abroad, which cannot
                   contribute to the domestic industry analysis. See RX-
                   3158C.21 (Mulhern WS) at 107. Complainants have not
                   carried their burden of reliably allocating investments to
                   BOTOX®. See Certain Dimmable Compact Fluorescent
                   Lamps and Products Containing Same, Inv. No. 337-TA-
                   830, ID at 63-64 (Feb. 27, 2013) (refusing to give weight to
                   investments that included non-domestic industry products
                   and stating that “what [complainant] is really asking me and
                   the Commission to do is speculate”).

     Resps. Br. at 241–42.

            Complainants argue, in part:

                             Respondents   make    unsubstantiated     arguments


                                                164
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 172 of 283 PageID# 271

                                         PUBLIC VERSION


                    concerning Allergan’s investments – for example, that
                    Allergan must make an “apples-to-apples analysis of
                    investments in the U.S. versus abroad.” RIB at 238. No such
                    requirement exists. CIB at 228-29. In any event,
                    Complainants provided a quantitative and qualitative
                    comparative analysis showing the significance of Allergan’s
                    domestic investments.        Id. at 229-31; CX-0018C
                    (Malackowski WS) at Q/A 107-08.

                            Respondents also criticize Mr. Malackowski’s
                    analysis and conclusion that the domestically manufactured
                    API contributes [                                           ]
                    (RIB at 239-40) – yet they elected not to question either Mr.
                    Malackowski or Dr. Neervannan (who provided the [
                              ] based on his decades of experience) about the
                    basis of this valuation during the Hearing.

     Compls. Reply Br. at 37–38 (footnote omitted).

            The Staff argues, in part:

                            Respondents also argue that Allergan’s domestic
                    investments related to BOTOX have not been shown to be
                    substantial in context. RIB at 237. It is not disputed that the
                    active pharmaceutical ingredient—i.e., the botulinum toxin
                    type A1 complex—is manufactured entirely in the United
                    States. CX-0016C (Neervannan WS) at ¶ 21. Dr.
                    Neervannan, who is Allergan’s senior vice president of
                    pharmaceutical development, testified that the active
                    pharmaceutical ingredient (API) for BOTOX is [
                                                        ]. Id. at ¶ 22. Respondents
                    argue this Dr. Neervannan’s testimony is rebutted by
                    Allergan documents that show [
                                                     ]. RIB at 240, citing RX-
                    2442C.39. Respondents’ equating [
                                                 ] to the product is fundamentally
                    flawed. The notion that the API of a pharmaceutical product
                    is anything less than the most important and essential aspect
                    of the pharmaceutical product, in the Staff’s view, ignores
                    the very basic realities of pharmaceutical production.

     Staff Reply Br. at 31.

            Viewed in context, the evidence demonstrates that the BOTOX®-related

     operations Allergan conducts in Westport, Ireland do not diminish Allergan’s significant



                                                 165
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 173 of 283 PageID# 272

                                        PUBLIC VERSION


     and substantial investments in the domestic industry. CX-0018C at Q/A 107–08. Mr.

     Malackowski testified, even considering Allergan’s investments in Westport, Allergan

     has made an enormous historical investment in BOTOX® in the United States, including

     to create a domestic industry for BTX products (which continues to this day). Id.

            As an initial matter the “finish and fill” processes at Westport, Ireland [

                                                                                               ].

     See CX-0018C at Q/A 108; CX-0016C at Q/A 20. Dr. Neervannan testified that the

     domestically-manufactured API accounts for [

                                 ]. CX-0016C at Q/A 22. This evidence shows that critical

     operations such as the manufacturing of the API, physician support activities, and nearly

     all of the R&D activities all occur in the United States. Thus, Allergan’s domestic

     operations are qualitatively significant in comparison to its foreign operations.

            Moreover, the labor expenses for BOTOX® incurred at Westport [

                                           ]. Allergan’s direct labor expenses for BOTOX® at

     Westport were [              ] in 2017 and [         ] in 2016. See CX-0008C at Q/A 77;

     CX-0018C at Q/A 108; CX-2315C (Westport BOTOX® Spend). By contrast, Allergan’s

     annual domestic labor expenses for just its full-time employees who work on BOTOX®

     (excluding the vast majority of its R&D personnel) is more than [               ].

            Although the overhead expenses at the Westport facility [




                                                                                           ]. CX-

     0008C at Q/A 74; CX-0018C at Q/A 108.



                                                 166
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 174 of 283 PageID# 273

                                        PUBLIC VERSION


            The acquisition value of the BOTOX®-related assets at Westport was

     approximately [                ], capitalized from 2001 to 2019, with a current book value

     of approximately [                 ] as of June 30, 2019. CX-0008C at Q/A 75-76; CX-

     2345C and CX-2347C (Fixed Asset Register for BOTOX®). This is only a fraction of

     Allergan’s investments in domestic research and development from 1992 to Q1 2019,

     domestic plant and equipment, and just one years’ worth of domestic employee salaries

     exceed [             ].

            In view of the differing nature of the activities performed in Ireland and the

     United States, and the large differential in the investments made by Allergan in those two

     countries, the administrative law judge finds that Allergan’s operations in Ireland do not

     diminish Allergan’s significant and substantial investments in the domestic industry. See

     Certain Carburetors and Prods. Containing Such Carburetors, Inv. No. 337-TA-1123,

     Comm’n Op. at 18–20 (Oct. 28, 2019).

                               a) Allergan’s Investments in Domestic Plant and
                                  Equipment Relating to BOTOX®

            Complainants argue, in part:

                            The undisputed evidence has established that
                    Allergan has acquired over [         ] square feet and invested
                    nearly [               ] in domestic facilities supporting the
                    ongoing commercial manufacture, research, development,
                    and commercialization of BOTOX®, including more than
                    [            ] in fixed assets. Mr. Malackowski testified that
                    Allergan’s investments are both significant and substantial,
                    in absolute terms and relative to the domestic activities of
                    another BTX manufacturer, and demonstrate that Allergan
                    has a domestic industry in BOTOX®. CX-0018C at Q/A 26,
                    63, 65, 68, 78, 80, 106. See also Rubber Resins ID at 694
                    (crediting expenses invested in manufacturing facility from
                    1968 through 2011 to find that a domestic industry existed);
                    Railway Wheels ID at 9, 80–81 (crediting current book value
                    of three facilities acquired from 1958 to 1986 used in


                                                 167
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 175 of 283 PageID# 274

                                        PUBLIC VERSION


                   manufacturing and R&D to find that a domestic industry
                   existed.

     Compls. Br. at 219.

            Respondents argue, in part:

                            Complainants claim Allergan investments in [
                                       ] as part of their alleged domestic industry
                   investments in BOTOX®. CX-0018C.21 (Malackowski
                   WS) at Q/A 64. [
                                ]. CX-2571C.58-59 (Allergan Third Responses
                   to Staff Interrogatories) at No. 5. None of them utilize or
                   have any nexus whatsoever to the alleged trade secrets. [
                       ], the [    ] facility, allegedly relates to the manufacture
                   of BOTOX® API before it is [                          ] for further
                   production and then [                 ] into the United States for
                   sale. Id. at 13 (No. 4). Although Complainants claim the
                   [                           ] facility as a cognizable domestic
                   industry investment, they have acknowledged that [
                                                                      ]. CX-0016.7
                   (Neervannan WS) at Q/A 24; CX-2571C.8 (Allergan Third
                   Responses to Staff Interrogatories) at No. 1.

                           The allegations relating to the [
                            ] also are unsupported and lack credibility.
                   Complainants again rely heavily on unsupported witness
                   testimony for allegations of square footages and functions of
                   these facilities. CX-0018C.21 (Malackowski WS) at Q/A
                   64.

                          Complainants fail to exclude from their analysis
                   investments relating to foreign indications of BOTOX®,
                   which are not relevant to the domestic industry analysis.
                   RX-3158C.24 (Mulhern WS) at Q/A 126. In addition, Mr.
                   Malackowski admits that [


                                                                         ]. CX-
                   0018C.21 (Malackowski WS) at Q/A 64; RX-3158C.24
                   (Mulhern WS) at Q/A 125. Such non-manufacturing
                   activities are typically performed by a mere importer and are
                   not relevant to the domestic industry inquiry. RX-3158C.24
                   (Mulhern WS) at Q/A 124.

     Resps. Br. at 242–43.



                                                  168
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 176 of 283 PageID# 275

                                          PUBLIC VERSION


            The Staff argues, in part:

                             Allergan owns and operates multiple buildings [
                               ], where manufacturing, quality control, research
                      and development, and testing activities related to BOTOX
                      occur. CX-0008C (Marzouk WS) at ¶¶ 9, 19; CX-0016C
                      (Neervannan WS) at ¶¶ 34-35; CX-0018C (Malackowski
                      WS) at ¶¶ 52, 55, 64; CDX-7[                           ].

     Staff Br. at 123.

            The evidence shows that Allergan owns and operates multiple buildings [

                 ] where manufacturing, quality control, research and development, testing, and

     sales and marketing activities related to BOTOX® occur, for which Allergan has invested

     more than [                 ].23 See CX-0008C at Q/A 9, 19, 20; CX-0016C at Q/A 34–35;

     CX-0018C at Q/A 52, 55, 64, 76; CX-1041C, CX-1065C. These include the following:

            [                                         ]. Allergan owns and operates [          ], an

     [       ] square foot facility located [            ], where [

                                                   ]. See CX-0008C at Q/A 19; CX-0016C at

     Q/A 24; CX-0018C at Q/A 52, 55, 64. [                ] has granted Allergan a drug

     manufacturing license for this facility. CX-1175C (Drug Manufacturing License for

     [    ]); CX-0018C at Q/A 52. [



                                                ]. CX-0016C at Q/A 23; CX-0018C at Q/A 52.

                Allergan has invested [             ] in recent years to acquire specialized

     equipment used at [       ] for BOTOX®-related activities. CX-0008C at Q/A 21-25; CX-



     23
       This total comprises approximately [              ] for facilities in [
                     ], which are comprehensive figures including acquisition costs,
     equipment, and other capital improvement projects. CX-0008C at Q/A 20.


                                                   169
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 177 of 283 PageID# 276

                                       PUBLIC VERSION


     0018C at Q/A 55, 66–67. These assets were capitalized from 2015 to 2019 and have a

     current book value of [              ]. CX-0008C at Q/A 21-25; CX-0018C at Q/A 55;

     CX-2346C (Fixed Asset Register);24 CX-1171C [                                   ]. Among the

     specialized equipment used at [      ] for the [



                     ]. CX-0008C at Q/A 25; CX-2346C (Fixed Asset Register).

            Allergan’s investments in [      ] are much more than what is typically required of

     a pharmaceutical production facility. CX-0016C at Q/A 25–31. Because of the highly

     potent and potentially lethal nature of the C. botulinum bacterium from which

     BOTOX®’s toxin is cultivated, [       ] has to comply with regulations and oversight by

     various government entities, including the Centers for Disease Control (“CDC”), FDA,

     FBI and Department of Homeland Security. Id. at Q/A 25, 26; CX-0018C at Q/A 57–59.

     Accordingly, Allergan has to ensure that [         ] has specialized equipment, operating

     systems, and security systems in order to comply with stringent security, safety, and

     health regulations when [                                      ], including the FDA’s Good

     Manufacturing Processes “GMP” regulations. CX-0016C at Q/A 25, 27, 28. This has

     included building cleanrooms and changing rooms for [           ] personnel, as well as

     installing purified water and injection distillation systems, customized HVAC and

     filtration systems, sterilization processes and sterilization equipment, and enhanced

     security systems. Id. Allergan continually upgrades and updates its equipment and


     24
       CX-2346C is a fixed asset register, which details the fixed assets Allergan owns that
     are used specifically to support BOTOX®-related activities at [
                                                       ]. CX-0008C at Q/A 21. Mr. Marzouk
     explained how to distinguish the investments at [
                                                          ]. Id. at Q/A 23–25.


                                                  170
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 178 of 283 PageID# 277
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 179 of 283 PageID# 278

                                       PUBLIC VERSION


     [



                                                                          ]. Id. at Q/A 35; CX-

     0018C at Q/A 64.

            Allergan invested [            ] in recent years to acquire BOTOX®-related plant

     and equipment used at [      ]. CX-0008C at Q/A 21-25; CX-0018C at Q/A 66–67. These

     assets were capitalized from 2015 to 2019 and have a current book value of [            ].

     CX-0008C at Q/A 21–25; CX-0018C at Q/A 67; CX-2346C; CX-1171C. These

     investments include, for example, [

                                                                                   ]. CX-0008C

     at Q/A 25; CX-2346C.

            Allergan has acquired over [       ] square feet and invested nearly [           ]

     in domestic facilities supporting the ongoing commercial manufacture, research,

     development, and commercialization of BOTOX®, including more than [                  ] in

     fixed assets.

                                b) Allergan’s Employment of Domestic Labor and Capital
                                   Relating to BOTOX®

            Complainants argue, in part:

                            The unrebutted evidence shows that in 2019,
                     Allergan employed a total of [        ] domestic full-time
                     employees who perform work related to manufacturing,
                     research and development, and commercialization of
                     BOTOX® and paid them a total aggregated annual
                     compensation (including salary, bonus, and benefits) of
                     [               ]. CX-0008C at Q/A 26-31. Information
                     about these employees, including their positions and annual
                     compensation, is reflected in CX-2340C, which is a
                     spreadsheet of employment data from [                    ],



                                                172
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 180 of 283 PageID# 279

                                         PUBLIC VERSION


                    Allergan’s human resources data management system. CX-
                    0008C at Q/A 27; CX-0018C at Q/A 71-72.

     Compls. Br. at 219–20.

            Respondents argue, in part:

                            Allergan’s evidence of investments in labor and
                    capital is also deficient. Complainants also have not
                    identified what fraction of the cited employees’ time and
                    salaries are allocable to BOTOX®, as opposed to other
                    Allergan products. CX-2340C (Compensation details on
                    Allergan employees that work at BOTOX®). And once
                    again, Allergan relies primarily on irrelevant marketing-
                    related expenditures: [             ] employees relied upon
                    by Allergan are sales and marketing employees. Id.; see also
                    RX-3158C.24 (Mulhern WS) at Q/A128; See, e.g., Certain
                    Digital Processors and Digital Processing Systems, Inv. No.
                    337-TA-559, ID at 92-93 (May 11, 2007).

     Resps. Br. at 243.

            The Staff argues, in part:

                            In 2019, Allergan employed a total of [ ] domestic
                    full-time employees who perform work related to
                    manufacturing,      research   and    development,       and
                    commercialization of BOTOX and paid them a total
                    aggregated annual compensation (including salary, bonus,
                    and benefits) of [            ]. CX-0008C (Marzouk WS)
                    at ¶¶ 26–31. Information about these employees, including
                    their positions and annual compensation, is reflected in CX-
                    2340C, which is a spreadsheet of employment data from
                    [          ], Allergan’s human resources data management
                    system. CX-0008C at ¶ 27; CX-0018C (Malackowski WS)
                    at ¶¶ 71–72. These employees work across three Allergan
                    Divisions.

     Staff Br. at 127.

            The evidence demonstrates that Allergan has made significant domestic

     investments in the employment of labor and capital related to BOTOX® (constituting




                                                173
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 181 of 283 PageID# 280

                                        PUBLIC VERSION


     BOTOX® Cosmetic and BOTOX® therapeutic collectively) and in BOTOX® Cosmetic

     individually.

            There are [ ] full-time employees in the United States in the [

             ] who perform BOTOX® manufacturing-related job functions, such as API

     manufacturing, quality control, and other technical support work for the manufacturing of

     BOTOX®. CX-0008C at Q/A 29; CX-0018C at Q/A 72; CX-2340C (tab “Employee

     Details”). The work of these employees is exclusively with BOTOX®, and their total

     aggregated annual compensation (including salary, bonus, and benefits) is [                ].

     CX-0008C at Q/A 30; CX-2340C (tab “Employee Details”).

            Allergan employs [            ] full-time employees in the [

                           ] who include medical science liaisons, the senior vice president for

     the clinical development of BOTOX®, and others who work in clinical development and

     regulatory compliance for BOTOX®. CX-0008C at Q/A 29-30; CX-2340C (tab

     “Employee Details”). Their total aggregated annual compensation (including salary,

     bonus, and benefits) is [           ]. See id.; CX-0018C at Q/A 72.

            Allergan employs [ ] full-time employees in the United States in the [

             ] who perform job functions related to the commercialization of BOTOX®,

     including sales, physician education, business analytics, setting business strategy, and

     management of commercial operations. CX-0008C at Q/A 29-30; CX-2340C (tab

     “Employee Details”). Their total aggregated annual compensation (including salary,

     bonus, and benefits) is [             ]. Id. There are [    ] employees who work on

     BOTOX® therapeutic and do so exclusively. CX-2340C (tab “Employee Details,”

     Function “US Botox Therapeutic”). The remaining commercial employees are part of the



                                                 174
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 182 of 283 PageID# 281

                                                PUBLIC VERSION


     dedicated BOTOX® team, but they may have responsibilities beyond just the BOTOX®

     brand. However, the fact that some of them may have additional responsibilities does not

     change or alter the number of employees and the labor required to carry out all of the

     BOTOX® related activities necessary for the domestic industry.

               In addition to the employees discussed above, Allergan also employs a large

     number of R&D personnel who record their time on a project by project basis. CX-

     0008C at Q/A 32–35; CX-0018C at Q/A 73, 74. The number of these R&D personnel

     who recorded time to BOTOX® related projects was [                  ] in 2014, [   ] in 2015, [ ] in

     2016, [      ] in 2017, and [         ] in 2018. CX-0008C at Q/A 34; CX-2276C, CX-2277C,

     CX-2278C, CX-2279C, and CX-2280C (BOTOX® Actual Hours for 2014 to 2018,

     respectively). The cost of their labor is included in Allergan’s R&D investments and

     reflected in CX-2350C (BOTOX® R&D Data, tabs “Internal External Description” and

     “US&Int Botox”).

               Moreover, Allergan makes capital investments at [                        ]. CX-0008C at

     Q/A 36-47; CX-0018C at Q/A 55, 79; CX-2292C (Revised [                             ] ACER Report).

     From 2013 through Q1 2019, capital expenditures totaling [

                                                                                              ]. CX-

     0008C at Q/A 45; CX-0018C at Q/A 78, 79; CX-2308C (Capital Expenditures Report for

     [                ]).

               At [         ], recent capital expenditures include projects related to Allergan’s plans to

     [

                                                                                                ]. CX-

     0008C at Q/A 40–42. Evidence describing these capital investments includes a



                                                         175
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 183 of 283 PageID# 282

                                           PUBLIC VERSION


     PowerPoint presentation dated May 2018 that further explains the background, rationale,

     proposal and scope of the [                               ] and three related budget request

     forms: CX-1065C, CX-2287C, CX-2289C, CX-2291C. Evidence describing some of the

     capital expenditures occurring at [     ] includes three budget reports: CX-2286C, CX-

     2288C, and CX-2290C. Allergan recently invested approximately [

                                    ]. CX-0016C (Neervannan WS) at Q/A 30.

              Mr. Malackowski opined that Allergan has employed significant and substantial

     labor domestically related to BOTOX® and made significant capital expenditures related

     to BOTOX®, which each demonstrate that Allergan has a domestic industry in

     BOTOX®. CX-0018C at Q/A 26, 69, 70, 75, 78, 80, 81, 106. See Railway Wheels,

     Unreviewed ID at 80–81 (U.S. employees working on the manufacture and R&D of

     domestic industry products supported existence of domestic industry in a trade secret

     case).

                                c) Allergan’s Domestic Research and Development
                                   Investments Relating to BOTOX®

              Complainants argue, in part:

                             The unrebutted evidence shows that from 1992
                     through Q1 2019, Allergan invested [            ] in research
                     and development related to BOTOX®, of which [
                                        ] was invested domestically. CX-0008C
                     at Q/A 48-54; CX-0018C at Q/A 83; CX-2327C (BOTOX®
                     R&D Data, tab “US&Int Botox”); CX-2350C (BOTOX®
                     R&D Data, tab “US&Int Botox”). This includes R&D
                     related to improving Allergan’s manufacturing process,
                     expanding the number of cosmetic and therapeutic
                     indications approved by the FDA, and complying with FDA
                     regulatory requirements, including clinical testing required
                     by the FDA. CX-0016C at Q/A 10, 18-19, 32, 33, 35; CDX-
                     0009 (BOTOX® Domestic R&D Investment Expenses)
                     (CX-2350C, CX-2327C, CX-2385C); CX-1042 (process of
                     FDA approval process).


                                                 176
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 184 of 283 PageID# 283

                                     PUBLIC VERSION


                                        .       .       .

                        All costs directly associated with or allocated to
                 research and development are included in these investments.
                 CX-0008C at Q/A 53. Specifically, these R&D investments
                 include [




                                                                       ]. CX-
                 0008C at Q/A 53; CX-0018C at Q/A 85; CX-2350C
                 (BOTOX® R&D Data, tab “Internal External Description”).
                 Both internally allocated costs and external costs, including
                 those costs related to obtaining FDA approval, may be
                 credited to establish a domestic industry. See, e.g., Certain
                 Solid State Storage Drives, Inv. No. 337-TA-1097, Comm’n
                 Op. at 22–24, 2018 WL 4300500, at *14 (June 29, 2018)
                 (holding that payments for services rendered by independent
                 contractors or subcontractors may be credited in establishing
                 the existence of a domestic industry); see also CX-0018C at
                 Q/A 86.

                          Looked at in terms of hours, Mr. Malackowski
                 testified that between 2014 and 2018 alone, Allergan’s R&D
                 employees spent over [           ] aggregated research hours
                 in the United States working on BOTOX®-related R&D
                 projects. CX-0018C at Q/A 88; see also CX-2276C, CX-
                 2277C, CX-2278C, CX-2279C and CX-2280C. In 2018,
                 475 Allergan R&D employees expended [                ] hours
                 conducting R&D on all BOTOX®-related matters in the
                 United States. CX-0018C at Q/A 73, 88; CX-2276C, CX-
                 2277C, CX-2278C, CX-2279C, and CX-2280C; CX-2350C.

                         In addition, Allergan budgeted [               ] for its
                 active research and development projects related to
                 BOTOX® for 2019 and [                 ] for these projects over
                 the next ten years, the vast majority of which will be spent
                 in the United States. CX-0008C at Q/A 61-64; CX-2350C
                 (tab [                              ]); CX-0016C at Q/A 34,
                 38.

                        In light of the foregoing evidence, Mr. Malackowski
                 opined that Allergan’s investments in R&D are significant
                 and substantial, which demonstrate that Allergan has a
                 domestic industry in BOTOX®. CX-0018C at Q/A 25, 26,
                 44, 106. See also Rubber Resins ID at 623–24 (crediting


                                              177
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 185 of 283 PageID# 284

                                         PUBLIC VERSION


                   investments “in domestic research and development” in a
                   trade secret case to find that a domestic industry exists);
                   Hand Dryers ID at 38–42 (same); Certain Strontium-
                   Rubidium Radioisotope Infusion Sys., Inv. No. 337-TA-
                   1110, Initial Determination at 143 (Aug. 1, 2019)
                   (“Radioisotope Infusion Sys. ID”) (holding that investments
                   in R&D to obtain FDA approval constitute “a significant
                   employment of labor and capital in the United States.

     Compls. Br. at 222–25 (footnotes omitted).

            Respondents argue, in part:

                          Here, too, Complainants’ calculations are once again
                   beset with double-counting, date back more than 30 years,
                   and fail to distinguish between domestic and foreign
                   investments. The [

                                      ], which alone cannot form the basis of a
                   domestic industry.       See Certain Strontium-Rubidium
                   Radioisotope Infusion Systems, and Components Thereof
                   Including Generators, Inv. No. 337-TA-1110, Comm’n Op.
                   at 42, n.27 (Dec. 11, 2019),

     Resps. Br. at 243–44.

            The Staff argues, in part:

                           Allergan alleges that since the launch of BOTOX in
                   1989, it has invested close to [            ] in research and
                   development in the United States relating to BOTOX to
                   improve its manufacturing process, to expand the number of
                   cosmetic and therapeutic indications approved by the FDA,
                   and to comply with FDA regulatory requirements, including
                   clinical testing required by the FDA. CX-0008C (Marzouk
                   WS) at ¶ 48; CX-0016C (Neervanan WS) at ¶¶ 10, 18–19,
                   32–33, 35; CX-0018C (Malackowski WS) at ¶¶ 82–83; CX-
                   2327C (BOTOX R&D Data, tab “US&Int Botox”); CX-
                   2350C (BOTOX R&D Data, tab “US&Int Botox”); CX-
                   1042 (process of FDA approval process). In the Staff’s
                   view, the evidence shows that these research and
                   development activities can be attributed to the existence of a
                   domestic industry, even though they may not directly relate
                   to the alleged misappropriated trade secrets. See Rubber
                   Resins, ID at 621 (crediting investments “in domestic
                   research and development” in a trade secret case); Railway


                                                178
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 186 of 283 PageID# 285

                                        PUBLIC VERSION


                    Wheels, ID at 80–81 (crediting investments in R&D towards
                    a domestic industry in articles that were the target of the
                    accused railway wheels although the R&D was unrelated to
                    the asserted trade secrets).

     Staff Br. at 131.

            The evidence shows that, from 1992 through Q1 2019, Allergan invested [

           ] in research and development related to BOTOX®, of which [

              ] was invested domestically. CX-0008C at Q/A 48-54; CX-0018C at Q/A 83;

     CX-2327C (BOTOX® R&D Data, tab “US&Int Botox”); CX-2350C (BOTOX® R&D

     Data, tab “US&Int Botox”).25 This includes R&D related to improving Allergan’s

     manufacturing process, expanding the number of cosmetic and therapeutic indications

     approved by the FDA, and complying with FDA regulatory requirements, including

     clinical testing required by the FDA. CX-0016C at Q/A 10, 18-19, 32, 33, 35; CX-

     2350C, CX-2327C, CX-2385C; CX-1042 (process of FDA approval process).

            More recently, from 2014 to 2018, Allergan has invested [                ] in R&D

     related to BOTOX, of which [                      ] was invested domestically. CX-0008C

     at Q/A 55; CX-0018C at Q/A 83; CX-2350C (BOTOX R&D Data, tab “US&Int Botox”).

     See Hyosung TNS Inc. v. Int’l Trade Comm’n, 926 F.3d 1353, 1362 (Fed. Cir. 2019)

     (holding that “a past investment may, by virtue of its connection to ongoing . . . expenses,

     support a finding that the economic prong of the domestic industry requirement is met”).



     25
        The testimony and spreadsheet Allergan provided to demonstrate its investments in
     R&D (CX-2350C) includes a tab (“US&Int Botox”) which sets forth Allergan’s
     investments in “US” and “International” spending by year in different columns, the sums
     of which are identified in the spreadsheet along with the formulas used to “calculate,”
     i.e., sum, those investments. Complainants do not “double-count” any of Allergan’s
     investments, because they do not purport to aggregate the investments across different
     categories to present a single “domestic industry” number.


                                                 179
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 187 of 283 PageID# 286

                                      PUBLIC VERSION


            From 2014 through 2018, the evidence demonstrates that Allergan has invested

     [            ] in R&D related to BOTOX®, of which [                          ] was invested

     domestically. CX-0008C (Marzouk WS) at Q/A 55; CX-0018C (Malackowski WS) at

     Q/A 83; CX-2350C (BOTOX R&D Data, tab “US&Int Botox”). For the three approved

     BOTOX® Cosmetic indications alone, Allergan has invested [                   ] in domestic

     R&D. CX-0018C (Malackowski WS) at Q/A 84; CX-0008C (Marzouk WS) at Q/A 58.

            In view of the foregoing facts, the evidence demonstrates that Allergan has made

     significant domestic investments in research and development related to BOTOX

     (constituting BOTOX® Cosmetic and BOTOX® therapeutic collectively) and in

     BOTOX® Cosmetic individually.

                              d) Allergan’s Activities in Westport, Ireland Relating to
                                 BOTOX®

            Complainants argue, in part:

                           Given the significant and substantial domestic
                   investments highlighted above, Respondents argue that the
                   Administrative Law Judge should disregard or discount
                   those investments given that Allergan also maintains
                   activities outside of the U.S. But there is no “Commission
                   precedent supporting Respondents’ position or the
                   proposition that a comparison of domestic and foreign
                   producers’ assets must be performed,” particularly in a non-
                   statutory IP case such as this. Male Prophylactics Comm’n
                   Op at 43, n.15 (reversing the Judge’s holding that
                   complainant failed to establish domestic industry because it
                   failed to provide sufficient evidence comparing domestic
                   and foreign expenditures). Even the case Respondents cite
                   proves them wrong. Resps. Prehr’g Br. at 168 (citing
                   Carburetors Comm’n Op. at 8–9, 17–18).

                           In Carburetors, a statutory IP case, the Commission
                   reiterated its position that “comparing complainants’
                   domestic expenditures to its foreign expenditures is one of
                   the possible factors that the Commission could but, contrary
                   to Respondents’ argument, is not required to consider.”


                                               180
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 188 of 283 PageID# 287

                                      PUBLIC VERSION


                   Carburetors Comm’n Op. at 8–9 (emphasis added) (citing
                   Certain Optoelectronic Devices for Fiber Optic
                   Communications, Inv. No. 337-TA-860, Comm’n Op. at 18–
                   19 (May 9, 2014)). In fact, the Commission concluded that
                   in order to “place the value of domestic investments in the
                   context of the relevant marketplace,” rather than comparing
                   a complainants’ domestic expenditures to its foreign
                   expenditures or sales, one may “consider[] the value added
                   to the product from a complainant’s activities in the United
                   States” instead. Id. at 18. As discussed above and herein,
                   Allergan’s domestic activities indisputably provide
                   significant value add to the BOTOX product.

                                          .      .       .

                           In their pre-hearing brief, Respondents assert that
                   Allergan’s foreign investments “outweigh” the “relevant”
                   domestic investments, but there are at least two problems
                   with that argument. Resps. Prehr’g Br. at 169. First,
                   Respondents do not grapple with all of the undisputed
                   evidence cited above. Instead, Respondents cherry pick
                   Allergan’s domestic investments at [         ] to use in their
                   comparison to the Westport investments, which ignores all
                   the other domestic investments that Allergan has made that
                   are essential for the commercialization of BOTOX® and
                   results in a skewed analysis. Second, Respondents cite no
                   legal support for their suggestion that the domestic
                   investments must “outweigh” the foreign investments—and
                   Complainants are aware of none. To the contrary, in Certain
                   LED Lighting Devices, Inv. No. 337-TA-1081, Initial
                   Determination at 148, 2018 WL 7350925, at *84 (Dec. 19,
                   2018), the Judge determined that even if a complainants’
                   investments are “comparatively low in absolute numbers”—
                   which is not the case here—that “does not diminish the
                   significance of the investment to the DI products in context”
                   if the DI activities are “critical[] . . . to [complainant’s]
                   ability to commercialize the DI products.” Because of the
                   importance of Allergan’s United States operations and
                   because its aggregate domestic spending far exceeds the
                   foreign expenditures, a domestic industry exists
                   notwithstanding Allergan’s activities in Westport.

     Compls. Br. at 228–31.

            Respondents argue, in part:




                                                181
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 189 of 283 PageID# 288

                                    PUBLIC VERSION


                         In Carburetors, the Commission recognized that
                 there is no threshold monetary amount that dictates whether
                 a complainant has met its obligation to prove a domestic
                 industry. Rather, a complainant seeking to prove a relevant
                 domestic industry must perform an analysis of the relative
                 importance of the domestic activities in context.
                 Carburetors, Comm’n. Op. at 8; Lelo, 786 F.3d at 883-84.
                 Based upon this framework, the Commission in Carburetors
                 agreed with the ALJ that the complainants’ claimed U.S.
                 investments were not substantial when considered in the
                 context of the company’s worldwide sales of the product at
                 issue. See, e.g., id. at 17.

                         Here, Complainants admit that Allergan’s [         ]
                 campus in Ireland is “[
                                 ].” CX-2571C.8 (Allergan’s Third Responses
                 to Staff Interrogatories) at No. 1. Every BOTOX® product
                 must be finished and filled in Ireland before being imported
                 and sold in the U.S. RX-3158C.22 (Mulhern WS) at Q/A
                 114; See also JX-0037.27 (Allergan, Form 10-K, 2018)
                 (“manufacturing of BOTOX® . . .is exclusively performed
                 in Ireland.”)

                         Given this evidence, it is Complainants’ burden to
                 perform a detailed comparison of investments in BOTOX®
                 undertaken in the U.S. versus abroad. They have not done
                 so.     During discovery, Allergan produced limited
                 information about investments Allergan has made at its
                 Ireland facility; in fact, much of what Respondents know
                 about investments in Ireland comes from public sources. For
                 example, Allergan provided no information about the newest
                 expansion to the Ireland plant and related equipment, see
                 https://www.idaireland.com/newsroom/allergan-63-new-
                 jobs-westport; CX-008C.18 (Marzouk WS) at Q/A 73-77.
                 Indeed, Mr. Marzouk’s entire testimony about Ireland
                 consists of less than a page of highly general information.
                 Id. It is thus unsurprising that Mr. Malackowski has not
                 provided the necessary apples-to-apples analysis of
                 investments in the U.S. versus abroad. See, e.g., CPB at 164-
                 66; CX-0018C.39-40 (Malackowski WS) at Q/A 108
                 (summarizing Mr. Malackowski’s opinion that the “fill and
                 finish” process at Ireland is “largely automated,” but
                 offering no detailed financial information on costs to
                 undertake those activities).        On this basis alone,
                 Complainants have failed to meet their burden to show a
                 domestic industry that is substantial in context.


                                             182
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 190 of 283 PageID# 289

                                    PUBLIC VERSION


                         Moreover, the minimal analysis Mr. Malackowski
                 has performed is misleading or lacking in any evidentiary
                 basis. For example, Mr. Malackowski has improperly
                 inflated U.S. investments by including alleged BOTOX®
                 R&D starting 27 years ago, which (even if it is a cognizable
                 activity under subsection (a)(1)(A)(i)) is [
                                                                       ]— of
                 the total claimed U.S. investments.           CX-0018C.13
                 Malackowski WS) at Q/A 44; CPB at 166. In addition,
                 Allergan’s plant and equipment in Ireland far outweigh the
                 U.S. investments in manufacturing [
                                                           ], even crediting
                 Complainants’ flawed and inflated estimates. RX-3158.23,
                 25 (Mulhern WS) at Q/A 120, 130; CX-0018C.22-23
                 (Malackowski WS) at Q/A 67; CX-2345C (Fixed Asset
                 Register June 2019). Thus, the foreign investments relating
                 to BOTOX® manufacturing significantly outweigh any
                 domestic investments. Yet Mr. Malackowski does not take
                 this fact into account.

                         Mr. Malackowski also fails to properly examine the
                 value added to BOTOX® in the United States versus abroad.
                 See, e.g., Schaper, 717 F.2d at 1373 (rejecting domestic
                 industry allegations where “not enough significant value
                 [was] added domestically to the [domestic industry
                 products]” by complainant’s domestic activities). As an
                 initial matter, Complainants cannot show that the alleged
                 costs and investments relating to U.S. BOTOX® API
                 activity adds meaningful, let alone sufficient, value to the
                 final imported BOTOX® product to support a finding of
                 domestic industry, as Complainants refused to produce any
                 discovery relating to its API. Order No. 24 at 2-3. The only
                 “evidence” Complainants have presented of value
                 contribution to BOTOX® in the U.S. versus abroad comes
                 in the form of unsupported testimony of Allergan executive
                 Dr. Sesha Neervannan. After the close of fact discovery, Dr.
                 Neervannan stated that in his view the API for BOTOX®
                 [
                               ]. CX-0016C.7 Neervannan WS) at Q/A 22.
                 Allergan and Dr. Neervannan provided no analysis, data, or
                 documentation to support this arbitrary calculation. Worse,
                 this estimate is contradicted by Allergan documents that
                 show the API contributes [
                                                ]. See, e.g., RX-2442C.39
                 [
                                                               ].


                                             183
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 191 of 283 PageID# 290

                                        PUBLIC VERSION


     Resps. Br. at 237–40.

            Mr. Malackowski testified that the contribution of the BOTOX®-related activities

     that occur at Westport to the BOTOX® product is substantially less than the contribution

     of Allergan’s U.S.-based activities, because the “finish and fill” processes at Westport,

     Ireland are [

                             ]. CX-0018C at Q/A 108; CX-0016C at Q/A 20. Dr. Neervannan

     testified that the domestically-manufactured API accounts for [

                                             ]. CX-0016C at Q/A 22. Thus, Allergan’s

     domestic operations are qualitatively significant in comparison to its foreign operations.

            Moreover, the labor expenses for BOTOX® incurred at Westport are [

     ] than those incurred domestically. Allergan’s direct labor expenses for BOTOX® at

     Westport were [           ] in 2017 and [           ] in 2016. CX-0008C at Q/A 77; CX-

     0018C at Q/A 108; CX-2315C (Westport BOTOX® Spend). By contrast, Allergan’s

     annual domestic labor expenses for just its full-time employees who work on BOTOX®

     (excluding the vast majority of its R&D personnel) is more than [               ].

            Although the overhead expenses at the Westport facility [




                                                                                          ]. CX-

     0008C at Q/A 74; CX-0018C at Q/A 108.

            The acquisition value of the BOTOX®-related assets at Westport was

     approximately [                ], capitalized from 2001 to 2019, with a current book value

     of approximately [              ] as of June 30, 2019. CX-0008C at Q/A 75-76; CX-



                                                 184
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 192 of 283 PageID# 291

                                       PUBLIC VERSION


     2345C and CX-2347C (Fixed Asset Register for BOTOX®). This is only a fraction of

     the amount Allergan has invested in BOTOX® domestically. Allergan’s investments in

     domestic research and development from 1992 to Q1 2019, domestic plant and

     equipment, and just one years’ worth of domestic employee salaries exceed [                ].

     Viewed in context, the administrative law judge finds that Allergan’s operations in

     Ireland do not negate Allergan’s significant and substantial investments in the domestic

     industry. Cf. Certain Carburetors and Prods. Containing Such Carburetors, Inv. No.

     337-TA-1123, Comm’n Op. at 18–20 (Oct. 28, 2019).

                    2.     Allergan’s Investments Relating to MT10109L

            Complainants argue, in part:

                            Allergan has already invested significant resources
                    related to MT10109L, expressed in terms of costs,
                    employees, and hours. CX-0008C at Q/A 81-88; CX-0018C
                    at Q/A 99-104; CX-2350C (tab “Annual Medytox”); CX-
                    2327C (tab “Annual Medytox”); see also Radioisotope
                    Infusion Sys. ID at 143 (holding that investments in R&D to
                    obtain FDA approval constitute “a significant employment
                    of labor and capital in the United States”).

                            From 2013 through Q1 2019, Allergan invested
                    [             ] in MT10109L-related R&D, of which [
                           ] was spent domestically. CX-0008C at Q/A 83; CX-
                    2350C (tab “Annual Medytox”); CX-0018C at Q/A 100.
                    Allergan’s R&D work for MT10109L includes the
                    [
                                                               ], virtually all of
                    which occurs at Allergan’s facilities in [                  ].
                    CX-0016C at Q/A 51-56; see also CX-0018C at Q/A 101.
                    And Allergan employs numerous R&D personnel who
                    allocate their time between MT10109L and non-MT1019L
                    projects—[ ] employees in 2014, [ ] in 2015, [ ] in 2016, [ ]
                    in 2017, and [ ] in 2018. Id. at Q/A 102; CX-0008C at Q/A
                    79-82; CX-2276C, CX-2277C, CX-2278C, CX-2279C, and
                    CX-2280C.




                                                 185
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 193 of 283 PageID# 292

                                       PUBLIC VERSION


                           Mr. Malackowski presented unrebutted testimony
                   and his analysis that between 2014 and 2018, these research
                   and development employees spent over [         ] aggregated
                   hours on R&D relating to MT10109L in the United States.
                   CX-0018C at Q/A 103.

                                           .       .       .

                           Allergan budgeted [             ] for its R&D
                   projects related to MT10109L for 2019, of which [
                          ] is budgeted for [                 ]. CX-0008C
                   at Q/A 86; CX-2350C (tabs “Annual Medytox” and “Internal
                   External (Medytox)”); CX-0018C at Q/A 100; CX-0016C at
                   Q/A 56.       [            ] of this money was spent
                   domestically. See CX-0016C at Q/A 56.

                           Mr. Malackowski opined that based on the foregoing
                   investments, Allergan has established a domestic industry in
                   MT10109L, irrespective of whether MT10109L is presently
                   available for commercial sale. CX-0018C at Q/A 99, 105-
                   06. Commission precedent confirms that “commercial
                   availability . . . is not necessary to show . . . that a domestic
                   industry exists,” nor is FDA approval. Radioisotope
                   Infusion Sys. ID at 132‒35; id. at 149 (“Even without FDA
                   approval, however, Bracco’s industry presently exists.”); see
                   also Certain Road Constr. Machs., Inv. No. 337-TA-1088,
                   Initial Determination at 74-76 (Feb. 14, 2019) (domestic
                   industry exists even without commercial sales of the
                   machines incorporating the patented technology); cf. Certain
                   Non-Volatile Memory Devices, Inv. No. 337-TA-1046,
                   Comm’n Op. at 39-44, 2018 WL 6012622, at **25-27 (Oct.
                   26, 2018) (finding a domestic industry “in the process of
                   being established” based on the complainant’s “substantial
                   investments in research, development, and engineering,”
                   even though it “has not yet arrived at the final stages of
                   commercializing” the product).

     Compls. Br. at 231–34.

            Respondents argue, in part:

                          MT10109L is manufactured exclusively in Korea
                   and imported into the United States by Allergan. RX-
                   2967C.6 (Medytox’s Responses to Daewoong’s Third
                   RFAs). Complainants have claimed two categories of
                   Allergan “investments” in MT10109L: first, the payments
                   Allergan has made or will make to Medytox under the 2013


                                                 186
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 194 of 283 PageID# 293

                                    PUBLIC VERSION


                 Agreement, in exchange for the right to commercialize
                 MT10109L for sale; and second, costs associated with FDA
                 R&D and regulatory approval.        Neither category is
                 cognizable.

                         With respect to the upfront and milestone payments
                 Allergan has pledged under the 2013 Agreement, these
                 represent investments by a mere importer (Allergan) in order
                 to sell and market an imported product made by Medytox.
                 RX-3158C.18 (Mulhern WS) at Q/A 102. The Commission
                 has never before considered in-licensing payments,
                 particularly payments to a foreign entity, to be a valid basis
                 for a domestic industry, and it should not start now.

                         Complainants’ claimed FDA R&D and regulatory
                 activities, are likewise performed by a mere importer and
                 cannot constitute a domestic industry on their own. Because
                 a domestic industry under subsection (a)(1)(A)(i) must relate
                 to     domestic     manufacturing,     Allergan’s    alleged
                 R&D/regulatory investments in MT10109L fail as a matter
                 of law.

                                       .       .       .

                         Even if Allergan’s investments in MT10109L FDA
                 R&D are considered relevant, which they are not, they are
                 not qualitatively or quantitatively significant, and thus
                 cannot support a domestic industry. For example, there is
                 [
                             ] (CPB at 167), and Complainants’ expert Mr.
                 Malackowski has not provided any credible allocation of the
                 extent to which the Allergan employees who work on
                 MT10109L as well as other products spend their time on the
                 former as opposed to the latter. RX-3158C.19 (Mulhern
                 WS) at Q/A97. Moreover, Mr. Malackowski opted not to
                 compare Allergan’s U.S. investments in MT10109L to
                 worldwide development spending for the product. Id. at Q/A
                 99. Medytox’s interrogatory responses suggest that it has
                 spent at least [                         ] in Korea in support
                 of its development and manufacturing of MT10109L — a
                 fact that Mr. Malackowski failed to consider entirely. See,
                 e.g., CX-2575C.16-19 (Medytox’s R&O’s to Staff’s First
                 Set of Interrogatories) at No. 6 (claiming [
                        ] of investments by Medytox in R&D and
                 manufacturing of MT10109L in Korea); RX-3158C.20
                 (Mulhern WS) at Q/A 100. Allergan is a mere importer of
                 MT10109L, and its meager domestic activities cannot


                                              187
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 195 of 283 PageID# 294

                                         PUBLIC VERSION


                   support a domestic industry in this context. See Corning
                   Glass Works v. Int’l Trade Comm’n, 799 F.2d 1559, 1569-
                   70 (Fed. Cir. 1986) (“Corning Glass”) (refusing to allow an
                   intellectual property owner to “merely license the
                   importation of products from abroad and claim injury within
                   the meaning of section 337 to exclude unlicensed imports,
                   despite having contributed little or nothing in the way of
                   opportunities for employment of our industrial workers, one
                   of the stated objectives of the Tariff Act of 1930”); Certain
                   Carburetors & Prods. Containing Such Carburetors, Inv.
                   No. 337-TA-1123, Comm’n Op. at 18 (Oct. 28, 2019)
                   (“Carburetors”) (discussing the importance of performing a
                   contextual analysis of domestic industry).

                         Finally, none of the R&D investments Mr.
                   Malackowski claims in MT10109L [

                              ] relate to the asserted trade secrets or have any
                   documentary support, rendering them non-cognizable. RX-
                   3158C.19 (Mulhern WS) at Q/A 98. See also Certain
                   Strontium-Rubidium Radioisotope Infusion Systems, and
                   Components Thereof Including Generators, Inv. No. 337-
                   TA-1110, Comm’n Op. at 42, n.27 (Dec. 11, 2019)
                   (“…efforts to obtain regulatory approval may not on their
                   own distinguish a complainant’s activities from those of an
                   importer.”) For these reasons, even if Allergan’s R&D-
                   related investments in MT10109L can be considered, they
                   do not amount to a domestic industry.

     Resps. Br. at 233–35.

            The Staff argues, in part:

                          Allergan partnered with Medytox in 2013 to develop
                   and introduce MT10109L to the U.S. market. CX-0016C
                   (Neervanan WS) at ¶ 39; see also JX-0050C (Allergan-
                   Medytox License Agreement). Since 2013, Allergan has
                   paid Medytox [
                             ] and has agreed to pay Medytox [
                                                               ]. CX-0018C
                   (Malackowski WS) at ¶ 104; CX-2237C (Burke email (Mar
                   6, 2018)).

                                          .      .      .




                                               188
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 196 of 283 PageID# 295

                                        PUBLIC VERSION


                            The evidence demonstrates that Allergan has made
                    significant domestic investments in research and
                    development related to MT10109L.

     Staff Br. at 133–35.

            The evidence shows that Allergan has invested significant resources related to

     MT10109L, expressed in terms of costs, employees, and hours. CX-0008C at Q/A 81-

     88; CX-0018C at Q/A 99-104; CX-2350C (tab “Annual Medytox”); CX-2327C (tab

     “Annual Medytox”).

            From 2013 through Q1 2019, Allergan invested [                 ] in MT10109L-

     related R&D, of which [                ] was spent domestically. CX-0008C at Q/A 83;

     CX-2350C (tab “Annual Medytox”); CX-0018C at Q/A 100. Allergan’s R&D work for

     MT10109L includes [

                                                     ] of which occurs at Allergan’s facilities

     in [                   ]. See CX-0016C at Q/A 51-56; CX-0018C at Q/A 101. Allergan

     employs numerous R&D personnel who allocate their time between MT10109L and non-

     MT1019L projects—[ ] employees in 2014, [ ] in 2015, [ ] in 2016, [ ] in 2017, and [ ]

     in 2018. Id. at Q/A 102; CX-0008C at Q/A 79-82; CX-2276C, CX-2277C, CX-2278C,

     CX-2279C, and CX-2280C.

            Allergan also employs numerous R&D personnel who allocate their time between

     MT10109L and non-MT1019L projects—[ ] employees in 2014, [ ] in 2015, [ ] in 2016,

     [ ] in 2017, and [ ] in 2018. CX-0008C at Q/A 79–82; CX-0018C at Q/A 102; CX-

     2276C – CX-2280C (BOTOX® Actual Hours for 2014 to 2018, respectively). Between

     2014 and 2018, these R&D employees spent over [          ] aggregated hours on R&D

     relating to MT10109L in the United States.



                                               189
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 197 of 283 PageID# 296
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 198 of 283 PageID# 297

                                       PUBLIC VERSION


            In addition, the Commission must also consider the competitive environment,

     such as whether the accused products are sold in the same channels of commerce, target

     the same market segment, and/or are positioned as the same or similar products as the

     domestic industry products. Rubber Resins, Comm’n Op. at 64. Based on an assessment

     of these factors, and “[w]here unfair methods and acts have resulted in conceivable loss

     of sales, a tendency to substantially injure such industry has been established.” Railway

     Wheels, Unreviewed ID at 82 (quoting Electric Power Tools ID at 248–49).

                    1.     Lost sales of and profits from BOTOX®

            Complainants argue, in part:

                            The evidence proffered with respect to each of the
                    relevant factors demonstrates that there has already been a
                    significant injury to Complainants’ domestic industry for
                    BOTOX® and that there will continue to be further injury if
                    Respondents are not enjoined from further importation and
                    sale of the Accused Products in the United States. The fact
                    that Respondents chose not to cross-examine any of the
                    Allergan fact witnesses, nor Complainants’ economic
                    expert, on Complainants’ claims of injury highlights how
                    clear and pervasive the injury is in this case.

                                           .      .      .

                            Jeuveau was launched in the United States in May
                    2019 with the specific intent of competing with and taking
                    market share from BOTOX® Cosmetic. Evolus has already
                    imported a significant volume of Jeuveau [
                                   ] into the United States. CX-1704C (Sabad
                    Dep.) at 78:7-15, 94:17-25, 97:7-98:16, 144:6-13; CX-
                    2440C (Evolus Forecast); CX-2535C (YC Kim Dep.) at
                    119:8-122:5, 122:14-124:25, 126:15-128:9. These vials
                    directly compete with BOTOX® and are sold or distributed
                    using the same marketing channels that Allergan uses to sell
                    BOTOX®. CX-0009C (McKenna WS) at Q/A 35-39, 50;
                    see Railway Wheels ID at 84 (finding substantial injury to a
                    domestic industry where “[t]he evidence demonstrates that
                    respondents are using the same marketing channels that
                    Amsted uses to sell railway wheels”).



                                                191
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 199 of 283 PageID# 298

                                    PUBLIC VERSION


                         According to Evolus, Jeuveau “was designed from
                 the outset to compete with the market leader”—
                 i.e., BOTOX®. CX-2381C.8 (Evolus Analyst/Investor Day
                 Transcript); CX-1705C (Moatazedi Dep.) at 178:20-179:7;
                 CX-1247.2 (Mad Money Transcript). In that regard, Evolus
                 has formulated and executed a marketing strategy “to
                 capture market share against [A]llergan.” CX-2428.2
                 (Evolus Commercial Strategy). Evolus [


                                     ]. CX-2419C.2 (Evolus Board Slides);
                 Hr’g Tr. (Moatazedi) at 907:10-908:10; see also CX-2535C
                 (YC Kim Dep.) at 145:15-25 (reading an email (CX-0909C)
                 from Daewoong’s CEO referencing [
                                                   ]; CX-0909C.1 (S.H. Jeon
                 Email, 9/27/18) (stating that Daewoong was [
                                                                  ]). Evolus’s
                 CEO, David Moatazedi, agreed at the Hearing that “because
                 Allergan is the market leader, it makes sense for [Evolus] to
                 focus one of your marketing efforts against Allergan.” Hr’g
                 Tr. (Moatazedi) at 908:2-10 (“And naturally, you’re going
                 to focus on the gold standard [i.e., Allergan] rather than the
                 second or third player in the market.”); see also Certain
                 Light-Emitting Diode Prods., Inv. No. 337-TA-947, Initial
                 Determination at 482-83 (July 29, 2016) (“Light-Emitting
                 Diode Prods. ID”) (finding substantial injury to a domestic
                 industry where “Respondent and Complainant are rivals for
                 consumer dollars” and the “[e]vidence also suggests that Feit
                 Respondents do consider themselves to be in competition
                 with Complainant because they ‘benchmark’ their LED
                 products against Complainant’s [and] . . . . appeal to
                 customers by comparing their products to Complainant’s”).

                         Evolus promotes Jeuveau as “the first real competitor
                 to BOTOX®.” Hr’g Tr. (Moatazedi) at 913:7-12; CX-
                 2377C.2 (Evolus Leadership Summit). Principally, as
                 explained above, Jeuveau is the first and only 900 kDa
                 alternative to BOTOX® in the United States. CX-0009C
                 (McKenna WS) at Q/A 26; Hr’g Tr. (Moatazedi) at 911:7-
                 12. Mr. Moatazedi (who until May 2018 served as
                 Allergan’s Vice President of Sales and Marketing for Facial
                 Aesthetics) refers to the 900 kDa molecule as the “scientific
                 gold standard” among botulinum toxins. CX-1705C
                 (Moatazedi Dep.) at 45:24-46:10; Hr’g Tr. (Moatazedi) at
                 911:13-912:9. Evolus views the 900 kDa molecule of
                 Jeuveau as a key factor in competing with BOTOX®


                                              192
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 200 of 283 PageID# 299

                                    PUBLIC VERSION


                 Cosmetic. CX-0018C (Malackowski WS) at Q/A 147-48;
                 CX-2604C.6 (Errata); CX-1241.4 (Evolus Q2 2019
                 Earnings Call) (describing the 900 kDa molecule as a key
                 factor in converting customers from BOTOX® Cosmetic to
                 Jeuveau); Hr’g Tr. (Moatazedi) at 911:13-17 (“Q. And as
                 part of your marketing to physicians, Evolus points this out
                 because you believe that the 900 kilodalton products,
                 BOTOX® and Jeuveau, are the gold standard for this type
                 of product? A. That’s correct.”).

                         The BTX products competing with BOTOX®
                 Cosmetic prior to Jeuveau—Dysport® and Xeomin®—have
                 struggled because they behave differently as a result of not
                 being 900 kDa products. See CX-0009C (McKenna WS) at
                 Q/A 20, 23; Hr’g Tr. (Moatazedi) at 911:13-24. Dysport®
                 is diluted and dosed differently than BOTOX® Cosmetic,
                 and thus has different diffusion characteristics, and
                 Xeomin® is known not to last as long as BOTOX®
                 Cosmetic. CX-0009C (McKenna WS) at Q/A 17, 19‒21, 23;
                 CX-2218C (Competitive Analysis of Dysport®); CX-2219C
                 (Competitive Analysis of Xeomin®); CX-0018C
                 (Malackowski WS) at Q/A 147-48; CX-2604C.6 (Errata).
                 Neither product is viewed as a true alternative to BOTOX®
                 Cosmetic. CX-0018C (Malackowski WS) at Q/A 148; CX-
                 2604C.6 (Errata).

                         Jeuveau, by contrast, is promoted by Evolus as a
                 “frictionless alternative” to BOTOX® Cosmetic. See CX-
                 2256.14 (Evolus Analyst Day Presentation). The similarities
                 between the Jeuveau and BOTOX® Cosmetic 900 kDa toxin
                 complexes enable Jeuveau to be similar, if not identical, to
                 BOTOX® Cosmetic in terms of preparation and dosing,
                 allowing physician customers of BOTOX® Cosmetic to
                 easily transition to Jeuveau. CX-0018C (Malackowski WS)
                 at Q/A 152; CX-2604C.6-7 (Errata); CX-2299C (Goldman
                 Sachs Report); Hr’g Tr. (Moatazedi) at 910:19-911:6.
                 Evolus further promotes the similarities between Jeuveau
                 and BOTOX® through a “head-to-head” study that Evolus
                 designed showing “non-inferiority” of Jeuveau to BOTOX®
                 Cosmetic. CX-2256.37 (Evolus Analyst Day Presentation);
                 Hr’g Tr. (Moatazedi) at 908:12-909:23. According to
                 Evolus, this study has been “critical to the success Jeuveau
                 has achieved so far,” “giv[ing] confidence to the market and
                 the performance of the product, relative to [BOTOX®].”
                 CX-1705C (Moatazedi Dep.) at 115:22-116:8; Hr’g Tr.
                 (Moatazedi) at 909:2-23. Notably, Evolus has not performed


                                             193
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 201 of 283 PageID# 300

                                       PUBLIC VERSION


                   comparative studies between Jeuveau and any other BTX
                   products on the market, [                   ]. Hr’g Tr.
                   (Moatazedi) at 909:24-910:1; CX-1705C (Moatazedi Dep.)
                   at 50:19-51:7, 116:9-11.

                           Furthering Jeuveau’s ability to compete with the
                   Domestic Industry Products is the fact that many key
                   members of Evolus’s management team (including Mr.
                   Moatazedi himself) are former high-level Allegan
                   employees with significant BOTOX® experience. See CX-
                   0018C (Malackowski WS) at Q/A 149-50; CX-2604C.6
                   (Errata); Hr’g Tr. (Moatazedi) at 897:6-17. In fact, six of the
                   nine members of Evolus’s management team are former
                   Allergan employees, including Evolus’s President and CEO
                   (David Moatazedi), the Vice President of Corporate
                   Communications & PR (Crystal Muilenburg), Vice
                   President of Sales (Kurt Knab), CFO and VP of Business
                   Development (Lauren Silvernail), Chief Medical Officer and
                   Head of R&D (Rui Avelar), and Chief Marketing Officer
                   (Michael Jafar). CX-0018C (Malackowski WS) at Q/A 149-
                   50; CX-2604C.6 (Errata). All of these individuals – and
                   especially those with senior executive-level knowledge of
                   and experience with BOTOX® – give Evolus valuable
                   insight that allows Evolus to compete more effectively with
                   Allergan. For example, as recently as early 2018, Mr.
                   Moatazedi was “the most senior person in the company
                   [Allergan] with direct responsibility for BOTOX®
                   Cosmetic” and was thus “privy to all strategic thinking and
                   planning . . . with regard to the commercial side of
                   BOTOX® Cosmetic[.]” Hr’g Tr. (Moatazedi) at 897:9-17.
                   Significantly, one of the last things Mr. Moatazedi did before
                   leaving Allergan was to assess the competitive threat to
                   BOTOX® posed by Evolus. Id. at 897:18-898:5. Third
                   party analysts have recognized the competitive advantage
                   Evolus gains from the former Allergan employees. For
                   example, Goldman Sachs reported that, “Evolus’
                   management team consists almost exclusively of former
                   Allergan employees, suggesting expertise in the field and a
                   track record of success.” CX-2299C.7 (Goldman Sachs
                   Report); CX-0018C (Malackowski WS) at Q/A 149-50; CX-
                   2604C.6 (Errata).

     Compls. Br. at 237–41 (footnote omitted).

            Respondents argue, in part:




                                                 194
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 202 of 283 PageID# 301

                                     PUBLIC VERSION


                         As discussed above, BOTOX® is not an appropriate
                 domestic industry product, since it bears no connection
                 whatsoever to the trade secrets or the conduct at issue in this
                 case. But even if BOTOX® can be considered for domestic
                 industry and injury purposes, Complainants have not shown
                 that, in the few months since Jeuveau® has been on the
                 market, it has substantially injured BOTOX®. To the
                 contrary, as recently released Allergan financials for 2019
                 make clear, BOTOX® sales and revenues continue to rise,
                 consistent with [                                     ]. RX-
                 3564.3 (Allergan Q4 and YE 2019 Financial Results). An
                 analysis of the various factors relevant to actual injury
                 follows.

                                        .       .       .

                         As of the close of fact discovery on July 17, 2019,
                 Evolus had sold a total of only [       ] units of Jeuveau®.
                 CX-0018C.42 (Malackowski WS) at Q/A 118; RX-
                 3158C.33 (Mulhern WS) at Q/A 169; RDX-0001C.9
                 (Mulhern Demonstrative); RX-3055C (Mulhern Exhibit 30);
                 CX-2451.709 (Email re Daily sales report), CX-2429C.479
                 (Slides re Evolus June Forecast); RX-0562 (Allergan 10-Q,
                 June 30, 2019), RX-0561.54, 60 (Allergan 2018 10-K).
                 These sales are just [            ] of worldwide BOTOX®
                 revenue. Id. This small volume and low level of market
                 penetration is not substantial.         See, e.g., Certain
                 Combination Locks, Inv. No. 337-TA-45, Comm’n Op. at 9-
                 10 (Feb. 16, 1979) (“Combination Locks”) (rejecting 2% of
                 Complainant’s production as non-substantial).

                         Now that both Evolus’ and Allergan’s FY 2019
                 financials are in, a comparison of actual 2019 revenues for
                 Jeuveau® versus BOTOX® is possible. In 2019, Evolus
                 made $33.3 to $34.3 million in revenue from Jeuveau® sales
                 in the United States, and Allergan made in total $3.79 billion
                 in revenue from BOTOX® sale — $991.3 million from
                 domestic sales of BOTOX® Cosmetic, $671.7 million in
                 international sales of BOTOX® Cosmetic, $1.74 billion
                 from domestic sales of BOTOX® Therapeutic, and $389.1
                 million     in     international   sales    of     BOTOX®
                 Therapeutic. Compare CX-2617.1-5 (Evolus Q4 2019
                 Revenue Announcement) with RX-3564.10 (Allergan Q4
                 2019 Results). Conservatively, Evolus’ 2019 domestic
                 revenues from Jeuveau® are approximately 0.9% of
                 Allergan’s worldwide 2019 BOTOX® revenue, less than



                                              195
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 203 of 283 PageID# 302

                                    PUBLIC VERSION


                 1.3% of Allergan’s U.S. BOTOX® revenue, and less than
                 2% of Allergan’s U.S. BOTOX® Cosmetic revenue. Id. In
                 other words, even with several more months of sales data,
                 the penetration rate is still minimal.

                         Moreover, Allergan’s sales have continued to grow,
                 significantly, since Jeuveau® entered the market. RX-
                 3158C.33-34 (Mulhern WS) at Q/A 173; RDX-0001C.9
                 (Mulhern Demonstrative); See supra at Section VII.E.4.a.
                 Allergan’s 2019 data shows that its domestic BOTOX®
                 Cosmetic sales grew by 9.3% in 2019, [
                                         ]. RX-3564.3 (Allergan Q4 and YE
                 2019 Financial Results); RX-3158.34, 48 (Mulhern WS) at
                 Q/A 176, 270-271; RX-3400.1 (Allergan’s 3rd Quarter
                 Financial Results); RX-0097C.79 [
                             ].

                                       .       .       .

                         Jeuveau® is only FDA-approved for cosmetic
                 indications, not for therapeutic. There is no evidence of off-
                 label usage of Jeuveau® for therapeutic applications, and
                 testimony by Allergan executive Colleen McKenna suggests
                 that [
                                               ]. RX-3004C.6-7, 9 (McKenna
                 Dep. Desg. at 24:21-25:16, 33:19-25). Sales of Jeuveau®
                 therefore cannot displace any BOTOX® Therapeutic and
                 there is no evidence that it has. RX-3158.31 (Mulhern WS)
                 at Q/A 166.

                          As for BOTOX® Cosmetic, Complainants’ expert
                 Mr. Malackowski suspects Jeuveau® may reach [ ] market
                 share (based on internal Evolus projections from the time of
                 the product’s launch), and that a full [    ] of that market
                 share would come at the expense of BOTOX®.              CX-
                 0018C.43-44, 48 (Malackowski WS) at Q/A 128-132, 139-
                 140. These aggressive estimates are belied by the evidence
                 of how Jeuveau® actually has fared and how it has generated
                 its sales.

                        First, Evolus CEO Mr. Moatazedi testified at the
                 evidentiary hearing that Jeuveau® has reached, at most, a
                 7.5% market share in unit terms — [
                                            ]. Hearing Tr. 902:23-903:1.
                 Second, Mr. Malackowski’s assumption that [
                                                                ] cannot be
                 reconciled with the evidence that a substantial amount of


                                              196
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 204 of 283 PageID# 303

                                    PUBLIC VERSION


                 Jeuveau®’s sales come at the expense [

                                                    ].   For example, internal
                 Allergan documents [



                            ]. RX-0552C.26 (Allergan Corporate Overview
                 presentation). Even Allergan’s CEO, Brent Saunders stated,
                 at a public conference, “[H]onestly, how do you guys think
                 that this competition [with Jeuveau®] is going to heat up.
                 They’re not going to go after us [BOTOX®]. They have to
                 go after Dysport and Xeomin . . . ” RX-2382.15 (Transcript
                 of Citi Global Healthcare Conference) (emphasis added).

                        In January 2020, RBC Capital Markets released a
                 survey of the facial toxin market, based on a series of
                 questions to 50 physicians. Among the findings of the
                 survey was that “Most of Jeuveau®’s overall market share
                 gains have come largely from Dysport and XEOMIN, with
                 BOTOX® relatively unaffected.” RX-3561.3 (RBC Capital
                 Markets - Deep dive into BOTOX®). Internal data from
                 [                                    ]. RX-3158C.33-35
                 (Mulhern WS) at Q/A 184-95; Hearing Tr. 938:12-19.

                        In addition, it is undisputed that the market for
                 botulinum toxin products is growing; that BOTOX®’s sales
                 have increased every year for the last several years; and that
                 Allergan expects continued growth of BOTOX® sales in the
                 [               ]. RX-3158C.49 (Mulhern WS) at Q/A 282;
                 RX-3400 (Allergan Q3 2019 Financial Results); RDX-
                 0001C.16 (Mulhern Demonstrative); RX-3148C (Mulhern
                 Exhibit 14); CX-2334C [
                                                        ], at tab 'Botox Cx.’.
                 Complainants have provided no evidence rebutting the
                 plausible assumption that many of Jeuveau®’s sales are
                 coming from completely new customers to the market (i.e.,
                 the “toxin naïve”) — an outcome very much in line with
                 Evolus’ marketing strategy. RX-3158.46 (Mulhern WS) at
                 Q/A 257-260; RX-0540C.2 (Aesthetic Insights Article); RX-
                 3162C.8-9, 13 (Moatazedi WS) at Q/A 46-47, 68.

                        Allergan also employs a variety of bundling and
                 discounting tools to ensure that its providers and customers
                 are [                                                     ].
                 See supra at Section II.G.1.b. These Allergan strategies



                                              197
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 205 of 283 PageID# 304

                                         PUBLIC VERSION


                    have contributed to the fact that to date, Jeuveau® sales
                    [
                           ].

                           Mr. Malackowski’s counterfactual assumptions are
                    no substitute for detailed evidence of what portion of
                    Jeuveau® sales, if any, have displaced BOTOX® Cosmetic
                    sales. Given Complainants’ failure to provide a credible
                    estimate of lost BOTOX® Cosmetic sales to Jeuveau®, the
                    countervailing evidence suggesting limited displacement of
                    BOTOX® Cosmetic, and no evidence of any lost BOTOX®
                    Therapeutic sales, this factor weighs strongly against a
                    finding of actual substantial injury to the alleged BOTOX®
                    domestic industry.

     Resps. Br. at 250–54 (footnotes omitted).

            The Staff argues, in part:

                           Complainants proffered evidence to demonstrate a
                    nexus between the misappropriation of the asserted Medytox
                    trade secrets by Daewoong in the importation of accused
                    products into the United States, or in the sale of the imported
                    accused products by Respondents, to the injury to the
                    domestic industry suffered by Complainants. 19 U.S.C. §
                    1337(a)(1)(A)(i).       Complainants presented evidence
                    regarding injury, or a threat of injury, in the following
                    categories: (1) lost sales or profits (CPB 174–79) and (2)
                    price erosion (CPB at 179–84). The evidence satisfies
                    Complainants’ burden of showing actual and/or threat of
                    substantial injury to the alleged domestic industry.

     Staff Br. at 135.

            The administrative law judge finds that complainants have suffered an actual

     injury to the BOTOX® domestic industry. The evidence demonstrates that Jeuveau®’s

     2.61% market share came entirely at the expense of BOTOX® Cosmetic. CX-0018C at

     Q/A 112–17; CX-2433. Each percentage point of lost market share represents more than

     [            ] in lost profit per year for Allergan. CX-0018C at Q/A 112–17; CX-0009C

     (McKenna WS) at Q/A 82–85. Thus, a 2.61% loss in market share for BOTOX®




                                                 198
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 206 of 283 PageID# 305

                                           PUBLIC VERSION


     Cosmetic represents over [                ] in annualized lost profits for Allergan. CX-0018C

     at Q/A 112–17; CX-0009C at Q/A 82–86. As of July 17, 2019 (the last day for which

     Evolus produced sales information for Jeuveau®), Allergan lost approximately [

              ] in gross profit due to the [              ] of Jeuveau® sold, with Evolus unfairly

     gaining between [                               ] in gross profit. CX-0018C (Malackowski

     WS) at Q/A 118; CX-2429C (Evolus June Forecast); CX-2451C (Daily Sales Report

     from July 17, 2019); CX-2596C [                                                          ];

     CX-2433C (Guidepoint Tracker); CX-2338C (McKenna email (June 22, 2019)); CX-

     2175C (Nabota Business Plan); CX-2358C (Evolus Strategic Plan).

              Jeuveau® has attained approximately 7.5% market share through the end of 2019.

     Moatazedi Tr. 904–905 [                                ]. The GuidePoint data also showed

     Allergan’s market share declining by 6.1 percentage points from 75% to 68.9% between

     the launch of Jeuveau® to the end of 2019. Id. at 905 [                              ]. Mr.

     Moatazedi admitted that Evolus “[                                                       ].” Id.

     at 903–04. “[N]othing in § 337 requires a showing that the domestic industry will be

     utterly deprived of profitability.” Akzo N.V. v. U.S. Int’l Trade Comm’n, 808 F.2d 1471,

     1487 (Fed. Cir. 1986). “Where unfair methods and acts have resulted in conceivable

     losses of sales, a tendency to substantially injure such industry has been established.” Id.,

     citing House Comm. on Ways and Means, Trade Reform Act of 1973, H.R.Rep. No. 571,

     93d Cong. 1st Sess. 78 (1973); accord In re Von Clemm, 229 F.2d 441, 445 (C.C.P.A.

     1955).

              Moreover, the decline in BOTOX® Cosmetic’s market share at the expense of

     Jeuveau® is expected to continue. Evolus appears confident that Jeuveau® will achieve



                                                    199
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 207 of 283 PageID# 306

                                        PUBLIC VERSION


     the number two U.S. market position within 24 months of launch. See CX-1179.1

     (Evolus Press Release) (Evolus announcing that Jeuveau® attained the number three

     market position in the U.S. BTX market within “90 days of launch . . . ahead of

     expectations,” and Evolus “remain[s] highly confident in [its] ability to achieve the

     number two U.S. market position within 24 months of launch”); CX-2429C.16 (Evolus

     June Forecast); CX-1260.7‒8 (Q2 Earnings Call); CX-2617.1-2 (Evolus Press Release).

              Evolus projects a cumulative [ ] percent market share for Jeuveau® in 2019, even

     though Jeuveau® was not launched until about halfway into the year. CX-2429C.15

     (Evolus June Forecast). Thus, Jeuveau® likely had over a [ ] percent monthly market

     share as of the end of 2019. CX-0018C (Malackowski WS) at Q/A 123. Evolus further

     projects that Jeuveau® will reach [ ] percent U.S. market share in its first year following

     launch (i.e., by May 2020). Id. at Q/A 124; CX-2429C.16 (Evolus June Forecast).

     Similarly, according to an internal pricing sensitivity analysis performed by Evolus, at the

     current net average selling price for Jeuveau®, Evolus expects Jeuveau® [

                                    ]. CX-0018C at Q/A 127; CX-2385C (Pricing Analysis).

     Evolus projects its revenue and sales for Jeuveau® to increase rapidly from 2019 to 2022,

     with [

          ]. CX-1705C (Moatazedi Dep.) at 160–62 (confirming projections from a June 2019

     internal investor relations update).

              The evidence shows that at least [   ] percent of Jeuveau®’s future [ ] percent

     market share likely will come at the expense of BOTOX® Cosmetic, translating into a [ ]

     percentage point loss in market share for BOTOX® Cosmetic. CX-0018C (Malackowski

     WS) at Q/A 129–32. For example, a 2017 study regarding the U.S. BTX market



                                                   200
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 208 of 283 PageID# 307

                                         PUBLIC VERSION


     commissioned by Evolus determined that, depending on price point, [                    ] percent of

     Jeuveau®’s market share will come from BOTOX® Cosmetic. CX-2384C (Neurotoxin

     Quantitative Research). Similarly, an internal pricing sensitivity analysis performed by

     Evolus showed that, at an effective price of [          ] per vial [

                               ], Evolus expected a market share of [            ] percent for Jeuveau®

     and [      ] percent for BOTOX® Cosmetic, down from BOTOX® Cosmetic’s pre-

     Jeuveau® market share of around [ ] percent; the nearly [              ] percentage point drop in

     BOTOX® Cosmetic market share equates to approximately [                  ] percent of Jeuveau®’s

     [       ] percent market share. CX-2385C (Pricing Analysis); CX-0018C at Q/A 132.

     [                                        ] third party estimates of BOTOX® Cosmetic’s

     market share loss due to Jeuveau®, are consistent with Evolus’ estimates. See CX-

     0018C at Q/A 133; CX-2333C [                                  ]; CX-2270 (Wall Street Journal

     article); CX-2298 (Cantor Fitzgerald Report); CX-2300 (RBC Capital Markets Report);

     CX-2301 (Piper Jaffray Report).

               A[   ] percent market share for Jeuveau®, with [ ] percent of that market share

     coming at the expense of BOTOX® Cosmetic, would be a [ ]-percentage-point market

     share decrease for BOTOX® Cosmetic. CX-0018C (Malackowski WS) at Q/A 139–40.

     The evidence shows that a [     ]-percentage-point decrease represents an annual loss to

     Allergan of more than [                  ] in profit. Id.

                      2.     Price Erosion of BOTOX®

               Complainants argue, in part:

                             Jeuveau has [
                                         ], taking profits from Complainants.
                      Evolus openly admits that it prices Jeuveau to physicians [
                                                                           ]. CX-


                                                     201
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 209 of 283 PageID# 308

                                     PUBLIC VERSION


                 0018C (Malackowski WS) at Q/A 177; CX-2604C.9
                 (Errata); CX-1708C (Jafar Dep.) at 62:18-63:4; CX-0009C
                 (McKenna WS) at Q/A 61; Hr’g Tr. (Moatazedi) at 913:13-
                 914:11. This means that physicians can [



                                                  ]. Id. at 913:13-914:11
                 (Jeuveau has “improved profitability” for doctors).

                          Evolus launched Jeuveau using what is called
                 “[     ],” meaning that the price of Jeuveau was [
                                                                     ];
                 that is, if the price of BOTOX® Cosmetic were reduced,
                 Evolus would also reduce the price of Jeuveau to [

                         ]. CX-2419C (Evolus Board Slides); CX-1705C
                 (Moatazedi Dep.) at 193:18-194:3.    [



                                                           ]. Hr’g Tr.
                 (Moatazedi) at 917:4-11; CX-0018C (Malackowski WS) at
                 Q/A 117. In short, Evolus has already [
                                            ].

                     Ms. Mulhern argued that comparisons of pricing on
                 BOTOX® and Jeuveau are difficult because Allergan [
                 “

                                                                      ]. RX-
                 3158C (Mulhern WS) at Q/A 358. But Mr. Moatazedi
                 undermined this argument, testifying at the Hearing that
                 Evolus discounts Jeuveau “[
                                  ].” Hr’g Tr. (Moatazedi) at 916:11-17. In
                 other words, the discounts on Jeuveau are significant enough
                 that physicians save money [

                          ]. Indeed, Evolus has publicly stated that its pricing
                 objective is to “break the bundle” – referring to Allergan’s
                 bundle discounts. CX-2256.15, 32 (Evolus Investor Day).

                        Exacerbating the harm to the domestic industry,
                 Evolus has pricing flexibility that Allergan does not (beyond
                 being able to price Jeuveau at such a large discount to
                 BOTOX® Cosmetic). This is due in large part to the fact



                                              202
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 210 of 283 PageID# 309

                                     PUBLIC VERSION


                 that Jeuveau is approved for only a cosmetic indication. See
                 CX-0018C (Malackowski WS) at Q/A 156-57; Hr’g Tr.
                 (Moatazedi) at 917:12-919:11 (Mr. Moatazedi agreeing that
                 Evolus’s cosmetic-only approach “gives [Evolus] more
                 flexibility in [its] pricing decisions”). By contrast, as Mr.
                 Moatazedi is personally aware, the fact that Allergan and
                 other providers of BTX products in the United States sell
                 their BTX products for both cosmetic and therapeutic
                 indications constrains their ability to discount their products
                 due to Centers for Medicare & Medicaid Services (“CMS”)
                 regulations. CX-0018C (Malackowski WS) at Q/A 156-57;
                 CX-0009C (McKenna WS) at Q/A 62. Specifically,
                 regulations limit the amount reimbursed by CMS based on a
                 weighted ASP that considers all ASPs for a product,
                 including prices for different indications and vial sizes.
                 Thus, while the regulations do not require Allergan to set the
                 prices of BOTOX® Cosmetic at a particular level, they
                 impact pricing in the sense that a price reduction for
                 BOTOX® Cosmetic will have an exaggerated effect, as that
                 price reduction will also affect reimbursement for BOTOX®
                 therapeutic. Hr’g Tr. (Moatazedi) at 918:15-19. For
                 example, if Allergan discounts its price for BOTOX®
                 Cosmetic to compete with Jeuveau, it would impact Allergan
                 not only by decreasing Allergan’s profits for BOTOX®
                 Cosmetic, but also by negatively affecting pricing and
                 profits for BOTOX® therapeutic.               See CX-0018C
                 (Malackowski WS) at Q/A 156-57; see also id. at Q/A 56‒
                 57; Hr’g Tr. (Moatazedi) at 917:12-918:19.

                         Evolus has touted this pricing advantage over
                 Allergan [                ] externally. For example, in one
                 internal presentation, Evolus promoted its cosmetic-only
                 strategy by stating that, “[


                                                                    ].” CX-
                 2428.2 (Evolus Commercial Analysis). Publically, Evolus
                 has maintained that its aesthetic-only indication gives it
                 “tremendous pricing flexibility” compared to BOTOX®
                 Cosmetic and other products with therapeutic indications.
                 CX-2381C.9 (Evolus Investor Day); CX-0934 (Evolus S-1).
                 Evolus additionally contends that it is not subject to other
                 regulations to which companies with a therapeutic product,
                 such as Allergan, are subject. For example, Evolus contends
                 that it is not limited by the Physician Payments Sunshine Act
                 and that it does not have to report payments it makes to


                                              203
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 211 of 283 PageID# 310

                                       PUBLIC VERSION


                   doctors to the federal Open Payments database. Hr’g Tr.
                   (Moatazedi) at 914:23-915:17. Evolus considers this a
                   further advantage over its competitors, like Allergan, that are
                   subject to these rules. See CX-1259 (Evolus Q3 2018
                   Earnings); CX-0934 (Evolus S-1).

                          The bottom line is that Evolus has leveraged its
                   cosmetic-only status to the detriment of Allergan by [


                            ]. For example, [

                          ], compared with Allergan’s maximum offered
                   discount of [       ] for BOTOX® Cosmetic. CX-2318C
                   (Allergan Discounting); CX-2231C (Allergan list prices);
                   CX-2416C (Evolus Account Pricing); see also Hr’g Tr.
                   (Moatazedi) at 916:11-17. Evolus has further [


                                   ]. CX-1706C (Knab Dep.) at 95:9-19;
                   CX-2416C (Evolus Account Pricing Cheat Sheet). These
                   [

                                        ]. CX-0018C (Malackowski WS) at
                   Q/A 165; CX-2604C.7 (Errata). Notably, as further
                   evidence of Evolus’s targeting of BOTOX® Cosmetic,
                   Evolus [


                                                                             ].
                   CX-0018C (Malackowski WS) at Q/A 165. Due to
                   Jeuveau’s deep discounting and pricing flexibility, and the
                   significant losses Allergan would suffer if it were to lower
                   prices for BOTOX®, Allergan cannot match Evolus on
                   pricing.

     Compls. Br. at 245–48 (footnotes omitted).

            Respondents argue, in part:

                           Complainants have not demonstrated that Jeuveau®
                   undersells BOTOX®. As explained above, Allergan
                   provides at least three discount programs (Allergan Partner
                   Privileges, Brilliant Distinctions, and Allergan First), which
                   make it difficult to evaluate the overall price differential
                   between BOTOX® and Jeuveau®. RX-3158C.42-44, 62


                                                204
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 212 of 283 PageID# 311

                                         PUBLIC VERSION


                    (Mulhern WS) at Q/A 229-37, 246-47, 355. It is undisputed,
                    however, that Jeuveau®’s list price ($610) is higher than
                    BOTOX® ($601) and, accordingly, this factor, if
                    considered, weighs against a finding of substantial injury or
                    is neutral. RX-3158.63 (Mulhern WS) at Q/A 357; See
                    Combination Locks Comm’n Op. at 12.

     Resps. Br. at 254–55.

            The Staff argues, in part:

                             Allergan’s internal models indicate [

                          ]. See CX-2331C [              ]. For example, one of
                    Allergan’s [
                                                                               ].
                    Id. With over [                 ] of BOTOX® Cosmetic sold
                    in the United States per year, a price reduction of [   ] per
                    vial would result in lost annual revenue to Allergan of more
                    than [             ] just in terms of pricing. CX-0018C
                    (Malackowski WS) at ¶ 181. And not only would a decrease
                    in the price of BOTOX® Cosmetic affect Allergan’s
                    revenues for BOTOX® Cosmetic, it would affect revenue
                    for BOTOX® therapeutic due to the way CMS calculates
                    ASP for reimbursements, as described above. Id.

     Staff Br. at 143.

            The evidence shows that Evolus aggressively prices Jeuveau® to physicians [

                                                              ]. CX-0018C (Malackowski

     WS) at Q/A 177; CX-1708C (Jafar Dep. Tr.) at 62–63; CX-0009C (McKenna WS) at

     Q/A 61. Evolus prices Jeuveau® [

                                                                ]. That is, if Allergan reduces

     the price of BOTOX® Cosmetic, [

                                                               ]. CX-2419C (Evolus Board

     Slides); CX-1705C (Moatazedi Dep. Tr.) at 193–94.




                                                205
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 213 of 283 PageID# 312

                                       PUBLIC VERSION


             Evolus has pricing flexibility in part because Jeuveau® is approved for only a

     cosmetic indication. See CX-0018C (Malackowski WS) at Q/A 156–57. Allergan does

     not have such flexibility to price BOTOX® Cosmetic, because BOTOX® is also

     approved for therapeutic indications. Allergan’s ability to discount BOTOX® products is

     constrained due to the Centers for Medicare & Medicaid Services’ (“CMS”) regulations,

     which limit the amount reimbursed by CMS based on a weighted average sales price

     (ASP) that considers all ASPs for a product, including prices for different indications and

     vial sizes. Id.; CX-0009C (McKenna WS) at Q/A 62. These regulations require that a

     price reduction for BOTOX® Cosmetic will also reduce reimbursement for BOTOX®

     therapeutic. CX-0018C at Q/A 156–57.

             Inasmuch as Jeuveau® is not approved for any therapeutic indications, its pricing

     is not constrained by CMS reimbursement. The evidence demonstrates that Evolus has

     touted this advantage over Allergan to Evolus investors. See CX-2381C.9 (Evolus

     Investor Day) (stating Jeuveau®’s aesthetic-only indication gives it “tremendous pricing

     flexibility” compared to BOTOX® Cosmetic and other products with therapeutic

     indications). The evidence shows that Evolus is aware of Allergan’s constraints. CX-

     2428.2 (Evolus Commercial Analysis) [



                                                                  ]. The evidence demonstrates

     that the [                              ] incentivizes physicians to administer Jeuveau®,

     rather than BOTOX® Cosmetic, to patients inasmuch as physicians can [



                                          ]. Evolus additionally argues that it is not subject to



                                                206
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 214 of 283 PageID# 313

                                        PUBLIC VERSION


     other regulations to which companies with a therapeutic product, such as Allergan, are

     subject. Evolus acknowledges to its investors that it has the advantage of not being

     limited by regulations such as the Physician Payments Sunshine Act and that it does not

     have to report payments it makes to doctors to the federal Open Payments database.

     Evolus considers this an advantage over its competitors, like Allergan, that are subject to

     these rules. See CX-1259.8 (Evolus Q3 2018 Earnings Call) (“we don’t believe that rules

     like Sunshine laws apply to Evolus”); CX-0934.112–.113 (Evolus SEC S-1); Moatazedi

     Tr. 915.

              Moreover, Evolus has offered [                    ] discounts that, [

                                                       ] discount on the price of Jeuveau®. CX-

     0018C (Malackowski WS) at Q/A 165; Moatazedi Tr. 917 (agreeing that the ASP for

     Jeuveau® is approximately [       ] per 100-unit vial, as compared to its list price of $610

     per vial). For example, [



                                        ].26 CX-2318C (Allergan Discounting); CX-2231C

     (Allergan list prices); CX-2416C (Evolus Account Pricing Cheat Sheet). Evolus has

     further offered [

                                                         ].27 CX-1706C (Knab Dep. Tr.) at 95;




     26
        The list price for a 100U vial of BOTOX Cosmetic is $601 and $331 for a 50U vial.
     CX-2231C (Allergan product pricing list); CX-0009C (McKenna WS) at Q/A 58. The
     list price for a 100U vial of Jeuveau® is $610. RX-3162C (Moatazedi WS) at Q/A 34.
     27
          [

                                                            ]. CX-0018C (Malackowski WS) at
     Q/A 166.


                                                 207
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 215 of 283 PageID# 314

                                       PUBLIC VERSION


     CX-2416C. In addition, Evolus offers [



                                                                                          ]. CX-

     0018C at Q/A 165.

            Over the long term, Evolus’s aggressive pricing of Jeuveau® will erode

     Allergan’s profitability for both BOTOX® Cosmetic and BOTOX® therapeutic.

     Inasmuch as Evolus [

                                                       ], there is strong likelihood that Allergan

     will need to lower its pricing for its BOTOX® products in order to compete. CX-0018C

     (Malackowski WS) at Q/A 183–84; CX-0009C (McKenna WS) at Q/A 64–65.

     Allergan’s internal models indicate [

                                    ]. CX-0018C (Malackowski WS) at Q/A 181. As noted

     above, a decrease in the price of BOTOX® Cosmetic affects Allergan’s revenues for

     BOTOX® Cosmetic and revenue for BOTOX® therapeutic due to the way CMS

     calculates ASP for reimbursements. Id.

            The administrative law judge thus finds that Daewoong has used the trade secrets

     at issue in this investigation thereby causing injury to Allergan. See Rubber Resins,

     Comm’n Op. at 10 (citing Sausage Casings, ID at 361).

                    3.      Threat of Future Injury to BOTOX®

            Complainants argue, in part:

                           In addition to having caused substantial injury to the
                    domestic industry, the continued importation and sale of
                    Jeuveau poses a threat of continuing substantial injury to the
                    domestic industry. Indeed, all relevant factors demonstrate
                    a threat of substantial injury to the Domestic Industry
                    Products: (1) substantial foreign manufacturing capacity; (2)


                                                 208
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 216 of 283 PageID# 315

                                        PUBLIC VERSION


                    explicit intention to enter into the U.S. market; (3) ability of
                    the imported product to undersell the domestic product; (4)
                    the inability of the domestic industry to compete with the
                    foreign products because of vastly lower foreign costs of
                    production and lower prices; and (5) the significant negative
                    impact this would have on the domestic industry. Rubber
                    Resins Comm’n Op. at 64.

                            The Commission has repeatedly held that “[w]here
                    unfair methods and acts have resulted in conceivable loss of
                    sales, a tendency to substantially injure such industry has
                    been established.” Railway Wheels ID at 82 (quoting
                    Electric Power Tools ID at 248–49). Here, because it is
                    undisputed that Complainants have already lost sales and
                    customers to Jeuveau (see supra Section VI.C.2.ii), a threat
                    to substantially injure the domestic industry has been
                    established.

     Compls. Br. at 253.

            Respondents argue, in part:

                            Complainants’ prediction that Jeuveau® may
                    substantially injure BOTOX® in the future is speculative,
                    unquantified, and unsubstantiated. To start, almost all of
                    Allergan’s domestic BOTOX® activity, including activities
                    relating to BOTOX® Therapeutic, manufacturing of
                    BOTOX® API for foreign sale, and R&D, cannot be injured
                    by Jeuveau® at all. Complainants’ attribution of likely harm
                    to the BOTOX® Cosmetic market flies in the face of
                    BOTOX®’s continued market dominance, growing sales,
                    and increasing revenues. Complainants and Staff also ignore
                    the many competitors poised to enter the market in the next
                    few years, including one — Revance’s Daxi — that [
                                  ] third-party sources have identified as the
                    likely #2 player in the market within months of its estimated
                    2020 launch. RX-3158C.35-36 (Mulhern WS) at Q/A 199-
                    200. Mr. Malackowski’s failure to grapple at all with this
                    complicated competitive picture makes his analysis about
                    future impact undeserving of being credited, and lead him to
                    greatly overstate the likelihood and magnitude of any future
                    harm to BOTOX® Cosmetic.

     Resps. Br. at 256.




                                                 209
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 217 of 283 PageID# 316

                                       PUBLIC VERSION


            Even if there is no current injury, the Commission may “mak[e] a separate inquiry

     in this case with respect to the likelihood of future injury.” Corning Glass Works v. U.S.

     Int’l Trade Comm’n, 799 F.2d 1559, 1567 (Fed. Cir. 1986); accord Akzo N.V. v. U.S. Int’l

     Trade Comm’n, 808 F.2d 1471, 1487 (Fed. Cir. 1986) (injury showing can include

     “prediction of the future effect of [Respondent’s] unfair imports on the domestic

     industry”). Complainants can satisfy the “threat” of injury requirement “[w]hen an

     assessment of the market in the presence of the accused imported products demonstrates

     relevant conditions or circumstances from which probable future injury can be inferred.”

     Railway Wheels, Unreviewed ID at 81–82 (quoting Electric Power Tools, Unreviewed ID

     at 248). Factors considered in making such an assessment include, among other things:

                    (1) substantial foreign manufacturing capacity; (2) ability of
                    imported product to undersell the domestic product; (3)
                    explicit intention to enter into the U.S. market; (4) the
                    inability of the domestic industry to compete with the
                    foreign products because of vastly lower foreign costs of
                    production and lower prices; and (5) the significant negative
                    impact this would have on the domestic industry.

     Certain Rubber Resins and Processes for Manufacturing Same, Inv. No. 337-TA-849,

     Comm’n Op. at 64 (Feb. 26, 2014).

                               a) Substantial Foreign Manufacturing Capacity

            Complainants argue, in part:

                            Daewoong stated in a press release that its second
                    manufacturing facility was Korean GMP certified and, in
                    combination with its first factory, Daewoong was able to
                    manufacture over 5 million vials of Nabota (the Korean
                    DWP-450 product) annually—with, if needed, an extended
                    capacity of 9 million vials per year. CX-1245.1 (Daewoong
                    Press Release). Daewoong’s corporate representative on the
                    issue (Kyoung Yun Kim), in fact, agreed that “Daewoong
                    has substantial manufacturing capacity in Korea permitting
                    it to manufacture Jeuveau for importation and sale into the


                                                 210
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 218 of 283 PageID# 317

                                        PUBLIC VERSION


                    United States.” CX-2536C (KY Kim Dep.) at 155:22-156:4.
                    Thus, Evolus will be able to meet the demand for Jeuveau,
                    regardless of how high its market share climbs and despite
                    continued growth in the BTX market. And Evolus shares
                    Daewoong’s opinion that there is sufficient manufacturing
                    capacity to meet expected U.S. demand for Jeuveau. See
                    CX-1705C (Moatazedi Dep.) at 90:15-91:5; CX-1704C
                    (Sabad Dep.) at 165:9-17 (testifying that Daewoong’s
                    manufacturing capacity was as high as six million vials per
                    year); CX-2234.11 (Q1 Earnings Call); see also Hr’g Tr.
                    (Mulhern) at 933:3-14.

     Compls. Br. at 253–54.

            Respondents argue, in part:

                            Although Daewoong has foreign capacity to
                    produce Nabota® and Jeuveau®, that is not dispositive of
                    the issue. Combination Locks, Comm’n Op. at 11
                    (“[E]vidence of foreign capacity even if coupled with a large
                    U.S. market does not show a tendency to injure absent a
                    strong showing that foreign manufacturers intend to direct
                    their capacity toward penetrating the U.S. market.”).
                    (emphasis added). Nabota® and Jeuveau® are sold around
                    the world—for example Jeuveau® is sold as Nuceiva® in
                    Canada and Europe—and Daewoong could not simply
                    neglect its obligations in other markets and devote 100% of
                    its capacity to the U.S. RX-3167C.26, 27 (Kyoung Yun
                    KIM WS) at Q/A 16, 20. Daewoong’s capacity to
                    manufacture Nabota® and Jeuveau®/Nuceiva® is not even
                    relevant to this inquiry, and this factor is neutral.

     Resps. Br. at 257.

            The evidence demonstrates that Daewoong has more than sufficient foreign

     manufacturing capacity to supply the domestic demand for Jeuveau® (and indeed the

     entire U.S. BTX cosmetic market). The total U.S. market for cosmetic BTX products in

     2019 was 2.3 million units, which is far less than the [         ] unit manufacturing

     capacity of the new building in Korea that Daewoong built to supply the U.S. market and

     other markets with DWP-450 (i.e., Jeuveau®). CX-1245.1 (Daewoong Press Release).




                                                 211
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 219 of 283 PageID# 318

                                      PUBLIC VERSION


                              b) Explicit Intention to Enter into the U.S. Market

            Complainants argue, in part:

                           As explained above, Evolus has already entered the
                   market with Jeuveau with the specific intent of targeting
                   Allergan. See supra Section VI.C.2.i. Indeed, Jeuveau
                   directly competes with BOTOX® Cosmetic. Respondents
                   sell and distribute Jeuveau using the same channels that
                   Allergan uses to sell and distribute BOTOX® Cosmetic and
                   have targeted BOTOX® Cosmetic by highlighting
                   Jeuveau’s 900 kDa molecular weight (and associated
                   benefits). See id.

     Compls. Br. at 254.

            Respondents argue, in part:

                          Complainants’ expert Mr. Malackowski treats the
                   cosmetic toxin market as a two-player, zero-sum game, with
                   Jeuveau® capturing all or nearly all of its sales from
                   BOTOX® Cosmetic. This simplistic picture of the market
                   is counterfactual.    Mr. Malackowski largely ignores
                   competition with Dysport and Xeomin (the other current
                   competitors); market expansion; and the entrance of new,
                   major competitors, rendering his analysis fundamentally
                   unreliable.

                           As discussed above, data from Allergan, Evolus, and
                   surveys conducted by third parties demonstrate that “[m]ost
                   of Jeaveau’s overall market share gains have come largely
                   from Dysport and XEOMIN, with BOTOX® relatively
                   unaffected.” RX-3561.3 (RBC Capital Markets - Deep dive
                   into BOTOX®); RX-3158C.33-35 (Mulhern WS) at Q/A
                   184-195. Complainants provide no reason to believe this
                   will change.

                            As for market expansion, Allergan projects that the
                   facial injectable market may [                   ]; its sales
                   are expected to increase each year going forward by [ ] or
                   more.      RX-0552C.15 (Allergan Corporate Overview
                   Presentation). A substantial amount of this market-wide
                   growth will be attributable to Evolus’ marketing efforts in
                   “actively building out the Jeuveau® brand with the
                   ‘youngest generation’ contemplating aesthetic neurotoxin
                   treatments.” RX-3162.8 (Moatazedi WS), at Q/A 46.
                   Allergan itself has described competition with Jeuveau®


                                               212
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 220 of 283 PageID# 319

                                       PUBLIC VERSION


                   “[
                           ].” RX-0552C.13 (Allergan Corporate Overview
                   Presentation) (emphasis added). Allergan’s CEO, Brent
                   Saunders, explained that “the fact that there will be four or
                   five potential neuromodulators on the market in the U.S. is
                   probably a good thing for the overall market because our
                   penetration in this market is in the single-digits. This market
                   should expand significantly.” RX-0569.2 (Allergan CEO
                   BOTOX® Is in a Very Strong Position) (emphasis added).

                           Mr. Malackowski also completely ignores the
                   additional competitors due to enter the market. RDX-
                   0001C.10        (Mulhern     Demonstrative);   CX-2334C
                   [
                            ], at tab ‘Botox Cx.’ Mr. Malackowski’s failure to
                   discuss any of these competitive launches is conspicuous,
                   given [
                              ]. For example, Allergan’s [


                        ]. Hearing Tr. 935:15-936:15. During this same period
                   [


                                          ]. Consistent with these projections,
                   the January 2020 RBC Capital Markets survey discussed
                   above found that “DAXI entry was viewed as the bigger
                   competitive threat [than Jeuveau®]. . . Those surveyed saw
                   a meaningful 26 percent share going to DAXI as the clear
                   number 2 in the market.” RX-3561.1 (RBC Capital Markets
                   - Deep dive into BOTOX®). See also Hearing Tr. 935:25-
                   936:7.

                           Daxi and the other new competitors may take more
                   sales from BOTOX® than Jeuveau®, and Jeuveau® may
                   take some of its sales from these new competitors. Mr.
                   Malackowski’s decision not to take this into account at all in
                   his analysis reveals that his prediction of future injury is a
                   conclusion in search of evidence rather than the other way
                   around. Because the full record about the cosmetic toxin
                   market shows that Jeuveau®’s impact on BOTOX®
                   Cosmetic will be modest, at best, this factors weighs against
                   a finding of a threat of substantial injury.

     Resps. Br. at 258–59.




                                                213
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 221 of 283 PageID# 320

                                       PUBLIC VERSION


            As discussed above, the evidence shows that Evolus has already entered the

     market with Jeuveau® with the specific intent of targeting Allergan. Indeed, Jeuveau®

     directly competes with BOTOX® Cosmetic. Respondents sell and distribute Jeuveau®

     using the same channels that Allergan uses to sell and distribute BOTOX® Cosmetic.

                              c) Ability of the Imported Product to Undersell the
                                 Domestic Industry Products

            Complainants argue, in part:

                          As explained above, Jeuveau has the ability to
                   undersell the Domestic Industry Products, [

                                                ]. See supra Section VI.C.2.iii.
                   Respondents will continue being able to undersell BOTOX®
                   in the future, in part due to the pricing flexibility from being
                   a cosmetic-only product. See id. The evidence shows that
                   Respondents will additionally enjoy pricing advantages with
                   respect to MT10109L. Although Allergan [
                                                            ], it already expects [

                                                                            ]. See
                   CX-0009C (McKenna WS) at Q/A 96.

     Compls. Br. at 255.

            Respondents argue, in part:

                           Complainants and Staff ignore the fact that the cost
                   of manufacturing a 100-unit vial of Jeuveau® is nearly [
                                                 ] than the cost of producing the
                   equivalent of imported BOTOX®.              RX-3158C.34-35
                   (Mulhern WS) at Q/A 177-83. [
                          ] Jeuveau® relative to BOTOX® weighs against any
                   inference of risk of future substantial injury to any alleged
                   BOTOX® domestic industry. See, e.g., Rubber Resins,
                   Comm’n Op. at 64.

     Resps. Br. at 259–60.

            The evidence shows that with Jeuveau®, respondents have the ability to undersell

     BOTOX®. Respondents will continue to be able to undersell BOTOX® in the future, in



                                                214
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 222 of 283 PageID# 321

                                      PUBLIC VERSION


     part due to the pricing flexibility from Jeuveau® being a cosmetic-only product. See CX-

     0018C (Malackowski WS) at Q/A 156–57.

                              d) Significant Negative Impact the Imported Product
                                 Would Have on the Domestic Industry

            Complainants argue, in part:

                          Evolus projects that Jeuveau will reach [             ]
                   U.S. market share in its first year following launch (i.e., by
                   May 2020). CX-0018C (Malackowski WS) at Q/A 124; CX-
                   2604C.4 (Errata); CX-2430C.16 (Evolus June Forecast);
                   Hr’g Tr. (Moatazedi) at 905:11-906:5. Similarly, according
                   to an Evolus pricing sensitivity analysis, [

                                                               ]. CX-0018C.45
                   (Malackowski WS) at Q/A at 127; CX-2604C.5 (Errata);
                   CX-2385C (Pricing Analysis).         These market shares
                   translate into [
                                ]. For example, according to internal documents
                   and the testimony of Evolus’s CEO, Evolus projects its
                   revenue and sales for Jeuveau [

                                                                ]. CX-1705C
                   (Moatazedi Dep.) at 160:16-162:15 (confirming projections
                   from an internal investor relations update).

                           Daewoong’s projections for Jeuveau are consistent
                   with Evolus’s. For example, according to a December 3,
                   2018, Daewoong analysis, Daewoong estimated that
                   Jeuveau would achieve and maintain a long term U.S.
                   market share [                            ]. CX-2175C
                   (Nabota Business Plan). Moreover, an internal Daewoong
                   email summarizing a September 7, 2018 meeting between
                   Daewoong personnel and Evolus “c-suite executives”
                   reveals that [


                                                      ].  CX-0843C.7
                   (email from Seong Soo Park); CX-0844C.4 (email
                   attachment); CX-0018C (Malackowski WS) at Q/A 125;
                   CX-2604C.5 (Errata).

                          Third-party industry analysts likewise forecast
                   around a 20 percent domestic market share for Jeuveau. For



                                                215
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 223 of 283 PageID# 322

                                    PUBLIC VERSION


                 example, as of May 2, 2019, the “consensus” among third-
                 party analysts was that Jeuveau would achieve up to 18
                 percent market share in the United States, with BOTOX®
                 Cosmetic’s market share decreasing from 75 percent to 63
                 percent. CX-2413C.13 (Evolus Investor Relations Update).
                 One analyst, H.C. Wainwright, forecast that Jeuveau would
                 achieve 21 percent market share by 2022, and Cantor
                 Fitzgerald forecast a 20 percent market share by 2022. Id.
                 Thus, a conservative but realistic estimate—based on
                 Evolus’s, Daewoong’s, and third-party analysts’
                 projections—is a 20 percent U.S. market share for Jeuveau.

                        Although all of Jeuveau’s growth will not necessarily
                 be at the expense of BOTOX® Cosmetic (as it was
                 immediately following Jeuveau’s release), the evidence
                 shows that at least [                                      ]
                 market share likely will come at the expense of BOTOX®
                 Cosmetic, resulting in [          ] market share loss for
                 BOTOX® Cosmetic. CX-0018C (Malackowski WS) at Q/A
                 129-132; CX-2604C.5 (Errata). Indeed, the Guidepoint
                 market share data through the end of 2019 [
                                                              ] of Jeuveau’s
                 market share has come at the expense of BOTOX®
                 Cosmetic. See supra Section VI.C.2.ii.

                         This is consistent [                 ] third parties’
                 projections. For example, a 2017 study regarding the U.S.
                 BTX market commissioned by Evolus determined that,
                 [                                                           ]
                 percent of Jeuveau’s market share would come from
                 BOTOX® Cosmetic. CX-2384C (Neurotoxin Quantitative
                 Research); CX-0018C (Malackowski WS) at Q/A 131; CX-
                 2604C.5 (Errata). Similarly, an internal pricing sensitivity
                 analysis performed by Evolus showed that, [




                                                              ]. CX-2385C
                 (Pricing Analysis); CX-0018C (Malackowski WS) at Q/A
                 132; CX-2604C.5 (Errata). [
                         ] third party estimates, of BOTOX® Cosmetic’s
                 market share loss due to Jeuveau are consistent. See CX-
                 0018C (Malackowski WS) at Q/A 133; CX-2604C.5


                                             216
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 224 of 283 PageID# 323

                                      PUBLIC VERSION


                   (Errata); CX-2333C (Allergan Evaluation); CX-2270 (Wall
                   Street Journal article); CX-2298C (Cantor Fitzgerald
                   Report); CX-2300C (RBC Capital Markets Report); CX-
                   2301C (Piper Jaffray Report).

                           As Mr. Malackowski explains, a [ ] percentage point
                   decrease represents a yearly loss to Allergan of more than
                   [              ] in profit. CX-0018C (Malackowski WS) at
                   Q/A 139-140 Indeed, these calculations are conservative
                   and do not account for future expected growth in the U.S.
                   market for cosmetic BTX products; as the market expands,
                   a single percentage point loss of market share represents an
                   even larger loss of profits to Allergan. Id. at Q/A 141. Such
                   a loss—[               ] per year—is substantially injurious
                   by any measure.

                                          .      .       .

                          Allergan’s internal models, [

                                    ]. See CX-2331C [                    ]. For
                   example, one of Allergan’s [

                                ]. Id. With over [                ] of BOTOX®
                   Cosmetic sold in the United States per year, a price reduction
                   of [    ] per vial would result in lost annual revenue to
                   Allergan of more than [             ] just based on decreased
                   prices. See CX-0018C (Malackowski WS) at Q/A 181;
                   CX-2604C.9 (Errata). And not only would a decrease in the
                   price of BOTOX® Cosmetic affect Allergan’s revenues for
                   BOTOX® Cosmetic, it would affect revenue for BOTOX®
                   therapeutic due to the way CMS calculates ASP for
                   reimbursements, as described above. Id.

     Compls. Br. at 260–64.

            Respondents argue, in part:

                            All sales of Jeuveau® have taken place after the
                   filing of the Complaint, and Complainants have not alleged
                   any diminution of production, profitability, or sales to
                   BOTOX®, to date. As discussed above, based on Allergan’s
                   2019 financials, Allergan’s [
                                                                  ].

                         In November 2019, Respondents’ expert Ms.
                   Mulhern performed an assessment of the possible upper


                                                217
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 225 of 283 PageID# 324

                                     PUBLIC VERSION


                 bounds of injury to BOTOX® that could be attributed to
                 Jeuveau®. RDX-0001C.15 (Mulhern Demonstrative); See
                 fn 52. RX-3158C.54-55 (Mulhern WS) at Q/A 314-323. She
                 started by correcting certain flaws in Mr. Malackowski’s
                 analysis (for example, correcting his clearly incorrect
                 assumption that all of Jeuveau®’s sales came at the expense
                 of BOTOX®). But she deliberately did not take into account
                 the extent to which BOTOX® has benefitted from Evolus’
                 overall expansion of the marketplace (which could serve to
                 offset, to some extent at least, any lost sales). Id. And yet
                 even under this likely overstated estimate of harm, the upper
                 bound of potential future injury caused by Jeuveau® was no
                 more than [ ] percent of estimated worldwide BOTOX®
                 revenues, [ ] percent of worldwide BOTOX® Cosmetic
                 revenues, and [ ] percent of U.S. total BOTOX® revenues.
                 Id. In a different context, [


                                                                              ].
                 Id. at 55. Similarly, the Commission has previously rejected
                 this level of lost sales as not substantial. Combination Locks,
                 Comm’n Op. at 9-12. Recently reported 2019 sales
                 information for Evolus indicates that it failed to achieve its
                 2019 sales projections, which suggests that the estimated
                 potential lost BOTOX® revenue calculated in the above-
                 described demonstrative is even more overstated.

                                         .       .       .

                         Complainants and Respondents agree that the
                 substantiality of any threat of future injury must be evaluated
                 with respect to Complainants’ entire domestic industry, i.e.,
                 MT10109L, BOTOX® Cosmetic, and BOTOX®
                 Therapeutic, rather than piecemeal. RX-3158C.50 (Mulhern
                 WS) at Q/A 287; CX-0018C.49 (Malackowski WS) at Q/A
                 143. Even to the extent that Jeuveau® is found to pose a
                 small threat of future injury to one sector of Complainants’
                 domestic industry, that is not dispositive. Indeed, as
                 explained supra, Complainants have not shown a likelihood
                 of any harm to MT10109L or BOTOX® Therapeutic. These
                 constitute more than half of Complainants’ alleged domestic
                 industry. RX-3158.26 (Mulhern WS) at Q/A 152; RX-
                 3148C (Mulhern Exhibit 14); RX-2334C [
                                                                         ], at tab
                 ‘Botox Cx.’ As for the other smaller portion, the record will
                 show that BOTOX® Cosmetic is the only product from


                                               218
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 226 of 283 PageID# 325

                                       PUBLIC VERSION


                    Complainants that Jeuveau® will compete with before the
                    Target Date. Of that small portion, the record shows that
                    approximately [         ] the domestic investments in
                    manufacturing pertain to foreign sales of BOTOX®
                    Cosmetic, which cannot be injured by domestic sales of
                    Jeuveau®. dx-0001C.8 (Mulhern Demonstrative); RX-3143
                    (Mulhern Exhibit 10); RX-0556.5 (Allergan 10-K 2013);
                    RX-0557.4, 46 (Allergan 2014 10-K); RX-0559.59, 73
                    (Allergan 10-K 2016); RX-0569.60, 64 (Allergan 10-K
                    2017); RX-0561.54, 60 (Allergan 2018 10-K); RX-0562.65,
                    71 (Allergan 10-Q, June 30, 2019); (CX-2251 (Units
                    Manufactured of Botox C and Therapeutic (including HH)
                    for 2014-2018). And the threat to U.S. sales of BOTOX®
                    Cosmetic is de minimis, particularly in view of Allergan’s
                    dominant market share. RX-3158.32-32 (Mulhern WS) at
                    Q/A 168.

                            When these three sets of investments are taken
                    together, the reliable and non-speculative record makes clear
                    that only a small section of Complainants’ alleged domestic
                    industry could possibly be threatened by Jeuveau®. That
                    threat is not substantial. Complainants have therefore not
                    met their burden of showing that there is a likelihood of
                    substantial threatened injury to their alleged domestic
                    industry.

     Resps. Br. at 260–62.

            The evidence shows that Jeuveau® has already achieved a 7.5% market share,

     with the vast majority coming from BOTOX® Cosmetic. Moreover, Evolus has

     repeatedly stated that it is confident Jeuveau® will achieve the number two U.S. market

     position within 24 months of launch. See CX-1179.1 (Evolus Press Release) (Evolus

     announcing that Jeuveau® attained the number three market position in the United States

     BTX market within “90 days of launch . . . ahead of expectations,” and Evolus “remain[s]

     highly confident in [its] ability to achieve the number two U.S. market position within 24

     months of launch”); CX-2429C.16 (Evolus June Forecast); CX-1260.7-8 (Q2 Earnings

     Call); CX-2617.1-2 (Evolus Press Release). Mr. Moatazedi reiterated at the Hearing that




                                                219
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 227 of 283 PageID# 326

                                           PUBLIC VERSION


     Evolus continues to expect to achieve the number two U.S. market position. See

     Moatazedi Tr. 906–907. With [         ] of Jeuveau®’s market share coming at the expense of

     BOTOX® Cosmetic, the evidence demonstrates that this will result in over [                    ]

     in yearly lost profits to Allergan.

             The evidence further shows that Allergan also faces potential long-term price

     erosion due to Jeuveau®. As explained by Mr. Malackowski, [



                                      ], this puts pressure on Allergan to lower its pricing for its

     BOTOX® products to compete. CX-0018C (Malackowski WS) at Q/A 183-84; CX-

     2604C.9 (Errata); CX-0009C (McKenna WS) at Q/A 64-65. If this occurred, over the

     long term, it would impact Allergan’s ASP for CMS reimbursement purposes, resulting

     in a significant amount of lost revenue for Allergan, even for BOTOX® therapeutic. Id.

                     4.      Threat of Future Injury to MT10109L

             Complainants argue, in part:

                             Evolus’s actions, including its Jeuveau discount and
                     pricing strategy, will also significantly impact MT10109L.
                     Even though MT10109L is not yet being sold commercially
                     and Allergan [                                    ], Allergan
                     [
                                            ]. CX-0009C (McKenna WS) at Q/A
                     96, 100. In other words, Evolus’s discounting for Jeuveau
                     will likely [



                                                                    ]. CX-0018C
                     (Malackowski WS) at Q/A 182; CX-0009C (McKenna WS)
                     at Q/A 64-68, 89-90, 93, 95-96, 100. In that event, Allergan
                     would [
                                                               ]. See id.




                                                   220
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 228 of 283 PageID# 327

                                      PUBLIC VERSION


                           MT10109L will further be injured by Jeuveau’s head
                   start advantage, an advantage gained by reason of
                   Respondents’ trade secret misappropriation. Complainants
                   expect MT10109L to receive FDA approval and launch in
                   the United States around [     ]. There is significant demand
                   for BTX products and specifically for BTX products
                   approved for the treatment of glabellar lines. By securing a
                   strong foothold in the BTX market now with a 900 kDa BTX
                   product, Respondents will have existing customers (doctors
                   and patients) who may not want to change their BTX product
                   when MT10109L launches. CX-0009C (McKenna WS) at
                   Q/A 98‒99. Jeuveau will occupy market share to the
                   detriment of MT10109L, resulting in additional lost future
                   sales and profits for Complainants. See id. This is because
                   Jeuveau is being marketed and sold to customers who may
                   otherwise be future customers of MT10109L. Id. Indeed,
                   just as customers who switched to Jeuveau as a result of the
                   J.E.T. program may not return to BOTOX® Cosmetic, they
                   may similarly not switch from Jeuveau to MT10109L. As
                   Colleen McKenna explained, physicians generally stock
                   only a few different neurotoxin products, and, if Jeuveau
                   remains on the market, physicians may not stock MT10109L
                   at all when it enters the market. Id. Thus, Complainants will
                   suffer lost market share and profit for MT10109L as a result
                   of Jeuveau. The reality is that, but for Respondents’ unfair
                   acts, when MT10109L is approved, there would have been
                   no known third party 900 kDA BTX products in the United
                   States competing with MT10109L.

     Compls. Br. at 264–65.

            Respondents argue, in part:

                          As discussed in more detail supra at II.B.1.,
                   Complainants hope that MT10109L will be approved by the
                   FDA at some point in [     ]. CX-2010C.12 (Joint Steering
                   Committee Presentation, November 2018). Some Allergan
                   [
                                                                     ]. RX-
                   3003C.81 (Schultes Dep. Desg. at 81:15-23). Indeed, at the
                   evidentiary hearing, Allergan’s Senior Vice President of
                   Pharmaceutical Development, Dr. Sesha Neervannan,
                   [
                                                                  ]. Hearing
                   Tr. 449:19-450:23.



                                               221
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 229 of 283 PageID# 328

                                    PUBLIC VERSION


                        MT10109L was [

                                  ]. CX-1998C.9 (Joint Steering Committee
                 Presentation, February 2014); CX-1999C.13 (Joint Steering
                 Committee Presentation, June 2014); RX-1657C.24 (Joint
                 Steering Committee Presentation, December 2014); Hearing
                 Tr. 449:19-450:23. This did not come to pass — far from
                 it. Allergan’s documents show that the projected approval
                 and launch dates for MT10109L[
                                           ]. See supra at II.G.2.

                        Complainants’ documents reveal a number of
                 explanations [




                                                     ]. RX-0078C.2 [
                                          ]; RX-00548C.2 [
                                    ]; CX-2002C (JSC Meeting Minutes, dated
                 March 11-12, 2015). Even after MT10109L finally went
                 into clinical trials in 2018 [                           ],
                 Allergan executives, [




                        ]. RX-1690 (Korea Biomedical Review article, May
                 27, 2019); RX-0742C.1 (Allergan email from Pasha Sateri
                 to Colleen McKenna and Carrie Strom on 5/30/2019).

                         Adding even further uncertainty to MT10109L’s
                 prospects, Medytox is currently under criminal investigation
                 based on fabrication of manufacturing records and improper
                 use of experimental drug substances that had not been
                 approved by the KFDA. See Hearing Tr. 325:5-326:8. As
                 of February 19, 2020, a well-known Korean media outlet
                 reported that Korean prosecutors have indicted Medytox’s
                 head of manufacturing; that Medytox is facing additional
                 charges of fabricating testing results; and that Medytox CEO
                 JUNG is a target of the investigation.                    See
                 https://n.news.naver.com/article/056/0010793780.        At a
                 minimum, these facts further complicate the already-
                 speculative estimate that MT10109L will be in the market
                 by [      ].


                                             222
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 230 of 283 PageID# 329

                                    PUBLIC VERSION


                        It is self-evident that there can be no actual
                 substantial injury to MT10109L, as there is no product yet
                 available for sale that could even theoretically be injured.
                 RX-3003C.81 (Charles Schultes Dep. Desg. At 81:15-23).
                 There are no sales of MT10109L to be lost to Jeuveau® (or
                 to anyone else, for that matter); there are no MT10109L
                 prices that could be undercut; there are no profits from
                 MT10109L that could be impacted. See, e.g., RX-3158.17
                 (Mulhern WS) at Q/A 84. Allergan [




                         ].    RX-2934.12 (Allergan’s Responses to
                 Daewoong’s First Set of RFAs) at No. 13; RX-2382.12 (Citi
                 Global Healthcare Conference Transcript); RX-2967C.6
                 (Medytox’s Responses to Daewoong’s Third RFAs), No. 25.
                 And Complainants do not allege [

                                                          ]. CX-2350C
                 (Allergan's Total BOTOX® Related Projects R&D Cost);
                 CX-0018C.36 (Malackowski WS) at Q/A 100.

                         Since it is impossible to predict whether and when (if
                 ever) MT10109L will launch, it is equally impossible to
                 predict a substantial threat of future injury. Complainants’
                 speculative, unsupported, and self-serving testimony of
                 potential injury to MT10109L does not satisfy their burden.
                 For example, Mr. Malackowski admits that Allergan [



                                                       ]. CX-0018C.49
                 (Malackowski WS) at Q/A 142. Mr. Malackowski further
                 speculates, again without any documentary support, that
                 Allergan “[


                                                                      ].” Id.
                 (emphasis added). This is pure speculation, which cannot be
                 credited. See, e.g., Activity Tracking Devices at 77-79
                 (finding that “[Complainants’ expert] fails to provide any
                 concrete projections regarding [Respondent] sales or
                 [Complainants’] lost sales, and any opinion regarding future
                 injury is thus merely speculation.”).



                                              223
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 231 of 283 PageID# 330

                                         PUBLIC VERSION


                           The Commission has never found a threat of
                    substantial future injury to a product that is still years away
                    from a possible launch under even the most favorable of
                    estimates. It should not start now.

     Resps. Br. at 247–49 (footnote omitted).

            The Staff argues, in part:

                    No party presented sufficient reliable evidence regarding
                    MT10109L in order for the ALJ or the Commission to
                    properly assess whether the importation of the accused
                    products have the effect of threatening to substantially injure
                    sales of MT10109L in the future.

     Staff Br. at 143.

            The evidence shows that MT10109L is currently undergoing phase III clinical

     trials in the United States and is not yet FDA approved for marketing and sale in the

     United States. Even under complainants’ most optimistic estimates, MT10109L is not

     expected to be marketed and sold in the United States until [     ]. CX-0009C (McKenna

     WS) at Q/A 97.

            MT10109L, like BOTOX® and Jeuveau®, is a 900 kDa BoNT type A product.

     BOTOX® and Jeuveau® are both sold in vials containing the drug in powder form and

     need to be reconstituted (solubilized) in saline solution in order to be administered by

     injection into the patient. MT10109L, on the other hand, is a solubilized product that can

     be administered directly into a patient. Thus, with MT10109L, there is no need for

     reconstitution with saline prior to administration. There are considerations, both known

     and yet unforeseen, that factor into the market’s acceptance of MT10109L (or any other

     yet-to-be marketed product) in the future.

            Thus, unlike the overwhelming evidence that the sales of Jeuveau® are having a

     direct and detrimental effect on the sales of and profits from BOTOX®, complainants


                                                  224
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 232 of 283 PageID# 331

                                        PUBLIC VERSION


     have not provided sufficient evidence of such direct effect or likely effect caused by

     Jeuveau® again MT10109L. The administrative law judge finds that the evidence does

     not demonstrate that the importation of the accused products have the effect of

     threatening to substantially injure sales of MT10109L in the future.

     IX.    Respondents’ Affirmative Defenses

            A.      Statute of Limitations

            Respondents argue, in part:

                           Complainants’ claims are time-barred because they
                    accrued more than three years before January 25, 2019,
                    when Complainants filed the Complaint.

                                           .      .       .

                             The Federal Circuit has held that “claims for trade
                    secret misappropriation accrue for statute-of-limitations
                    purposes when the plaintiff knew or reasonably should have
                    known of the facts that give rise to the claim.” Raytheon Co.
                    v. Indigo Systems Corp., 688 F.3d 1311, 1316 (Fed. Cir.
                    2012). The evidence shows that Complainants knew or
                    should have known about the acts that allegedly underlie
                    their misappropriation claims as early as April 2015 and no
                    later than December 2015, i.e., more than three years prior
                    to filing its ITC Complaint in January 2019.

                                           .      .       .

                            Complainants’ strain misappropriation claim is time-
                    barred because Complainants were or should have been
                    aware that Daewoong possessed a strain they allege was
                    misappropriated since at least 2014. Indeed, Medytox
                    admits it first suspected Daewoong had misappropriated its
                    strain by April 2015.

                            Medytox admits that [

                                                      ]. CX-2573.52 (Compl.’s
                    Responses to Resp’s First Set of ROGs) at No. 33.
                    Daewoong’s U.S. Patent 9,512,418 (“the ’418 patent”), CX-
                    1727 (U.S. Patent 9,512,418), describes experiments
                    comparing the effects of Allergan’s BTX-A1 (Botox®) and


                                                 225
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 233 of 283 PageID# 332

                                    PUBLIC VERSION


                 Daewoong’s BTX-A2 (DWP-450) and identifies the C.
                 botulinum strain used to produce each as “Wild-type hall.”
                 See e.g., RX-3330.12 (U.S. Patent 9,512,418). Similarly, in
                 October 2014, Daewoong deposited the DNA sequence for
                 the toxin gene cluster for its C. botulinum strain into
                 GenBank, and identified it as “neurotoxin type A gene.” See
                 RX-1880.6 (Medytox Citizen Petition (2017)). Indeed,
                 Medytox used the statements in the ’418 patent and
                 GenBank to allege to the FDA in its Citizen Petition that
                 Daewoong’s “DWP-450” strain “is the same unaltered Hall
                 strain as used to produce Botox®,” i.e., a Hall A-Hyper
                 strain like Medytox’s strain. RX-1880.8 (Medytox Citizen
                 Petition (2017)). Thus, Medytox had actual knowledge of
                 its claims by April 2014.

                          Based on these public disclosures in 2014,
                 Complainants had constructive notice of the essential facts
                 underlying their misappropriation allegations—that
                 Daewoong allegedly had a Type A Hall strain isolated in
                 Korea that was like Botox®’s strain and thus Medytox’s
                 strain. See Advanced Cardiovascular Systems, Inc. v.
                 Medtronic Vascular, Inc., 182 Fed. Appx, 994, 999 (Fed.
                 Cir. 2006) (holding misappropriation claims were time-
                 barred due to defendant’s “constructive knowledge” arising
                 from a European patent application, publications, and
                 disclosures at conferences that both plaintiff and defendant
                 attended); Informatics Applications Group, Inc. v.
                 Skholnikov, 836 F. Supp. 2d 400, 442 (E.D. Va. 2011) (claim
                 time-barred where plaintiff “had at least constructive notice
                 that its trade secrets had been included in the patent
                 documents … more than three years before … suit was
                 filed.”).

                        Furthermore, even assuming that Medytox’s
                 knowledge of Daewoong’s patents as of 2014 did not trigger
                 the limitations period, Medytox admitted that it suspected
                 Daewoong of misappropriating its strain by April 2015,
                 more than three years before the Complaint was filed in
                 January 2019. In his witness statement, Medytox’s CEO,
                 Hyun Ho JUNG, admitted that he first became suspicious
                 that Daewoong had misappropriated Medytox’s Hall A-
                 hyper strain at a conference in Dubai in April 2015. CX-
                 0013C.61 (Hyung Ho JUNG WS) at Q/A 113-115 (“Q.
                 When did you first become suspicious that Daewoong had
                 misappropriated Medytox’s Hall A-hyper strain? A. In April
                 2015, [when] I attended a botulinum toxin conference in


                                             226
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 234 of 283 PageID# 333

                                    PUBLIC VERSION


                 Dubai[.]”); CX-0667C.1 (Snapshots of Daewoong’s 2015
                 Slides). Dr. JUNG stated that his suspicions were based on
                 Daewoong’s presentation, which described Daewoong’s
                 strain as a “wild-type Hall-A strain”—the same information
                 that was earlier disclosed in Daewoong’s ’418 patent. Id. at
                 Q/A 113; CX-0667C.1 (Daewoong Presentation Slides).

                         In addition, according to an internal Medytox
                 document describing the chronology of its efforts to
                 investigate the purported theft of its strain, Medytox began
                 affirmatively scrutinizing the origin of Daewoong’s strain
                 following the April 2015 conference in Dubai, including
                 demanding to have a “discussion session” with Daewoong
                 on July 29, 2015. RX-1790C.6-7 (Korean litigation
                 summary of criminal action).

                                       .       .      .

                         At the hearing, Dr. JUNG testified that he confronted
                 Daewoong’s representatives about the origin of Daewoong’s
                 strain at the April 2015 conference. Hearing Tr. 334:3-10
                 (“And then came the 2015 DOMA held in Dubai. So the
                 folks from Daewoong made a certain representations that
                 what they had come up -- come upon was a hyper strain.
                 And I said hmm, that -- and I chose to speak with Daewoong,
                 and for some reason, they were rather highbrowed.”). Dr.
                 JUNG also testified that it was at this conference that he
                 became “dubious” about the Daewoong’s strain; in fact he
                 became so dubious that Medytox began discussing the issue
                 with Allergan in December 2015. See Hearing Tr. 341:12-
                 342:4 (“[I]t was I believe in 2015 at the Doma in Dubai that
                 Daewoong started saying that – Daewoong said that their
                 strain was first a hyper strain and that they had found it in
                 the ground soil. And I was a little dubious about that…[W]e
                 had this idea to bring this up during this discussion with
                 Allergan that something like that had transpired, by way of -
                 - by way of reporting.”). That [

                                                          ]. RX-1655C.4 (JSC
                 Meeting Minutes, Dec. 15, 2015) [
                                                                     ]; see
                 also Hearing Tr. 342:5-23. At the hearing, in response to
                 questions by Staff, Dr. JUNG tried to place Medytox’s
                 suspicions in 2016, when he spoke to Respondents’ witness
                 Chung Sei KIM, which contradicted his testimony in his
                 witness statement that Medytox began to suspect Daewoong



                                             227
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 235 of 283 PageID# 334

                                      PUBLIC VERSION


                 in 2015 (supra). See Hearing Tr. 337:4-7. Mr. Menchel then
                 began to cross-examine Dr. JUNG to establish this
                 inconsistency, but stopped his questioning when the ALJ
                 commented that the JSC meeting minutes document “speaks
                 for itself.” Hearing Tr. 342:15-23.

                         Medytox’s witness Dr. Gi Hyuk YANG similarly
                 confirmed that Medytox had suspicions about Daewoong’s
                 strain, which it [
                         ]. RX-1655C.4 ([                 ] Dec 15, 2015)
                 [
                                             ]; RX-3015C.17-18 (Gi Hyuk
                 YANG Dep. Desg. at 68:10-70:4, 71:11-22, 71:24-72:12).

                                         .       .       .

                         Dr. YANG’s testimony about the meeting with
                 Allergan corroborates that Medytox was suspicious that
                 Daewoong had misappropriated its strain by no later than
                 December 2015, over three years before the Complaint was
                 filed, and proves that both Medytox and Allergan were on
                 notice of the potential misappropriation claim as of that time.

                         Indisputably, by December 2015 at the latest,
                 Medytox was suspicious about the origin of Daewoong’s
                 strain and had sufficient information to make further inquiry.
                 That is enough to trigger the statute of limitations. See
                 Phillip M. Adams & Associates, LLC v. Dell Computer
                 Corp., 519 Fed. Appx. 998, 1007 (Fed. Cir. 2013) (The
                 statutory discovery rule “does not allow plaintiffs to delay
                 filing suit until they have ascertained every last detail of their
                 claims… All that is required to trigger the statute of
                 limitations is ... sufficient information to apprise the plaintiff
                 of the underlying cause of action so as to put them on notice
                 to make further inquiry if they harbor doubts or questions’
                 about the defendant's actions.”).

                                         .       .       .

                          As early as 2014, Complainants also knew of the
                 critical features of Daewoong’s manufacturing process for
                 DWP450 that they now allege were misappropriated as those
                 features were disclosed and claimed in Daewoong’s ’418
                 patent. CX-2573.52 (Compl.’s Responses to Resp’s First
                 Set of ROGs) at No. 33. Specifically, Medytox’s allegedly
                 misappropriated process, including, inter alia, the three
                 critical steps—[


                                               228
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 236 of 283 PageID# 335

                                       PUBLIC VERSION



                                   ]—were all disclosed as part of Daewoong’s
                   process for producing DWP450 in Daewoong’s ’418 patent.
                   Compare RX-3330.13 (US Patent 9,512,418) at claims 1 &
                   10, Fig. 1 with CX-0010C.51-53 (Pickett WS) at Q/A 255-
                   259. Thus, since 2014, Medytox was actually aware (by
                   virtue of its knowledge of Daewoong’s ’418 patent) and
                   Allergan was at least constructively aware (by virtue of the
                   patent’s publication) of the “particularly important” facts
                   undergirding its claim that its process was misappropriated
                   by Daewoong; Complainants were constructively aware.
                   Advanced Cardiovascular Systems, 182 Fed. Appx. at 999;
                   Informatics Applications Group, 836 F. Supp. 2d at 442.

                           In addition, Medytox has asserted that it “has always
                   had safeguards in place to protect trade secrets against theft,”
                   and in 2007 went even further by monitoring employee
                   emails and printings. See CX-0017C.46-47 (Seong Hun
                   CHANG WS) at Q/A 9-11. Dr. JUNG testified that Medytox
                   ran regular security checks to protect its confidential
                   information and detect suspicious activity, which is how it
                   discovered Dr. Lee’s (allegedly) suspicious activities. RX-
                   3019C.29 (Hyun Ho JUNG Dep. Desg. Vol. I) at 115:21-
                   116:2. Given that Medytox already knew about Daewoong’s
                   patents in 2014, Medytox through “reasonable diligence”
                   should have known about Dr. Lee’s supposedly suspicious
                   use of documents and email well before January 2016 (i.e.,
                   the three years cut-off for the statute of limitations here).
                   Advanced Cardiovascular Systems, 182 Fed. Appx. at 999.
                   There are virtually no facts alleged in the Complaint
                   concerning Medytox’s process misappropriation claims that
                   were not also available to Medytox in early 2014, more than
                   four years prior to bringing this ITC action.

     Resps. Br. at 265–77.

            Complainants argue, in part:

                          In any event, the Complaint was filed well within any
                   conceivably applicable statute of limitations because it was
                   filed just as triggering events were taking place –
                   Respondents receiving FDA approval and the imminent
                   commercial importation of DWP-450. The limitations
                   period could not have begun, as Respondents contend, when
                   Daewoong filed its patent application in 2014 or when
                   Medytox’s CEO heard a presentation describing


                                                229
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 237 of 283 PageID# 336

                                    PUBLIC VERSION


                 Daewoong’s strain as a “type A” strain in 2015, even if that
                 information was passed on to Allergan. See Resps. Prehr’g
                 Br. at 194-98; RX-1655C.4 (Joint Steering Committee
                 Minutes, 12/15/15). [




                                                        ]. See Hr’g Tr. (HH
                 Jung) at 343. For the same reason, Complainants’ awareness
                 of Evolus’s U.S. clinical trials of DWP-450 did not start the
                 clock. See Resps. Prehr’g Br. at 198-200; RX-3544C
                 (Maltman Email, 07/26/14).

                        What the undisputed evidence does show is that – far
                 from sitting on its rights – Medytox [
                                                ], see CX-0013C (HH Jung
                 WS) at Q/A 124, through which Medytox learned several
                 important facts. [


                     ], see CX-0013C (HH Jung WS) at Q/A 137. Second,
                 Chang Woo Suh attended the same university and worked in
                 the same lab as BK Lee, a former Medytox employee. And
                 finally, BK Lee had subsequently gone to work for
                 Daewoong. Id.; accord RX-3159C (Suh WS) at Q/A 58-62.
                 Further investigation by Medytox revealed that prior to
                 leaving Medytox, BK Lee had printed and emailed himself
                 highly sensitive company documents, which as discovery in
                 this Investigation revealed, he still retained in 2019. See,
                 e.g., CX-2452C (BK Lee Email, 11/02/07); CX-2453C-59C
                 (BK Lee Email Attachs., 11/02/07).

                         At that point, in March of 2017, Medytox
                 appropriately pursued a government investigation of
                 Daewoong – the most expeditious approach to fact finding
                 in a country that lacks U.S.-style civil discovery. See Korean
                 Criminal Case No. 2017-000236; CX-1832 (Decision in
                 Korean Criminal Case); CX-0013C (HH Jung WS) at Q/A
                 138. This approach demonstrates diligence, the opposite of
                 delay. Sokol Crystal Prod., Inc. v. DSC Commc’ns Corp.,
                 15 F.3d 1427, 1430 (7th Cir. 1994) (rejecting statute of
                 limitations defense under Wisconsin UTSA even though
                 plaintiff had “concerns and suspicions” before the
                 limitations period).




                                              230
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 238 of 283 PageID# 337

                                         PUBLIC VERSION


                           Knowing that Respondents were seeking FDA
                   approval in the United States, Medytox also filed a lawsuit
                   against Daewoong in California Superior Court in June
                   2017. See Medytox Inc. v. Daewoong Pharmaceuticals Co.,
                   Ltd., Case No. 30-2017-00924912-CU-IP-CJC (Cal. Super.
                   Ct., Orange Cty. 2017). That claim was subsequently stayed
                   on forum non conveniens grounds in favor of litigation in
                   Korea, which Medytox commenced in October 2017, see
                   Seoul Central District Court Case No. 2017Ga-Hap574026,
                   shortly before Medytox filed a citizen petition with the US
                   FDA in December 2017, see RX-1880C (FDA Citizen
                   Petition). Approximately thirteen months later, when the
                   commercial launch of Jeuveau became imminent and the
                   corresponding threat of injury to the US domestic industry
                   thus became “substantive and clearly foreseen,” Rubber
                   Resins Comm’n Op. at 64, Complainants filed their Section
                   337 Complaint, see CX-2612C (HH Jung RWS) at Q/A 7.
                   Thus, even under a three-year limitations period,
                   Complainants’ claims are timely.

     Compls. Br. at 274–76 (footnote omitted).

            The Staff argues, in part:

                            Respondents assert that the trade secret
                   misappropriation claim is time-barred because it accrued
                   more than three years before January 25, 2019, when
                   Complainants filed the Complaint. RPB at 193. According
                   to Respondents, Medytox has been aware of Daewoong’s
                   possession of a Hall A strain since at least 2014, and admits
                   it “[
                                                 ].” CX-2573.52 (Medytox’s
                   Responses to Daewoong’s 1st Set of ROGs to Medytox) at
                   ROG No. 33. The ’418 patent (RX-3330) is issued to
                   Daewoong and “(1) describe[s] experiments comparing the
                   effects of Allergan’s BTX-A-1 (BOTOX®) and
                   Daewoong’s BTX-A-2 (DWP450), respectively; and (2)
                   identif[ies] the Clostridium botulinum strain in each of the
                   two products as a type A Hall strain.” RPB at 194.
                   Respondents argue that if the ’418 patent is deemed not to
                   provide constructive notice, then Medytox’s admission that
                   as of April 2015, it had actual suspicions about Daewoong’s
                   strain, should trigger constructive notice. RPB at 195. April
                   2015 was when Medytox’s CEO, Dr. Hyun Ho JUNG,
                   attended a botulinum toxin conference in Dubai, where two
                   Korean doctors gave a presentation on Daewoong’s DWP-


                                                 231
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 239 of 283 PageID# 338

                                        PUBLIC VERSION


                    450 product. Furthermore, Respondents argue, Allergan had
                    constructive notice no later than December 2015 [

                                                                           ]. RPB
                    at 196, citing RX-1655C.4 [                        ] (Dec. 15,
                    2015). Thus, according to Respondents, under the three-year
                    statute of limitations set by the Defend Trade Secrets Act and
                    the Uniform Trade Secrets Act, Medytox should have
                    brought an action no later than April 2018 and Allergan, no
                    later than December 2018. RPB at 193.

                            Tellingly, Respondents detail a lengthy timeline of
                    events that starts on April 8, 2016, when Medytox filed a
                    private criminal petition with the Seoul Metropolitan Police
                    against two former Medytox employees. RPB at 7–12.
                    Respondents acknowledge that in January 2017, Medytox
                    initiated criminal proceedings against BK Lee and in June
                    2017, initiated litigation against BK Lee, Daewoong, and
                    Evolus. Yet, none of the actions toll the statute of
                    limitations, according to Respondents, since these earlier
                    actions are not a predicate to the filing of a Section 337
                    complaint at the Commission. RPB at 200.

                                           .      .       .

                            Furthermore, if Respondents’ argument that
                    Complainants’ trade secret misappropriation claim is time
                    barred at the Commission due to the statute of limitations
                    succeeds, it is an open invitation to unscrupulous actors to
                    misappropriate trade secrets, wait three years past the point
                    when the trade secret owner has constructive notice, import
                    the offending wares into the United States, and then argue
                    that the Commission cannot exclude the products because
                    the action is time barred. This would be a perverse result
                    that would grant a loop-hole to allow misappropriators to
                    take advantage of the legal system to shield themselves and
                    benefit from their illicit gains.

     Staff Br. at 144–46 (footnote omitted).

            As complainants correctly point out, section 337 does not itself contain a statute

     of limitations, or a similar statutory provision. Compls. Br. at 273–74. Furthermore,

     there is nothing in the record to show that complainants were dilatory in pursuing relief,




                                                 232
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 240 of 283 PageID# 339

                                       PUBLIC VERSION


     or that the underlying allegations of trade secret misappropriation are time-barred under

     law.

            Complainants filed the complaint on January 30, 2019, by which point it was

     reasonably clear that the FDA would grant approval for the sale of Jeuveau®, which

     occurred two days later, on February 1, 2019. See RX-3167C (KY Kim WS) at Q/A 17.

     That is, the complaint was filed just days before the precondition for commercial

     importation.

            As such, the complaint was filed prior to the imminent commercial importation of

     DWP-450. [

                            ], complainants had no reason initially to suppose that the

     representation was to divert away from any misappropriation of the strain and

     manufacturing process used by Medytox. See Jung Tr. 343. For the same reason,

     complainants’ awareness of Evolus’s U.S. clinical trials of DWP-450 should not

     necessarily have prompted action on complainants’ part. See RX-3544C (Maltman

     Email, 07/26/14).

            Medytox conducted an investigation in late 2016, see CX-0013C (Jung WS) at

     Q/A 124, through which Medytox learned several important facts. First, Medytox

     learned that [

                                                                 ], see id. at Q/A 137. Second,

     Chang Woo Suh attended the same university and worked in the same lab as BK Lee, a

     former Medytox employee. Third, BK Lee had subsequently gone to work for

     Daewoong. Id.; accord RX-3159C (Suh WS) at Q/A 58-62. Further investigation by

     Medytox revealed that prior to leaving Medytox, BK Lee had printed and emailed



                                                233
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 241 of 283 PageID# 340

                                       PUBLIC VERSION


     himself highly sensitive company documents, which he still retained in 2019. See, e.g.,

     CX-2452C (BK Lee Email, 11/02/07); CX-2453C-59C (BK Lee Email Attachs.,

     11/02/07). These are facts upon which complainants now rely in this investigation.

            At that point, in March of 2017, Medytox appropriately pursued a government

     investigation of Daewoong. See Korean Criminal Case No. 2017-000236; CX-1832

     (Decision in Korean Criminal Case); CX-0013C (Jung WS) at Q/A 138. This approach

     demonstrates diligence, not delay. Sokol Crystal Prod., Inc. v. DSC Commc’ns Corp., 15

     F.3d 1427, 1430 (7th Cir. 1994) (rejecting statute of limitations defense under Wisconsin

     UTSA even though plaintiff had “concerns and suspicions” before the limitations period).

            Knowing that respondents were seeking FDA approval in the United States,

     Medytox also filed a lawsuit against Daewoong in California Superior Court in June

     2017. See Medytox Inc. v. Daewoong Pharmaceuticals Co., Ltd., Case No. 30-2017-

     00924912-CU-IP-CJC (Cal. Super. Ct., Orange Cty. 2017). That claim was subsequently

     stayed on forum non conveniens grounds in favor of litigation in Korea, which Medytox

     commenced in October 2017, shortly before Medytox filed a citizen petition with the

     U.S. FDA in December 2017. See RX-1880C.

            Dr. Jung first heard Daewoong’s claim that its DWP-450 product was purified

     from a wild-type C. botulinum expressing BTX type A, in April 2015. However, it is not

     clear why Medytox should have immediately concluded that Daewoong misappropriated

     the Medytox BTX strain. Dr. Jung testified that it was not until after he spoke to Dr.

     Chung Sei Kim at a conference in Dubai in March or April 2016 that he began to have

     suspicions that Daewoong could have misappropriated Medytox’s strain. Jung Tr. 333–




                                                234
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 242 of 283 PageID# 341

                                        PUBLIC VERSION


     337. His suspicions led him to initiate an internal investigation at Medytox, which

     eventually led to the investigation of BK Lee and his relationship with Daewoong.

            The evidence of record shows that complainants are not time-barred from

     pursuing this investigation. They have sought relief at the time when it was appropriate,

     and in no case waited more than three years to do so. With respect to this investigation,

     the complaint leading to this investigation was filed on January 30, 2019, Notice of

     Receipt of Complaint, 84 Fed. Reg. 1787 (Feb. 5, 2019), shortly before importation of

     accused products was expected by complainants to begin.

            B.      Laches

            Laches “occurs when a complainant delays in bringing suit for an unreasonable

     and inexcusable length of time from when it knew or reasonably should have known of

     the alleged infringement, and where that delay would cause material prejudice to the

     respondent.” Certain Network Devices, Related Software and Components Thereof (I),

     Inv. No. 337-TA-944, Comm’n Op. at 26 (July 26, 2016) (EDIS Doc. No. 586600)

     (citing A.C. Auckerman Co. v. R.L. Chaides Constr. Co., 960 F.2d 1020, 1028 (Fed. Cir.

     1992) (overruled on other grounds)). “The length of time which may be deemed

     unreasonable has no fixed boundaries but rather depends on the circumstances.”

     Auckerman, 960 F.2d at 1032. Additionally, delay in bringing suit “may be excused by a

     host of factors.” Hemstreet v, Comput. Entry Sys. Corp., 972 F.2d 1290, 1293 (Fed. Cir.

     1992); Auckerman, 960 F.2d at 1033 (“excuses which have been recognized in some

     instances,” examples of which, in a non-exhaustive list, “include: other litigation,

     negotiations with the accused, possibly poverty and illness under limited circumstances,

     extent of infringement, and dispute over ownership of the patent” (internal citations



                                                 235
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 243 of 283 PageID# 342

                                        PUBLIC VERSION


     omitted)). The “extent of infringement” excuse was a basis for the Court of Claims to

     hold that a plaintiff “could reasonably delay bringing suit until he could determine that

     the extent of possible infringement made litigation monetarily ripe.” Tripp v. U.S., 406

     F.2d 1066, 1071 (Ct. Cl. 1969). “The equities may or may not require that the plaintiff

     communicate its reasons for delay to the defendant.” Auckerman, 960 F.2d at 1033,

     citing CHISUM ON PATENTS § 19.05(2)(b). Furthermore, the rights owner “may be able to

     preclude application of the laches defense with proof that the accused infringer is itself

     guilty of misdeeds towards the [rights owner] — ‘[h]e who seeks equity must do

     equity.’” Personal Audio, LLC v. Apple, Inc., 9:09-cv-111, 2011 WL 13134589, at *2

     (E.D. Tex. Aug. 23, 2011), quoting Auckerman, 960 F.2d at 1038.

            Respondents argue, in part:

                            To the extent the ALJ determines that there is no
                    fixed limitations period for Section 337 actions,
                    Complainants’ claims are barred by the equitable doctrine of
                    laches. The evidence demonstrates that Complainants
                    unreasonably delayed bringing suit, to the substantial
                    prejudice to Respondents. See, e.g., Wanlass v. General
                    Electric Co., 148 F.3d 1334, 1337 (Fed. Cir. 1998) (laches
                    applies where “the plaintiff delayed filing suit an
                    unreasonable and inexcusable length of time after the
                    plaintiff knew or reasonably should have known of its claim
                    against the defendant; and the delay resulted in material
                    prejudice or injury to the defendant”) (internal citations
                    omitted).

                            If Complainants had brought suit in a timely fashion,
                    it would have been feasible for Respondents to take proper
                    measures that would have mooted any (even theoretical)
                    need for an exclusion order to remedy the claimed
                    misappropriation. But, Complainants did not file their
                    Complaint in a timely fashion. As explained supra in
                    Section VIII.A.1, Complainants knew or should have known
                    of all material facts they included in the Complaint by 2015,
                    at the latest. Indeed, Complainants admitted that by 2015
                    they had formed the belief that Daewoong might have stolen


                                                 236
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 244 of 283 PageID# 343

                                    PUBLIC VERSION


                 Medytox’s trade secrets. Id. Complainants had all the
                 information regarding BK LEE’s allegedly suspicious
                 activities—including the allegations include in Medytox’s
                 Complaint—as early as 2008. Had Complainants filed suit
                 at any time between 2008 and 2015, Respondents would
                 have been able to take corrective measures to avoid any time
                 being excluded from the market.

                          Solely for the purpose of assessing the effect of
                 Complainants’ unreasonable delay here, if one were to
                 assume that Complainants’ claims that BK LEE
                 misappropriated their trade secrets were valid, the question
                 would be what, if anything, Respondents could have done to
                 rectify the violation. In 2015 or earlier, with the Daewoong-
                 Evolus partnership still in its nascent phase and a large
                 amount of development work on Jeuveau® still to go, the
                 answer would have been a lot. Respondents could have, for
                 example, licensed a different strain from one of the several
                 commercial providers in the market. See, supra, Section
                 II.E.d. Respondents also could have designed around any
                 alleged manufacturing process trade secrets and restructured
                 their process to distinguish it from Medytox’s process. Most
                 importantly, Respondents could have made these
                 adjustments before investing the years that are needed to
                 obtain FDA approval for their product.

                         However, rather than file this action in a timely
                 fashion—and without cause for their delay—Complainants
                 waited to sue until after (a) Evolus and Daewoong had
                 expended [
                                                      ]; (b) Respondents had
                 started making and importing the product for clinical testing;
                 (c) Respondents had applied for FDA approval based on a
                 specific manufacturing process; (d) it was universally
                 acknowledged that Jeuveau® would in fact be approved; and
                 (e) Respondents had started making large quantities of
                 Jeuveau® for commercial sale in expectation of the
                 imminent approval that in fact came. As a result of
                 Complainants’ delay, Respondents have sunk costs both in
                 terms of time and money that they should not have had to
                 and thus have been substantially prejudiced.

                        Respondents’ ability to defend themselves against
                 Complainants’ allegations has also been substantially
                 prejudiced by Complainants’ delay: memories have faded;
                 witnesses have become unavailable; and documents have



                                              237
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 245 of 283 PageID# 344

                                       PUBLIC VERSION


                   become unavailable.        In short, through their delay
                   Complainants have both impaired Respondents’ ability to
                   disprove their claims and have—in the event of an exclusion
                   order—maximized the harm to Respondents and all but
                   eliminated their ability to mitigate that harm. These are
                   precisely the circumstances in which laches apply.

     Resps. Br. at 277–79 (footnotes omitted).

            Complainants argue, in part:

                           While the Tariff Act permits parties to raise “all legal
                   and equitable defenses” in an investigation, 19 U.S.C. §
                   1337(c), that does not mean that all defenses known to equity
                   are cognizable in this forum. When considering equitable
                   defenses, “the Commission should weigh the public and
                   private interests at stake, and should consider all equitable
                   defenses in this context.” Certain Apparatus for the
                   Continuous Prod. of Copper Rod, Inv. No. 337-TA-52,
                   Recommended Determination, 1979 WL 61155, at *51
                   (Aug. 13, 1979) (“Copper Rod Recommended Det.”).

                            It is well established that the defense of laches is not
                   a bar to prospective relief in patent cases before the
                   Commission. See, e.g., id. at *52 (“[T]he doctrine of laches
                   bars relief for past practices. In a patent suit, the effect of a
                   successful laches defense is merely to withhold damages for
                   infringement prior to the filing of the suit.”); Certain Pers.
                   Watercraft & Components Thereof, Inv. No. 337-TA-452,
                   Order No. 54 at 2 (Sept. 19, 2001) (“[L]aches as it pertains
                   to patent-based cases does not, as a matter of law, work to
                   curtail the type of prospective relief sought in [Section] 337
                   cases.”) (citing Certain EPROM, EEPROM, Flash Memory
                   & Flash Microcontroller Semiconductor Devices, Inv. No.
                   337-TA-395, Comm’n Op., Supplemental Views of
                   Chairman Bragg at 11, n.65 (July 9, 1998)). On two recent
                   occasions, the Commission has declined a respondent’s
                   invitation to upset this longstanding rule, taking no position
                   on the legal issue. See Certain Lithium Metal Oxide Cathode
                   Materials, Inv. No. 337-TA-951, Comm’n Op. at 15-16,
                   2017 WL 11261372, at *9 (Jan. 26, 2017) (citing SCA
                   Hygiene Prod. Aktiebolag v. First Quality Baby Prod., LLC,
                   807 F.3d 1311, 1332 (Fed. Cir. 2015)); Certain Network
                   Devices, Related Software & Components Thereof (I), Inv.
                   No. 337-TA-944, Comm’n Op. at 26, 2017 WL 11261371,
                   at *15 (Apr. 19, 2017).


                                                 238
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 246 of 283 PageID# 345

                                     PUBLIC VERSION


                          While the Commission has not ruled on the
                 availability of the laches defense in trade secret cases, there
                 is no reason that the approach should be any different. To
                 the extent that the Commission can award only prospective
                 relief in the form of exclusion and cease and desist orders,
                 that relief should be available in a trade secret case on the
                 same terms as in a patent case. See Philadelphia Extracting
                 Co. v. Keystone Extracting Co., 176 F. 830, 831 (C.C.E.D.
                 Pa. 1910); see also Reclosable Plastic Bags, Inv. No. 337-
                 TA-22, Comm’n Mem. Op. at 8-9, USITC Pub. 801 (Jan.
                 1977) (finding that respondent failed to prove laches and
                 stating “Section 337 mandates that once the Commission
                 finds an unfair method of competition or an unfair act in the
                 importation of articles into the United States, it must rectify
                 the situation. There is no requirement that the unfair act be
                 discovered by a certain time. Even if the unfair act is
                 discovered at a late date or reported at a late date by the
                 complainant, the Commission is still free to rectify the
                 situation.”).

                         In any event, Respondents utterly failed to establish
                 that Complainants were dilatory in seeking relief in this
                 forum – in fact the opposite is true because Complainants
                 initiated this Investigation as promptly as was reasonable
                 under the circumstances. Cf. Wanlass v. Gen. Elec. Co., 148
                 F.3d 1334, 1337 (Fed. Cir. 1998) (“To prove laches, a
                 defendant must show that ‘the plaintiff delayed filing suit an
                 unreasonable and inexcusable length of time after the
                 plaintiff knew or reasonably should have known of its claim
                 against the defendant; and . . . the delay resulted in material
                 prejudice or injury to the defendant.’” (quoting Gasser Chair
                 Co. v. Infanti Chair Mfg. Corp., 60 F.3d 770, 773 (Fed. Cir.
                 1995))); Cornetta v. United States, 851 F.2d 1372, 1380
                 (Fed. Cir. 1988) (“[U]nder Federal Rule of Civil Procedure
                 8(c), laches is an affirmative defense.”). To successfully
                 bring a complaint before the Commission, “a prospective
                 complainant must mobilize information with respect to each
                 element constituting a violation of § 337, one of which is
                 substantial injury or threat thereof to the domestic industry.”
                 Certain Braiding Machines, Inv. No. 337-TA-130,
                 Unreviewed Initial Determination at 82, USITC Pub. 1435
                 (Oct. 1983), 0083 WL 851512, at *36 (finding that
                 “complainant has only recently detected ‘injury’ in the § 337
                 sense,” which excused its delay in filing) ; accord Certain
                 Agric. Vehicles & Components Thereof, Inv. No. 337-TA-
                 487, Final Initial & Recommended Determinations at 133, at


                                              239
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 247 of 283 PageID# 346

                                     PUBLIC VERSION


                 *67 (Jan. 13, 2004), vacated on other grounds sub nom.
                 Bourdeau Bros. v. Int’l Trade Comm’n, 444 F.3d 1317 (Fed.
                 Cir. 2006).

                         Even if the ALJ were to entertain an affirmative
                 defense of laches, the question is ultimately not whether
                 Medytox could have brought a legal claim against
                 Daewoong in another forum earlier – and in any event,
                 Medytox did just that. See Daewoong Pharm. Co.et al., Inv.
                 No. 2016-004319, Seoul Metro. Police Agency (crim. pet.
                 filed Apr. 2016); Medytox Inc. v. Daewoong Pharm. Co.,
                 Ltd., Case No. 30-2017-00924912-CU-IP-CJC (Cal. Super.
                 Ct., Orange Cty. 2017). Rather, the question is when
                 Medytox could have come to this forum. The mandate of
                 the ITC concerns unfair acts in connection with importation
                 causing substantial injury to domestic industry, or a threat
                 thereof. 19 U.S.C. § 1337(a)(1)(A)(i). To be cognizable, a
                 “threatened injury must be ‘substantive and clearly
                 foreseen.’”     Rubber Resins Comm’n Op. at 64.
                 Complainants sought relief in this forum at approximately
                 the same time that Respondents commenced commercial
                 importation of Jeuveau in early 2019, and so can hardly be
                 held to have unduly delayed.

                          Respondents inconsistently argue that Medytox
                 somehow should have known of Daewoong’s theft of its
                 trade secrets earlier, while simultaneously maintaining that
                 the evidence that Complainants rely on to confirm that fact
                 – all of which was developed in this Investigation – remains
                 insufficient to establish their liability. The earliest Medytox
                 could have even suspected that Daewoong was using its
                 strain was in April 2015, when Hyun Ho Jung heard
                 Daewoong employees state publicly that DWP-450 was
                 manufactured using a “Hall strain.” See CX-0013C (HH
                 Jung WS) at Q/A 113; CX-0667C (Nabota Slides from
                 Dubai Conference). But even then, mere suspicions are not
                 enough to start the limitations clock. See ABB Turbo Sys.
                 AG v. Turbousa, Inc., 774 F.3d 979, 985 (Fed. Cir. 2014)
                 (rejecting laches defense as inadequate where plaintiff
                 merely “had an inkling that something was amiss”).

                         The next year, in 2016, the undisputed evidence is
                 that Chung Sei Kim told Hyun Ho Jung that he personally
                 isolated Daewoong’s strain from soil. See CX-0013C (HH
                 Jung WS) at Q/A 118. In his testimony, Chung Sei Kim
                 admitted that he did so, and now has admitted that he was



                                              240
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 248 of 283 PageID# 347

                                         PUBLIC VERSION


                   deliberately lying with the “intent . . . to feed misinformation
                   to Medytox.” RX-3161C (CS Kim WS) at Q/A 143-45. At
                   a minimum, Chung Sei Kim’s admitted attempt to
                   deliberately mislead Medytox in 2016, on behalf of
                   Daewoong, defeats any assertion by Daewoong of an
                   equitable laches defense. See Holmberg v. Armbrecht, 327
                   U.S. 392, 396 (1946) (“[F]raudulent conduct on the part of
                   the defendant may have prevented the plaintiff from being
                   diligent and may make it unfair to bar appeal to equity
                   because of mere lapse of time.”). It was therefore not until
                   Medytox conducted its investigation starting in late 2016 and
                   2017 that Medytox came to suspect that the Accused
                   Products were developed using Medytox trade secrets. Only
                   then did the connections between BK Lee, Chang Woo Suh,
                   and Daewoong’s strain and development process begin to
                   come into focus for Medytox. Medytox did not sit on its
                   rights; this Investigation was brought timely.

     Compls. Br. at 276–80.

            The Staff argues, in part:

                           Respondents urge that Complainants’ claims be
                   rejected based on the equitable principle of laches, due to the
                   alleged     “substantial     prejudice     flowing      from”
                   “Complainants’ unreasonable delay in bringing suit.” RPB
                   at 201. Respondents claim that Complainants should have
                   brought suit no later than 2015, when Medytox formed a
                   belief that Daewoong stole Medytox’s trade secrets.
                   Respondents’ arguments are unavailing.

                                          .       .       .

                           Respondents’ laches theory would be plausibly
                   meritorious if Respondents could have proven that Medytox
                   should have investigated BK Lee in 2008. Aside from some
                   print outs of documents that, according to BK Lee, were for
                   legitimate work purposes, it is entirely unclear what
                   Medytox should have done at that time or what it should
                   have been suspicious of, especially with respect to
                   Daewoong. If Daewoong’s tale of isolation of a C.
                   botulinum Hall A-hyper strain from the soil in Korea is to be
                   believed, Daewoong did not even have a strain in its
                   possession, much less even a botulinum toxin development
                   project in the works.

                                          .       .       .


                                                241
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 249 of 283 PageID# 348

                                         PUBLIC VERSION


                            Respondents again criticize Complainants for
                    allegedly failing to “bring[] this action in a timely fashion[.]”
                    RPB at 202. As discussed in the section VII.A addressing
                    Respondents’ statute of limitations defense, supra,
                    Respondents are silent as to how the Commission would
                    have had jurisdiction over this trade secret misappropriation
                    matter unless and until Complainants had evidence that the
                    accused products were imported into the United States. In
                    the Staff’s view, Respondents’ argument that Complainants
                    sat on their rights contradicts the facts.

                            Finally, as recognized by several courts, including
                    the Federal Circuit, “he who seeks equity must do equity.”
                    Auckerman, 960 F.2d at 1038; see also Pei-Herng Hor v.
                    Ching-Wu Chu, 699 F.3d 1331, 1337 (Fed. Cir. 2012)
                    (“Under the unclean hands doctrine, a plaintiff may be able
                    to preclude application of the laches defense with proof that
                    the defendant was itself guilty of misdeeds towards the
                    plaintiff.” (internal brackets and quotations removed)). As
                    such, if the ALJ determines that Daewoong misappropriated
                    one or more of the Medytox BTX strain and the Medytox
                    proprietary manufacturing processes, the ALJ should
                    dismiss Respondents’ laches defense.

                           For at least the reasons discussed herein, the Staff
                    submits that Respondents’ laches defense is not viable.

     Staff Br. at 146–49.

            The administrative law judge finds that the complainants initiated this

     investigation as promptly as it was reasonable to do so under the circumstances. Cf.

     Wanlass v. Gen. Elec. Co., 148 F.3d 1334, 1337 (Fed. Cir. 1998) (“To prove laches, a

     defendant must show that ‘the plaintiff delayed filing suit an unreasonable and

     inexcusable length of time after the plaintiff knew or reasonably should have known of its

     claim against the defendant; and . . . the delay resulted in material prejudice or injury to

     the defendant.’” (quoting Gasser Chair Co. v. Infanti Chair Mfg. Corp., 60 F.3d 770, 773

     (Fed. Cir. 1995))); Cornetta v. United States, 851 F.2d 1372, 1380 (Fed. Cir. 1988)

     (“[U]nder Federal Rule of Civil Procedure 8(c), laches is an affirmative defense.”). To



                                                  242
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 250 of 283 PageID# 349

                                        PUBLIC VERSION


     bring a complaint before the Commission, “a prospective complainant must mobilize

     information with respect to each element constituting a violation of § 337, one of which

     is substantial injury or threat thereof to the domestic industry.” Certain Braiding

     Machines, Inv. No. 337-TA-130, Unreviewed ID at 82, USITC Pub. 1435 (Oct. 1983),

     0083 WL 851512, at *36 (finding that “complainant has only recently detected ‘injury’ in

     the § 337 sense,” which excused its delay in filing).

            Section 337 pertains to importation causing substantial injury to domestic

     industry, or a threat thereof. 19 U.S.C. § 1337(a)(1)(A)(i). To be cognizable, a

     “threatened injury must be ‘substantive and clearly foreseen.’” Rubber Resins, Comm’n

     Op. at 64. Complainants sought relief in this forum at the approximate time that

     respondents commenced commercial importation of Jeuveau® in early 2019.

            Even if one were to examine the record to see if laches should apply to the

     underlying claim of trade secret misappropriation, one would find the evidence discussed

     above in connection with respondents’ “limitations” or time-barred defense. There is

     even further evidence of attempts to distract from the facts underlying Daewoong’s trade

     secret misappropriation. See, e.g., CX-0013C (Jung WS) at Q/A 118; RX-3161C (CS

     Kim WS) at Q/A 143–45. At a minimum, attempts to mislead would serve to explain any

     delay, and to defeat an assertion of an equitable laches defense. See Holmberg v.

     Armbrecht, 327 U.S. 392, 396 (1946).

            C.      Unclean Hands

            It has been observed that unclean hands defense is “exceptional,” and “one that

     rarely prevents the grant of the relief that would otherwise be appropriate.” Polk Bros. v.

     Forest City Enters., Inc., 776 F.2d 185, 193 (7th Cir. 1985). The defense is only



                                                 243
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 251 of 283 PageID# 350

                                        PUBLIC VERSION


     available where the alleged misconduct is “directly related to the very issues in

     litigation,” 6 Callmann § 23:17, and “when the plaintiff’s transgression is of serious

     proportions,” Dream Games of Arizona, Inc. v. PC Onsite, 561 F.3d 983, 990–91 (9th

     Cir. 2009)(quoting 4 Nimmer on Copyright § 13.09[B]); accord Aptix Corp. v. Quickturn

     Design Sys., Inc., 269 F.3d 1369, 1376 (Fed. Cir. 2001)(quoting Keystone Driller Co. v.

     Gen. Excavator Co., 290 U.S. 240, 245 (1933)).

            Respondents argue, in part:

                             A party is barred from asserting claims when that
                    party’s own misconduct “has immediate and necessary
                    relation to the equity that he seeks in respect of the matter of
                    litigation.” Keystone Driller Co. v. General Excavator Co.,
                    290 U.S. 240, 245 (1933). See also Precision Instrument
                    Mf’g Co. v. Automotive Maint. Mach. Co., 324 U.S. 806,
                    814-15 (1945) (the doctrine “closes the doors” to “one
                    tainted with inequitableness or bad faith relative to the
                    matter in which he seeks relief”). The unclean hands
                    doctrine “necessarily gives wide range” to the judge’s “use
                    of discretion in refusing to aid the unclean litigant,” id. at
                    815, and has been applied and affirmed at the Commission.
                    See Certain Semiconductor Chips and Prods. Containing
                    Same, Inv. No. 337-TA-753, Comm’n Op. at 51-55. A
                    finding of unclean hands may be predicated on a party’s
                    “pre-litigation business misconduct.” See, e.g., Gilead
                    Sciences, Inc. v. Merck & Co., Inc., 888 F.3d 1231, 1244
                    (Fed. Cir. 2018). An appropriate sanction for such a finding,
                    in the intellectual property context, is an order rendering the
                    subject intellectual property unenforceable. Id.; Certain
                    Semiconductor Chips, Inv. No. 337-TA-753, Comm’n Op.
                    at 51-55.

                                           .       .       .

                             In this Investigation, there is only one party that has
                    unequivocally misappropriated alleged trade secrets:
                    Medytox, which obtained the alleged [
                                                    ], several years before [
                                                                       ]. [
                                                 ] in discovery from the electronic
                    files of [


                                                 244
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 252 of 283 PageID# 351

                                         PUBLIC VERSION


                                           ], were [          ] technical
                    documents from approximately 2005 reflecting [

                                                              ]). See, e.g., RX-
                    2430C ([                                                   ];
                    RX-2431 ([
                        ]) (collectively “[           ] Documents”).

     Resps. Br. at 279–83 (footnote omitted).

            Complainants argue, in part:

                           Respondents argue that even if they are found to have
                    engaged in unfair acts in violation of Section 337, they
                    should nonetheless be permitted to continue to import
                    Jeuveau, and thereby continue to injure the domestic
                    industry, because Medytox allegedly has “unclean hands.”
                    Respondents “bear[] the burden of proving by clear and
                    convincing evidence” their unclean hands defense. In re
                    Omeprazole Patent Litig., 483 F.3d 1364, 1374 (Fed. Cir.
                    2007). Here, Respondents’ scattershot allegations – that
                    Medytox purportedly falsified documents or committed
                    some regulatory infractions in Korea, and that Medytox stole
                    [          ] from [           ] – are entirely unproven and
                    completely irrelevant to the misappropriation issues in this
                    case. See Order No. 24 at 28 (“Respondents’ arguments
                    show that this investigation could be turned away from the
                    alleged misappropriation that is the basis for the
                    Commission’s notice of investigation[.]”). Accordingly, this
                    defense should be swiftly rejected.

     Compls. Br. at 280.

            The Staff argues, in part:

                            Respondents assert a litany of allegations, none of
                    which are contained in their Answers to the Complaint, and
                    most of which have no bearing on the substantive issues in
                    this Investigation, to assert that Complainants’ claims are
                    barred under the unclean hands doctrine. Once again,
                    Respondents’ arguments lack evidentiary support.

     Staff Br. at 150.




                                                245
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 253 of 283 PageID# 352

                                        PUBLIC VERSION


            As an initial matter, neither Daewoong’s nor Evolus’s answer to the complaint

     and notice of investigation pleaded the unclean hands affirmative defense with any level

     of specificity. 19 C.F.R. § 210.13(b) (“Affirmative defenses shall be pleaded with as

     much specificity as possible in the response.”); see EDIS Doc. ID Nos. 671900

     (Daewoong’s Answer (Apr. 1, 2019)) at 43–44, 671916 (Evolus’ Answer (Apr. 1, 2019))

     at 41. It is not clear that Evolus even asserted unclean hands as an affirmative defense in

     the answer, as the phrase only appears once in the answer and only asserts that the filing

     of the section 337 complaint is the unclean act. See Evolus’ Answer at 41 (“Moreover, to

     the extent these claims were or may be rejected by authorities in South Korea,

     Complainants’ decision to pursue claims at the ITC is evidence of unclean hands which

     should equitably preclude it from obtaining relief in this Investigation.”). Daewoong’s

     answer has a substantively identical sentence.

            With respect to the substance of the defense, during fact discovery, Medytox

     “inadvertently” produced [           ] document pertaining to [



                  ]. See RX-2430C ([                                                         ]);

     RX-2431C ([                                                     ]). [




                                     ]. RX-3020C (Jung Dep. Tr. (June 25, 2019)) at 238.

     Fact discovery closed on July 19, 2019. On October 14, 2019, Medytox notified

     respondents that Medytox was in possession of [                           ] documents,




                                                 246
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 254 of 283 PageID# 353

                                        PUBLIC VERSION


     which Medytox did not produce. Despite this revelation, respondents did not move to

     compel the production of these documents.

             Complainants argue the documents in [           ] files referring to [         ] are

     dated July 8, 2005, after the formulation for the Meditoxin drug substance was well

     established and had been submitted to Korean regulatory authorities. See Compls. Br. at

     284; RX-0797C-RX-0798C ([                ]); RX-2430C-RX-2431C ([                ]).

     Complainants argue that the following events occurred prior to the dates that appear on

     the face of the [         ] documents:

                    Medytox filed its investigational new drug application with the KFDA
                     with respect to Meditoxin in and around September 2001 – [
                        ]. See CX-0013C (Jung WS) at Q/A 85, 87.

                    Medytox received clinical product authorization on April 9, 2002, and
                     approval of its application to commence clinical trials on August 10, 2002.
                     See CX-0013C (Jung WS) at Q/A 90-92; CX-0603C (“Safety
                     Effectiveness Evaluation History” from September 17, 2001 to August 10,
                     2002).

                    Following the completion of clinical trials, Medytox submitted its
                     application to the KFDA in October 2004 and received GMP approval for
                     its production facility in November 2004. See CX-0013C (Jung WS) at
                     Q/A 65, 97.
     See Compls. Br. at 284–85.

             The evidence thus shows that the aspects of the manufacturing process at issue in

     this investigation were independently developed by Medytox and presented to the KFDA

     before the [            ] documents were even created. See CX-0331.64-65 (Aug. 2004

     Master Batch Record); CX-0017C (Chang WS) at Q/A 54; CX-0012C (HW Kim WS) at

     Q/A 60.

             Complainants further argue that [

            ] were not used to develop Medytox’s drug substance and that [



                                                 247
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 255 of 283 PageID# 354

                                        PUBLIC VERSION


                                                                    ]. See Jung Tr. 318–20;

     CX-2612C (Jung RWS) at Q/A 8–12. Complainants argue that the [




                     ], that demonstrate Daewoong’s use of trade secrets that originated with

     and were misappropriated from Medytox. Compare RX-2430C ([

                                             ]), and RX-2431C.11-17 ([

                                             ]), with CX-2064C.9-10 (BK Lee Email Attach.,

     11/02/07), and CX-2063C (BK Lee Email Attach., 11/02/07); JX-0022C, JX-0017C, JX-

     0023C, CX-2068C, CX-2063C, CX-2064C.

             [




                                             ]. See CX-0331C (Master Batch Record, Version

     No. 01); CX-2143C (Batch Prod. & Control Record).

             Respondents admit that it is “impossible to know exactly what Medytox had

     access to at the time,” inasmuch as Medytox did not produce the additional [               ]

     documents. Resps. Br. at 282. Yet, respondents presume that the unproduced documents

     contain “[

                                         ].” Id. If respondents are correct as to the contents of

     the unproduced documents, it would be consistent with their theory that Medytox

     fabricated or falsified data [                          ] documents for submission to

     Korean regulators. See Resps. Br. at 282–83. Yet as “[                  ],” respondents rely



                                                 248
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 256 of 283 PageID# 355

                                           PUBLIC VERSION


     on a media report from the Korean press [

                                                                                        ]. Id. at

     209.

            Speculation regarding the contents of the documents is inadequate. Nevertheless,

     respondents further argue, in part:

                            Medytox’s misappropriation of the [                ]
                    Documents is not an isolated instance of misconduct. For
                    example, while Medytox CEO Dr. JUNG testified at the
                    hearing that it was merely “a mistake in terms of
                    documentation” and that Medytox is working to fix the
                    problem, Medytox was caught by the Korea FDA fabricating
                    product serial numbers so as to circumvent a recall order
                    from regulators, and in doing so misrepresented the efficacy
                    and expiration dates of the products. See Hearing Tr. 325:5-
                    326:8. On February 19, 2020, it was reported that Korean
                    prosecutors had indicted Medytox’s Head of Manufacturing
                    (unnamed) for manufacturing products that fall outside the
                    accepted efficacy range and fabricating manufacturing
                    records. The prosecutors and the Korea FDA are reportedly
                    investigating     additional     misconduct,       including
                    manufacturing final drug products with unapproved
                    experimental drug substance and fabricating testing data to
                    obtain regulatory approval in Korea, with the investigation
                    reportedly being focused on the Medytox CEO and key
                    executives’ involvement. These allegations are not only
                    relevant to unclean hands, but also are directly relevant to
                    whether there was even a finalized manufacturing process
                    worthy of being a trade secret. The Commission should not
                    reward Complainants with an exclusion order when the
                    legitimacy of Medytox’s own process is clouded with doubt.

     Resps. Br. at 283–84 (footnote omitted).

            Complainants argue that respondents’ allegations concerning Medytox’s

     purported regulatory infractions are baseless and that respondents have not even

     identified a law or regulation that would make the supposed misconduct wrongful. See

     Compls. Br. at 287–88 (citing, inter alia, Jung Tr. 325–326; CX-2610C (Chang RWS) at



                                                 249
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 257 of 283 PageID# 356

                                         PUBLIC VERSION


     Q/A 17). It is further argued that in addition to being unproven, these allegations have no

     place in this investigation because these matters are “governed by distinct bodies of law

     that provide their own separate remedies for misconduct.” Compls. Br at 287 (citing,

     inter alia, Scherer Design Grp., LLC v. Ahead Engineering LLC, 764 F. App’x 147, 152-

     53 (3d Cir. 2019) (rejecting unclean hands defense where plaintiff’s alleged violation of

     state privacy laws was unrelated to its trade secret misappropriation and other claims)).

            The administrative law judge finds that uncorroborated reports of Medytox

     engaging in misconduct have no bearing on the substantive issues in this investigation or

     the ability of complainants to be afforded relief. Furthermore, even a showing that at

     some point in the past Medytox failed to adhere to, or violated, a regulatory requirement

     would not necessarily preclude Medytox today from being a complainant in a section 337

     investigation. See Aptix Corp. v. Quickturn Design Sys., Inc., 269 F.3d 1369, 1376 (Fed.

     Cir. 2001) (“[W]here the misconduct has ceased and the right claimed in the suit did not

     accrue because of it, the misconduct will be held to be collateral and not to defeat the

     right to affirmative relief.” (quoting McClintock on Equity § 26 (2d ed. 1948))).

     X.     Recommended Determination

            A.      Limited Exclusion Order

            The Commission has “broad discretion in selecting the form, scope and extent of

     the remedy.” Viscofan, S.A. v. U.S. Int’l Trade Comm’n, 787 F.2d 544, 548 (Fed. Cir.

     1986). When a violation of section 337 is found, the Commission may issue either a

     limited exclusion order, directed against products manufactured by or on behalf of named

     parties found in violation, or a general exclusion order, directed against all infringing

     products. See 19 U.S.C. § 1337(d). A certification provision may be appropriate to




                                                  250
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 258 of 283 PageID# 357

                                      PUBLIC VERSION


     minimize the possibility that any non-covered products will be excluded from entry. See

     Certain Digital Televisions and Certain Prods. Containing Same and Methods of Using

     Same, Inv. No. 337-TA-617, Comm’n Op. at 11 (April 10, 2009) (EDIS Doc. ID No.

     401694).

            Complainants argue, in part:

                           The Commission should issue a limited exclusion
                   order that excludes from the United States the Accused
                   Products as defined in the Notice of Investigation – namely,
                   all BTX products manufactured by Daewoong, including
                   DWP-450, Jeuveau®, and products containing or derived
                   from DWP-450 or the manufacturing process used to
                   manufacture DWP-450 – with respect to both named
                   Respondents, Daewoong and Evolus, and their affiliated
                   companies, parents, subsidiaries, licensees, and others. Such
                   exclusionary relief is the default remedy that Congress
                   intended for Section 337 violations. 19 U.S.C. § 1337(d)(1);
                   Spansion v. Int’l Trade Comm’n, 629 F.3d 1331, 1358–59
                   (Fed. Cir. 2010). The Commission has held that “[t]he
                   duration of an order in a trade secret misappropriation case
                   is set as the time it would have taken to independently
                   develop the trade secrets.” Rubber Resins, Comm’n Op. at
                   82 (citing Railway Wheels Comm’n Op. at 8-9). When
                   multiple trade secrets are at issue, the remedy may be
                   determined by considering the trade secrets together. See,
                   e.g., Certain Processes for the Manufacture of Skinless
                   Sausage Casings and Resulting Prod., Inv. No. 337-TA-148,
                   337-TA-169, Comm’n Op. at 19 (Nov. 26, 1984) (“Sausage
                   Casings Comm’n Op.”).

                           The evidence established that Respondents
                   misappropriated Medytox’s BTX strain as well as certain of
                   Medytox’s proprietary information used in its BTX
                   manufacturing process. See Sections IV-V. As explained
                   above, Medytox’s BTX strain was derived from the Hall
                   A-hyper strain, which is known to have special
                   characteristics making it especially valuable and desirable
                   for commercial production. Id.; see, e.g., CX-0010C
                   (Pickett WS) at Q/A 51, 64-103, 112-13. Medytox’s Hall A-
                   hyper BTX strain was not ascertainable and was not
                   independently available to Daewoong for commercial
                   exploitation, nor was any other Hall A-hyper strain readily


                                               251
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 259 of 283 PageID# 358

                                    PUBLIC VERSION


                 available to Daewoong in the time period at issue here. Id.
                 at Q/A 51, 64-109, 116-17, 123-82. Whether or not another
                 Type A strain had been available and even if the genetic
                 sequence of Medytox’s BTX strain was known, Daewoong
                 could not have engineered it to obtain Medytox’s specific
                 BTX strain under any timeline. Id. at Q/A 51, 64-103, 112-
                 13; see also supra at Section IV.A.7, IV.B. Respondents
                 therefore could not have independently developed and
                 manufactured the Accused Products absent their
                 misappropriation of Medytox’s BTX strain. Accordingly, an
                 exclusion order for an indefinite period covering all products
                 manufactured from Medytox’s strain, or any strain derived
                 from it, should issue against both Respondents. Id. at Q/A
                 51, 53; CX-0018C (Malackowski WS) at Q/A 204.

                        Although an exclusion order with an indefinite
                 period has not previously been issued by the Commission,
                 such as exclusion order is justified and necessary in order to
                 equitably address the misappropriation of the particular trade
                 secret at issue: Medytox’s specific, commercially-viable
                 Hall-A hyper BTX strain.

                                       .       .       .

                         An exclusion order of indefinite duration thus is
                 appropriately and narrowly tailored to remedy the precise
                 violation presented by Respondents’ misappropriation of
                 Medytox’s specific BTX strain. Indeed, this exclusion order
                 addresses only those products containing or derived from
                 Medytox’s specific BTX strain, and would not prohibit
                 Respondents from independently developing BTX products
                 with a different BTX strain that they are able to
                 independently acquire or license, and without reliance on the
                 misappropriated trade secrets. See, e.g, Hr’g Tr. (Resps.
                 Opening Statement) at 99.

                         With respect to misappropriation of Medytox’s
                 manufacturing process, the evidence has shown that
                 Respondents saved at least 21 months of time by developing
                 their process from       Medytox’s proprietary process
                 information. CX-0018C (Malackowski WS) at Q/A 205;
                 CX-0010C (Pickett WS) at Q/A 320-25. As discussed at
                 greater length above, Respondents’ estimate that it would
                 have taken a mere 3-6 months is based upon a flawed
                 timeline that relied upon the availability of Medytox’s
                 misappropriated information.         See Section V.A.
                 Accordingly, independent of the indefinite limited exclusion


                                              252
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 260 of 283 PageID# 359

                                      PUBLIC VERSION


                   order based on misappropriation of Medytox’s strain, a
                   limited exclusion order of at least 21 months should issue
                   against both Respondents for any products that are made
                   using the misappropriated Medytox information, including
                   the Accused Products, to offset the unlawful advantages
                   obtained and the harm caused by Respondents’ unfair acts.
                   CX-0018C (Malackowski WS) at Q/A 205; CX-0010C
                   (Pickett WS) at Q/A 320-25. Of course, since both the strain
                   and manufacturing process were misappropriated, the
                   exclusion order should be indefinite. Railway Wheels
                   Comm’n Op. at 8.

                           No grace period is required before implementing the
                   LEO referenced here. There are several alternative products
                   on the market available to physicians and patients, including
                   BOTOX®, and, as discussed in more detail in Section VI.C.
                   above, the nature and administration of the BTX products at
                   issue permit physicians and patients to easily switch between
                   products. CX-0018C (Malackowski WS) at Q/A 169-74,
                   185-89, 207; see generally id. at Q/A 112-97; CX-2604C.4-
                   10 (Malackowski WS Errata).

     Compls. Br. at 290–93.

            Respondents argue, in part:

                           The Commission has the authority to tailor LEOs to
                   mitigate harm to the public interest. See Spansion, Inc. v.
                   lnt’l Trade Comm’n, 629 F.3d 1331, 1360 (Fed. Cir. 2010)
                   (discussing historical application of the public interest
                   factors). Any remedial order that should issue in this
                   Investigation should have an exemption for any products
                   imported for design-around development, testing, and FDA
                   regulatory compliance. Such activities are not importations
                   for consumption and would not harm Complainants, since
                   they would not result in commercial sales. See Certain
                   Devices for Connecting Computers via Tel. Lines, Inv. No.
                   337-TA-360, Comm’n Op. at 7-10 (Nov. 18, 1994).
                   Moreover, in patent investigations, importations for FDA
                   clinical trials would not be subject to any remedial order, as
                   they are exempt from infringement, and a similar exemption
                   should be made here. See 35 U.S.C. § 271(e)(1). These
                   activities are regularly carved out from remedial orders, and
                   such carve-outs can be necessary, as here, to avoid
                   interfering with legitimate trade. See, e.g., Certain Magnetic




                                                253
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 261 of 283 PageID# 360

                                     PUBLIC VERSION


                 Data Storage Tapes and Cartridges Containing the Same,
                 Comm’n Op. at 132 (Apr. 2, 2018).

                         Contrary to Staff’s contention, the availability of
                 advisory opinions from the Commission is not adequate.
                 Requiring Respondents to seek an advisory opinion before
                 importation of a design-around product for FDA regulatory
                 compliance is backwards and punitive, because Respondents
                 need FDA approval of a redesign before it could be imported
                 for commercial sale and, indeed, before Respondents could
                 seek an effective advisory opinion. Under Staff’s proposal,
                 Respondents would have to obtain a new advisory opinion
                 for every modification needed during the clinical trial
                 period. This potentially repeated delay is not an efficient use
                 of party or Commission resources and not necessary to
                 protect Complainants.

                         Finally, to the extent that a violation is found based
                 solely on injury or threat of injury to Complainants’ alleged
                 domestic industry in MT10109L, any remedy should include
                 a reporting requirement to ensure that Complainants
                 continue their alleged domestic industry activities in the
                 United States. If Complainants later abandon those activities
                 for business or regulatory reasons, remedies would no longer
                 be appropriate, as there would be no domestic industry to
                 protect. See Certain Variable Speed Wind Turbines &
                 Components Thereof, Inv. No. 337-TA-376, 1996 WL
                 1056209, at *11, Comm’n Op. at 24-26 (Sep. 23, 1996)
                 (“Wind Turbines”). The record shows that [

                                                     ], making a reporting
                 requirement necessary in this context. RX-3158C.11-12
                 (Mulhern WS) at Q/A 53-54; RDX-0001C.5 (Mulhern
                 Demonstrative); RX-0742C ([
                                    ]); Hearing Tr. 449:19-450:23; Certain
                 Strontium-Rubidium Radioisotope Infusion Systems, and
                 Components Thereof Including Generators, Inv. No. 337-
                 TA-1110, ID/RD at 172-73 (Aug. 1, 2019) (recommending
                 reporting requirement when alleged domestic industry
                 product is pending FDA approval) (Commission found no
                 violation on review); Wind Turbines at 24-26. Even if
                 MT10109L is approved by the FDA, it is unclear whether
                 domestic activities in MT10109L R&D will continue,
                 making a reporting requirement necessary in that event as
                 well.




                                              254
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 262 of 283 PageID# 361

                                    PUBLIC VERSION


                                       .       .      .

                          Complainants’ request for an indefinite exclusion
                 order for misappropriation of the strain is unprecedented,
                 contrary to the evidence and barred by case law. It must be
                 rejected. Complainants have introduced no evidence at all
                 of the time it would have taken to independently develop the
                 strain. They have therefore failed to carry their burden of
                 proving that a remedy of any duration is warranted, let alone
                 the extreme remedy of permanent exclusion. Plainly, it
                 would not take forever (i.e., be impossible) to independently
                 develop an equivalent to the Medytox’s strain, and
                 Complainants have provided no evidence to support this
                 absurd proposition.

                        The reason that Complainants have not offered
                 evidence to support any duration of independent
                 development is because it is undisputed that in 2010
                 Daewoong had before it an offer on the table from [


                      ]. CX-2180C.10 (Comprehensive Report on BTA
                 Development Project); CX-2523C.29-30 (Chang Woo SUH
                 Dep. Tr. Vol. 2 at 115:11-117:12); RX-3159C.29-30 (Chang
                 Woo SUH WS) at Q/A 31-34. In particular, the offer—
                 [




                                               ]. CX-2180C.10-11
                 (Comprehensive Report on BTA Development project).
                 [

                                                                      ]. Id. at
                 11.   [
                                                                       ]. The
                 time to independently develop a strain was therefore zero or,
                 at most, the few months it would have taken Daewoong [
                                                        ]. The duration of any
                 exclusion order must be de minimis or at most a few months.

                         There were numerous other independent
                 development opportunities aside from [         ], which
                 further confirm that the independent development period



                                             255
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 263 of 283 PageID# 362

                                      PUBLIC VERSION


                 would have been minimal. The Hall A-Hyper strain and
                 other commercially viable strains were in 2010 and are today
                 available for purchase on the open market. RX-3163C.6
                 (Singh WS) at Q/A 14-17; RX-3164C.45-47 (Wilson WS) at
                 Q/A 164-70; RX-3166C.15-25 (Sullivan WS) at Q/A 85-
                 136; RX-3159C.29-30 (Chang Woo SUH WS) at Q/A 29-
                 36. In fact, the record reflects that a [

                                           ]. CX-2614C.11 (Declaration of
                 Metabiologics, Inc.); RX-3166C.16 (Sullivan WS) at Q/A
                 89. Complainants’ expert, Dr. Pickett, speculates that
                 additional consideration was paid, but has no evidence to
                 support such speculation even though [

                                 ].     Similarly, in 2007 and 2010, [


                                                                    ]. Id. at 18
                 (Q/A 105). Dr. Pickett [



                                                             ]. Hearing Tr.
                 403:19-22; 407:23-408:2. And, he also conceded that the
                 Hyper strain is not needed to produce a successful
                 commercial product; indeed multiple successful commercial
                 companies, including Ipsen, Merz and Hugel use strains
                 other than the Hall A-Hyper. Hearing Tr. 405:11-407:1.
                 Because Respondents could simply buy an alternative strain
                 on the open market, the alleged misappropriation of
                 Medytox’s strain would not have accelerated Jeuveau® to
                 market.

                          Staff incorrectly suggests that the commercial
                 availability of the strain can be addressed by stating in the
                 exclusion order that Respondents are not barred from selling
                 products using a different botulinum strain. SPB at 111 n.67.
                 First, the law is clear that the duration of the exclusion order
                 can extend only as long as the period of independent
                 development, which here is zero given the commercial
                 availability of the strain and the open offer to Daewoong
                 from MedExGen. Second, Staff’s suggestion ignores that
                 Respondents have spent nearly a decade obtaining FDA
                 approval that is specific to their botulinum strain and are
                 therefore “locked in” to using that strain or being off the



                                              256
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 264 of 283 PageID# 363

                                          PUBLIC VERSION


                     market. It is simply not true that a new strain produced today
                     could be used as a substitute for Daewoong’s current strain.

     Resps. Br. at 284–91 (footnotes omitted).

             The Staff argues, in part:

                             If a violation of Section 337 is found, the evidence
                     supports a limited exclusion order as to those entities
                     involved in the sale for importation, importation, and sale
                     after importation of the accused products for which a
                     violation is found. For the accused products, these would
                     include both named Respondents, Daewoong and Evolus.
                     CPB at 217–18. In addition, the standard language in
                     Commission limited exclusion orders addressed to affiliated
                     companies, parents, subsidiaries, and others should be
                     included.

     Staff Br. at 153.

             In a trade secret misappropriation investigation, “[t]he duration of an order in a

     trade secret misappropriation case is set as the time it would have taken to independently

     develop the trade secrets.” Rubber Resins, Comm’n Op. at 82; Sausage Casings,

     Comm’n Op. at 22 (“The facts of this investigation, particularly the fact that the

     misappropriation involved an actual theft of trade secrets, support the conclusion that

     Viscofan should not be credited with the time between the misappropriation and the entry

     of the Commission’s remedial order.”).

             With respect to any violation regarding the misappropriation of the Medytox BTX

     strain, the evidence shows that the Medytox BTX strain is genetically unique and, even if

     the full genomic sequence is known by others, it could not be used to duplicate a C.

     botulinum strain capable of commercial use to produce the 900 kDa BoNT complex. CX-

     0010C (Pickett WS) at Q/A 51, 64–103, 112–13. Respondents assert that the Hall A-

     hyper strain was widely distributed and available. However, the evidence demonstrates




                                                  257
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 265 of 283 PageID# 364

                                        PUBLIC VERSION


     that was not the case, as shown by Daewoong’s own failed efforts to obtain a

     commercially viable C. botulinum strain.

             Nevertheless, the record shows that although difficult, it is not impossible to

     obtain a commercially viable strain through legitimate means. Furthermore, an exclusion

     order of indefinite duration may be unprecedented, and could put a heavy burden on

     those charged with enforcing it.

             As discussed in detail above, in over three years of trying, Daewoong made

     inroads was not able to obtain a commercially viable strain. Furthermore, even after

     obtaining its strain, it took [              ] for Medytox to develop its strain along with

     a related manufacturing process that would carry a commercial product all the way

     through regulatory approval. Thus, the duration of a limited exclusion order should

     exceed those periods of time, and also avoid uncertainties in the future that are

     unaccounted for in the record. Consequently, the administrative law judge recommends

     that the duration of a limited exclusion order be 10 years.

             If the misappropriation of the Medytox manufacturing process is considered

     independently, the administrative law judge finds that the duration of the limited

     exclusion order against accused products manufactured using the asserted Medytox

     proprietary manufacturing processes should be for a period of at least 21 months from the

     time of issuance of the exclusion order. See CX-0018C (Malackowski WS) at Q/A 205;

     CX-0010C (Pickett WS) at Q/A 320–25.

             B.      Cease and Desist Order

             The Commission may issue cease and desist orders to respondents found to have

     violated section 337 in addition to, or instead of, an exclusion order. See 19 U.S.C. §



                                                 258
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 266 of 283 PageID# 365

                                        PUBLIC VERSION


     l337(f)(1). Under Commission precedent, cease and desist orders are warranted with

     respect to respondents that maintain commercially significant U.S. inventories of the

     infringing product. See, e.g., Certain Laser Bar Code Scanners and Scan Engines,

     Components Thereof and Products Containing Same, Inv. No. 337-TA-551, Comm’n Op.

     at 22–23 (June 14, 2007) (“The Commission generally issues a cease-and-desist order

     only when a respondent maintains a commercially significant inventory of infringing

     products in the United States.”); Certain Recordable Compact Disks and Rewritable

     Compact Disks, Inv. No. 337-TA-474, Comm’n Op. at 104 (Feb. 5, 2007) (“Under

     Commission precedent, cease and desist orders are warranted against respondents with

     significant inventories of infringing goods in the U.S.”).

            Complainants argue, in part:

                            A CDO against Evolus is appropriate based on the
                    Commission’s longstanding policy to issue a CDO against
                    any respondent that maintains a commercially significant
                    U.S. inventory of infringing articles. See, e.g., Certain
                    Protective Cases, Inv. No. 337-TA-780, Comm’n Op. at 28,
                    2012 WL 5874344, at *13 (Nov. 19, 2012) (“The
                    Commission generally issues cease and desist orders ‘when
                    there is a commercially significant amount of infringing
                    imported product in the United States that could be sold so
                    as to undercut the remedy provided by an exclusion
                    order.’”). The evidence, including publicly available market
                    data and internal records from Evolus and Daewoong, has
                    shown that a CDO is warranted because Evolus has imported
                    into and maintains in the United States commercially
                    significant inventories of Accused Products. JX-0139C
                    (Importation and Inventory Stipulation); CX-2429C (Evolus
                    June Forecast); CX-2417C (“Summary 6.7.19” tab); CX-
                    0924C (Evolus FUSE Discussion - Updated long term
                    forecast dated March 2019). It is undisputed that these
                    inventories are comprised of regular, commercial-quality
                    products to be sold in the normal course of business. At
                    year-end 2019, Evolus held a U.S. inventory of [      ] 100-
                    unit vials of Jeuveau for commercial use in the U.S., which
                    Respondents stipulated had an imported value of


                                                 259
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 267 of 283 PageID# 366

                                      PUBLIC VERSION


                 [           ].     JX-0139C (Importation and Inventory
                 Stipulation). If sold at the [
                                     ], or at its present $610 list price, the value
                 of these vials would be between $33 and $54 million. Id.;
                 Hr’g Tr. (Moatazedi) at 917:4-8; CX-2429C (Evolus June
                 Forecast); see also CX-0018C (Malackowski WS) at Q/A
                 210-211; CX-2604C.11 (Errata). Evolus’s actual U.S.
                 inventory at year-end 2019 was higher than the projected
                 closing inventory of [           ] vials. JX-0139C (Importation
                 and Inventory Stipulation); CX-2429C (Evolus June
                 Forecast).

                                         .        .       .

                         The quantity and expected revenue value of Evolus’s
                 on-hand inventory of Jeuveau renders it commercially
                 significant. For example, as Mr. Malackowski estimated, the
                 [         ] vials on-hand reported in June 2019 was enough to
                 satisfy [            ] of the units Evolus expected to sell from
                 July 17, 2019 until the end of 2019, and Evolus’ expected
                 inventory on hand near the October 2020 target date will be
                 enough to satisfy [             ] of remaining demand in 2020.
                 See CX-0018C (Malackowski WS) at Q/A 208; CX-
                 2604C.10-11 (Errata).

                                         .        .       .

                         In addition to the CDO against Evolus, a CDO
                 against Daewoong is warranted for several reasons. First,
                 Daewoong and Evolus entered into a contractual
                 arrangement in their license and supply agreement that
                 demonstrates Daewoong’s intent for its Accused Products to
                 enter the United States market and [

                                          ]. See JX-0008C.7-8, 11
                 (Daewoong-Evolus License and Supply Agreement).
                 Daewoong further [



                                      ] set forth in the agreement. Id. at
                 JX-0008C.14-15, 43-44. Moreover, Daewoong [

                                                                           ],
                 pursuant to its license and supply agreement with Evolus.
                 See id. at JX-0008C.24 (discussing the responsibilities and
                 membership of a Joint Steering Committee for the Accused


                                                260
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 268 of 283 PageID# 367

                                     PUBLIC VERSION


                 Products); see also id. at JX-0008C.22-23, 42-52.          For
                 example, Daewoong [


                            ]. Id. at JX-0008C.24.

                          Second, Daewoong has taken multiple steps to
                 provide itself with means by which it can manufacture and
                 sell its Accused BTX Products in the United States other
                 than through Evolus. In their license and supply agreement,
                 Daewoong granted to Evolus [


                                                   ]. Id. at JX-0008C.9
                 (Daewoong-Evolus License and Supply Agreement). This
                 [

                                    ]. CX-0903C.2 (Attachment to email titled
                 “Alphaeon, Tx Toxin Update”); CX-0876C (Letter from
                 Moatazedi to S.H. Joon, CEO of Daewoong). Rather than
                 Evolus, Alphaeon’s new subsidiary, AEON Biopharma, will
                 develop these new therapeutic treatment indications. CX-
                 0843C.2 (Nabota Business Division Weekly Work Report
                 (September 1, 2018)); CX-0904C.2 (Attachment to email
                 titled Alphaeon, Aeon Biopharma Process). A CDO against
                 Daewoong–over which the Commission has personal
                 jurisdiction–is thus required to ensure that Daewoong does
                 not engage in acts that would “undercut the remedy provided
                 by an exclusion order,” including but not limited to
                 marketing and sales of the Accused Products, and aiding and
                 abetting other entities in the importation, sale for and after
                 importation, transfer (except for exportation), or distribution
                 of the Accused Products, in the United States through Evolus
                 and these other means.           Certain Laser Imageable
                 Lithographic Printing Plates, Inv. No. 337-TA-636, Initial
                 Determination at 102, USITC Pub. 4204, 2010 WL 5176686,
                 at *81 (Dec. 1, 2010); Railway Wheels Comm’n Op. at 5, 9,
                 n. 3; see also Certain Dental Implants, Inv. No. 337-TA-934,
                 Comm’n Op. at 65 n.37, 2016 WL 11603664, at *37, n.37
                 (May 11, 2016.

                                        .       .       .

                        Finally, as Mr. Malackowski and Dr. Pickett
                 explained, to prevent Respondents from undercutting the
                 effect of the LEO, the CDOs should also prohibit



                                              261
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 269 of 283 PageID# 368

                                      PUBLIC VERSION


                   Respondents from continuing to use and benefit from
                   Biologics License Application (“BLA”) No. 761085, which
                   covers the Accused Products manufactured using the
                   misappropriated BTX strain and the misappropriated
                   manufacturing process. CX-0018C (Malackowski WS) at
                   Q/A 213; CX-0010C (Pickett WS) at Q/A 129-82; see also
                   CX-0010C (Pickett WS) at Q/A 129-82. The BLA is
                   specific to both the misappropriated strain and
                   manufacturing process. Thus, Respondents should be
                   prohibited from making any further use of the BLA in
                   addition to the proprietary strain and manufacturing process
                   information misappropriated from Medytox.

     Compls. Br. at 293-98.

            Respondents argue, in part:

                            As Staff acknowledges, Daewoong has no domestic
                   inventory and no domestic activities, so no cease and desist
                   order should issue as to Daewoong. SPB at 113; Stipulation
                   of Material Facts Relating to Importation and Inventory at ¶
                   5; Prehearing Tr. 12:12-23; CX-1794C.23 (Daewoong’s
                   Responses & Objections to Staff’s 1st Interrogatories) at No.
                   6; see also Certain Integrated Repeaters, Switches,
                   Transceivers, & Prods. Containing Same, Inv. No. 337-TA-
                   435, USITC Pub. No. 3547, Comm’n Op. at 27 (Aug. 16,
                   2002) (“[C]omplainants bear the burden of proving that
                   respondent has such an inventory. Because complainants
                   failed to sustain their burden, we have determined not to
                   issue a cease and desist order”). Moreover, as noted above,
                   because Daewoong does not participate in the importation or
                   sale after importation of the accused products, Complainants
                   will be unable to satisfy the importation requirement or show
                   that there is a basis for a finding of violation by Daewoong.

                           As for Evolus, Complainants have not met their
                   burden to show that Evolus maintains commercially
                   significant inventories of infringing products in the United
                   States. See Certain Light-Emitting Diodes & Prods.
                   Containing Same, Inv. No. 337-TA-512, Comm’n Op. at 8
                   (Apr. 14, 2008) (declining to issue CDO where inventory
                   was owned and maintained by third parties).             The
                   Commission has found inventories “commercially
                   significant” based on the absolute value of the inventory or
                   based on a comparison between the quantity of inventory
                   and the volume of the product at issue sold or imported over


                                               262
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 270 of 283 PageID# 369

                                         PUBLIC VERSION


                   time. See Certain Optoelectronic Devices for Fiber Optic
                   Commc’ns, Components Thereof, & Prods. Containing
                   Same, Inv. No. 337-TA-860, Comm’n Op. at 36-37 (July 16,
                   2014); Certain Electronic Digital Media Devices &
                   Components Thereof, Inv. No. 337-TA-796, at *73-74,
                   Comm’n Op. at 106-08 (Sep. 6, 2013).

                           Complainants have not proved that Evolus has a
                   commercially significant inventory and, accordingly, no
                   cease and desist order should issue against Evolus. To the
                   extent that a CDO should issue against any respondent, it
                   should have the same limitations as any LEO that the
                   Commission may issue.

                          Moreover, Respondents agree with Staff that the ALJ
                   should reject Complainants’ request that a cease and desist
                   order require Evolus to forfeit its BLA or otherwise be
                   precluded from selling under the BLA it obtained for
                   Jeuveau®. Neither of these measures, even if possible, is
                   warranted here. The Commission is not empowered to
                   compel the forfeiture of a BLA because that is not an unfair
                   act under Section 337 that can be prohibited by a cease and
                   desist order, and the issuance of BLAs is outside the
                   Commission’s jurisdiction. C.f., Certain Hardware Logic
                   Emulation Systems, Inv. No. 337-TA-383, 1998 WL
                   223194, at *62, Comm’n Op. at 30 (Apr. 1, 1998)
                   (discussing how the scope of what cease and desist orders
                   can prohibit is defined by Section 337(a) and (f)).
                   Complainants’ argument should be rejected.

                          Complainants’ request is also unnecessary to ensure
                   complete relief. A design-around product that does not use
                   any of Medytox’s trade secrets would not violate Section
                   337. Remedial orders should not restrain legitimate trade,
                   and to the extent that Respondents can produce a new
                   product under the same BLA that does not violate Section
                   337, the importation and sale of that new product would be
                   legitimate. And if the FDA would require Evolus to obtain
                   a new BLA before Respondents can sell a new, non-violating
                   product, this measure provides Complainants with no
                   additional protection. The Commission need not deviate
                   from the standard scope of remedial orders here.

     Resps. Br. at 286–88.

            The Staff argues, in part:



                                               263
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 271 of 283 PageID# 370

                                       PUBLIC VERSION


                    [T]he Staff agrees that a cease and desist order should be
                    directed to Evolus. The Staff further submits that the
                    duration of any cease and desist order should equal the
                    duration of an limited exclusion order that may issue, with
                    the same reporting requirements and conditions, if any.

                            The Staff submits that Complainants are not entitled
                    to a cease and desist order against Daewoong.

     Staff Br. at 156–57.

            The administrative law judge finds that Evolus, as of year-end 2019, maintained a

     domestic inventory of [       ] vials of 100U of Jeuveau® having an imported value of

     [           ]. JX-0139C (Stipulation of Material Facts Relating to Importation and

     Inventory) at ¶ 6. The list price of each 100 unit vial of Jeuveau® is $610; this imputes a

     list value exceeding [           ] for the domestic inventory of Jeuveau®. RX-3158

     (Mulhern WS) at Q/A 222. This is a commercially significant domestic inventory. Thus,

     a cease and desist order should be directed to Evolus. The duration of the cease and

     desist order should equal the duration of any limited exclusion order that may issue, with

     the same reporting requirements and conditions, if any.

            However, complainants are not entitled to a cease and desist order against

     Daewoong because complainants did not provide admissible evidence of the existence of

     a domestic inventory of any accused product held by Daewoong or its agents.

            Regarding complainants’ request that any cease and desist order “prohibit

     Respondents from continuing to use and benefit from Biologics License Application

     (‘BLA’) No. 761085, which covers the Accused Products manufactured using the

     misappropriated BTX strain and the misappropriated manufacturing process”, Compls.

     Br. at 298, the relief requested has not been shown to be within the Commission’s cease

     and desist order practice.


                                                264
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 272 of 283 PageID# 371

                                        PUBLIC VERSION


            C.      Bonding

            Where the Commission determines to issue a remedy, section 337 provides that it

     shall set a bond during the 60-day Presidential review period at an amount “sufficient to

     protect the complainant from any injury.” 19 U.S.C. § 1337(j)(3); 19 C.F.R. § 210.50

     (a)(3). The Commission typically sets the Presidential review period bond based on the

     price differential between the imported or infringing product, or based on a reasonable

     royalty. See, e.g., Certain Ink Cartridges and Components Thereof, Inv. No. 337-TA-

     565, Comm’n Op. at 63 (Oct. 19, 2007) (EDIS Doc. ID No. 286157) (setting bond based

     on price differentials); Certain Plastic Encapsulated Integrated Circuits, Inv. No. 337-

     TA-315, Comm’n Op. at 45, USITC Pub. 2574 (Nov. 1992) (setting the bond based on a

     reasonable royalty). However, where the available pricing or royalty information is

     inadequate, the bond may be set at 100% of the entered value of the accused product.

     See, e.g., Certain Neodymium-Iron-Boron Magnets, Magnet Alloys, and Prods.

     Containing Same, Inv. No. 337-TA-372, Comm’n Op. at 15, USITC Pub. 2964 (May

     1996). In addition, it is complainant’s burden to establish support for its requested

     bonding amount. See, e.g., Certain Liquid Crystal Display Devices, Inv. No. 337-TA-

     631 (“LCD Devices”), Comm’n Op. at 28 (June 24, 2009) (EDIS Doc. ID No. 406905).

     Should complainant fail to meet its burden, the Commission may determine that no bond

     should be imposed during the Presidential review period. Id.

            Complainants argue, in part:

                           Here, a 100 percent bond is appropriate. The
                    evidence has shown that Respondents’ pricing for the
                    Accused Products continues to evolve, with Evolus’s CEO,
                    David Moatazedi stating that Evolus planned to introduce a
                    new pricing program for Jeuveau in [                      ],
                    approximately[              ] after Jeuveau launched on the


                                                 265
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 273 of 283 PageID# 372

                                      PUBLIC VERSION


                 market in the United States.           The evidence further
                 established that Respondents advertise and rely upon their
                 pricing flexibility for Jeuveau, and, as Mr. Moatazedi
                 confirmed at the Hearing. they have followed an [
                          ] approach in which Evolus has offered discounts on
                 Jeuveau “to compete against the entire Allergan bundle.”
                 Hr’g Tr. (Moatazedi) at 915:20-917:11; CX-2419C.2
                 (Evolus Board slides); see also CX-2377C.2 (Evolus
                 Leadership Summit); CX-1708C (Jafar Dep.) at 65:12-
                 66:11, 236:5-11. Accordingly, a bond rate of 100 percent of
                 the value of the price of the Respondents’ Accused Products
                 would best serve the purpose of the bonding requirement.
                 CX-0018C (Malackowski WS) at Q/A 214-17; CX-
                 2604C.11 (Errata). The appropriate bond rate would be
                 between [                ] per vial, which, as discussed above,
                 are Evolus’s expected net ASP per vial for 2019 with and
                 without discounts for rebates and coupon allowances. CX-
                 0018C (Malackowski WS) at Q/A 214-17; CX-2604C.11
                 (Errata). Notably, even a bond rate at the high end of this
                 range does not fully match the potential lost profits suffered
                 by Allergan for each lost sale of BOTOX® Cosmetic, which
                 has had a net ASP of [ ] per vial, with a gross profit margin
                 of [              ].   Hr’g Tr. at 917:4-11; CX-0018C
                 (Malackowski WS) at Q/A 210, 217; CX-2596C [
                                                                          ] at tab
                 “Botox Cx;” CX-2231C.

                         Bond rates calculated using a price differential or
                 royalty would not adequately accomplish the purpose of the
                 bonding requirement; both are smaller bond rates (of [
                         ] per vial and [                 ] per vial, respectively)
                 that would allow Respondents to sell Jeuveau at a larger
                 gross profit than a 100 percent bond, while causing
                 Complainants to continue to lose market share and profits.
                 See id. at Q/A 214-17; CX-2604C.11 (Errata). Moreover,
                 the Medytox/Allergan Agreement, which contains a
                 [                    ] for a product being jointly developed by
                 the licensing partners, has not been demonstrated to be a
                 reasonable royalty rate with respect to the Accused Products.
                 JX-0050C.42 (Allergan-Medytox License Agreement). CX-
                 0018C (Malackowski WS) at Q/A 216; CX-2604C.11
                 (Errata); see also Certain Variable Speed Wind Turbines &
                 Components Thereof, Inv. No. 337-TA-641, Recommended
                 Determination on Remedy & Bonding at 7, 2009 WL
                 3405241, at *3–4 (Aug. 21, 2009) (recommending a bond of
                 100% because it was not established that the licenses used in


                                               266
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 274 of 283 PageID# 373

                                      PUBLIC VERSION


                   the calculation accurately represented a reasonable royalty
                   rate).

     Compls. Br. at 299–300.

            Respondents argue, in part:

                          Complainants have the burden to prove that a bond
                   is necessary and, if necessary, support any bond proposal
                   they advance. See, e.g., Rubber Antidegradants, Inv. No.
                   337-TA-533, Comm’n Op. at 40 (Apr. 2008). Given the
                   high burden on complainants, the Commission often sets no
                   bond when complainants fail to provide evidence of the need
                   for or proper rate of bond. Id.; see also Certain Silicone
                   Microphone Packages, Inv. No. 337-TA-629, 2009 WL
                   389263, at *134, ID. at 222 (Feb. 10, 2009). Complainants
                   have not established that any bond is necessary in this case,
                   nor have they provided sufficient evidence that a particular
                   bond rate is appropriate.

                           Given that Complainants have failed to meet their
                   burden in proving that the bond should be based on some
                   price differential or a reasonable royalty (including a 100%
                   royalty rate), the Commission can and should determine that
                   no bond should be imposed during the Presidential Review
                   Period. See, e.g., Certain Liquid Crystal Display Devices,
                   Inv. No. 337-TA-631, Comm’n Op. at 28 (June 24, 2009)
                   (EDIS Doc. No. 406905). For these reasons, even if the
                   Commission finds a violation of Section 337, Respondents
                   should not be required to post a bond to continue importing
                   and selling accused products during the 60-day Presidential
                   Review Period.

                          Price Differential. The parties agree that using a
                   price differential to calculate bond is not appropriate here
                   because a sales price comparison cannot be established. CX-
                   0018C.73-74 (Malackowski WS) at Q/A 215-16; RX-
                   3158C.62-63 (Mulhern WS) at Q/A 352, 360-64. A sales
                   price comparison cannot be conducted for numerous
                   reasons. First, MT10109L does not have a price to compare
                   with Jeuveau®. Second, it is unrebutted that [




                           ]. CX-0018C.73-74 (Malackowski WS) at 215-16;



                                               267
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 275 of 283 PageID# 374

                                    PUBLIC VERSION


                 RX-3158C.62-63 (Mulhern WS) at Q/A 353-59. For
                 example, “Customers at the highest level can get an [
                               ] on BOTOX®. And they also get that [

                           ].” Hearing Tr. 919:19-22. Thus, even though
                 Evolus has transparent pricing for Jeuveau®, it is not
                 possible to calculate the actual price of BOTOX® Cosmetic.
                 Indeed, Complainants’ expert, Mr. Malackowski, could not
                 offer a single bond rate based on price differential. Instead
                 Mr. Malackowski provided ranges—as a means of
                 calculating bond—which has been rejected by the ITC in the
                 past. See Certain Magnetic Data Storage Tapes and
                 Cartridges Containing the Same (II), Inv. No. 337-TA-1076,
                 2018 WL 7350925, at *96, ID/RD at 177-80 (Dec. 19, 2018).

                          The only unambiguous price comparator based on
                 the evidence of record is the list price. The unrebutted
                 evidence demonstrated that Jeuveau®’s list price of $610 a
                 vial is higher than that of BOTOX®, which is listed at $601
                 (there is no list price for MT10109L because it is not on the
                 market in the U.S.). Thus, if list price differentials are the
                 appropriate means to calculate bond, then there should be
                 zero bond. RX-3158C.61 (Mulhern WS) at Q/A 357; CX-
                 1705C.31 (David Moatazedi Dep. Desg. at 125:6-17).

                         Staff, however, proposes that the Commission set a
                 bond of [       ] per 100 unit vial of Jeuveau® purportedly
                 based on price differentials. SPB at 114-16. To reach that
                 amount, Staff compares the average sales price of Botox®
                 Cosmetic with the imputed imported value of a 100 unit vial
                 of Jeuveau®. Id. at 114-15. Staff’s price comparison is
                 improper. First, as discussed above, the parties’ experts
                 agree that it is not possible to compare BOTOX®
                 Cosmetic’s average sales price. Second, there is no basis to
                 compare one type of price metric for BOTOX® with an
                 entirely different price metric for Jeuveau®. Staff cites no
                 case law for their novel approach. Rather, because both
                 BOTOX® Cosmetic and Jeuveau® are imported, the proper
                 comparison is either of both products’ average sales price,
                 which is not possible here, or both products’ imputed
                 imported value. To the extent a price comparison of the
                 products’ imputed imported value is appropriate,
                 Complainants have not conducted such analysis, and thus
                 cannot meet their burden. Neither has Staff. Without any
                 evidence comparing the imputed imported values, there
                 should be zero bond.


                                              268
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 276 of 283 PageID# 375

                                         PUBLIC VERSION


                           Reasonable Royalty. The Commission should not
                   set a bond in this case because Complainants have failed to
                   meet their burden. If the Commission believes that a bond
                   is proper, however, Complainants’ and Respondents’
                   experts agree that the record supports [                  ].
                   CX-0018C.74 (Malackowski WS) at Q/A 216; RX-3158.62-
                   64 (Mulhern WS) at Q/A 352, 360-64. That rate is supported
                   by [



                              ]. JX-0050C.38 (Allergan-Medytox Agreement).
                   That Agreement is undeniably a comparable license. See
                   Semiconductor Chips, Inv. No. 337-TA-432, RD at 7-8 (Oct.
                   1, 2001) (setting a 10% bond because it was “within the
                   range of royalties obtained by [complainant] from its
                   licensees.”); see also Certain LED Lighting Devices, LED
                   Power Supplies, and Components Thereof, Inv. No. 337-TA-
                   1081, 2019 WL 7423547, at *23, Comm’n Op. at 38-41 (July
                   23, 2019). Complainants have not presented any evidence
                   to suggest that the bond amount in the 2013 Allergan-
                   Medytox Agreement is not a reasonable royalty.

                           Despite this evidence, Complainants try to argue that
                   because it is impossible to compare the ASP of BOTOX®
                   Cosmetic and Jeuveau®, a 100% royalty rate is appropriate.
                   CPB at 222-224. However, such a suggestion ignores that
                   100% bond should only be used in cases where there is
                   insufficient evidence in the record to determine a reasonable
                   royalty rate.     See Certain Lighting Control Devices
                   Including Dimmers Switches and Parts Thereof, ITC Inv.
                   No. 337-TA-776, Comm’n Op. on Remedy, the Public
                   Interest, and Bonding at 28 (Nov. 8, 2012). That is not the
                   case here, however, as there is direct evidence of a
                   reasonable royalty rate. See Certain Digital Photo Frames
                   and Image Display Devices and Components Thereof, ITC
                   Inv. No. 337-TA-807, Comm’n Op. at 17 (Mar. 27, 2013).

     Resps. Br. at 292–95 (footnote omitted).

            The Staff argues, in part:

                   The amount of such bond must “be sufficient to protect the
                   complainant from any injury.” 19 U.S.C. § 1337(j)(3); see
                   also 19 C.F.R. § 210.50(a)(3). The Commission typically
                   sets the Presidential review period bond based on the price


                                                269
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 277 of 283 PageID# 376

                                           PUBLIC VERSION


                        differential between the imported or infringing product, or
                        based on a reasonable royalty. See, e.g., Certain Ink
                        Cartridges & Components Thereof, Inv. No. 337-TA-565,
                        Comm’n Op. at 63 (Oct. 19, 2007) (EDIS Doc. No. 286157)
                        (setting bond based on price differentials); Certain Plastic
                        Encapsulated Integrated Circuits, Inv. No. 337-TA-315,
                        Comm’n Op. at 45, USITC Pub. 2574 (Nov. 1992) (setting
                        the bond based on a reasonable royalty). . . .

                                              .         .         .

                        [T]he Staff submits a bond rate of [       ] per 100U vial of
                        Jeuveau should be sufficient to protect Allergan from further
                        injury.

     Staff Br. at 157–59.

             The administrative law judge finds that, as proposed by the Staff, a bond in the

     amount of [         ] per 100U vial of Jeuveau® (which reflects the difference in the average

     sales price of [     ] for BOTOX® Cosmetic in 2018 versus the imputed imported value of

     a 100U vial of Jeuveau® of [                 ] should be imposed during the Presidential review

     period. See CX-2331C [                ] (average sales price of [       ] for BOTOX® Cosmetic

     in 2018); JX-0139C (Stipulation of Material Facts Relating to Importation and Inventory)

     at ¶ 6 (Evolus’ domestic inventory of [                ] vials of 100U of Jeuveau® having an

     imported value of [                 ]). The imported value assigned by Evolus to its existing

     inventory of Jeuveau® of nearly [ ] per 100U vial of Jeuveau® is in line with the [             ]

     price per 100U vial Evolus agreed to pay Daewoong. JX-0008C.43 (Annex B to License

     & Supply Agreement between Daewoong and Evolus).

             A bond rate set at the difference in average sales price between Jeuveau® and

     BOTOX® Cosmetic would be insufficient to protect the complainant from any injury.

     Evolus has offered [              ] various discounts that, [                ], give its physician

     customers [                                                             ]. CX-0018C



                                                      270
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 278 of 283 PageID# 377

                                          PUBLIC VERSION


     (Malackowski WS) at Q/A 165. The list price of Jeuveau® is $610 per vial. RX-3162C

     (Moatazedi WS) at Q/A 34. Applying a [                ] discount to the list price translates to

     a price as low as [         ] per vial of Jeuveau®. The list price of a 100U vial of

     BOTOX® Cosmetic is $601. CX-2231C (Allergan product pricing list). Thus, the

     maximum difference in sales price between Jeuveau® and BOTOX® Cosmetic is

     [          ]. If Allergan offers discounts, the difference in the sales price between the

     products would, of course, be lower. Even if the bond amount were set at [               ],

     Evolus would be able to post that bond and continue to sell Jeuveau® [

                                 ], and make a gross profit, as its cost of goods would total

     [        ] (assuming it pays Daewoong [      ] per vial, plus the bond posted per vial). If the

     bond rate is set at a figure representing the difference in average sales price between

     Jeuveau® and BOTOX® Cosmetic, Evolus’ potential gross profit (and incentive to

     continue its sales) would be much greater, inasmuch as the bond amount would be lower

     than [          ]. Thus, the difference in average sales price between Jeuveau® and

     BOTOX® Cosmetic is not sufficient to protect Allergan from further injury.

              The evidence demonstrates that for every [ ] vials of Jeuveau® that are sold,

     Allergan loses the sale of [ ] vials of BOTOX® Cosmetic. See, e.g., CX-2385C (Pricing

     Analysis); CX-0018C (Malackowski WS) at Q/A 132. By raising Evolus’ cost of each

     vial of Jeuveau® to equal the average sales price of BOTOX® Cosmetic prior to the May

     2019 introduction of Jeuveau® in the United States market, a bond rate of [        ] per 100U

     vial of Jeuveau® should be sufficient to protect Allergan from further injury.




                                                   271
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 279 of 283 PageID# 378

                                         PUBLIC VERSION


             Accordingly, in the event that a violation of section 337 is found, it is

     recommended that during the Presidential review period, respondents be required to post

     a bond of [      ] per 100U vial of Jeuveau®.

             It is the RECOMMENDED DETERMINATION (“RD”) of the administrative

     law judge that in the event a violation of section 337 is found, the Commission should

     issue a limited exclusion order, and a cease and desist order. Further, should the

     Commission impose a remedy that prohibits importation, it is recommended that the

     Commission subject respondents’ importations during the Presidential review period to a

     bond.

     XI.     Conclusions of Law

             1.       The Commission has subject matter, personal, and in rem jurisdiction in

     this investigation.

             2.       The accused products have been imported or sold for importation into the

     United States.

             3.       The complainants have standing in this investigation.

             4.       Respondents’ affirmative defenses neither preclude a finding of violation,

     nor the issuance of a remedy.

             5.       It has been shown that Medytox’s trade secrets have been

     misappropriated, causing substantial injury to the domestic industry.

             6.       The domestic industry requirement has been satisfied with respect to the

     alleged trade secrets.




                                                  272
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 280 of 283 PageID# 379

                                         PUBLIC VERSION


     XII.    Initial Determination and Order

             Accordingly, it is the INITIAL DETERMINATION of the undersigned that a

     violation of section 337 of the Tariff Act, as amended, has occurred in the importation

     into the United States, the sale for importation, or the sale within the United States after

     importation of certain botulinum neurotoxin products by reason of the misappropriation

     of trade secrets, the threat or effect of which is to destroy or substantially injure an

     industry in the United States.

             Further, this Initial Determination, together with the record of the hearing in this

     investigation consisting of (1) the transcript of the hearing, with appropriate corrections

     as may hereafter be ordered, and (2) the exhibits received into evidence in this

     investigation, is CERTIFIED to the Commission.

             In accordance with 19 C.F.R. § 210.39(c), all material found to be confidential by

     the undersigned under 19 C.F.R. § 210.5 is to be given in camera treatment.

             The Secretary shall serve a public version of this ID upon all parties of record and

     the confidential version upon counsel who are signatories to the Protective Order, as

     amended, issued in this investigation.

             Pursuant to 19 C.F.R. § 210.42(h), this Initial Determination shall become the

     determination of the Commission unless a party files a petition for review of the initial

     determination pursuant to 19 C.F.R. § 210.43(a), or the Commission, pursuant to 19

     C.F.R. § 210.44, orders on its own motion a review of the initial determination or certain

     issues contained herein.



                                            *       *       *



                                                   273
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 281 of 283 PageID# 380

                                         PUBLIC VERSION




             All ripe, outstanding motions that have not been granted are hereby denied.

             To expedite service of the public version, each party is hereby ordered to file with

     the Commission Secretary no later than July 17, 2020, a copy of this initial and

     recommended determination with brackets to show any portion considered by the party

     (or its suppliers of information) to be confidential, accompanied by a list indicating each

     page on which such a bracket is to be found. At least one copy of such a filing shall be

     served upon the office of the undersigned, and the brackets shall be marked in bold red.

     If a party (and its suppliers of information) considers nothing in the initial determination

     to be confidential, and thus makes no request that any portion be redacted from the public

     version, then a statement to that effect shall be filed.28




                                                             David P. Shaw
                                                             Administrative Law Judge

     Issued: July 6, 2020




     28
       Confidential business information (“CBI”) is defined in accordance with 19 C.F.R. §
     201.6(a) and § 210.5(a). When redacting CBI or bracketing portions of documents to
     indicate CBI, a high level of care must be exercised in order to ensure that non-CBI
     portions are not redacted or indicated. Other than in extremely rare circumstances, block-
     redaction and block-bracketing are prohibited. In most cases, redaction or bracketing of
     only discrete CBI words and phrases will be permitted.


                                                   274
Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 282 of 283 PageID# 381

  CERTAIN BOTULINUM TOXIN PRODUCTS, PROCESSES                               Inv. No. 337-TA-1145
  FOR MANUFACTURING OR RELATING TO SAME AND
  CERTAIN PRODUCTS CONTAINING SAME

                             PUBLIC CERTIFICATE OF SERVICE

         I, Lisa R. Barton, hereby certify that the attached Initial Determination has been served
  via EDIS upon the Commission Investigative Attorney, Monica Bhattacharyya, Esq., and the
  following parties as indicated, on August 6, 2020.




                                                      Lisa R. Barton, Secretary
                                                      U.S. International Trade Commission
                                                      500 E Street, SW, Room 112
                                                      Washington, DC 20436

   On Behalf of Complainants Allergan Limited and Allergan,
   Inc.:
   Brian M. Buroker, Esq.                                            ☐ Via Hand Delivery
   GIBSON, DINN & CRUTCHER LLP                                       ☐ Via Express Delivery
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   Washington, DC 20036-5841                                         ☒ Other: Email Notification of
   Email: bburoker@gibsondunn.com                                    Availability for Download

   On Behalf of Complainants Medytox Inc.,
   Nowell D. Bamberger, Esq.                                         ☐ Via Hand Delivery
   CLEARY GOTTLIEB STEEN & HAMILTON LLP                              ☐ Via Express Delivery
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   On Behalf of Respondents Daewoong Pharmaceuticals Co.,
   Ltd.:
   David F. Nickel, Esq.                                             ☐ Via Hand Delivery
   FOSTER, MURPHY, ALTMAN                                            ☐ Via Express Delivery
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Case 1:21-cv-00607-LMB-IDD Document 1-2 Filed 05/14/21 Page 283 of 283 PageID# 382

  CERTAIN BOTULINUM TOXIN PRODUCTS, PROCESSES                 Inv. No. 337-TA-1145
  FOR MANUFACTURING OR RELATING TO SAME AND
  CERTAIN PRODUCTS CONTAINING SAME
  Certificate of Service – Page 2

   On Behalf of Respondent Evolus, Inc. :
   Nicholas Groombridge, Esq.                          ☐ Via Hand Delivery
   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP        ☐ Via Express Delivery
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